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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                             §
 STATE OF TEXAS, STATE OF MISSISSIPPI,       §
 STATE OF LOUISIANA,                         §
                                             §
        Plaintiffs,                          §
                                             §   Case No. 2:21-cv-00079-Z
 v.                                          §
                                             §
 JANET YELLEN, in her official capacity as   §
 Secretary of the Treasury, et al.,          §
                                             §
        Defendants.                          §
                                             §

  APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO DEFENDANTS’
     MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY JUDGMENT

                                      VOLUME I OF II
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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                             §
 STATE OF TEXAS, STATE OF MISSISSIPPI,       §
 STATE OF LOUISIANA,                         §
                                             §
        Plaintiffs,                          §
                                             §   Case No. 2:21-cv-00079-Z
 v.                                          §
                                             §
 JANET YELLEN, in her official capacity as   §
 Secretary of the Treasury, et al.,          §
                                             §
        Defendants.                          §
                                             §

  APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO DEFENDANTS’
     MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY JUDGMENT

                         DECLARATION OF JEFFREY M. WHITE

                                      EXHIBIT A




                                                                            App.001
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                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS
                                        AMARILLO DIVISION

                                                     §
  STATE OF TEXAS, STATE OF MISSISSIPPI,              §
  STATE OF LOUISIANA,                                §
                                                     §
               Plaintiffs,                           §
                                                     §    Case No. 2:21-cv-00079-Z
  v.                                                 §
                                                     §
  JANET YELLEN, in her official capacity as          §
  Secretary of the Treasury, et al.,                 §
                                                     §
               Defendants.                           §
                                                     §

                     DECLARATION OF JEFFREY M. WHITE IN SUPPORT OF
                     PLAINTIFFS’ COMBINED RESPONSE TO DEFENDANTS’
                   MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                                       JUDGMENT

I, Jeffrey M. White, hereby declare as follows:

          1.           I am over 18 years of age and am fully competent to make this declaration. I am

Special Counsel in the Special Litigation Unit at the Office of the Attorney General of Texas, I am

admitted to practice law in this Court, and I represent the State of Texas in the above-captioned

matter. I submit this Declaration in support of Plaintiffs’ Combined Response to Defendants’ Motion

to Dismiss and Motion for Partial Summary Judgment. I have personal knowledge of the facts stated

herein.

          2.           Appended to Plaintiffs’ Combined Response to Defendants’ Motion to Dismiss and

Motion for Partial Summary Judgment are the following exhibits:


   Ex. No.          Title

       1            The December 2020 – January 2021 issue of Fiscal Notes, published by Texas
                    Comptroller of Public Accounts Glenn Hegar, which is publicly available at

                                                      1

                                                                                             App.002
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        https://comptroller.texas.gov/economy/fiscal-notes/2021/jan/docs/fn.pdf.


        The First Quarter 2021 issue of Southwest Economy, published by the Federal
  2     Reserve Bank of Dallas, which is publicly available at
        https://www.dallasfed.org/~/media/documents/research/swe/2021/swe2101.pdf.


        The January 2021 Biennial Revenue Estimate for the 2022 – 2023 Biennium for the
        87th Texas Legislature, published by Texas Comptroller of Public Accounts Glenn
  3     Hegar, which is publicly available at
        https://comptroller.texas.gov/transparency/reports/biennial-revenue-estimate/2022-
        23/docs/96-402-BRE-2022-2023.pdf.


        The U.S. Department of Treasury’s publication titled “Allocation for States,” which
        is publicly available at
  4
        https://home.treasury.gov/system/files/136/fiscalrecoveryfunds-statefunding1-
        508A.pdf.


        Excerpts from S.B. No. 1, General Appropriations Act, Eighty-seventh Legislature,
  5     which is publicly available at
        https://webservices.sos.state.tx.us/legbills/files/RS87/SB1.pdf.


        The FY 21-22 Total Budget Summary for Louisiana prepared by the House Fiscal
        Division, which is publicly available at
  6
        https://house.louisiana.gov/housefiscal/DOCS_APP_BDGT_MEETINGS/DOCS_A
        PPBudgetMeetings2021/FY%202022%20State%20Budget%20Summary.pdf.


        The March 16, 2021 Letter from twenty-one State Attorneys General to Secretary
        Janet L. Yellen, which is publicly available at
  7     https://ag.ky.gov/Press%20Release%20Attachments/Yellen%20Letter%203-
        16%20FINAL.pdf and
        https://www.oag.ok.gov/sites/g/files/gmc766/f/yellen_letter_3-16_final.pdf.


        The March 23, 2021 Letter from Secretary Janet L. Yellen to Mark Brnovich and
        twenty other State Attorneys General, which is publicly available at
  8
        https://home.treasury.gov/system/files/136/Response-to-State-Attorneys-General-
        Inquiries-on-Implementation-of-Section-9901-of-the-ARP-Act.pdf.


        H.B. No. 1195, which is publicly available at
  9
        https://webservices.sos.state.tx.us/legbills/files/RS87/HB1195.pdf.


                                            2

                                                                                    App.003
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        The Fiscal Note for HB1195 published by the Legislative Budget Board, which is
  10    publicly available at
        https://capitol.texas.gov/tlodocs/87R/fiscalnotes/pdf/HB01195F.pdf.


        S.B. No. 313, which is publicly available at
  11
        https://webservices.sos.state.tx.us/legbills/files/RS87/SB313.pdf.


        The Fiscal Note for SB313 published by the Legislative Budget Board, which is
  12    publicly available at
        https://capitol.texas.gov/tlodocs/87R/fiscalnotes/pdf/SB00313F.pdf.


        S.B. No. 609, which is publicly available at
  13
        https://webservices.sos.state.tx.us/legbills/files/RS87/SB609.pdf.


        The Fiscal Note for SB609 published by the Legislative Budget Board, which is
  14    publicly available at
        https://capitol.texas.gov/tlodocs/87R/fiscalnotes/pdf/SB00609S.pdf.


        S.B. No. 938, which is publicly available at
  15
        https://webservices.sos.state.tx.us/legbills/files/RS87/SB938.pdf.


        The Fiscal Note for SB938 published by the Legislative Budget Board, which is
  16    publicly available at
        https://capitol.texas.gov/tlodocs/87R/fiscalnotes/pdf/SB00938E.pdf.


        S.B. No. 1524, which is publicly available at
  17
        https://webservices.sos.state.tx.us/legbills/files/RS87/SB1524.pdf.


        The Fiscal Note for SB1524 published by the Legislative Budget Board, which is
  18    publicly available at
        https://capitol.texas.gov/tlodocs/87R/fiscalnotes/pdf/SB01524E.pdf.


        The July 7, 2021 Proclamation by the Governor of the State of Texas calling an
  19    extraordinary session of the 87th Legislature, which is publicly available at
        https://lrl.texas.gov/scanned/govdocs/Greg%20Abbott/2021/proc07072021.pdf.


  20    The August 5, 2021 Proclamation by the Governor of the State of Texas calling an
        extraordinary session of the 87th Legislature, which is publicly available at

                                            3

                                                                                   App.004
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                https://lrl.texas.gov/scanned/govdocs/Greg%20Abbott/2021/proc08052021.pdf.


                S.B. No. 12, which is publicly available at
      21
                https://capitol.texas.gov/tlodocs/872/billtext/pdf/SB00012F.pdf.


                The Fiscal Note for SB12 published by the Legislative Budget Board, which is
      22        publicly available at
                https://capitol.texas.gov/tlodocs/872/fiscalnotes/pdf/SB00012F.pdf.


                Act No. 134, which is publicly available at
      23
                https://www.legis.la.gov/legis/ViewDocument.aspx?d=1235025.


                Excerpts from the Official Journal of the Senate of the State of Louisiana – Thirty-
      24        Fourth Day’s Proceedings, which is publicly available at
                https://senate.la.gov/Journals/2021/RS/21RS%20-%20SJ%200610%2034.PDF.


      25        Excerpts from Webster’s New World College Dictionary (5th ed. 2016).


           3.      The exhibits listed above are true and correct copies of what they purport to be.

I declare under the penalty of perjury that the foregoing is true and correct.

                                                         Executed on September 27, 2021

                                                         /s/ Jeffrey M. White
                                                         Jeffrey M. White




                                                    4

                                                                                              App.005
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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                            §
STATE OF TEXAS, STATE OF MISSISSIPPI,       §
STATE OF LOUISIANA,                         §
                                            §
       Plaintiffs,                          §
                                            §    Case No. 2:21-cv-00079-Z
v.                                          §
                                            §
JANET YELLEN, IN HER OFFICIAL CAPACITY      §
AS SECRETARY OF THE TREASURY, ET AL.,       §
                                            §
       Defendants.                          §
                                            §

    APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
 DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                           JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

December 2020 - January 2021 Fiscal Notes – Weathering the Pandemic – Texas Industries and
                                       COVID-19

                                   EXHIBIT A-1




                                                                                  App.006
                                                   TION SPECIAL EDI
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           FISCAL NOTES
           D E C E M B E R 2 02 0 - JA N UA RY 2 02 1


                                                                                                       STATE REVENUE WATCH              15




           WEATHERING
           A REVIEW OF THE TEX AS ECONOMY FROM THE OFFICE OF GLENN HEGAR, TEX AS COMPTROLLER OF PUBLIC ACCOUNTS




           THE PANDEMIC
           TEXAS INDUSTRIES AND COVID-19
                                                                                     By Olga Garza, TJ Costello, Jessica Donald,
                                                                                     Peggy Fikac, David Green, Spencer Grubbs,
                                                                                     Shannon Halbrook and Lisa Minton




           To slow the spread of COVID-19 last spring, schools,           fall. By Jan. 11, 2021, the Texas Department of State
           businesses and sports venues began closing across              Health Services had confirmed more than 1.7 million
           Texas and the rest of the nation. Texans prepared as           COVID-19 cases in the state — and nearly 30,000
           if for a hurricane rather than a year-long event that          deaths from the disease.
           would upend businesses and their everyday lives.                     But the pandemic isn’t only a health crisis; it’s an
                After a spike in July, new cases fell off dramatically    economic crisis that continues to wreak havoc on both
           in August and September only to mount again in late            CONTINUED ON PAGE 3



           Editor’s Note: Details of the new federal stimulus legislation were emerging as we went to press. The Comptroller's office
           is monitoring the impact of the new stimulus package and its effect on Texas industries.

GLENN HEGAR, TEX AS COMPTROLLER OF PUBLIC ACCOUNTS                                                                           App.007
          Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                                                       Page 9 of 272 PageID 231
                        A Message from the Comptroller
                                                        As I write this, a truly disastrous year has just ended. According to
                                                        Johns Hopkins University, about 1.8 million people have died due to
                                                        COVID-19, nearly 375,000 of them in the U.S. Almost 30,000 Texans have
                                                        succumbed to the disease.
                                                                Yet the devastation stretched well beyond this awful record.
                                                        Many lost their jobs or saw their education disrupted. Lockdowns and
                                                        layoffs altered consumer behavior radically. Thousands of businesses
                                                        were forced to close — or to change.
                                 We’ve looked at aspects of the coronavirus crisis in previous issues of Fiscal Notes. In this
                        special issue, we examine how the pandemic hit some Texas industries that found themselves at
                        the center of the year’s disruptions.
                                 Leisure and hospitality — including restaurants, bars, hotels and motels and recreational
                        facilities and events, among others — experienced some of the most traumatic changes. Many
                        businesses were forced to shut down for extended periods; even when they reopened, many
                        customers stayed home. Some restaurants pivoted successfully to an emphasis on takeout and
                        curbside pickup, but thousands closed their doors for good.
                                 Retail sales evolved rapidly during the pandemic. Online sales continue to grow in
                        importance and helped keep revenues coming in for large retailers, but smaller companies often
                        are struggling to meet payrolls and lease payments.
                                 Texas is home to two of the world’s largest airlines — Southwest and American — and
                        some of the nation’s busiest airports. Air travel has been a large and high-paying employer for our
                        state. But travel limitations and fear of the virus have sent airline revenues plummeting. 2020 will
                        go down in the records as a “lost year” for air travel, although bookings for later in 2021 give some
                        room for optimism.
                                 Texas hospitals have had different troubles. Unprecedented demand for emergency services
                        strained their resources enormously, while a decline in non-emergency procedures and an increase
                        in the number of uninsured patients dented their finances.
                                 It’s been a very difficult year, not just for these industries but for all of us. But Texans have
                        seen tough times before, and have repeatedly demonstrated their ability to find new ways to
                        succeed and thrive.
                                 I know you’ll join me in hoping that 2021 is the beginning of a comeback for our state.




                        G LENN HEGAR
                        Texas Comptroller of Public Accounts




                        Note: This report contains estimates and projections that are based on available information, assumptions and estimates as of the date of
                        the forecasts upon which they are based. Assumptions involve judgments about future economic and market conditions and events that are
                        difficult to predict. Actual results could differ from those predicted, and the difference could be material.




                         If you would like to receive paper copies of Fiscal Notes, contact us at fiscal.notes@cpa.texas.gov


2 |   GLENN HEGAR, TEX AS COMPTROLLER OF PUBLIC ACCOUNTS                                                                                                  App.008
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                   WEATHERING THE PANDEMIC                            CO NTI N U E D F R O M PAG E 1




                  small firms and major industries. Closures, quarantines                                       TH E STE E PE ST D RO P
                  and other restrictions come with significant fiscal
                                                                                                       The “steepest and fastest drop in Texas economic
                  implications and, despite its strong and diverse
                                                                                                       activity in modern history” — that’s the Federal
                  economy, Texas isn't immune to the uncertainties of
                                                                                                       Reserve Bank of Dallas’ description of the
                  this unprecedented situation.
                       All Texas industry sectors have been affected                                   pandemic’s effects. This crisis is unique compared
                  by the pandemic to some degree, but some have                                        to previous downturns, adversely singling out
                  struggled more than others, raising concerns over                                    certain sectors and making the economic effects
                  what some have called a “K-shaped recovery” — one                                    and recovery process uneven and hard to predict.
                  in which different sectors, industries and employee                                  Sales tax collections, buoyed by retail sales, have
                  groups fare differently, some recovering and others                                  declined moderately, but other affected industries
                  remaining in recession. In this special issue of Fiscal                              have suffered much more. As of December 2020,
                  Notes, we take a closer look at some of the industries                               the effects were still evident in some major taxes:
                  most affected by the pandemic: leisure and hospitality
                  providers, restaurants and bars, retailers, passenger
                                                                                                       •   Sales tax — $2.86 billion, down 5.0% from
                                                                                                           December 2019
                  airlines and hospitals.

                  EMPLOYMENT CHANGES
                                                                                                       •   Oil production tax — $197 million,
                  DURING THE PANDEMIC                                                                      down 45.5%

                  Initial job losses due to COVID-19 were staggering.                                  •   Natural gas production tax — $86 million,
                  Between February and April 2020, the U.S. lost 22.2                                      down 25.0%
                  million jobs, more than 1.4 million of them in Texas.
                  Texas’ unemployment rate spiked at 13.5 percent in
                                                                                                       •   Alcoholic beverage taxes — $84 million,
                                                                                                           down 28.5%
                  April 2020, up from 3.5 percent just two months earlier.
                  By November, nearly 1.2 million Texans remained                                      •   Hotel occupancy tax — $26 million,
                  unemployed (Exhibit 1).                                                                  down 48.5%



                                                                                         EXHIBIT 1


                                                          TEXAS UNEMPLOYMENT, FEBRUARY-NOVEMBER 2020
                                                                                (SEASONALLY ADJUSTED)


 1,800,000
 1,600,000
 1,400,000
 1,200,000
 1,000,000
   800,000
   600,000
   400,000
   200,000
         0
                        FEB             MARCH              APRIL             MAY            JUNE             JULY         AUG          SEPT          OCT       NOV
 UNEMPLOYMENT
 RATE                  3.5%              5.1%              13.5%            13.0%           8.4%             8.0%         6.8%         8.3%         6.9%      8.1%

Source: Comptroller analysis of data from the Texas Workforce Commission




                                                                                                                                                     App.009
                                                                                                                                                     FISCAL NOTES    | 3
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                  WEATHERING THE PANDEMIC
                      From mid-March through Jan. 2, 2021, Texans filed                    Employment among Texans
                  more than 4.1 million initial claims for unemployment
                                                                                          making less than $27,000 per
                  insurance, 300,000 in the week ending April 4 alone.
                  These have fallen significantly, but remain historically
                                                                                           year fell by 17 percent from
                  elevated.                                                              January through Oct. 22, 2020.
                      The number of continued unemployment claims,
                  which reflects those receiving benefits after an initial               3.6 percent; for workers earning more than $60,000,
                  claim, peaked in Texas at 1.4 million in the week                      employment actually rose, though only slightly
                  ending May 23, remained above 1 million through the                    (0.5 percent).
                  week ending Aug. 29 and totaled 368,223 for the week
                                                                                         HARDEST-HIT INDUSTRIES
                  ending Dec. 26.
                      Low-wage workers, disproportionately employed                      A September analysis of federal labor data by the
                  in service industries, bore the brunt of job losses.                   Washington Post found that nine out of the 10 U.S.
                  Many of these workers are women and minorities;                        industries with the biggest job losses during the
                  in 2019, for instance, 58.7 percent of U.S. hotel and                  pandemic were service providers, including hotels,
                  motel employees were women and 58.6 percent were                       performing arts venues and restaurants. Texas
                  members of ethnic minorities, according to the U.S.                    Workforce Commission data indicate employment
                  Bureau of Labor Statistics. Opportunity Insights, a                    in the arts, entertainment and recreation fell by nearly
                  Harvard-based research and policy institute, found                     half from February to April 2020, and remained
                  that employment among Texans making less than                          27 percent lower in November (Exhibit 2).
                  $27,000 per year fell by 17 percent from January                       Employment at hotels, restaurants and bars fell by
                  through Oct. 22, 2020. Employment for middle-wage                      12.5 percent during this period.
                  workers ($27,000 to $60,000 per year) declined by just

                                                                                  EXHIBIT 2


                  PERCENT CHANGE IN TEXAS NONFARM EMPLOYMENT, SELECTED INDUSTRIES, FEBRUARY-NOVEMBER 2020
                                                                            (SEASONALLY ADJUSTED)




                                                                                                                        TRANSPORTATION, WAREHOUSING AND UTILITIES
  0%
                                                                                                                        RETAIL TRADE
                                                                                                                        TEXAS TOTAL
                                                                                                                        HEALTH CARE AND SOCIAL ASSISTANCE
-10%
                                                                                                                        ACCOMMODATION AND FOOD SERVICES

-20%

                                                                                                                        ARTS, ENTERTAINMENT AND RECREATION
-30%


-40%


-50%
       FEB         MARCH           APRIL           MAY            JUNE     JULY    AUG        SEPT        OCT        NOV

Source: Comptroller analysis of data from the Texas Workforce Commission



4 |    GLENN HEGAR, TEX AS COMPTROLLER OF PUBLIC ACCOUNTS                                                                                   App.010
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                      Among these industries, the most significant                       jobs in 2019. Between 2010 and 2019, employment
                  shared characteristic is their inherent necessity                      growth in this sector outpaced statewide gains,
                  to operate in close quarters with their customers;                     rising by an annual average of 3.7 percent versus
                  their profitability typically depends on face-to-face                  2.4 percent for all Texas jobs (Exhibit 3). Restaurants
                  encounters or crowds, from restaurants to sports                       and bars led employment growth, adding jobs at an
                  arenas. In addition, some businesses have been                         average 3.8 percent per year.
                  affected by the lack of consumer confidence and by a                        But then the pandemic arrived. In November
                  concern for individual health and safety. Many sectors                 2020, Texas leisure and hospitality employment was
                  are financially fragile, with little cash on hand to                   down by 13 percent from the same month in the
                  weather an economic downturn.                                          previous year, a loss of 181,800 jobs and 37.2 percent
                                                                                         of all Texas job losses during this period. Restaurants
                  LEISURE AND HOSPITALITY
                                                                                         and bars suffered the heaviest total losses, falling by
                  According to the federal government’s industrial                       10.1 percent or 112,500 jobs. Employment in the arts,
                  classification scheme, leisure and hospitality is a                    entertainment and recreation industries experienced
                  “supersector,” a wide-ranging category including                       the greatest percentage decline at 29.6 percent or
                  restaurants, bars, hotels, tourism, performing arts,                   42,800 jobs.
                  sporting events, amusement parks, gyms and other                            After a rebound in May and June, sector
                  enterprises. The supersector includes two sectors, arts,               employment growth had improved only modestly
                  entertainment and recreation and accommodation                         through November (Exhibit 4).
                  and food services. The latter, in turn, is divided into                     The contribution of the arts, entertainment,
                  two subsectors, accommodation and food services                        recreation, accommodation and food services —
                  and drinking places — or, in other words, restaurants                  a group defined by the U.S. Bureau of Economic
                  and bars.                                                              Analysis — to the Texas gross state product (GSP)
                      No part of the state economy was injured more                      also slumped. In 2019, these industries contributed
                  deeply by the pandemic than these industries. For the                  $63.5 billion to the Texas economy, or 3.4 percent
                  past several decades, leisure and hospitality jobs have                of the state’s $1.84 trillion GSP. Between the first
                  comprised an increasing share of Texas’ employment                     and second quarters of 2020, their combined Texas
                  base, accounting for 10.9 percent of the state’s total                 GSP fell by more than $19 billion or 32 percent.


                                                                                  EXHIBIT 3


                                                           TEXAS LEISURE AND HOSPITALITY SUPERSECTOR,
                                                         ANNUAL NONFARM EMPLOYMENT CHANGE, 2010-2019


LEISURE AND HOSPITALITY
   ARTS, ENTERTAINMENT
 AND RECREATION SECTOR
   ACCOMMODATION AND
  FOOD SERVICES SECTOR:
           FOOD SERVICES
     AND DRINKING PLACES
         ACCOMMODATION
                TEXAS TOTAL

                                0.0%                0.5%                   1.0%   1.5%          2.0%           2.5%          3.0%           3.5%         4.0%
Source: Comptroller analysis of data from the Texas Workforce Commission




                                                                                                                                          App.011
                                                                                                                                          FISCAL NOTES   | 5
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                  WEATHERING THE PANDEMIC
                                                                                         EXHIBIT 4


                   TEXAS LEISURE AND HOSPITALITY INDUSTRIES, YEAR-OVER-YEAR EMPLOYMENT CHANGE, 2019 VS. 2020
                                                                                 (NOT SEASONALLY ADJUSTED)


 100,000

         0                                                                                           ACCOMMODATION (ACCOMMODATION AND FOOD SERVICES SECTOR)
                                                                                                     ARTS, ENTERTAINMENT AND RECREATION SECTOR
-100,000                                                                                             FOOD SERVICES AND DRINKING PLACES (ACCOMMODATION AND FOOD SERVICES SECTOR)
                                                                                                     LEISURE AND HOSPITALITY SUPERSECTOR
-200,000

-300,000

-400,000

-500,000

-600,000
             JAN FEB MARCH APRIL MAY                   JUNE JULY           AUG    SEPT   OCT   NOV

Source: Comptroller analysis of data from the Texas Workforce Commission




                  Total output in the arts, entertainment and recreation                                                                  EXHIBIT 5

                  industries declined by more than half (Exhibit 5).
                                                                                                              TEXAS ARTS, ENTERTAINMENT, RECREATION,
                      Opportunity Insights’ data describe the impacts                                      ACCOMMODATION AND FOOD SERVICES INDUSTRIES,
                  on the sector in Texas:                                                                      GROSS STATE PRODUCT BY QUARTER, 2020

                  •     small business revenue in leisure and hospitality
                                                                                                                                                                        2020 Q1   2020 Q2
                        fell by 74.3 percent between January and
                        Dec. 30, 2020, versus a 39.1 percent decline for
                                                                                                           $60
                        all small businesses.
                  •     the number of small businesses open fell by
                                                                                                           $50
                                                                                                                             -32.0%
                                                                                                                                                           -26.8%
                        57.7 percent during this period, versus a                                          $40
                        31.5 percent decline for all small businesses.
                                                                                                           $30
                  •     compared to January 2020, consumer spending
                        at Texas restaurants and hotels was down                                           $20
                        11.8 percent for the week ending Dec. 6, and down                                                                                                         -52.4%
                                                                                                           $10
                                                                                                BILLIONS




                        45.6 percent at entertainment and recreation sites;
                        total consumer spending fell by just 1.0 percent in                                $0
                        this period.                                                                                   TOTAL               ACCOMMODATION,                      ARTS,
                                                                                                                                             RESTAURANTS                  ENTERTAINMENT
                  ACCOMMODATION                                                                                                                AND BARS                   AND RECREATION
                                                                                                Source: Comptroller analysis of data from the U.S. Bureau of Economic Analysis
                  The accommodation industry includes businesses
                  that provide overnight and short-term lodging for
                  travelers. It plays a significant role in our economy by



6 |   GLENN HEGAR, TEX AS COMPTROLLER OF PUBLIC ACCOUNTS                                                                                                              App.012
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                    supporting tourism and hosting meetings and events.                     this contribution showed a 5 percent
                    The sharp reduction in travel caused by the pandemic                    compound annual growth rate
                    has forced many businesses in the accommodation                         between 2010 and 2019, slightly higher
                    industry to consider taking drastic steps to stay above                 than the rate for all Texas industries.
                    water.                                                                       As of November 2020, Texas’
                        In Texas, most hotel and motel employees earn                       accommodation industry had lost
                    considerably less than $45,000 annually; the industry’s                 26,500 jobs in a year, a 19.5 percent
                    top three occupations earn an average of less than                      decline. In April, the American Hotel
                    $25,000 a year (Exhibit 6). This is an economically                     and Lodging Association estimated
                    high-risk group; among maids and housekeeping                           that more than 296,000 Texas jobs
                                                                                                                                               JUSTIN BRAGIEL
                    employees, nearly 55 percent are between the ages                       directly and indirectly related to
                                                                                                                                           GENERAL COUNSEL, TEXAS
                    of 34 and 55 and almost 79 percent have only a high                     lodging were endangered by travel                 HOTEL AND LODGING
                    school degree or less.                                                  restrictions.                                        ASSOCIATION
                        In 2019, the accommodation industry contributed                          According to Justin Bragiel, general
                    an estimated $9.4 billion to Texas GSP (Exhibit 7);                     counsel for the Texas Hotel and Lodging Association,
                                                                                            the statewide hotel occupancy rate in November
                                           EXHIBIT 6                                        2020 was at about 36 percent, 30 percent below
                                                                                            average for that time of year. He cites examples of
                  TOP OCCUPATIONS AND WAGES IN THE
                 TEXAS ACCOMMODATION INDUSTRY, 2019
                                                                                            hotels that have created alternative revenue streams
                                                                                            to help relieve financial pressures, such as leasing
             MAIDS AND                                                                      rooms for use as office space or contracting with local
  HOUSEKEEPING CLEANERS                                                                     governments to provide quarantine space for COVID-
             HOTEL, MOTEL AND                                                               positive employees.
            RESORT DESK CLERKS                                                                   “We believe difficult economic conditions will
 WAITERS AND WAITRESSES                                                                     continue through 2021, [but] we’re hopeful that
                                                                                            the development and deployment of a successful
       MAINTENANCE AND
REPAIR WORKERS, GENERAL                                                                     vaccine will allow more travelers to return to normal
                                                                                            conditions in late 2021 and beyond,” Bragiel says.
            COOKS, RESTAURANT
                                 $0         $10,000    $20,000   $30,000   $40,000
Source: JobsEQ




                                                                                     EXHIBIT 7


                                                               TEXAS ACCOMMODATION INDUSTRY,
                                                       CONTRIBUTIONS TO TEXAS GROSS STATE PRODUCT, 2019


       $10
           $8
           $6
           $4
           $2
BILLIONS




           $0
                  2010              2011              2012         2013              2014         2015         2016          2017          2018          2019
Source: U.S. Bureau of Economic Analysis




                                                                                                                                             App.013
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                   WEATHERING THE PANDEMIC
             TE X AS ALCO HO LI C B E VE R AG E I N DUSTRY                                   RESTAURANTS AND BARS

  Large-scale beer, wine and liquor companies are showing strong year-                       In June, the National Restaurant Association
  over-year growth in the economic downturn, thanks to increased sales                       estimated U.S. sales losses of $240 billion by
  at grocery and liquor stores. Alcohol sales at restaurants and bars, where                 the end of 2020. According to Open Table,
  the mixed beverage tax is levied, have plunged due to social distancing                    the online restaurant-reservation service,
  (Exhibit 8). Craft breweries, distilleries and wineries, whose business                    reservations in Texas as of Nov. 6 were down
  models rely heavily on taprooms, tours and tasting rooms, also have                        by 25 percent from a year ago.
  seen significant sales declines.                                                               According to the Texas Restaurant
                                              EXHIBIT 8
                                                                                             Association (TRA), restaurants represented
                                                                                             51 percent of Texas’ food spending before
                   RECENT TRENDS IN TEXAS ALCOHOL TAXATION                                   the pandemic. They’re critical to the food
                                                                                             supply chain, which includes farmers and
                                                           FISCAL YEAR   2019       2020     ranchers, alcohol manufacturers, food
      $1,200
                                                                                             distributors and trucking companies.
      $1,000                           -22.8%
                                                                                                 In the industry, the economic pain of the
            $800                                                                             pandemic hasn’t been distributed equally,
            $600                                                                             although most have suffered. Large chain
            $400                                                           +6.6%             restaurants in particular are often better
                                                                                             equipped to adjust; many employ models
 MILLIONS




            $200
                                                                                             that fit well with pandemic restrictions, such
             $0
                      MIXED BEVERAGE TAXES                          EXCISE TAXES*            as drive-throughs, carry-out and delivery.
                                                                                             Dine-in restaurants,
                                                                                                       FISCAL YEAR by 2019
                                                                                                                      contrast, often
                                                                                                                                2020 can’t
        $1,600                                                      -12.6%                   exceed 50 percent capacity due to social
        $1,400                                                                               distancing restrictions. Large chains may also
        $1,200                                                                               enjoy greater leverage on loan payments,
        $1,000              +9.1%
                                                                                             royalty payments and lease terms. TRA
          $800
          $600                                                                               estimates that 70 percent of Texas restaurants
          $400                                    +19.8%                                     are independent operators that often lack
 MILLIONS




          $200                                                                      -18.7%   access to these resources.
            $0                                                                                   These advantages are reflected in recent
                      GROCERY          BEER, WINE AND       FULL-SERVICE        BARS
                       STORES           LIQUOR STORES       RESTAURANTS                      company results. McDonald’s, for instance,
                                                                                             posted its best September sales in nearly
  * State taxes levied by volume on alcoholic beverages.
  Source: Texas Comptroller of Public Accounts                                               a decade. By contrast, the review site Yelp
                                                                                             reported that three-quarters of the 22,000
     The Brewers Association reports that Texas ranks third in the nation                    U.S. restaurant closures between March 1 and
   for the economic impact of its craft breweries. In April, a Texas Craft                   Sept. 10 represented companies with fewer
   Brewers Guild survey showed that its members had seen a 71 percent                        than five locations.
   decline in revenue since COVID-19 restrictions began. While nearly 90                         During the pandemic, restaurants have
   percent of these breweries have shifted at least in part to beer to go, the               found new ways to support this ecosystem
   industry still relies heavily on in-person patronage at its taprooms.                     — and their own bottom lines. With the
     Texas wineries also rely heavily on foot traffic; wineries in the Texas                 state’s permission and cooperation, many
   Hill Country alone claimed more than a million visitors annually before                   began selling bulk retail items directly to the
   the pandemic. Pandemic restrictions on tasting rooms pose a significant                   public, boosting revenue while alleviating
   hurdle for the industry.                                                                  gaps in the supply chain. Restaurants also are
     For more on how wineries, distillers and craft brewers are coping with                  embracing new product ideas such as family
   the pandemic, see this month’s Line Items feature at FiscalNotes.org.                     meal boxes and to-go alcohol orders, and


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        In September, the Texas Restaurant                           RETAIL SALES

             Association estimated that                              Our state’s retail sector is truly Texas-
          15 percent of the state’s 50,000                           sized, accounting for 1.29 million jobs
                                                                     or about one in 10 of all Texas workers.
         restaurants have closed for good.
                                                                     In 2019, the sector contributed $97
                                                                     billion to Texas GSP, $54.8 billion in
           nurturing new business models and partnerships with       wages and about $12 billion in sales
           grocery stores, food trucks, bars, third-party delivery   tax revenue.
           companies and alcohol manufacturers.                           Even before the pandemic, brick
                In September, TRA estimated that 15 percent of       and mortar retailers faced steadily                  KELSEY ERICKSON
           the state’s 50,000 restaurants have closed for good,      increasing competition from internet                     STREUFERT
           and that the share could increase to 40 percent           sales. COVID-19 accelerated the                       VICE PRESIDENT OF
           without financial support. Most restaurants received      process. Many retailers considered                GOVERNMENT     RELATIONS
           only eight weeks of financial support through the                                                                AND ADVOCACY,
                                                                     non-essential were forced to close in
                                                                                                                           TEXAS RESTAURANT
           federal Paycheck Protection Program (PPP), but had to     March 2020. Even essential retailers                     ASSOCIATION
           endure months of required closures, reduced revenue       such as grocery stores were subject
           and increased costs.                                      to extreme uncertainty, often faced with conflicting
                According to Kelsey Erickson Streufert, TRA’s vice   orders by state, county and city governments.
           president of government relations and advocacy,                As the crisis evolved, many retailers found success
           about 200,000 Texans in the industry were still out of    by expanding their online presence and offering
           work in early December. “We do expect a full industry     curbside pickup. In Texas, retail reopenings generally
           recovery eventually because we offer a product            began in late April. Since Sept. 21, Texas retailers
           and a service that people want,” she says. “The key       have been permitted to open at 75 percent capacity.
           questions for us are how long will the recovery take      Customers still are required to wear face masks; many
           and how many restaurants — particularly the smaller,      stores also have installed plastic shielding to protect
           independent restaurants that are anchors to the           checkers and instituted strict cleaning regimens.
           community and local economy — can we help save in              As a result, Texas’ in-state gross retail sales
           the process.                                              totaled about $107 billion in the second quarter of
                “Many of these businesses have anchored the          2020, down 7.2 percent from the same quarter in the
           community for decades,” she says, “so we can’t            previous year. But the effects vary widely throughout
           afford to lose them, and yet, they’re often the most      the retail sector. Smaller retailers have suffered
           at risk because they’re independent and local. These      disproportionately, less able to meet payrolls and
           restaurants aren’t looking for a bailout; they’re         rent payments than their larger counterparts,
           simply asking for more time so they can outlast           although even some large retailers have entered
           this pandemic, rebuild and continue to serve our          bankruptcy, such as JCPenney and J.Crew. Similarly,
           communities.”                                             specialty retailers have struggled more than general
                                                                     ones. The commercial real estate market also loses
                                                                     business when stores close or reduce their number
                   YEAR OVER YEAR                                    of brick-and-mortar locations.
                                                                          While the federal PPP and Pandemic
Year-over-year (YOY) comparisons, common in discussions of
                                                                     Unemployment Assistance program certainly
finance and revenue, compare the results in one period with
                                                                     helped retailers retain employees, the Texas Retailers
those of the same period in the previous year. This method
                                                                     Association and other organizations have advocated
removes the effect of seasonal variations (for instance, the
                                                                     for further support to help defray some of the costs
expected spike in retail sales prior to Christmas each year) and
                                                                     of greater safety measures, unemployment insurance
makes it easier to spot long-term trends.
                                                                     and liability protection.


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                   WEATHERING THE PANDEMIC
                                 “In many cases, the large retailer       rose by around 5 percent YOY during April and May
                            is the largest [private] employer in          2020 before returning close to 2019 levels. Meanwhile,
                            many small towns in Texas,” says              building material retailers are riding a construction
                            Gary Huddleston, a consultant for the         boom, with November’s employment more than
                            association. “Small and main-street           10 percent higher YOY.
                            retailers are doing everything possible           Clothing retailers have seen particularly dramatic
                            to serve customers and find some cash         volatility during the pandemic. In April 2020, the
                            flow. [They] really need state and federal    subsector had shed more than half its jobs compared
                            help.”                                        to a year earlier — around 60,600 workers. By
   GARY HUDDLESTON               While long-term effects on retail        October, it had recovered most of those jobs on a YOY
     TEXAS RETAILERS
                            employment     remain to be seen, the         basis, but November saw another sharp decline.
       ASSOCIATION          retail sector saw a huge number of                After big dips in March and April retail sales, the
                            furloughs and layoffs early in the crisis.    long-term trend reflects surprisingly little damage to
             The sector had nearly 114,000 fewer workers in April         retail sales since the pandemic began. In September,
             2020 than in April 2019 (an 8.7 percent drop); as of         Texas’ retail sales totaled $45.7 billion, down from a
             November, the YOY gap had narrowed to 38,600 or              high of $46.4 billion in January — not an insignificant
             2.8 percent (Exhibit 9).                                     decrease, but less catastrophic than some expected.
                 The exhibit lists the hardest-hit retail subsectors in       Sales tax revenue as of December was about
             terms of job losses; these include health, electronics,      5 percent lower YOY, a much smaller decline than
             clothing and home furnishing stores. But again, the          other major taxes. This was due in large part to the
             impacts have varied widely. More essential subsectors        Supreme Court’s Wayfair decision, which required
             have seen surprising growth compared to last year.           sales taxes collection on internet sales.
             Food and grocery store employment, for example,


                                                                    EXHIBIT 9


               MONTHLY YEAR-OVER-YEAR JOB CHANGES, TOP FIVE TEXAS RETAIL SUBSECTORS, JANUARY-NOVEMBER 2020
                                                          (NOT SEASONALLY ADJUSTED)


  20,000


         0                                                                                                FURNITURE AND HOME FURNISHINGS STORES
                                                                                                          ELECTRONICS AND APPLIANCE STORES
                                                                                                          MISCELLANEOUS STORE RETAILERS
 -20,000                                                                                                  CLOTHING AND CLOTHING ACCESSORIES STORES
                                                                                                          HEALTH AND PERSONAL CARE STORES
 -40,000                                                                                                     RETAIL TRADE

 -60,000


 -80,000


-100,000

-120,000
             JAN      FEB        MARCH   APRIL   MAY    JUNE      JULY    AUG      SEPT      OCT       NOV

Source: Texas Workforce Commission



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                                               TH E FE D E R AL C AR E S AC T
The Coronavirus Aid, Relief, and Economic Security (CARES) Act, signed into law on March 27, 2020, was the third and largest of
several federal emergency relief packages intended to address the economic fallout resulting from the COVID-19 pandemic.
     A central component of the CARES Act was the U.S. Small Business Administration-administered Paycheck Protection Program,
which initially expired on Aug. 8, 2020, but was revived on Dec. 21, 2020, after the passage of an additional federal stimulus bill.
Under the CARES Act, the PPP provided 1 percent interest loans to small businesses to help keep their employees on payroll, with
the stipulation that the federal government will forgive these loans entirely if the borrower uses the funds for payroll costs (at
least 60 percent), mortgage payments, rent and utilities. Loans made under the PPP from March to August 2020 averaged about
$101,000.
     The federal stimulus bill signed into law in late December totals roughly $900 billion and dedicates $325 billion in small
business aid through the PPP. Other major spending provisions include an 11-week extension and $300 boost in unemployment
benefits; direct payments of $600 for eligible individuals; and grants and funding for education, health care and transportation
initiatives. The December bill also makes a number of changes to the PPP, such as expanding eligible expenses for loan funds, to
better assist small businesses.
     Under the CARES Act, Texas small businesses received a total of $41.3 billion in PPP loans from March to August 2020, more than
any other state except California.


            And while sales taxes are down overall, retail sales          airline industry earn an average annual wage of about
        tax revenue for the second half of fiscal 2020 is up              $88,000, significantly higher than the state average of
        more than 10 percent YOY, with food and beverage                  about $59,000.
        and building material sales largely making up the                      In 2018, the Texas Department of Transportation
        increase, as well as a 153 percent increase YOY in                estimated that Texas’ commercial airports employed
        online shopping tax revenue.                                      about 112,000 workers in various roles from
                                                                          operations to retail to cargo services, with upwards
        AIRLINES
                                                                          of 40,000 working at DFW and 34,000 at IAH. A 2018
        The passenger airline industry began 2020 at a high               report by the Airports Council International estimated
        point. In 2019, U.S. airlines carried an
        all-time high of 1.1 billion passengers.                                     E X H I B I T 10

        Texas benefits greatly from air travel; it’s
                                                                    TEXAS AIRPORTS’ SCHEDULED ENPLANEMENTS
        home to 25 commercial airports and six                                  ON U.S. AIRLINES, 2019
        of the nation’s 50 busiest airports
        (Exhibit 10), including two of the world’s     U.S. RANK
        busiest: Dallas-Fort Worth (DFW) and
        Houston’s Bush Intercontinental Airport          4 DALLAS/FORT WORTH (DFW)
        (IAH). Texas also is home base for two of       14 HOUSTON BUSH
        the world’s largest airlines, American              INTERCONTINENTAL (IAH)
        Airlines and Southwest Airlines, both in        32 AUSTIN            (AUS)
        the Dallas-Fort Worth area. A third large
                                                        33 DALLAS LOVE FIELD (DAL)
        airline, United Airlines, has a significant
        presence at IAH. The passenger airline          36 HOUSTON HOBBY     (HOU)
        industry contributed an estimated
                                                        44 SAN ANTONIO       (SAT)
        $20.7 billion to Texas GSP in 2019. As 2020
        began, more than 105,000 Texans were            76 EL PASO           (ELP)
        employed in directly related businesses.
                                                                                    0 5 10 15 20 25 30                              35   40
        Workers employed in Texas’ passenger
                                                                                                  MILLIONS
                                                         Source: U.S. Bureau of Transportation



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                 WEATHERING THE PANDEMIC
                 that Texas’ commercial airports supported $41.8 billion                             normally carry nearly half of all global air cargo
                 in payrolls and contributed $130.4 billion annually to                              freight. To make up for this loss in cargo capacity,
                 the state’s economy.                                                                some passenger airlines began flying cargo-only
                      Air passenger traffic declined steeply and                                     flights. Prior to the pandemic, the last cargo-only
                 immediately with the onset of the pandemic. Previous                                flight by American Airlines was in 1984, but between
                 crises, such as the 9/11 terrorist attacks, have been                               March and October 2020, the airline made more than
                 financially disastrous to the airline industry, but                                 3,000 cargo-only flights to more than 30 different
                 COVID-19 was even more devastating in comparison.                                   destinations, many through DFW.
                 On March 1, 2020, more than 2.3 million passengers                                       Both Texas-based airlines suffered from COVID-
                 and employees were screened at U.S. airport                                         related limitations on travel. American Airlines lost
                 checkpoints. By month’s end the number was less than                                more than $2.2 billion in the first quarter of 2020 and
                 150,000 and continued to drop until April 14 when less                              at that time was burning through cash at a rate of $70
                 than 90,000 were screened.                                                          million a day. The airline reported a $2.4 billion net
                      For the first half of 2020, worldwide airport                                  loss in the quarter ending in September, bringing its
                 passenger numbers were down 58.4 percent                                            total losses for the first three quarters of 2020 to $6.7
                 compared to the previous year; DFW recorded a                                       billion. Southwest Airlines saw its first quarterly loss in
                 48.2 percent decrease in this period. During summer                                 almost 10 years in 2020, reporting a loss of $1.2 billion
                 2020, the three largest airlines serving Texas all                                  in the quarter ending in September 2020 compared
                 reported a high number of inactive aircraft and                                     to a $659 million profit in the same quarter of 2019.
                 significant drops in the number of seats available on                               Southwest’s losses for the first three quarters of 2020
                 flights departing from the largest Texas airport each of                            have been reported at more than $2.2 billion.
                 them served (Exhibit 11).                                                                In April 2020, the federal government’s CARES Act
                      International trade through Texas’ airports                                    included more than $50 billion in aid (including
                 declined by $8 billion for the first six months of 2020                             $25 billion in payroll support and $25 billion in loans)
                 compared to the first half of 2019. This is widely                                  for passenger airlines to support the industry through
                 attributed to the grounding of passenger jets, which                                summer and into the fall. These grants and loans
                                                                                                     contained provisions to protect workers and regional
                     Air passenger traffic declined                                                  airports through furlough restrictions and minimum
                     steeply and immediately with                                                    service guarantees through Sept. 30. American
                      the onset of the pandemic.                                                     Airlines and Southwest Airlines received more than


                                                                                          E X H I B I T 11


                             LARGEST AIRLINES OPERATING IN TEXAS AND LARGEST TEXAS AIRPORT USED BY AIRLINE,
                                                              SUMMER 2020
                                                          TOTAL AIRPLANES
                 AIRLINE                                                                                            LARGEST TEXAS AIRPORT USED BY AIRLINE
                                                         IN COMPANY FLEET
                           GLOBAL
                          RANKING                                            PARKED                                                                 SEATS          PERCENT
                         (AVAILABLE               AIRPLANES                AIRPLANES                                                              AVAILABLE      CHANGE FROM
                           SEATS)                 IN SERVICE               (INACTIVE)                                                            SUMMER 2020     SUMMER 2019


 SOUTHWEST                       1                      634                      105            DALLAS LOVE FIELD                                  3,911,146         -13%

 AMERICAN                        4                      653                     348             DFW INTERNATIONAL AIRPORT                          9,135,748         -48

 UNITED                         10                      393                     466             GEORGE BUSH INTERNATIONAL AIRPORT                  2,187,712         -41

Note: OAG's "summer" classification based on data for March 29 through October 30; 2020 figures represent estimates made as of Sept, 28, 2020.
Source: OAG Aviation Worldwide Limited



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   Texas hospitals, like others                              federal stimulus bill, however, the company said the
  across the country and around                              furloughs wouldn't be needed at least through the
                                                             end of 2021.
    the world, have struggled
   to meet the unprecedented                                 HOSPITALS

    demand on their resources                                Texas has more than 500 hospitals, more than any
           and capacity.                                     other state. In 2019, the Texas hospital industry
                                                             employed nearly 470,000 and accounted for about
                                                             $50.4 billion of Texas GSP.
 $5.8 billion and $3.2 billion, respectively, from the            These hospitals, like others across the country
 CARES Act.                                                  and around the world, have struggled to meet the
      As the year came to a close, American Airlines         unprecedented demand on their resources and
 employed fewer than 100,000 persons worldwide,              capacity. Their financial pressures have increased
 nearly 30 percent less than at the start of the             significantly, and their staffs have been stretched to
 pandemic. And according to Southwest Airlines’ Sherri       the limit.
 Hull, a senior advisor for governmental affairs, the             They’ve lost significant revenue by being forced
 company shrank its workforce by nearly 25 percent           to cancel or curtail non-emergency services while
 in 2020 through concessions and voluntary leave             at the same time having to boost pandemic-related
 programs; many of these jobs were located in Texas.         staffing; increase supplies of personal protective
      Yet there are some signs the worst may be over.        equipment (PPE), pharmaceuticals and ventilators;
 Southwest Airlines announced that it reduced its daily      and modify their operations and facilities to expand
 cash burn to an average of $16 million in the third         capacity safely. Widespread, pandemic-related job
 quarter of 2020 and anticipates it falling to about         losses mean hospitals are treating more uninsured
 $12 million in the fourth quarter. American Airlines        patients than ever before (see the October 2020 issue
 expects its fourth-quarter 2020 average daily cash burn     of Fiscal Notes for more).
 to come in at the high end of its previously forecasted          In August 2020, the Harris Health System reported
 range of $25-$30 million per day.                           that its Houston-area public hospitals have lost an
      In October 2020, the Transportation Security           average of $10 million a month since the end of
 Administration screened more than 1 million U.S.            March. These losses reflected decreases in outpatient
 passengers for the first time since March, although the     visits and increases in supply and labor costs.
 number has fluctuated since then. During the Sunday              Inpatient surgeries and emergency room
 after Thanksgiving — typically one of the busiest days      visits also have decreased, not only due to state or
 for air travel — nearly 1.2 million passengers passed       local orders but also because many patients are
 through U.S. airports’ security, the highest figure seen    postponing care to avoid the risk of contracting the
 in months but still down 59.2 percent YOY.                  virus. According to a June 2020 survey conducted by
      2021 will be a challenge for all carriers, according   the U.S. Centers for Disease Control and Prevention,
 to John Grant, chief analyst at OAG, a leading air travel   41 percent of U.S. adults avoided medical care during
 information consultancy. But advance bookings for           the pandemic because of concerns about COVID-19,
 May and June 2021 already appear “pretty good”              including 12 percent who didn’t go in for emergency
 versus previous years. Uncertainty keeps the industry       care and another 32 percent who delayed routine
 in flux, however — ticket sales flattened as the virus      visits.
 spiked in late autumn 2020 and new travel restrictions           In addition to these diminishing revenue streams,
 were implemented. In early December, Southwest              many staff members are experiencing financial
 Airlines notified more than 6,800 employees of              pressure, as hospitals have been forced to resort to
 potential furloughs (mandatory but temporary leaves         pay cuts, reduced hours, furloughs and even layoffs to
 of absence) in early 2021. After passage of the recent      stay afloat.



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             WEATHERING THE PANDEMIC
                  While most supply chains                                 The CARES Act and other recently enacted federal
                                                                       legislation allocated $175 billion to the Provider Relief
                  have resumed and many
                                                                       Fund for U.S. hospitals and other healthcare providers.
                 Texans are getting back to                            Texas providers received almost $3 billion in general
                 business, not all industries                          funding. An additional $602.7 million was sent to
                    have bounced back.                                 58 Texas hospitals located in COVID-19 high-impact
                                                                       areas and $1.2 billion was provided to Texas safety-net
                 As of August 2020, according to Becker’s              hospitals. Texas’ rural health care providers (including
             Hospital CFO Report, more than 260 hospitals and          hospitals) received another $725.7 million.
             health systems in the U.S. had furloughed workers             Texas’ hospitals have stepped up in heroic and
             during the pandemic, and dozens of others have            unprecedented ways to save lives and minimize the
             implemented layoffs. In June, Texas’ Baylor Scott         virus’ spread. When they resume normal operations,
             & White Health laid off about 930 employees and           some of the lessons learned and strategies improvised
             introduced pay cuts for 300 senior managers; in early     during the pandemic — such as telehealth services —
             December, the system announced it was laying off          may endure. (See our May 2020 Line Items article on
             a further 102 finance and accounting employees            telemedicine at FiscalNotes.org.)
             and outsourcing their duties to India. In August,         AN UNCERTAIN YEAR TO COME
             the University of Texas Medical Branch in Galveston
                                                                       The COVID-19 crisis has changed life as we knew it last
             announced it would lay off 200 employees as it faced
                                                                       February. It may be a long time before pre-pandemic
             a budget shortfall of $174 million.
                                                                       life returns — if it ever truly returns. One bright spot in
                 From March 1 to June 30, 2020, the American
                                                                       these times is the way the public, businesses, schools
             Hospital Association (AHA) studied four financial
                                                                       and others have risen to the occasion by restructuring
             challenges U.S. hospitals face:
                                                                       their workplace practices and accelerating their use of
             •   the effect of COVID-19 hospitalizations on            technology.
                 hospital costs;                                            When everything paused last spring, nearly all
             •   the effect of canceled and forgone services (such     Texas businesses saw a decline in commerce. While
                 as elective surgeries) on hospital revenue;           most supply chains have resumed and many Texans
             •   additional costs associated with purchasing PPE       are getting back to business, not all industries have
                                                                       bounced back. Some industries and some people have
                 as well as establishing additional COVID-19 wards,
                 testing centers, etc.; and                            been more affected than others, and that disparity will
                                                                       make our recovery more challenging.
             •   the costs of the additional supports some                  But Texans are known for their resiliency, and
                 hospitals are providing to their workers.             our businesses and industries are working hard to
                 Using these measures, the AHA estimated a total       adapt, meeting the economic chaos with creativity,
             four-month financial impact of $202.6 billion in losses   agility and ingenuity. When the crisis passes, these
             for U.S. hospitals and health systems — an average of     innovations will remain. Amid the disruption, we will
             $50.7 billion per month. The losses were expected to      grow stronger. FN
             increase to $323 billion by the end of 2020.




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State Revenue Watch
                                                                               NET STATE REVENUE — All Funds Excluding Trust

                                                                                            (AMOUNTS IN THOUSANDS)
This table presents data on net                                  Monthly and Year-to-Date Collections: Percent Change From Previous Year
state revenue collections by
                                                                                                                                            YEAR TO DATE:
source. It includes most recent                                                                                         YEAR TO DATE:       CHANGE FROM
monthly collections, year-to-date                    Tax Collections by Major Tax                       DECEMBER 2020      TOTAL            PREVIOUS YEAR
(YTD) totals for the current fiscal                  SALES TAX                                            $2,860,349     $11,136,802           -5.27%
year and a comparison of current                     PERCENT CHANGE FROM DECEMBER 2019                     -5.05%
YTD totals with those in the                         MOTOR VEHICLE SALES AND RENTAL TAXES                  438,937        1,762,433            -0.39%
equivalent period of the previous                    PERCENT CHANGE FROM DECEMBER 2019                      2.72%
fiscal year.                                         MOTOR FUEL TAXES                                      277,658        1,182,927            -7.25%
                                                     PERCENT CHANGE FROM DECEMBER 2019                     -10.63%
These numbers were current at                        FRANCHISE TAX                                         -53,229          1,742             -101.25%
press time. For the most current                     PERCENT CHANGE FROM DECEMBER 2019                     -60.59%
data as well as downloadable                         OIL PRODUCTION TAX                                    197,462         824,029             -40.61%
files, visit comptroller.texas.gov/                  PERCENT CHANGE FROM DECEMBER 2019                     -45.53%
transparency.                                        INSURANCE TAXES                                        32,813         108,722             -2.72%
                                                     PERCENT CHANGE FROM DECEMBER 2019                     45.40%
Note: Texas’ fiscal year begins
                                                     CIGARETTE AND TOBACCO TAXES                           126,031        468,726              20.20%
on Sept. 1 and ends on Aug. 31.
                                                     PERCENT CHANGE FROM DECEMBER 2019                     11.19%
                                                     NATURAL GAS PRODUCTION TAX                            85,543          289,244             -30.57%
                                                     PERCENT CHANGE FROM DECEMBER 2019                     -24.96%
                                                     ALCOHOLIC BEVERAGES TAXES                              84,107        346,287              -26.37%
                                                     PERCENT CHANGE FROM DECEMBER 2019                     -28.52%
                                                     HOTEL OCCUPANCY TAX                                   25,570          125,583             -41.39%
                                                     PERCENT CHANGE FROM DECEMBER 2019                     -48.54%
                                                     UTILITY TAXES1                                         1,601          122,680             -6.18%
                                                     PERCENT CHANGE FROM DECEMBER 2019                     143.26%
                                                     OTHER TAXES 2                                          9,792          39,986              -48.62%
                                                     PERCENT CHANGE FROM DECEMBER 2019                     -37.51%
                                                     TOTAL TAX COLLECTIONS                               $4,086,635     $16,409,160            -8.13%
                                                     PERCENT CHANGE FROM DECEMBER 2019                     -7.36%
                                                                                                                                            YEAR TO DATE:
                                                                                                                        YEAR TO DATE:       CHANGE FROM
                                                     Revenue By Source                                  DECEMBER 2020      TOTAL            PREVIOUS YEAR
                                                     TOTAL TAX COLLECTIONS                                $4,086,635     $16,409,160           -8.13%
                                                     PERCENT CHANGE FROM DECEMBER 2019                      -7.36%
                                                     FEDERAL INCOME                                       4,459,167      19,573,494            35.12%
                                                     PERCENT CHANGE FROM DECEMBER 2019                     40.81%
                                                     LICENSES, FEES, FINES AND PENALTIES                   438,529        2,074,255            -2.17%
                                                     PERCENT CHANGE FROM DECEMBER 2019                     -0.93%
                                                     STATE HEALTH SERVICE FEES AND REBATES3                327,483        1,656,480            -26.84%
                                                     PERCENT CHANGE FROM DECEMBER 2019                     106.81%
                                                     NET LOTTERY PROCEEDS 4                                252,033         897,489             26.11%
1
  Includes public utility gross receipts             PERCENT CHANGE FROM DECEMBER 2019                     40.46%
   assessment, gas, electric and water               LAND INCOME                                           135,924         516,500             -33.19%
   utility tax and gas utility pipeline tax.
2
   Includes taxes not separately listed, such        PERCENT CHANGE FROM DECEMBER 2019                     -35.12%
   as taxes on oil well services, coin-operated      INTEREST AND INVESTMENT INCOME                        58,557          465,941             -56.93%
   amusement machines, cement and combative
   sports admissions as well as refunds to           PERCENT CHANGE FROM DECEMBER 2019                     -83.42%
   employers of certain welfare recipients.
                                                     SETTLEMENTS OF CLAIMS                                 422,096         452,543             -0.29%
3
   Includes various health-related service fees
   and rebates that were previously in “license,     PERCENT CHANGE FROM DECEMBER 2019                     -2.77%
   fees, fines and penalties” or in other non-tax
   revenue categories.                               ESCHEATED ESTATES                                      18,106         109,635             15.68%
4
   Gross sales less retailer commission and the      PERCENT CHANGE FROM DECEMBER 2019                     129.30%
   smaller prizes paid by retailers.
                                                     SALES OF GOODS AND SERVICES                            21,946         95,502               5.31%
Notes: Totals may not add due to rounding.           PERCENT CHANGE FROM DECEMBER 2019                     -12.45%
Excludes local funds and deposits by certain         OTHER REVENUE                                         216,974        885,346              110.48%
semi-independent agencies.
Includes certain state revenues that are deposited   PERCENT CHANGE FROM DECEMBER 2019                     118.18%
in the State Treasury but not appropriated.          TOTAL NET REVENUE                                   $10,437,450    $43,136,345            6.89%
                                                     PERCENT CHANGE FROM DECEMBER 2019                     10.01%

                                                                                                                                        App.021
                                                                                                                                       FISCAL NOTES      | 15
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                                                                                                                                                                                                    FIRST-CLASS MAIL
        FISCAL NOTES                                                                                                                                                                                   PRESORTED
                                                                                                                                                                                                    US POSTAGE PAID
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  GLENN HEGAR
  Texas Comptroller of Public Accounts

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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                             AMARILLO DIVISION


                                          §
STATE OF TEXAS, STATE OF MISSISSIPPI,     §
STATE OF LOUISIANA,                       §
                                          §
      Plaintiffs,                         §
                                          §    Case No. 2:21-cv-00079-Z
v.                                        §
                                          §
JANET YELLEN, IN HER OFFICIAL CAPACITY    §
AS SECRETARY OF THE TREASURY, ET AL.,     §
                                          §
      Defendants.                         §
                                          §

    APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
 DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                           JUDGMENT

                         DECLARATION OF JEFFREY M. WHITE

                        Southwest Economy – First Quarter 2021

                                  EXHIBIT A-2




                                                                           App.023
                              Southwest
       Federal Reserve
     Case
      Bank2:21-cv-00079-Z
             of Dallas    Document 29-1 Filed 09/27/21    Page 25 of 272 PageID 247




                              Economy
FIRST QUARTER 2021




                            }     COVID-19 Slammed into Texas,
                                  Leaving Long-Lasting Impacts

                                  PLUS
                                  } COVID-19 Poses Stubborn Challenge to Economic Growth
                                    in Mexico

                                  } On the Record: Value-Added Tax Could Restrain Long-Term
                                    Federal Debt

                                  } Spotlight: Pandemic Pushes Texas Minority Unemployment
                                    Beyond Highs Reached During Great Recession

                                  } Go Figure: Collapsing Fuel Demand Tanks Texas Exports
                                    During Pandemic's Peak



                                                                                  App.024
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                                                      President’s Perspective
                                                      Rob Kaplan, president and CEO of the
                                                      Dallas Fed, regularly speaks and writes on
                                                      the factors that affect economic growth in
                                                      the nation and Eleventh District. Here are
                                                      some of his recent thoughts on key issues:




  On the Stance of Monetary Policy
  “My forecast has improved meaningfully. … Having said that, we are still in the middle of a pandemic, and I
  want to see more than a forecast, and I want to see actual evidence that that forecast is going to unfold. As we
  do, and as we make substantial further progress on meeting our dual-mandate goals [stable prices and maxi-
  mum sustainable employment], I for one am going to be an advocate of beginning the process of removing
  some of these extraordinary monetary measures, and doing it sooner rather than later. But I need to see out-
  comes, not just a strong forecast.”

  CNBC Interview with Steve Liesman—March 23, 2021




  On the Importance of the Vaccine Rollout
  “The most important thing is how we manage the virus, and these variants, and getting people vaccinated
  and speeding the vaccinations so we head off the potential impact of these variants. That’s still the No. 1
  thing I’m watching.”

  Interview with Reuters—Feb. 17, 2021




  On the Outlook for Inflation
  “It wouldn’t be surprising to see the cyclical elements of inflation build, and I think that you will see some
  supply outages. We are already seeing evidence of it [in] semiconductors, metals, wood products, maybe even
  in oil markets. But I don’t think those are going to be persistent, I don’t think those are going to be long term.

  "I think there is no question that the cyclical forces will build, and over time, the question for me is how
  strong are the accelerating forces of technology and technology-enabled disruption which have been muting
  inflationary pressures for some time. How do those cyclical and structural forces play out over time? That’s
  what I am going to be watching for. The temporary jump up or rise in inflation won’t surprise me. The ques-
  tion for me will be how persistent is it, and I think the jury is still out on that right now.”

  Bloomberg TV Interview with Mike McKee—Feb. 9, 2021




                                                                                                              App.025
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                                                            COVID-19 Slammed
                                                            into Texas, Leaving
                                                            Long-Lasting Impacts
                                                            By Emily Kerr, Judy Teng and Keith Phillips




                                                           T
            }


                                                                 he economic downturn that began                         The pattern of job growth in Texas
                                                                 with the arrival of COVID-19 in                      at the beginning of the pandemic
ABSTRACT: The economic                                           March 2020 has greater resem-                        resembles that of Louisiana following
road from the COVID-19                                     blance to a natural disaster than a                        Katrina rather than past Texas reces-
recession in Texas will likely                             typical recession.                                         sions (Chart 1). The speed with which
                                                              Most recessions begin with slowing                      the state achieves prepandemic levels
feature a steeper, more rapid
                                                           growth that transitions into declin-                       of output and jobs will depend on how
climb than the usual gradual                               ing jobs and output. At the time, the                      quickly COVID-19 cases and hospital-
rise associated with most                                  process may appear so gradual that                         izations decline and the long-lasting
recoveries. Some structural                                analysts often miss it until many                          structural changes left behind.
                                                           months later.
changes that the pandemic
                                                              By comparison, when a hurricane                         Expecting a Slow Return
wrought will take longer to                                occurs—for example, Hurricane Ka-                            The pandemic fundamentally
resolve, including those that                              trina striking Louisiana in 2005—the                       disrupted Texas business. Despite the
will make work from home                                   economy suddenly halts, and jobs and                       economic recovery that began in May
                                                           output fall sharply. A quick return to                     2020, roughly 60 percent of firms in
a longer-term occupational
                                                           growth follows just a couple months                        the Dallas Fed Texas Business Outlook
reality for some.                                          later, although a full recovery can take                   Surveys (TBOS) reported that their
                                                           a year or more.                                            January 2021 revenues remained below



    CHART
       1           2020 Texas Downturn Looks Much Like Impact from Large Natural Disaster

    Percent of peak employment
     102

     100

      98

      96

      94                                                                                                      1982
                                                                                                              1986
      92                                                                                                      2001
                                                                                                              2008
                                                                                                              2020
      90                                                                                                      Louisiana jobs when Hurricane Katrina hit

      88
              -2   -1     0    1     2     3    4     5     6    7     8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24
                                                                     Months after business-cycle peak
   NOTES: Solid lines refer to Texas nonfarm payroll employment. Recessions are indexed to peak employment: March 1982, January 1986, March 2001, August 2008 and February
   2020. Dotted line refers to Louisiana nonfarm payroll employment indexed to peak employment in August 2005.
   SOURCE: Bureau of Labor Statistics.



                                                                                                                                                        App.026
                                         Southwest Economy • Federal Reserve Bank of Dallas • First Quarter 2021                                                             3
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     CHART
        2            When Do You Expect Your Firm’s Revenues and Head Counts to Return to Pre-COVID Levels?


                                            Revenues                                                                                                                  Head count
                                                                                                                                  Less than six months
                                                                                                                                  6–12 months
                                              4%
                                                                                                                                  More than a year
                                                                                                                                  Never
                                                                                                                                                      19%                                        27%

                                                                                                                        30%
                          32%




                                                                                                                                                      28%
                                                                                                                                                                                             25%


                                                     33%



    NOTES: This question was only posed to those indicating January revenues or head counts that were below normal (60 and 48 percent of all firms, respectively). Data were
    collected Jan. 12-20. There were 220 responses for revenues and 176 for head count.
    SOURCE: Federal Reserve Bank of Dallas Texas Business Outlook Surveys, January 2021.




    normal. When these responding exec-                        study found that output per worker                                                                  However, in the short run, they can
    utives were asked when they expected                       rose by more than 5 percent during the                                                              lead to slower job growth, particularly
    a return to pre-COVID-19 levels, 30                        Great Recession.1                                                                                   if there is a mismatch between the
    percent said within six months, and 63                       In the long run, productivity gains                                                               skills demanded by the new jobs and
    percent said within a year (Chart 2).                      are a main source in a country’s stan-                                                              the skills of unemployed workers.
    The vast majority—96 percent—antici-                       dard of living. They spur both strong                                                                   For example, the large number of
    pate full recovery, though nearly one-                     output growth and full employment.                                                                  workers displaced from the leisure and
    third said it will take more than
    12 months.
                                                                                CHART
       Restoring normal employment may
    take longer than reviving revenues.                                                                           3           Texas Businesses Report on COVID-19 Structural Changes

    Among the 48 percent of firms report-
                                                                                                                  40
                                                                Percent noting decrease Percent noting increase




    ing January 2021 head counts below
                                                                                                                              29
    prepandemic levels, nearly 20 percent                                                                         30                         28
    said they do not expect them to ever
                                                                                                                  20                                        17
    return to pre-COVID-19 numbers.                                                                                                                                         12
    These businesses point to increased                                                                           10
    efficiency and productivity or stream-                                                                                                                                                   3               1
                                                                                                                   0
    lining due to technology adoption.                                                                                        1              0              0               1
    Several companies said that they                                                                              -10
    were overstaffed leading up to the                                                                                                                                                      14
                                                                                                                  -20
    pandemic.
       These pandemic-spurred productiv-                                                                          -30                                                                                        25
                                                                                                                         Telecommuting   Technology     Contactless     Other new       Office space   Business travel
    ity improvements allow firms to gener-                                                                                                adoption    product/service product/service
    ate more revenue per employee going                                                                                                                  delivery        offerings

    forward. This wouldn’t be uncommon,                          NOTES: There were 369 respondents. Firms were asked, “Are there structural changes your firm has made or
    as aggregate productivity tends to                           plans to make as a result of the COVID-19 pandemic that you expect to be permanent? If yes, please specify any
                                                                 changes and whether it is an increase or decrease." Those not responding to a specific category are not shown,
    rise during economic downturns. A                            thus the percentages do not total 100.
    National Bureau of Economic Research                         SOURCE: Federal Reserve Bank of Dallas Texas Business Outlook Surveys, December 2020.




                                                                                                                                                                                                       App.027
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hospitality sector likely won’t readily                          TABLE
transition to growing sectors such as
information technology and financial
                                                                    1                Share of Work-from-Home Employees to Remain Elevated

                                                                                                                                                     Average (percent)
services. They may more easily find
employment related to e-commerce,                                Pre-COVID-19                                                                                  8.3

such as in warehousing and parcel                                Current                                                                                      35.0
delivery services.                                               Post-COVID-19                                                                                20.6


Long-Term Pandemic Impacts                                      NOTES: Respondents were asked, “What share of your employees were working remotely in February 2020 (pre-
                                                                COVID-19), and what share are currently (August 2020) working remotely? What share do you expect to work
   TBOS respondents reported at year-                           remotely after the pandemic ends?” There were 390 responses. Data were collected Aug. 18–26, 2020.
end 2020 whether they expected the                              SOURCE: Federal Reserve Bank of Dallas Texas Business Outlook Surveys, August 2020.

structural changes instituted because
of the pandemic to be permanent.
Nearly 30 percent anticipated a perma-                      spread increased costs, while the                                   large-scale business transactions,
nent increase in telecommuting and                          benefits of leisure opportunities such                              work-from-home efficiency surprised
technology adoption relative to pre-                        as restaurants and entertainment fell.                              many in a variety of industries.
COVID-19 levels (Chart 3).                                  This, along with historically low inter-                               The success of remote work likely
   A quarter of firms expected a perma-                     est rates, likely prompted a significant                            will reduce demand for office space
nent reduction in business travel, and                      shift in Texas from city centers to sub-                            over the next few years from what it
14 percent said they likely won’t need                      urban regions and larger homes.2                                    would have been absent COVID-19.
as much office space.                                          Moreover, the desire to work from                                TBOS contacts indicated that on aver-
   These structural shifts portend                          home increased sharply due to early                                 age, they expect about 21 percent of
changes in where people desire to live                      government “stay at home” orders and                                their employees to continue working
and work and also affect commuting.                         a fear of viral spread. During the initial                          from home after the pandemic.
The impacts will affect business travel                     outbreak, the average share of em-                                     Office vacancy rates have increased
and the oil and gas sector.                                 ployees working remotely increased                                  across the state’s major metro areas.
                                                            by 26.7 percentage points to more                                   The fourth quarter 2020 office
More Remote Work Likely                                     than a third of all workers (Table 1).                              vacancy rate reached 23.4 percent in
  During the pandemic, the dynamics                            With numerous telecommuting                                      Dallas–Fort Worth and 22.3 percent
of high-density mostly urban liv-                           platforms available to facilitate remote                            in Houston, surpassing Great
ing changed—the potential of virus                          job activity, collaboration and even                                Recession peaks.3

 CHART
    4          Texas 2020 Population Growth Suggests Strong Migration from Other States


                                   1
                                                                                                                                        -0.1       0.3
                                                      1                    0.2
                             0.6                                                        0.3
                                                                                                                                                     0.4
                                          2.1                              0.6                      0.1                               -0.6            0
                                                          0.4                                                -0.2                                  -0.3
                                                                                          0.1                                  -0.1
                                   1.5                                     0.3                                                                 0
                                                                                                                    0
                                                                                                     -0.6   0.4
                                                1.5
                                                            0.9                                                          -0.6 0.4
                          -0.2                                                   0            0.2                 0.1
                                                                                                                                0.9
                                                                                                            0.8
                                           1.8                                    0.5         0.3
                                                          0.3                                                                 1.2                  Percent change
                                                                                                                                                   (2019–20)
                                                                                                      -0.4 0.3          0.8
                                                                                              -0.3                                                       Less than -0.5
                                                                            1.3
                                                                                                                                                         -0.5 to <-0.25
                                 -0.3                                                                                         1.1                        -0.25 to 0
                                                                                                                                                         0 to 0.75
                                                                                                                                                         >0.75 to 1.5
                                                                                                                                                         Over 1.5


 SOURCE: Census Bureau.




                                                                                                                                                                        App.028
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     CHART
        5           Texas Exposure to Leisure and Hospitality Similar to U.S.; Varies Across Metros


      Share of leisure and hospitality jobs (percent)
      16                                                                                December 2019            December 2020
                                                                                                                                       13.5
      14                                                                                                                12.7
                                                                                                          12.0                                12.0
      12       11.1               10.9                                   11.4
                                                                                             10.6                              10.4
                                           9.5        10.0                       9.8                9.5
      10               9.2                                                                                       9.2
                                                              8.1
        8
        6
        4
        2
        0
                   U.S.              Texas              Dallas           Fort Worth          Houston       Austin      San Antonio      Corpus
                                                                                                                                        Christi

    SOURCE: Texas Workforce Commission, adjustments by the Federal Reserve Bank of Dallas.




      With fewer workers commuting to                      tion increased by about 20 percent last          Business Travel Impacts
    urban centers, restaurants and retail in               year—to around 151,700.                             Telecommunications technology,
    those areas may experience a slower                       The strength in net domestic migra-           and in particular web conferencing,
    recovery, and demand for gasoline                      tion to Texas is supported by data from          has gained new prominence—digi-
    (and thus, oil) will increase more                     U-Haul, which measures movements                 tal platforms such as Skype, Lifesize,
    slowly than would otherwise be the                     of one-way moving truck rentals. Last            Zoom, GoToMeeting and Cisco WebEx.
    case following a downturn.                             year, Texas ranked second in net trucks          While their development generally
                                                           coming into the state—behind only                began in the mid-1990s, their use ac-
    Still Moving to Texas                                  Tennessee and ahead of Florida.                  celerated during the pandemic.
       Some recent studies have found the                     Interestingly, the top three states for          As employees shifted to working
    pandemic not only resulted in some                     net positive moves were three of only            from home, they were forced to learn
    movement to the suburbs but may also                   nine states that do not have a state in-         about these platforms and began
    have increased the desire of people                    come tax.5 California was at the bottom          appreciating their ease of use. Many
    to live in less-dense and more-inex-                   of the list as the state with the greatest       internal and external conferences were
    pensive cities nationally, which would                 net outflow of moving trucks.                    converted from in-person events to
    benefit states such as Texas.4                            Also supporting strong net domestic           digital, and business travel declined
       Data on population growth, U-Haul                   migration, a Zonda research survey of            dramatically in 2020. How fast and how
    rental truck movements and a national                  builders in November 2020 found that             far business travel rebounds remains
    builders survey all suggest that net in-               60 percent of 45 builders with opera-            subject to debate, though experts in the
    migration into Texas from other states                 tions in Texas said that out-of-market/          field predict a slow recovery to prepan-
    remained high last year.                               out-of-state home purchases had                  demic levels.
       Texas’ population increased 1.3 per-                increased in Texas, while 4.4 percent               In a survey of meeting planners in
    cent in 2020—about the same pace as                    said they had decreased.6                        January 2021, only 22 percent antici-
    in 2019 and the fastest rate of growth                    Six out of the 10 builders that posted        pated resuming face-to-face meetings
    of the 10 largest states (Chart 4). While              comments mentioned people moving                 in the first half of the year, with 25
    a breakdown of the sources of the                      from California or the West Coast, with          percent seeing a third-quarter resump-
    increase is not yet available, average                 one citing a “huge influx from Califor-          tion, 27 percent anticipating a return
    growth rates of births, deaths and in-                 nia still continuing.”                           at year-end and 18 percent suggesting
    ternational migration to the state over                   Firms recently announcing reloca-             a resumption in 2022.7 When asked
    the past five years provide an indicator.              tion of major operations or headquar-            about what percentage of 2019 events
    These estimates along with census data                 ters to the state included Tesla, Hewlett        activity they foresee coming back, just
    imply that Texas net domestic migra-                   Packard Enterprise, Oracle and CBRE.             7 percent reported returning to 2019



                                                                                                                                      App.029
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levels this year, 32 percent by 2022 and      December 2019 to $16.55 in April 2020.        Kerr is a senior business economist in
71 percent by 2023.                           Prices subsequently recovered to an           the Research Department at the Federal
   If meetings and conferences are slow       average of $59.05 per barrel by Febru-        Reserve Bank of Dallas.
to return, then industries relying on         ary 2021.
business travel, such as airlines, hotels,       Although contacts in the first-quarter     Teng is a research analyst in the San
restaurants, retail and convention cen-       Dallas Fed Energy Survey reported             Antonio Branch of the Federal Reserve
ters will feel the effects. Nationally, ho-   increased activity and an improved            Bank of Dallas.
tel occupancy averaged just 44 percent        outlook, commuter and business travel
last year, and revenue per available          won’t likely return to pre-COVID-19           Phillips is an assistant vice president
room was down 48 percent from 2019,           levels over the next several years.           and senior economist in the San
according to hospitality analytics firm          Survey respondents expected the            Antonio Branch of the Federal Reserve
STR, a unit of CoStar Group Inc.8             price of WTI to be $61 in fourth quar-        Bank of Dallas.
   Luxury hotels performed far worse,         ter 2021, slightly above the average
with 21 percent occupancy in Decem-           breakeven price the survey reported           Notes
ber 2020 versus 68 percent in 2019,           in first quarter 2021. Despite higher oil     1
                                                                                              “Making Do with Less: Working Harder During
while economy hotel occupancy was             prices, slightly over half—53 percent—        Recessions,” by Edward P. Lazear, Kathryn L. Shaw
45 percent in December compared               of executives expect their head count         and Christopher Stanton, National Bureau of Economic
with 48 percent in December 2019. STR         to remain unchanged from December             Research, Working Paper no. 19328, August 2013, www.
forecasts that overall room demand            2020 to December 2021.                        nber.org/system/files/working_papers/w19328/w19328.
will rebound to 2019 levels by 2023,                                                        pdf.
and it won’t be until 2024 before rev-        Vaccinations Remain Key                       2
                                                                                              “COVID-19 Fuels Sudden, Surging Demand for
enue per available room fully recovers.          Assuming there is COVID-19 vaccine         Suburban Housing,” by Laila Assanie and Yichen Su,
   How will reduced business travel           efficacy and a high percentage of the         Federal Reserve Bank of Dallas Southwest Economy,
affect the jobs recovery in Texas? While      population is vaccinated or immune by         Fourth Quarter 2020.
detailed data on business travel are          the third quarter, the Texas economy          3
                                                                                              From CBRE Research.
difficult to obtain, broader measures of      should grow strongly in the second half       4
                                                                                              “The Impact of the COVID-19 Pandemic on the Demand
the sector’s size provide insight regard-     of 2021.                                      for Density: Evidence from the U.S. Housing Market,” by
ing the potential outline of a rebound.          Structural changes and frictions in the    Sitian Liu and Yichen Su, Federal Reserve Bank of Dallas
   About 11 percent of jobs in Texas and      labor market might impact the pace of         Working Paper no. 2024, revised October 2020;
the U.S. were in leisure and hospitality      job gains and a return to pre-COVID-19        “Emerging Trends in Real Estate 2021,” Urban Land
in 2019, though the figure was much           employment levels in Texas. Shifting          Institute and PwC, accessed Feb. 22, 2021.
higher in metros such as San Antonio          demand toward less dense, lower cost          5
                                                                                              Tennessee and New Hampshire are among the nine
and Corpus Christi (Chart 5). Given the       of living areas, such as those in Texas,      states, although they collect taxes on interest and
sector’s size, especially in certain areas,   should support economic growth.               dividend income.
its slow return may depress job growth           Overall, the changes suggest that          6
                                                                                              Survey from Zonda advisory of homebuilders
this year, even as other sectors and          Texas will continue to see stronger job       operating in Texas and their assessment of the impact
certain portions of the industry—such         growth than the national average and          of COVID-19. Results presented Jan. 27, 2021, www.
as leisure travel and local spending on       employment will return to pre-COV-            surveymonkey.com/results/SM-X3H6DDP67/.
restaurants—grow strongly.                    ID-19 levels before the end of the year.      7
                                                                                              i-Meet Planner Confidence Index, “2021 Planner
                                              However, jobs will still be below the         Confidence Index–Phase 3,” a weekly survey of trends
Oil and Gas Sector Impact                     trend level suggested before COVID-19.        and evolving opinions of meeting professionals.
   Texas accounted for 41 percent of U.S.     Jobs in Texas will likely grow a strong 6.0   8
                                                                                              “STR, TE Slightly Downgrade Latest U.S. Hotel
oil production and 25 percent of U.S.         percent this year, according to the Dal-      Forecast,” STR Global, Jan. 26, 2021,
natural gas production in 2019. With          las Fed Texas Employment Forecast.10          https://str.com/press-release/str-te-slightly-downgrade-
the rise in working remotely and the de-         Households that have pent up               latest-us-hotel-forecast.
clines in air travel and leisure and hos-     demand and built up savings should            9
                                                                                              “Lower U.S. Crude Oil Production Decreases Output,
pitality activity, worldwide fuel demand      return to restaurants and vacation des-       Raises Price of Natural Gas,” by Jesse Thompson and
plummeted in the first half of 2020.          tinations and even some high-contact          Camila Holm, Federal Reserve Bank of Dallas Southwest
   Gasoline consumption fell by nearly        events such as concerts and sporting          Economy, Fourth Quarter 2020.
half and jet fuel by 70 percent nation-       events. At a growth rate of 6.0 percent,      10
                                                                                               “Texas Employment Forecast,” Federal Reserve Bank
ally.9 The reduced demand for oil             however, jobs in December 2021 would          of Dallas, March 26, 2021, www.dallasfed.org/research/
products played a major role in a large       still be about 0.9 percent (116,000 jobs)     forecast/2021/emp210326.aspx.
decline in the monthly average price          above the peak level reached in Febru-
of West Texas Intermediate Crude              ary 2020, but below the previous trend
(WTI)—from $59.88 per barrel in               by 2.7 percent (359,000 jobs).



                                                                                                                               App.030
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    A Conversation with Alan D. Viard                                                           nitude of the tax increases or spending
                                                                                                cuts would rise to 4.4 percent of GDP if
                                                                                                action were delayed to 2030 and to 5.9

    Value-Added Tax Could
                                                                                                percent if action were put off to 2035.
                                                                                                  Although it would be unwise to im-

    Restrain Long-Term
                                                                                                plement major tax increases or spend-
                                                                                                ing cuts while the economy is still weak-

    Federal Debt
                                                                                                ened by the pandemic, action should
                                                                                                be taken as soon as possible after the
                                                                                                economy regains its strength.

    Alan D. Viard, a resident scholar at the American Enterprise                                Q. You have proposed implementing
                                                                                                a national value-added tax (VAT) to
    Institute, studies tax and budget policy. A former senior
                                                                                                boost revenue. What is a VAT and how
    economist at the Federal Reserve Bank of Dallas, Viard discusses                            does it differ from a retail sales tax?
    how to address the U.S. budget deficit in the aftermath of the
                                                                                                   The VAT is a consumption tax that
    COVID-19 pandemic.                                                                          is used in 160 countries, including all
                                                                                                Organization for Economic Cooperation
                                                                                                and Development (OECD) countries
    Q. How large is the long-run fiscal           percent in 2051, while revenue will only      other than the United States. A VAT is
    imbalance and what is driving                 grow from 16.3 percent of GDP to 18.5         economically similar to a retail sales tax
    it? How much has the COVID-19                 percent. The projected spending in-           but is collected in a different manner.
    pandemic added to the imbalance?              crease is highly uneven; spending on So-         While the retail sales tax is collected
                                                  cial Security and the major health care       entirely from the retailer, part of the
       In June 2019, the Congressional            programs will surge from 10.2 percent         VAT is collected at each stage of pro-
    Budget Office (CBO) projected that the        of GDP to 15.7 percent, while all other       duction. The multistage collection en-
    federal government’s debt under cur-          noninterest spending will shrink from         sures that the entire revenue cannot be
    rent law would rise from 78 percent of        9.0 percent of GDP to 7.4 percent.            lost through tax evasion at a single stage
    annual gross domestic product (GDP) in           Addressing the fiscal imbalance will       of production.
    2019 to 144 percent in 2049.                  require reductions in Social Security            Suppose that a manufacturer sells its
       The fiscal imbalance further widened       and health care spending, revenue in-         output for $500 to a wholesaler, which
    during the recession accompanying the         creases or both.                              sells its output for $800 to a retailer,
    pandemic in 2020, as tax revenue fell                                                       which sells a final product to consum-
    and Congress adopted large spending           Q. Why is the growth of the national          ers for $1,000. Of the $1,000 value of the
    increases and tax cuts to provide in-         debt concerning?                              final product, $500 is added at the man-
    come support and economic stimulus.                                                         ufacturing stage, $300 at the wholesale
    On March 5, 2021, the CBO projected              The CBO has explained that higher          stage and $200 at the retail stage.
    that the debt would grow to 202 percent       debt will slow long-run economic                 Under a retail sales tax, the retailer re-
    of annual GDP in 2051.                        growth by crowding out private invest-        mits tax on the $1,000 of sales to consum-
       That estimate does not include the         ment and pushing up interest payments         ers. Under a VAT, the manufacturer remits
    costs of the $1.9 trillion stimulus and re-   to foreigners who hold Treasuries. It         tax on its $500 of value added, the whole-
    lief plan that became law in March 2021.      may also increase the risk of a crisis in     saler remits tax on its $300 of value added,
    Congressional action to respond to the        which investors demand higher interest        and the retailer remits tax on its $200 of
    pandemic was likely necessary but has         rates for federal debt. Higher debt may       value added, yielding the same combined
    added to the government’s debt.               also lead to higher inflation expectations    tax payment as the retail sales tax.
       The underlying cause of the long-run       and may reduce flexibility to respond to
    fiscal imbalance is that spending on So-      unforeseen events.                            Q. A VAT would raise taxes on the
    cial Security and the major health care          When addressing the fiscal imbalance,      middle class. Could this be avoided by
    programs (Medicare, Medicaid and Af-          time is not on our side. Delay will only      relying instead on tax increases that
    fordable Care Act health insurance pre-       make the necessary responses more             target corporations and high-income
    mium subsidies) is growing much more          painful. The CBO estimated in Septem-         households? What about benefit cuts?
    rapidly than revenue, due to population       ber 2020 that holding the 2050 debt to its
    aging and rising medical costs.               2019 share of GDP would require perma-           Although tax increases on corpora-
       The CBO projects that, under cur-          nent tax increases or spending cuts equal     tions and high-income households as
    rent law, noninterest spending will rise      to 3.6 percent of GDP, if those measures      well as benefit cuts could be part of a
    from 19.2 percent of GDP in 2019 to 23.1      took effect in 2025. The required mag-        debt-reduction package, they cannot

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                                                     } Although  it would be unwise to implement
                                                       major tax increases or spending cuts while the
                                                           economy is still weakened by the pandemic,
                                                           action should be taken as soon as possible after
                                                           the economy regains its strength.




provide a full solution to the long-term     specific cuts. Benefit reductions may be         Finally, it is important to remember
fiscal imbalance.                            even harder to achieve in the wake of         that the VAT would be only one compo-
   High-income tax increases would re-       the pandemic, which may have perma-           nent of the federal tax system. Individual
duce inequality and place fiscal burdens     nently increased public support for a         and corporate income taxes would con-
on those with the greatest ability to pay,   generous safety net.                          tinue to add progressivity to the overall
but they would also induce economic                                                        federal tax system.
distortions, thus threatening long-run       Q. Aren’t consumption taxes
growth. The individual income tax and        regressive? Wouldn’t a VAT hurt low-          Q. What do you tell voters who are
the estate and gift tax penalize saving.     income families who save less and             concerned that additional revenue will
The corporate income tax distorts deci-      spend more of their income?                   prompt the government to spend more
sions about business organization and                                                      rather than shrink the national debt?
financing and penalizes investment in           In isolation, the VAT is regressive. The
the United States. None of those penal-      Urban-Brookings Tax Policy Center has            Some have argued that a VAT would
ties arise under a VAT.                      estimated that a 5 percent broad-based        fuel the growth of government spending
   Also, such tax increases would have       VAT would reduce after-tax income by          because it would be a relatively invisible
limited revenue potential. Even com-         3.9 percent for households in the bottom      tax. That concern could be addressed
mentators who support these kind of          20 percent of the income distribution,        by requiring that the tax be listed as a
measures recognize that they would not       3.6 percent for households in the middle      separate item on customer receipts, as is
raise enough revenue to fully address        20 percent and 2.5 percent for house-         normally done for state and local retail
the fiscal imbalance and would have to       holds in the top 1 percent.                   sales taxes.
be accompanied by other measures.               Nevertheless, the VAT is far less re-         The VAT would then likely be at least
   Restraining the rapid projected growth    gressive than benefit cuts. Under a VAT,      as visible as employee payroll taxes
of Social Security and the major health      the burden on the bottom 20 percent           and individual income tax withhold-
care programs could significantly nar-       as a share of income would be less than       ing, which are displayed as line items
row the fiscal imbalance and could even      double the burden on the top 1 percent,       on paycheck stubs and would be much
promote long-run economic growth by          not 100 times greater as under across-        more visible than corporate income
encouraging additional saving.               the-board Social Security benefit cuts.       taxes and employer payroll taxes, which
   However, benefit cuts would be se-        Rejecting a VAT based on its regressivity     are largely hidden from public view.
verely regressive, placing far larger bur-   would be a pyrrhic victory if it caused          To be sure, even if the VAT is listed on
dens relative to income on lower-income      the fiscal imbalance to instead be ad-        customer receipts, its enactment could
households than higher-income house-         dressed through benefit cuts that were        reduce pressure for benefit cuts. Those
holds. For example, the burden imposed       vastly more regressive.                       who believe that benefit cuts are the best
by across-the-board Social Security             Moreover, a VAT should—and un-             debt-reduction strategy may thus be
benefit cuts would be approximately 100      doubtedly would—be accompanied                tempted to delay or avert the adoption
times larger as a share of income for the    by rebates to offset the tax burden on        of a VAT. However, they should consider
bottom 20 percent of the income distri-      low-income households. The Tax Policy         the political and economic limitations
bution than for the top 1 percent.           Center estimated that a 7.7 percent VAT       of benefit cuts and weigh any possible
   Significant benefit cuts would also       with rebates, which would raise the same      gains against the costs of delaying action
face formidable political challenge.         net revenue as a 5 percent VAT without        on the fiscal imbalance.
Most Democrats oppose benefit cuts,          rebates, would generally be progressive.
and many of them support benefit in-         It would reduce after-tax income by 0.6
creases. Although Republicans often          percent for the bottom 20 percent, 2.9
support benefit cuts in the abstract,        percent for the middle 20 percent and
they generally refrain from proposing        3.6 percent for the top 1 percent.

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     COVID-19 Poses Stubborn Challenge
     to Economic Growth in Mexico
     By Jesus Cañas and Chloe Smith




                                           W
                                                    ith COVID-19 sweeping across         and in Brazil (-1.2 percent), the largest
                                                    the world, Mexico’s gross            economy in Latin America.
                                                    domestic product (GDP) con-             Output in service-related activities
                 }


                                           tracted the most in a quarter century         (including trade and transportation)
        ABSTRACT: Mexico,                  in 2020.                                      dropped 5.2 percent in Mexico, while
        confronting a high rate of            The Mexican economy has since              goods-producing industries (includ-
                                           proceeded along two tracks—exter-             ing manufacturing, construction and
        COVID-19 infection and
                                           nal trade-related sectors performing          utilities) fell 0.5 percent. Agricultural
        an ineffectual medical             well, and the service sector struggling.      output increased 4.4 percent.
        response, recorded the             Workers have been especially hard hit            As in other countries, COVID-19
        largest decline in gross           in the informal sector—where activity         disproportionately affected the service
                                           is not reported to the government and         industry, particularly leisure and hos-
        domestic product in a
                                           whose participants do not pay employ-         pitality—businesses such as hotels and
        quarter century last year.         ment taxes or receive government-             restaurants. While e-commerce thrives,
        While manufacturing trade          mandated benefits and pensions. They          brick-and-mortar retail has suffered.
        with the U.S. provided             have suffered the largest job losses.         Because e-commerce is tiny in Mexico
                                              Insufficient fiscal stimulus from the      by developed-country standards, it has
        economic support, the
                                           government has likely contributed to          provided little offset for the decline in
        large and hard to reach off-       shrinking GDP.                                the traditional service sector.
        the-books informal sector             While COVID-19 cases have dropped             Additionally, the government has
        proved more troublesome            sharply since hitting a postholiday           provided scant fiscal support for the
                                           peak in January, strict social-distancing     economy. Mexico’s stimulus plan—
        and will play an important
                                           measures will be needed to minimize           which includes a mix of loans and tax
        role in the nation’s               the likelihood of another infection           credits, tax payment deferrals and job
        performance in 2021.               wave given that a national vaccine pro-       training—amounts to 1.1 percent of
                                           gram is proceeding very slowly.               GDP compared with plans in Brazil
                                              Testing for the virus remains an           (8.4 percent) and Chile (4.7 percent).
                                           ongoing challenge. Mexico has not fol-           Mexico’s real retail sales index re-
                                           lowed the World Health Organization’s         mains 5.5 percent below levels seen in
                                           testing recommendation, arguing that          February 2020, while Chile’s retail sales
                                           the country lacks proper infrastructure.      are 4.3 percent above its pre-COVID-19
                                           Mexico tests only the sickest patients        performance as the country regained
                                           who seek medical attention. There are         prepandemic levels in August. Brazil’s
                                           few prevention measures and little            sales began rebounding in June 2020
                                           contact tracing.                              and expanded during third quarter
                                                                                         2020, recovering to levels seen before
                                           Recent Economic Developments                  the pandemic despite a resurgence of
                                             The Mexican economy shrank 4.5              the virus.
                                           percent in 2020 as the pandemic rav-             Although Mexico’s lack of fiscal
                                           aged factories, businesses and house-         stimulus has hurt households and
                                           holds. It was the greatest contraction        businesses, it has helped the govern-
                                           since the 1994 Tequila Crisis that            ment avoid large deficits and accompa-
                                           followed a peso devaluation.1 The latest      nying inflation that could depress the
                                           decline compared with the downturn in         currency. The peso regained much of
                                           Chile (-5.0 percent) and was more severe      its strength relative to the dollar in the
                                           than the ones in the U.S. (-2.4 percent)      second half of 2020 after sliding with


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 CHART            Mexico's Manufacturing Production, Export Growth                                                April. Crude oil production in Mexico
     1            Return to Prepandemic Levels
                                                                                                                  is down 50 percent in the past 10
                                                                                                                  years, however.
  Percent change, year/year                                                                                          Normalization of trade flows be-
   20                                                                                                             tween the United States and Mexico
   10                                                                                                             has helped speed a sectoral manufac-
    0                                                                                                             turing recovery.
                                                                                                                     Meanwhile, the performance of
  -10
                                                                      --- Mexico manufacturing exports            Mexico’s service sector has not recov-
  -20                                                                       Mexico manufacturing                  ered, although the extent of progress
  -30                                                                       industrial production index
                                                                                                                  varies by industry (Chart 2). Revenue
  -40                                                                       U.S. manufacturing industrial         in health care services, real estate, edu-
                                                                            production index
  -50                                                                                                             cation, and professional and business
  -60
                                                                                                                  services has been the most resilient.
                        2019                              2020                             2021                   However, output in entertainment
 SOURCES: Mexico's National Institute of Statistics and Geography (INEGI); Banco de México; Federal Reserve
                                                                                                                  (down 49 percent from prepandemic
 Board.                                                                                                           levels), leisure and hospitality (off 32
                                                                                                                  percent) and transportation services
the onset of the pandemic. The peso                        a strong correlation with what has been                (down 22 percent) have proven the
averaged 19.9 per dollar in December, a                    a resilient U.S. manufacturing sector                  most vulnerable.
net depreciation of 1.1 pesos for the year.                (Chart 1).3 These ties between the two                    Mexico’s large informal sector chal-
   Inflation finished 2020 at 3.1 percent                  countries, largely involving intra-                    lenges economic recovery as well as
in December (12-month change),                             industry trade, took root and grew with                efforts to contain the virus’ spread.
firmly within the central bank’s target                    the 1994 North American Free Trade                     Mexico’s national employment survey
range.2 Mexico’s refusal to boost public                   Agreement, which was recently sup-                     pegged total employment at 53.3 mil-
spending to mitigate COVID-19’s                            planted by the United States–Mexico–                   lion in December 2020, with formal
economic impact will likely result in                      Canada Agreement (USMCA).                              employment representing 44 percent
the lowest budget deficit among Latin                         Manufacturing exports represent 90                  of the total and informal employment
America’s major economies in 2020,                         percent of total exports, and Mexico                   56 percent.
though its recovery is likely to lag be-                   sends 81 percent of its total exports to                  The majority of informal work is in
hind the region.                                           the U.S. Thus, U.S. economic stimulus                  high-contact industries such as retail
                                                           bolsters Mexico’s manufacturing ex-                    trade, miscellaneous services (tem-
Strong Manufacturing Output                                port sector. Higher global oil prices are              porary workers and gig labor) and
   Mexico’s manufacturing produc-                          a tailwind for Mexico’s recovery, with                 construction. Informal work produces
tion and manufacturing exports are                         the price of Mexican mix at around $50                 23 percent of GDP, according to Mexico’s
above pre-COVID-19 levels, reflecting                      per barrel, up from $17 per barrel in                  National Statistics Institute (INEGI).


 CHART
     2            Recovery in Mexico's Service Sector Stalls Under Weight of COVID-19 Infection

  Service revenue index (real), February 2020 = 100                            Health services                Professional and business services
                                                                               Real estate                    Transportation
  120                                                                          Education services             Leisure and hospitality
                                                                               Total                          Entertainment
  100

    80

    60

    40

    20

     0
              Feb.          Mar.            Apr.           May              Jun.         Jul.         Aug.       Sep.         Oct.       Nov.      Dec.
 NOTE: Seasonally adjusted by authors.
 SOURCE: Mexico's National Institute of Statistics and Geography (INEGI).



                                                                                                                                              App.034
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        Unlike workers in the formal                          percent (626,000 jobs) and informal                          measures that included travel re-
     economy, who benefit from legal and                      employment fell 4.5 percent (1.4 mil-                        strictions, social distancing, school
     social protections, informal workers                     lion jobs) (Table 1). The most-affected                      closures and the shutdown of nones-
     lack such a safety net. They are mostly                  sector was leisure and hospitality, fol-                     sential activities.
     self-employed, working in street vend-                   lowed by miscellaneous services.                                The government announced plans
     ing, domestic work and transportation.                      The largest employment base within                        to begin normalization of economic
     Some also work as off-the-books day                      the informal sector is in trade, agricul-                    activities in mid-May, including a
     laborers in factories, farms and other                   ture and miscellaneous services (55 per-                     green-yellow-orange-red color system
     formal businesses that don’t extend full                 cent), while the highest concentration                       to represent the extent of activities al-
     rights or protections to all employees.                  of formal jobs is in manufacturing, trade                    lowed in individual states. For exam-
        Pandemic control measures, such as                    and social services (56 percent).                            ple, states with the most active cases
     sheltering in place and social distanc-                     More women—particularly in the                            were designated as red and would
     ing, achieved more inconsistent adop-                    informal sector—have lost their jobs                         remain in forced quarantine. Officials
     tion in the informal sector relative to                  during the pandemic in developing                            also added construction, mining and
     the formal sector. The informal sector’s                 economies such as Mexico, according                          transport equipment manufacturing to
     behavior and its likely ties to recur-                   to the World Bank. While men represent                       the list of essential activities.
     ring waves of COVID-19 infections                        61 percent of informal jobs, their em-                          Mexico’s COVID-19 cases spiked
     could be key to the introduction of any                  ployment only fell 2.4 percent. Among                        first in early August before reaching
     future national government-mandated                      women—who account for 39 percent of                          a second peak in December and an
     restrictions—ones that might well slow                   informal jobs—employment dropped                             all-time high in late January. Recently,
     an economic recovery.                                    7.6 percent.                                                 cases per 100,000 people have fallen in
                                                                                                                           Mexico, while a new surge has begun
     Disproportionate COVID-19 Impact                         Continued COVID-19 Outbreak                                  in Chile and Brazil (Chart 3).
       Total Mexico employment fell 3.7                         Mexico’s first confirmed COVID-19                             Mexico isn’t performing widespread
     percent from March 2020 to December                      case was reported on Feb. 28, 2020,                          COVID-19 tests of its population—just
     2020. Formal employment dropped 2.6                      ultimately prompting public health                           12 tests per 100,000 people. Mexico’s


      TABLE
         1               Mexico's Total Employment Shows Strains of Recurring Pandemic Surges

         Economic               Total           Dec/Mar          Share          Formal           Dec/Mar          Share         Informal      Dec/Mar      Share
          sector             employment           chg             (%)         employment           chg             (%)         employment       chg         (%)
                             (millions of         (%)                         (millions of         (%)                         (millions of     (%)
                              workers)                                         workers)                                         workers)
       Total                     53.3             -3.7           100.0             23.7            -2.6           100.0            29.6         -4.5       100.0
       Leisure and
                                 3.7              -17.5           6.9              1.0             -23.5            4.3            2.6         -15.0        8.9
       hospitality
       Miscellaneous
                                 5.2              -8.6            9.8              1.0             -8.0             4.1            4.3          -8.8        14.4
       services
       Oil, mining
       and electricity           0.4              -4.8            0.7              0.3             -8.1             1.3            0.1          17.3        0.2
       generation
       Transportation,
       communications
                                 2.7              -4.4            5.1              1.4              2.6             6.1            1.3         -11.1        4.4
       and
       warehousing
       Manufacturing             8.7              -4.3            16.3             5.4             -4.8            23.0            3.3          -3.5        11.0
       Professional
       and financial             3.8              -3.9             7.1             2.7             -1.1            11.4            1.1         -10.3        3.6
       services
       Trade                     10.6             -1.4            19.9             4.3              0.7            18.2            6.3          -2.8        21.3
       Construction              4.3              -1.0            8.0              0.9             -9.3             3.7            3.4          1.3         11.5
       Social services           4.4              -0.3            8.3              3.6              2.0            15.3            0.8          -9.5        2.7
       Agriculture               6.7               1.6            12.5             0.9             -2.0             3.6            5.8          2.2         19.6
       Government                2.5               2.8            4.8              2.1              2.7             8.9            0.4          3.2          1.5
       Other                     0.3              -9.0            0.6              0.0             38.4             0.2            0.3         -14.5        0.8



     NOTE: Rank is in terms of total employment losses.
     SOURCE: National employment survey, December 2020, Mexico’s National Institute of Statistics and Geography (INEGI).



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 CHART
       3         COVID-19 Cases Falling in Mexico After Spiking in January

 Cases per 100,000, 7-day moving avg.                                                                                  Cases per 100,000, 7-day moving avg.
 40                                                                                                                                                     16
                                                                                                                                                Brazil
  35                                                                                                                                                    14
  30                                                                                                                                                              12
  25                                                                                                                                                              10
                                                                                                                                                        Chile
  20                                                                                                                                                              8
  15                                                                                                                                                              6
  10                                                                                                                                                              4
   5                                                                                                                                                 Mexico       2
   0                                                                                                                                                              0
   Feb-20 Mar-20        Apr-20 May-20         Jun-20   Jul-20     Aug-20     Sep-20 Oct-20          Nov-20 Dec-20         Jan-21      Feb-21 Mar-21
 NOTE: Data are through March 21, 2021.
 SOURCES: Johns Hopkins University; United Nations.


46 percent positivity rate—second                      ing has dealt with comparatively few                        the year—GDP fell 8.7 percent.
only to Paraguay worldwide—is an in-                   restrictions and largely avoided disrup-                    2
                                                                                                                     For a more complete Mexico economic update, see
dication that only the sickest patients                tion in North American supply chains,                       www.dallasfed.org/research/update/mex.
seeking medical attention are tested.                  a situation unlikely to change.                             3
                                                                                                                     “Intra-Industry Trade with Mexico May Aid U.S. Global
Absent contact tracing or widely ad-                      By comparison, a service sector                          Competitiveness,” by Jesus Cañas, Aldo Heffner and
ministered medical treatment, detect-                  recovery is hindered by suppressed                          Jorge Herrera Hernández, Federal Reserve Bank of Dallas
ing a new wave of infections is difficult.             domestic demand, social-distancing                          Southwest Economy, Second Quarter, 2017.
   Governments should see positivity                   measures and little government as-                          4
                                                                                                                     Communiqué on Economic Expectations, Banco de
rates below 5 percent for at least 14                  sistance. The lack of fiscal stimulus has                   México, February 2021. The survey period was Feb.
days before relaxing social-distancing                 left many households and businesses                         24–26, 2021.
measures, according to the World                       with significant income loss that will
Health Organization. Nevertheless,                     remain a headwind to the recovery.
restrictions in Mexico were lessened as                   The consensus forecast compiled
the holiday wave waned.                                by Banco de México for 2021 GDP
   In the March 1-14, 2021, monitor-                   growth is 3.9 percent, with a projected
ing report, none of the Mexican states                 exchange rate of 20.3 pesos per dollar
were in red for the first time since late              and year-end inflation of 3.9 percent.4
September/early October 2020. Ten                      However, the pandemic remains far
states were in orange, the second-most                 from controlled, and supply and logis-
restrictive tier; 20 states were in yel-               tical issues have slowed vaccination
low; and two states were in green, the                 progress. Additionally, the dearth of
point at which activities are allowed                  testing will complicate the timely de-
without restriction.                                   tection of future COVID-19 incidents,
   Vaccinations began in late Decem-                   impeding an economic recovery.
ber, when Mexico became the first
Latin American country to receive a                    Cañas is a senior business economist in
vaccine shipment. The inoculation                      the Research Department at the Federal
effort has since stalled due to misman-                Reserve Bank of Dallas.
agement and a global vaccine shortage.
Just 0.5 percent of the population was                 Smith is a research analyst in the
fully vaccinated as of mid-March, ac-                  Research Department at the Federal
cording to the Johns Hopkins Corona-                   Reserve Bank of Dallas.
virus Resource Center.
                                                       Notes
Challenging Economic Outlook                           1
                                                        GDP growth is calculated comparing fourth quarter
   Mexico’s economic recovery is large-                2020 with fourth quarter 2019. If the estimation is
ly confined to its manufacturing sector,               computed as Mexico’s National Institute of Statistics
which is filling production orders from                and Geography (INEGI) officially calculates growth—the
its northern neighbor. Manufactur-                     averaging of year-over-year quarterly growth throughout

                                                                                                                                                     App.036
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     SPOTLIGHT
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     Pandemic Pushes Texas Minority Unemployment
     Beyond Highs Reached During Great Recession
     By Carlee Crocker and Pia Orrenius




     R
             ecessions are hardest on minor-       CHART
             ities; the COVID-19 downturn is
             no different in that regard. Texas
                                                        1        Unemployment Rates Diverge, Minorities Fall Behind

     is a majority minority state—more than        Three-month moving avg. (percent), seasonally adjusted
     half of Texas’ population is Hispanic         18
                                                                                                                Non-Hispanic Black
     or Black—and the consequences are             16                                                           Hispanic
     far-reaching if those groups lag behind       14                                                           Non-Hispanic white
                                                                                                                                                   12.4
     economically.                                 12

        Once the pandemic hit, the state lost      10
                                                                                                                                                   9.3
     1.4 million jobs from February to April        8

     2020, and the unemployment rate shot           6
                                                                                                                                                   5.1
     up to 12.9 percent. The recovery that          4

     began in May has been slow, hampered           2

     by the repeated resurgence of the virus.       0
                                                          2010    2011     2012    2013     2014     2015   2016    2017    2018     2019   2020   2021
     Texas’ unemployment rate of 6.9 per-
     cent at year-end was well above what it
                                                   NOTE: Texas data are through February 2021.
     was before COVID-19 hit (3.7 percent),        SOURCE: Current Population Survey.
     and more than 625,000 jobs were lost.
        One year into the pandemic, Texas’
     labor market disparities are glaring         partly because they have less education                   included stay-at-home orders. By com-
     (Chart 1). About 9.3 percent of Hispanic     on average than non-Hispanic white                        parison, Hispanic labor force participa-
     workers were unemployed in February,         workers. These workers also tend to be                    tion was little changed during the year.
     4.6 percentage points above prior-year       younger. And within all groups, women                        Through February 2021, overall labor
     levels. Roughly 12.4 percent of non-His-     have been especially affected because                     force participation rates remained
     panic Black workers were unemployed,         they are disproportionately employed in                   below prepandemic levels.
     7.6 percentage points higher.                the service sector and frequently must                       In addition to direct stimulus pay-
        Unemployment among Black                  deal with parental duties.                                ments, unemployed workers in the
     workers in Texas was more than twice                                                                   pandemic have received supplemental
     that for non-Hispanic white workers,         Great Recession Comparison                                unemployment benefits and extended
     whose jobless rate was 5.1 percent in          At the height of the pandemic reces-                    unemployment benefits. The benefits
     February, 2.6 percentage points above        sion last spring, all groups’ unem-                       have also gone to the self-employed
     February 2020.                               ployment rates surpassed their Great                      and other groups typically ineligible for
        Early in the pandemic, as the govern-     Recession peaks. Black unemployment                       unemployment insurance.
     ment imposed lockdowns and only es-          reached 16.4 percent; Hispanic jobless-                      The initial provision of $600 per
     sential businesses remained open, the        ness hit 13.3 percent. However, most                      week in supplemental benefits boosted
     disparate impact on workers became           layoffs were temporary, and minority                      earnings to such a degree that many
     clear. White-collar workers operating        unemployment fell through the sum-                        beneficiaries earned more while
     from home largely escaped job cuts,          mer and fall as workers were called                       unemployed than while working. The
     while blue-collar workers in essen-          back. That trend reversed course in the                   payments expired in the fall and were
     tial businesses such as grocery stores       fourth quarter when a second CO-                          last renewed in March to run into early
     remained on payrolls but were exposed        VID-19 wave took hold, even as white                      September at $300 per week.
     to the risk of COVID-19 infection.           unemployment continued to decline.                           Thus, despite record-high unemploy-
        Jobs vanished for restaurant, bar           Workers dropping out of the labor                       ment rates, many who lost jobs during
     and hotel workers and for businesses         force poses another pandemic-era con-                     the pandemic could make ends meet
     linked to arts and recreation, transpor-     cern. Black labor force participation fell                because of governmental support. After
     tation and personal care.                    dramatically in first quarter 2020 with                   federal assistance ends, a large number
        Minorities are disproportionately em-     the onset of COVID-19; non-Hispanic                       of Texans—many of them minorities—
     ployed in many of these generally lower-     white worker declines occurred largely                    will need job opportunities if they are
     paying, face-to-face service industries,     in the second quarter, a period that                      to get back to work.

                                                                                                                                            App.037
14                                  Southwest Economy • Federal Reserve Bank of Dallas • First Quarter 2021
          Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                                                   Page 39 ofGO  FIGURE
                                                                                                                        272 PageID 261

   Collapsing Fuel Demand Tanks Texas
   Exports During Pandemic’s Peak
   Design: Justin Chavira; Content: Emma Marshall, Pia Orrenius




                                                                                                           Texas Energy
                                                                                                                                  16%
  The COVID-19 pandemic wreaked                                                                             Exports Fell
  havoc on Texas energy exports.
   U.S. energy exports excluding Texas were
   dramatically less affected.
                                                                                                         53%
                                                                                                         February to May 2020
                                                                                                                                        U.S. (minus
                                                                                                                                        Texas) Energy
                                                                                                                                        Exports Fell




  Texas energy exports make up
  half of total Texas exports.
  Texas energy exports include: crude oil, natural
  gas, petroleum products and petrochemicals.




      U.S. (minus
      Texas) Total
      Exports Fell
                                                Texas Total                                The decrease in Texas energy exports
                                                Exports Fell
                                                                                           was a big factor in the drastic drop in
        29%
                                           45%
                                          February to May 2020
                                                                                           total exports for the state.
                                                                                           In comparison, the drop in U.S. total exports
                                                                                           excluding Texas was less severe.




                                                                                                                     Texas Energy
                                                                                                                  Exports Recovered to
As of December 2020, Texas energy
exports and total exports are
recovering to prepandemic levels.
                                                                                                                     78%
                                                                                                                    of prepandemic levels
                                                                                                                    as of December 2020
NOTES: Natural gas prices refers to the Henry Hub spot price for natural gas. Leaderboard rankings are
based on country refining capacity for Jan. 1, 2015, and Jan. 1, 2018.
                                                                                                                   Texas Total Exports
SOURCES: Energy Information Administration; Oil and Gas Journal, Worldwide Refining Survey.
                                                                                                                    Recovered to 85%
                                                                                                                                  App.038
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SNAPSHOT                            Dining Out Picks Up in Texas, Houston

 T
         he number of patrons dining at restaurants surged                         CHART           Restaurants Seating More Diners
         in Texas and Houston after the state thawed from a
         deep freeze in February and COVID-19 constraints
                                                                                     1             as State Eases Restrictions
on restaurants and bars were lifted March 10. The uptick                         Percent change, seven-day moving average
                                                                                   20
also reflected improving COVID-19 statistics and the arrival
of spring break.                                                                                                                                                        1.3
                                                                                      0
   The number of reservations relative to the same time in                                                                                                             -5.8
2019 suggests restaurant dining is approaching more normal                         -20                                                                               -28.1
levels. In Houston, restaurant demand climbed to 6 percent
                                                                                   -40
below the base level during the seven days ended March 23,
according to OpenTable data (Chart 1). Texas was up 1 per-                         -60
cent, while the nation overall was off 28 percent.
                                                                                   -80                                                           Texas
   During the first spring break weekend, March 13–14,                                                                                           Houston
restaurant reservations statewide rose 12 percent compared                        -100                                                           U.S.
with the same weekend in 2019. The following weekend,                                       Mar. Apr. May Jun. Jul. Aug. Sept. Oct. Nov. Dec. Jan. Feb. Mar.
March 20–21, reservations were up 16 percent.                                               2020                                                        2021

                                                                                 NOTES: Data refer to the percent change in seated diners at restaurants from the
                                                                                 corresponding day in 2019 on the OpenTable network across all channels: online reservations,
                —Adapted from Houston Economic Indicators,                       phone reservations and walk-ins. Numbers at right are the values on March 23, 2021.
                                           March 22, 2021                        SOURCE: OpenTable.




                Federal Reserve
                Bank of Dallas                                                                           Marc P. Giannoni, Senior Vice President and Director of Research
                                                                                                         Pia Orrenius, Keith R. Phillips, Executive Editors

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                                                                                                                                                   App.039
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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                            §
STATE OF TEXAS, STATE OF MISSISSIPPI,       §
STATE OF LOUISIANA,                         §
                                            §
       Plaintiffs,                          §
                                            §    Case No. 2:21-cv-00079-Z
v.                                          §
                                            §
JANET YELLEN, IN HER OFFICIAL CAPACITY      §
AS SECRETARY OF THE TREASURY, ET AL.,       §
                                            §
       Defendants.                          §
                                            §

    APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
 DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                           JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

 Biennial Revenue Estimate – 2022 - 2023 Biennium – 87th Texas Legislature – January 2021

                                   EXHIBIT A-3




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                          2022-2023 Biennium




      BIENNIAL          87th Texas L egislature




      REVENUE                  Januar y 2021




      ESTIMATE
                           GLENN HEGAR
                Te x as Compt r ol le r of P u blic A ccount s




                                                                      App.041
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                                                                      App.042
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Glenn Hegar            Texas Comptroller of Public Accounts




  January 11, 2021



  The Honorable Greg Abbott, Governor
  The Honorable Dan Patrick, Lieutenant Governor
  Speaker of the House
  Members of the 87th Legislature

  Ladies and Gentlemen:

  In accordance with Article III, Section 49a of the Texas Constitution, I present my revenue estimate for
  the remainder of fiscal 2021 and the upcoming 2022-23 biennium.

  For 2022-23, the state can expect to have $112.5 billion in funds available for general-purpose spending,
  a 0.4 percent decrease from the corresponding amount of funds available for the 2020-21 biennium.

  We project $119.6 billion in total collections of general revenue-related (GR-R) funds. These collections
  are offset by an expected 2020-21 ending GR-R balance of negative $946 million. In addition,
  $5.8 billion must be reserved from oil and natural gas taxes for 2022-23 transfers to the Economic
  Stabilization Fund (ESF) and the State Highway Fund (SHF); another $271 million must be set aside to
  cover a shortfall in the Texas Guaranteed Tuition Plan, also known as the Texas Tomorrow Fund.

  The projected negative ending balance in 2020-21 is a direct result of the COVID-19 pandemic, which
  caused revenue collections to fall well short of what was expected when the 86th Legislature approved
  the 2020-21 budget. The projected shortfall does not account for any GR-R expenditure reductions
  resulting from the state leadership’s instructions for most state agencies to reduce spending by 5 percent
  of their 2020-21 GR-R appropriations. Nor does it incorporate the effects of substituting federal funds
  provided as pandemic-related assistance for some GR-R pandemic-related expenditures. Official action
  on either of those items could eliminate the projected shortfall.

  Conversely, the projected balance does not include any GR-R spending authorized for a supplemental
  appropriations bill, which would increase the size of the shortfall. The final ending balance for this
  biennium, and thus the beginning balance for the next, will be determined by actions taken in the 87th
  legislative session and by actual revenue collections during the remainder of this fiscal year.

  Tax revenues account for approximately 87 percent of the estimated $119.6 billion in total GR-R revenue
  for 2022-23. Sixty-two percent of GR-R tax revenue will come from net collections of sales taxes, after
  $5 billion is allocated to the SHF, as authorized by the Texas Constitution. Other significant sources of
  general revenue include motor vehicle sales and rental taxes; oil and natural gas production taxes; the
  franchise tax; insurance taxes; collections from licenses, fees, fines and penalties; interest and investment
  income; and lottery proceeds.


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   In addition to GR-R funds, we expect the state to collect $98.2 billion in federal income as well as
   $52.7 billion in other revenues dedicated for specific purposes and therefore unavailable for general-
   purpose spending. We project that revenue collections from all sources and for all purposes will total
   $270.5 billion.

   Absent any new appropriations by the Legislature, we project the ESF balance to be $11.6 billion at
   the end of the 2022-23 biennium, below the ESF constitutional limit of an estimated $19.7 billion.

   The COVID-19 pandemic and a collapse in oil prices resulted in a severe contraction of the Texas
   economy over the first and second quarters of calendar 2020. Economic growth subsequently
   rebounded sharply but gross state product (GSP) and employment remain well below their pre-
   pandemic levels. Rising COVID-19 case counts have increased the chances of a “double-dip”
   recession with a second economic contraction in late 2020 and early 2021. Whether that happens
   or economic growth merely slows from the robust rates seen in the initial rebound from spring will
   depend on how consumers and businesses behave in the face of the recent surge in positive cases. In
   any case, this estimate assumes that economic output will not return to pre-pandemic levels until 2022.

   We project that Texas’ economic growth in the 2022-23 biennium, as measured by real GSP, will
   average 4.2 percent annually. We expect personal income in 2022-23 to increase by an average of
   4.8 percent annually, compared to an annual average of 1.2 percent for 2020-21. After falling in the
   2020-21 biennium as a result of the pandemic, we expect employment growth in 2022-23 to average
   2.7 percent annually.

   The U.S. and Texas economies have performed better than expected since we released a revised
   Certification Revenue Estimate in July 2020. Sales tax revenues, buoyed by strong online sales and
   spending on building materials, home furnishings and sporting goods in particular, have exceeded
   our expectations. Oil prices and production also rebounded after collapsing in the spring. As a result,
   the projected GR-R shortfall for 2020-21 is substantially improved from our July forecast.

   Even so, risks remain, particularly given the recent surge in COVID-19 cases in Texas and across
   the nation.

   This forecast assumes continued but moderating economic impacts from the COVID-19 pandemic
   and from decreased oil production and prices. It does not incorporate any possible impacts of
   additional, unanticipated one-time or unusual events that could affect economic performance and
   revenue collections.

   Several things could cause actual revenue collections to fall short of this forecast’s expectations,
   including an increased spread of the COVID-19 virus and the possibility of a significant reduction
   in consumer activity as a result. A reversal of job gains and a renewed rise in unemployment rates,
   combined with ongoing increases in the number of long-term unemployed, could drag economic
   growth back down. Oil and natural gas prices remain volatile and a return to lockdowns in the U.S.
   or elsewhere could result in a further drop in prices and production.




                                                                                                     App.044
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   On the other hand, there is a possibility that economic growth and revenue collections could exceed
   this forecast’s projections. Effective COVID-19 vaccines, combined with household savings that
   have risen during the pandemic as some consumer debt has declined, could support a substantial
   boost in consumer spending. Business investment and spending could increase as a result of an
   improved outlook due to effective vaccines. A new round of federal assistance for individuals,
   businesses, cities and states, signed into law in late December, also could stimulate economic
   activity. It is possible, therefore, that economic growth could rebound more strongly and sooner than
   this forecast assumes, and there is some potential for revenue collections in 2022-23 to outpace our
   expectations, perhaps substantially.

   In summary, while uncertainty remains high, our Texas economic forecast for the 2022-23 biennium
   is based on an expectation of growth rates somewhat higher than those experienced over the last
   decade. In the event of significant changes in economic conditions or other relevant factors, this
   estimate will be updated to ensure that your deliberations are based on the most accurate and timely
   information available.

   Sincerely,




   Glenn Hegar
   Texas Comptroller of Public Accounts

   cc: Jerry McGinty, Legislative Budget Board




                                                                                                   App.045
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2022-2023 Biennium

BIEN NIAL R EV E N UE E ST I MATE


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                      All Funds, Excluding Trust Funds. .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .             40

              A-18 – State Revenue, by Source and Biennium, All Funds, Excluding Trust Funds. .                                                                      41

              A-19 – Percent Change in State Revenue, by Source and Biennium,
                      All Funds, Excluding Trust Funds. .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .             42




    Note: This report contains estimates and projections that are based on available information, assumptions and
estimates as of the date of the forecasts upon which they are based. Assumptions involve judgments about future
economic and market conditions and events that are difficult to predict. Actual results could differ from those predicted,
and the difference could be material.
   The spreadsheets in this report are available in accessible data form (Excel) at https://comptroller.texas.gov/transparency/
reports/biennial-revenue-estimate/2022-23/docs/bre-2022-23.xlsx.

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                       Revenue Overview

T
        he state of Texas will have an estimated $112.5      priations for public education. The remaining funds
        billion available for general-purpose spending in    depend upon federal receipts or revenues that are dedi-
        the 2022-23 biennium. This figure represents         cated by the Texas Constitution or state law; a prime
the sum of the 2020-21 ending deficit, 2022-23 tax rev-      example is the constitutionally dedicated Permanent
enue and 2022-23 non-tax receipts, less estimated trans-     University Fund.
fers to the Economic Stabilization Fund (ESF), State            The state’s tax system is the main source of GR-R
Highway Fund (SHF) and Texas Tomorrow Fund, as               funding. Tax collections in 2022-23 will generate an
well as adjustments to general revenue dedicated account     estimated $103.93 billion while non-tax revenues will
balances.                                                    produce an additional $15.65 billion. Factoring in
   Aside from certain fund balances, only five funds         the estimated $946 million ending deficit carried for-
affect the discretionary spending detailed in the General    ward from 2020-21, the total of these three sources is
Appropriations Act. These funds, referred to as “general     $118.63 billion. Against this amount, $5.83 billion
revenue-related funds” (GR-R), are the General Revenue       must be placed in reserve for future transfers to the ESF
Fund, the Available School Fund, the State Technol-          and SHF, and an additional $271 million must be set
ogy and Instructional Materials Fund, the Foundation         aside for constitutionally guaranteed payments to the
School Account and the Tobacco Settlement Account.           state’s original prepaid tuition plan, the Texas Tomorrow
While not technically “general revenue-related funds,”       Fund. This is expected to result in a net $112.53 billion
both the Property Tax Relief Fund and the Tax Reduc-         available for general-purpose spending in the 2022-23
tion and Excellence in Education Fund, which receive a       biennium, 0.4 percent less than in 2020-21.
portion of collections from franchise, cigarette and sales      Taking all state revenue sources into account, the
taxes, offset the need for general revenue to fund appro-    state is expected to collect $270.47 billion in revenue for
                                                             all state funds in 2022-23 (see Figure 1). µ




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FIGURE 1
Flow of Major Revenues for the 2022-23 Biennium

                                                                                           FEES, INTEREST AND
                   TAXES                                     FEDERAL INCOME
                                                                                             OTHER INCOME
              $121 Billion                                   $98.18 Billion
                                                                                             $51.29 Billion




                                                 2022-23 TOTAL STATE REVENUE
                                                         $270.47 Billion



           DEDICATED REVENUE                     GENERAL REVENUE-RELATED REVENUE
            $150.89 Billion                                  $119.58 Billion


                                                                                          2021 GENERAL
      FEDERAL INCOME
                                                                                        REVENUE BALANCE
       $98.18 Billion
                                                                                         $1.11 Billion


    DEDICATED GENERAL
         REVENUE                                                                          RESERVE FOR              2020-21 ADJUSTED
                                                                                       ESF/SHF TRANSFERS              SHORTFALL
        $6.35 Billion
                                                                                         $2.05 Billion             ($0.95 Billion)

        OTHER FUNDS
       $46.36 Billion                                         RESERVE FOR ESF/SHF   TOTAL RESERVE FOR ESF/SHF
                                                               AND TTF TRANSFERS       AND TTF TRANSFERS
                                                                  $6.1 Billion           $8.15 Billion



                                        2022-23 GENERAL REVENUE-RELATED
                                       FUNDS AVAILABLE FOR CERTIFICATION
                                                    $112.53 Billion




Note: Totals may not sum because of rounding.
SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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            Texas Economic Outlook

T
        he Comptroller’s Fall 2020 economic forecast,          421,600 in 2023. Texas real GSP is expected to follow
        as reported in this Biennial Revenue Estimate          a similar pattern, with a decline of 1.3 percent in 2021
        (BRE), projects that Texas economic output             followed by growth of 3.7 and 4.6 percent in 2022 and
will be lower in fiscal 2021 than in fiscal 2020. Though       2023, respectively (see Table 1).
growth resumed following a steep drop in the first and
second quarters of calendar 2020, and economic output          Texas Employment
at the end of fiscal 2021 is expected to be higher than           After 113 consecutive months of employment
it was at the end of fiscal 2020, average output and           growth, the U.S. economy lost 1,373,000 jobs in March
employment across all of fiscal 2021 is projected to fall      2020, the largest decrease seen since September 1945,
short of the averages achieved in fiscal 2020, during the      when post-war employment fell by 1,959,000. U.S.
first half of which output and employment peaked. The          employment then fell by a further 20,787,000 in April
COVID-19 pandemic and a steep drop in oil prices               2020. Although employment has risen in every month
and production caused a record collapse in output and          since, total U.S. nonfarm employment in August was
employment; many months will elapse before a return to         still 11.4 million below the February 2020 peak.
pre-pandemic levels.                                              During the lengthy period of U.S. employment
   As a result of the economic impact of the COVID-            expansion, Texas saw five months with employment
19 pandemic, as well as a drop in oil prices, Texas real       losses; prior to 2020, the most recent (and largest) was
gross state product (GSP) fell by an estimated 1.0 per-        13,100 in July 2017. In March 2020, Texas employment
cent in fiscal 2020, after growth of 3.9 and 4.4 percent       declined by 89,900, followed by a loss of 1,322,000
in 2018 and 2019, respectively.                                jobs in April. As with the U.S., job growth resumed in
   From August 2019 to August 2020, the Texas                  May, but August total employment was still more than
economy lost 611,500 nonfarm jobs. This employment             792,000 below the February peak.
decrease of 4.8 percent was the second-smallest percent-          In August 2020, the Texas unemployment rate was
age loss during this period among the 10 most populous         6.8 percent, up from 3.5 percent in August 2019. The
states (behind Georgia at 4.0 percent) and the 17th-           U.S. unemployment rate rose from 3.7 percent to 8.4
smallest loss among U.S. states. Private-sector employ-        percent over that period. August 2020 unemployment
ment fell by 5.4 percent, while government employment          rates in the state’s metropolitan areas ranged from a low
(federal, state and local) fell by 1.2 percent.                of 4.1 percent in Amarillo to a high of 10.7 percent in
   The Comptroller forecasts a further employment              Odessa. As of November 2020, the Texas unemploy-
loss of 26,700 (on an annual average basis) in fiscal          ment rate was 8.1 percent and the national rate was 6.7
2021. Employment growth is projected to resume in              percent. Total employment in Texas as of November
2022, with estimated gains of 269,000 in that year and         remained 569,000 below its February 2020 peak.

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Texas Industry Performance                                                    ging, manufacturing and construction), led by a 59,300
    Ten of Texas’ 11 major nonfarm industries experi-                         decrease in mining and logging employment, which also
enced net job losses from August 2019 to August 2020.                         saw the largest rate of contraction (23.9 percent) among
Employment in the goods-producing industries fell by                          all major industries. The only industry to experience
7.1 percent, while employment in service-providing                            employment growth was in the service sector; employ-
industries fell by 4.3 percent. Employment decreased in                       ment in financial activities rose by 0.2 percent, because
all three goods-producing industries (mining and log-                         gains in the finance and insurance sector were slightly



TABLE 1
Texas Economic History and Outlook for Fiscal Years 2017 to 2023
Fall 2020 State Economic Forecast

                                                                     2017         2018       2019       2020*      2021*      2022*      2023*
TEXAS ECONOMY

Real Gross State Product (Billions, 2012 $)                      1,630.9       1,695.3    1,770.2    1,752.7     1,729.6    1,793.6    1,876.4
 Annual Percent Change                                               2.0           3.9        4.4       -1.0        -1.3        3.7        4.6

Gross State Product (Billions, Current $)                        1,635.9       1,770.4    1,868.1    1,844.3     1,833.3    1,922.1    2,037.2
 Annual Percent Change                                               5.1           8.2        5.5       -1.3        -0.6        4.8        6.0

Personal Income (Billions, Current $)                            1,343.3       1,442.4    1,516.7    1,597.0     1,550.6    1,612.0    1,702.5
 Annual Percent Change                                               5.6           7.4        5.2        5.3        -2.9        4.0        5.6

Nonfarm Employment (Thousands)                                  12,168.4      12,436.9   12,733.1   12,478.8    12,452.1   12,721.1   13,142.6
 Annual Percent Change                                               1.6           2.2        2.4       -2.0        -0.2        2.2        3.3

Resident Population (Thousands)                                 28,244.7      28,589.1   28,950.2   29,293.5    29,631.4   29,994.8   30,378.3
 Annual Percent Change                                               1.4           1.2        1.3        1.2         1.2        1.2        1.3

Unemployment Rate (Percent)                                           4.5          3.9        3.6         6.7        7.2        6.0        4.6

NYMEX Oil Price ($ per Barrel)                                     48.77        60.58      59.62        45.46     44.00      49.00      55.00

NYMEX Natural Gas Price ($ per Million BTUs)                         3.04         2.88       2.99        2.09       2.60       2.75       2.65

U.S. ECONOMY

Gross Domestic Product (Billions, 2012 $)                       18,023.3      18,574.2   18,981.7   18,537.8    18,894.9   19,329.2   19,819.2
 Annual Percent Change                                               2.2           3.1        2.2       -2.3         1.9        2.3        2.5

Consumer Price Index (1982-84=100)                                  243.8       249.7      254.4        258.1     263.2      270.1      276.4
 Annual Percent Change                                                2.1         2.4        1.9          1.5       2.0        2.7        2.3

Personal Consumption Expenditures Deflator (2012=100)               105.5       107.7      109.4        110.8     112.7      115.2      117.5
 Annual Percent Change                                                1.7         2.1        1.6          1.3       1.7        2.2        2.0

Prime Interest Rate (Percent)                                         3.9          4.7        5.4         3.9        3.3        3.3        3.3

* Estimated or Projected
SOURCES: Glenn Hegar, Texas Comptroller of Public Accounts; and IHS Markit.




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greater than losses in the real estate and leasing sector.       In 2020, each manufacturing industry employee pro-
Leisure and hospitality experienced the largest employ-       duced an estimated average gross product of $279,000,
ment drop among all major industries.                         almost twice the per-employee average for all industries.
                                                              GSP attributable to Texas manufacturing activity was
Manufacturing                                                 estimated at $248 billion in fiscal 2020, up 1.2 per­cent
   The Texas manufacturing industry lost 40,900 jobs          from the 2019 total of $245 billion.
in fiscal 2020, a decline of 4.5 percent. Durable goods          Average manufacturing employment across fiscal
employment fell by 35,100, with the largest losses            2021 is expected to be 3.1 percent lower than in fiscal
seen in the fabricated metals (16,800) and machinery          2020. It is expected to rise by 0.5 percent in 2022 and
(10,500) manufacturing sectors. Both sectors are closely      1.7 percent in 2023.
associated with oil and natural gas exploration and pro-
duction, and employment in those sectors has been fall-       Mining and Logging
ing along with that of the mining industry. In all, dura-        Texas mining industry employment peaked at 321,900
ble goods employment fell by 6.0 percent in fiscal 2020.      in December 2014 and then declined to a low of 204,300
Nondurable-goods manufacturing employment fell by             in September 2016. Industry employment then grew
5,800 or 1.8 percent. Texas manufacturing employment          consistently for more than two years, reaching 256,200 in
in August 2020 totaled 868,100.                               January 2019. Since that time, mining employment has
   In 2014, the value of Texas exports reached a record       fallen by 26 percent. From August 2019 to August 2020,
$289 billion, 3.3 percent more than in 2013. Those            mining employment fell by 59,300 with most (45,100) of
exports provided a substantial boost to manufacturing,        that loss occurring since March 2020.
notably for companies producing chemicals, computers             In addition to substantial exploration activities within
and electronics, petroleum products, industrial machin-       the state and in the Gulf of Mexico, Texas is headquarters
ery and transportation equipment. In 2015, the value of       for many of the nation’s largest oil and natural gas refin-
Texas exports fell sharply (to $251 billion, down 13.1        ing and distribution companies and has a large number
percent), hurt by falling oil prices and a stronger dollar.   of energy-related jobs in other industries. As in the min-
Texas exports continued to fall in 2016, down another         ing industry, employment in those industries and sectors
7.4 percent. In 2017, however, Texas exports rose by          experienced significant declines during the year.
13.5 percent from 2016’s level, and by another 19.4              Average mining and logging employment is projected
percent in 2018. In November 2019, for the first time         to be 20.9 percent lower in 2021 than in 2020. Industry
since October 2016, monthly Texas exports decreased           employment growth is expected to resume in the com-
on a year-over-year basis; total 2019 exports were still      ing biennium, with projected growth rates of 1.2 and
4.8 percent higher than 2018 exports. But exports have        8.7 percent in 2022 and 2023, respectively.
fallen sharply since March. For the period from Janu-
ary to August 2020, the value of Texas exports was 16.5       Construction
percent lower than that of the corresponding period in           Construction employment fell by 37,600 (4.8 per-
2019. Texas nonetheless remains the nation’s leading          cent) in fiscal 2020, reaching 741,500 in August 2020.
exporting state, as it has been for more than a decade.       Employment in the utility system construction sector
Texas exports comprised 20 percent of total U.S. exports      fell by 12.2 percent (14,100), the highest rate of any
in 2019.                                                      construction sector.

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    Total housing construction activity, on the other            Industry employment is projected to fall by 1.1
hand, rose in fiscal 2020. Texas saw 134,013 single-          percent in 2021 and to grow by an average 7.4 percent
family building permits issued in the year, up 15.3 per-      annually in the 2022-23 biennium.
cent from fiscal 2019. Building permits for multi-family
units rose by 1.9 percent. According to Multiple Listing      Education and Health Services
Service data from the Texas A&M Real Estate Center,              Texas’ education and health services industry, com-
the median sales price for an existing Texas single-family    prising the educational services and health care and
home rose by 8.2 percent, from $245,000 in August             social assistance sectors, lost 68,900 jobs in fiscal 2020, a
2019 to $265,000 in August 2020. In August 2020,              decrease of 3.9 percent. The relatively small educational
Texas had a 2.4 month inventory of existing homes for         services sector saw a decrease of 14,800 jobs (6.8 per-
sale, which at the time was the lowest level seen since at    cent). Employment in the much larger health care and
least 1990. By November, inventory had fallen further,        social assistance sector fell by 3.5 percent (54,100 jobs).
to 2 months.                                                  In all, Texas education and health services employment
    Construction employment is expected to decline by         fell to 1,676,400 in August 2020.
7.1 percent in fiscal 2021 and to rise by 1.8 and 3.3 per-       Industry employment is projected to grow by 0.9
cent in 2022 and 2023, respectively.                          percent in 2021, and by an average of 2.5 percent per
                                                              year in the 2020-21 biennium.
Service-Providing Industries
    Texas’ service-providing industries, which account        Financial Activities
for 85 percent of the state’s total nonfarm employment,          In fiscal 2020, Texas employment in the financial
saw job declines of 4.3 percent in fiscal 2020. Seven         activities industry rose by 0.2 percent or 1,400 jobs.
of the eight service-providing industries saw job losses,     Employment in the finance and insurance sector rose
with the highest rate of loss in leisure and hospitality      by 10,700 (1.9 percent) while real estate and rental and
services.                                                     leasing employment fell by 9,300 (4.0 percent). Credit
                                                              intermediation (which includes financial institutions
Professional and Business Services                            such as banks) is the industry’s largest sector, employing
    Employment in the professional and business ser-          274,400 as of August 2020. Total Texas financial activi-
vices industry fell by 25,000 jobs or 1.4 percent in fiscal   ties industry employment reached 807,500 in August
2020. Employment changes varied considerably among            2020.
industry sectors, with the largest increases in manage-          Industry employment is projected to fall by 2.5 per-
ment, scientific and technical consulting services (5.4       cent in 2021 and to grow at an average of 3.6 percent
percent) and accounting and bookkeeping services              annually in the 2022-23 biennium.
(5.3 percent). The employment services sector, which
includes temporary help agencies in which many jobs           Trade, Transportation and Utilities
are temporary and/or part-time positions, saw both               The trade, transportation and utilities industry, the
the largest absolute and largest percentage decreases in      state’s largest employer with 20 percent of total nonfarm
employment, falling by 29,500 or 9.8 percent. Total           jobs in August 2020, lost 73,100 jobs (2.9 percent) dur-
professional and business services employment was             ing fiscal 2020. Employment in all three industry sec-
1,776,500 in August 2020.                                     tors — retail trade, wholesale trade and transportation,

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warehousing and utilities — fell during the year. Whole-         Industry employment is projected to grow by 8.2
sale trade employment fell by 6.6 percent (40,500);           percent in 2021 and by an average of 3.5 percent per
transportation, warehousing and utilities employment          year in the 2022-23 biennium.
fell by 2,700 (0.5 percent); and employment in retail
trade fell by 29,900 (2.3 percent). In all, the trade,        Other Services
transportation and utilities industry provided 2,439,700         The other services industry is a varied mix of busi-
Texas jobs in August 2020.                                    ness activities including repair and maintenance services;
   Trade, transportation and utilities employment             laundry services; religious, political and civic organiza-
is projected to grow by 0.5 percent in 2020 and by            tions; funeral services; parking garages; beauty salons;
an average of 0.3 percent annually in the 2022-23             and a wide range of personal services. Personal and laun-
biennium.                                                     dry services employment fell by 15.5 percent (18,700),
                                                              the highest rate of decline among the other services sec-
Information                                                   tors. In all, other services industry employment fell by
   The information industry is diverse, representing          24,400 (5.5 percent) to 422,300 in August 2020.
established sectors of the economy (newspaper publish-           Other services employment is projected to decline by
ing, data processing, television broadcasting and wired       2.4 percent in 2021 and to grow at an average 4.0 per-
telephone services) as well as newer ones (cell phone         cent annually during the 2022-23 biennium.
service providers, internet providers and software pub-
lishers). The publishing sector saw the largest percentage    Government
fall in employment over the year (7.8 percent or 3,000           Government employment in Texas decreased by 1.2
jobs). Total industry employment fell by 6.6 percent          percent (23,200) in fiscal 2020. Federal employment
(13,700) to reach 195,300 in August 2020.                     rose by 27,600, largely on the strength of temporary
   Industry employment is projected to grow by 4.9            census hiring. Local government employment decreased
percent in 2021 and by an average of 0.3 percent annu-        by 27,000 and state government employment fell by
ally in the 2022-23 biennium.                                 23,800. Total government employment in Texas was
                                                              1,959,900 in August 2020.
Leisure and Hospitality                                          Government employment is projected to rise by 0.5
   Texas employment in the leisure and hospitality            percent in 2021 and by an average of 1.5 percent per
industry fell by 246,800 (17.7 percent) during the fiscal     year in the 2022-23 biennium.
year. The majority of the industry’s job losses occurred
in the food services and drinking places sector, which        The Economic Outlook for 2021 and the
lost 167,000 jobs (14.9 percent). The largest percent-        2022-23 Biennium
age loss was in the amusement, gambling and recreation           Texas possesses inherent advantages — relatively
sector, which fell by 32.6 percent (37,700). Leisure and      low living costs, an attractive business climate, a central
hospitality employment totaled 1,148,300 in August            Sunbelt location and a balanced mix of industries —
2020, representing about 9 percent of total Texas             that have enabled its economy to grow faster than the
employment.                                                   nation’s for many years. During the past 10 years, Texas
                                                              real GSP rose by an average annual rate of 3.1 percent,
                                                              while the economy of the nation as a whole grew by an

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average 1.8 percent annually. The U.S. economy is pro-       average 2.7 percent annually in the 2022-23 biennium.
jected to grow by 1.9 percent in fiscal 2021, however,       In all, nonfarm employment is forecast to fall by 0.2
while Texas’ real GSP is projected to fall by 1.3 percent.   percent in 2021, followed by growth of 2.2 percent
The Texas economy should resume growing faster than          in 2022 and 3.3 percent in 2023. Goods-producing
that of the U.S. in 2022 and 2023, with projected            employment growth in 2022-23 is expected to be led by
growth rates of 3.7 and 4.6 percent, respectively, com-      gains in the mining industry, while employment growth
pared to 2.3 and 2.5 percent for the U.S.                    in the service-providing industries is expected to be led
    Texas personal income rose by 7.4 percent in fiscal      by professional and business services.
2018, 5.2 percent in 2019 and an estimated 5.3 percent
in 2020. It is expected to fall by 2.9 percent in 2021,      Forecast Summary and Concerns
with less federal economic support related to the pan-          Texas’ economic growth in the 2022-23 biennium,
demic. Growth should resume in 2022, averaging 4.8           as measured by real GSP, is expected to average 4.2
percent annually in the coming biennium. Underlying          percent annually. Personal income in 2022-23 is fore-
these expected gains is population growth that has been      cast to increase by an average of 4.8 percent annually,
and will continue to be fueled by net migration and a        compared to an annual average 1.2 percent for 2020-21.
relatively high birth rate. Recent estimates by the U.S.     The nation’s inflation rate, as measured by the change
Census Bureau show that six Texas cities were among          in the Personal Consumption Expenditures deflator, is
the nation’s 15 most rapidly growing large cities from       expected to average 2.1 percent annually during 2022-
2010 through 2019, and three were among the top              23, higher than the 2020-21 average of 1.5 percent
four: Frisco (1), New Braunfels (3) and McKinney (4).        but still low by historical standards. Texas population
Texas’ population is projected to grow by an average         growth in 2022-23 is expected to average 1.3 percent
361,600 annually from fiscal 2021 to 2023, reaching          per year, about the same as that in 2020-21. In current
30.4 million.                                                dollar terms, the state’s GSP is expected to increase from
    Texas’ unemployment rate averaged 6.7 percent in         $1.844 trillion in 2020 to $2.037 trillion in 2023, an
fiscal 2020, and is expected to increase to 7.2 percent in   average annual increase of 3.4 percent.
2021 before falling to 6.0 percent in 2022 and 4.6 per-         This forecast envisions continued but moderating
cent in 2023. The U.S. unemployment rate averaged 7.3        economic impacts from the COVID-19 pandemic. It
percent in 2020 and is expected to average 5.1 percent       does not incorporate the possible impacts of further
over 2021 through 2023.                                      unanticipated one-time or unusual events that could
    Average Texas nonfarm employment fell by 2.0 per-        affect economic performance and revenue collections.
cent in fiscal 2020, with goods-producing industries            Several items must be watched, including the spread
employment decreasing by 3.8 percent and service-pro-        of the COVID-19 virus and the possibility of renewed
viding industries employment falling by 1.7 percent. For     reduction in customer-facing economic activity. Oil and
2021, goods-producing employment is expected to fall         natural gas prices remain volatile and a return to lock-
by a further 10.1 percent. Thereafter, growth is expected    downs in the U.S. or elsewhere could result in a further
to resume and to average 3.0 percent in the 2022-23          drop in prices and production. Conversely, household
biennium.                                                    savings have increased during the pandemic while credit
    Service-providing industries are expected to see         card debt has declined; this could support increased
employment growth of 1.6 percent in 2021 and to              consumer spending once people feel safe to return to

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pre-pandemic activity. Federal legislation passed in late      In summary, while there are numerous potential
December 2020 aimed at providing financial assistance       concerns, the Comptroller’s Texas economic forecast
for individuals, businesses, and local and state govern-    assumes further moderate decline in economic activ-
ments also could stimulate the Texas economy beyond         ity in fiscal 2021, followed by a return to growth in the
this forecast’s assumptions.                                2022-23 biennium at rates somewhat higher than those
                                                            experienced over the last decade. µ




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  BIEN NIAL R EV E N UE E ST I MATE


                         Available Revenue

T
        he 87th Texas Legislature will have an estimated      ances. In addition to the fiscal 2021 transfer of $1.13
        $112.53 billion available for general-purpose         billion to each fund from 2020 tax collections, this
        spending in the 2022-23 biennium, 0.4 percent         estimate anticipates that an additional $2.38 billion
less than the corresponding amount estimated for 2020-        each will be transferred to the ESF and SHF in 2022-23
21 (see Table 2). This figure represents the 2020-21          (associated with 2021 and 2022 collections). After the
ending deficit of $946 million plus 2022-23 tax revenue       2023 transfer, and accounting for interest earnings, the
of $103.93 billion and 2022-23 non-tax receipts of            ESF balance should reach $11.55 billion at the end of
$15.65 billion, less an estimated reserve of $5.83 billion    the 2022-23 biennium, absent any additional appropria-
from oil and natural gas taxes for future transfer to the     tions from the fund. The constitutional limit on the ESF
Economic Stabilization Fund (ESF) and State Highway           balance, estimated at $19.65 billion during the course of
Fund (SHF), as well as an estimated reserve of $271 mil-      the 2022-23 biennium, will not be reached.
lion for transfer to the Texas Tomorrow Fund.
                                                              Tax Revenue
The 2020-21 Ending Deficit                                       The state’s tax system is the main source of general
   The estimated ending certification deficit for the         revenue-related (GR-R) funding. Taxes are expected to
2020-21 biennium will be $946 million after setting           yield $103.93 billion during the upcoming biennium,
aside $2.05 billion from fiscal 2021 crude oil and natu-      contributing 87 percent of total net revenues. Com-
ral gas production tax collections to be evenly distrib-      pared with the $97.41 billion collected in 2020-21,
uted to the ESF and SHF during 2022 (see Table A-1).          total GR-R tax collections in 2022-23 are expected to
Note that the unencumbered balance in the General             increase by 6.7 percent.
Revenue Fund (GR) on August 31, 2021, is not pro-                State sales tax revenues have accounted for more
jected to rise to the level such that the constitutional      than half of all state GR-R tax collections in each year
provision requiring one-half of that balance be reserved      since fiscal 1988. In the 2022-23 biennium, sales tax
for transfer to the ESF would come into effect.               collections are expected to total $64.11 billion, or 62
                                                              percent of all tax collections. The next largest sources
Transfers from Severance Taxes                                of general revenue in 2022-23 will be motor vehicle
   The ESF and SHF each should receive transfers of           sales and rental taxes ($10.12 billion), oil produc-
$3.51 billion from oil production tax and natural gas         tion tax ($6.5 billion), franchise tax ($6.3 billion) and
production tax revenue over the three-year period from        insurance taxes ($5.7 billion). Note that some franchise
2021 to 2023 (see Table A-8). As required by the Texas        tax revenue is dedicated to the Property Tax Relief
Constitution, estimated transfers to the ESF and SHF          Fund, bringing the total deposited from that tax for all
have been deducted from available revenues and bal-           funds to $9 billion.

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 TABLE 2
 General Revenue-Related Funds, by Source and Biennium
 (In Millions of Dollars)

                                                                                                                     Percent
                                                                                    2020-21              2022-23     Change
 TAX COLLECTIONS
  Sales Taxes                                                                   $ 60,985             $ 64,106           5.1 %
  Motor Vehicle Sales and Rental Taxes                                             9,625                10,116          5.1
  Motor Fuel Taxes                                                                 1,865                 1,959          5.0
  Franchise Tax                                                                    5,992                 6,298          5.1
  Oil Production Tax                                                               5,901                 6,499         10.1
  Insurance Taxes                                                                  5,500                 5,700          3.6
  Cigarette and Tobacco Taxes                                                      1,121                 1,074         (4.2)
  Natural Gas Production Tax                                                       2,120                 3,538         66.9
  Alcoholic Beverages Taxes                                                        2,213                 2,520         13.9
  Hotel Occupancy Tax                                                                925                   948          2.5
  Utility Taxes                                                                      956                 1,000          4.6
  Other Taxes                                                                        205                   167        (18.5)
   Total Tax Collections                                                        $ 97,408             $ 103,926          6.7 %

 NON-TAX COLLECTIONS
  Licenses, Fees, Fines, and Penalties                                          $  2,567             $  2,548          (0.7) %
  State Health Service Fees and Rebates                                            1,961                2,025           3.3
  Net Lottery Proceeds                                                             3,273                3,077          (6.0)
  Land Income                                                                          9                    9          (4.0)
  Interest and Investment Income                                                   3,436                4,318          25.7
  Settlements of Claims                                                            1,092                  962         (11.9)
  Escheated Estates                                                                1,414                1,461           3.3
  Sales of Goods and Services                                                        250                  251           0.4
  Other Revenue                                                                    1,031                1,001          (2.9)
   Total Non-Tax Collections                                                    $ 15,034             $ 15,652           4.1 %

 TOTAL NET REVENUE                                                              $ 112,442            $ 119,578          6.3 %

 BALANCES AND ADJUSTMENTS
  Beginning Balance in Fund 1                                                   $  4,290             $ (1,273)
  Beginning Balances in Funds 2 and 3                                                431                  327
  Change in GR-Dedicated Account Balances                                            120                    0
  Reserve for Transfers to the Economic Stabilization and State Highway Funds     (4,319)              (5,830)
  Reserve for Transfers to the Texas Tomorrow Fund                                  N/A                  (271)
   Total Balances and Adjustments                                               $    522             $ (7,048)

 TOTAL GENERAL REVENUE-RELATED FUNDS
  AVAILABLE FOR CERTIFICATION                                                   $ 112,965            $ 112,530         (0.4) %

 Note: Totals may not sum because of rounding.
 SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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Sales and Use Taxes                                            from 2019. The principal factor inhibiting growth in
   The state’s largest source of tax revenue is the limited    fiscal 2020 was the coronavirus pandemic, which led
sales and use tax, imposed at a rate of 6.25 percent of        to significant declines in business activity beginning
the price of a broad range of items purchased within           halfway through the fiscal year, especially in the leisure
or brought into the state. The tax is paid both by busi-       and hospitality sector and in oil and gas-related sec-
nesses and consumers and applies generally to purchases        tors. Ongoing consequences of the pandemic will con-
of goods unless specifically exempted and to selected          tinue to curb growth in economic activity and sales tax
services.                                                      collections.
   The limited sales and use tax is deposited to GR and           While all-funds sales tax revenue is forecast to decline
is available for general-purpose spending with some            by 1.4 percent to $33.62 billion in fiscal 2021, growth is
exceptions. Each fiscal year, after sales tax collections      projected to resume at 3.9 percent in fiscal 2022 and 4.4
have reached $28 billion, up to $2.5 billion is allocable      percent in 2023.
to the SHF. Taxes collected from the sales of motor               GR-R sales tax revenue is expected to increase by 3.7
lubricants also are allocated to the SHF. Beginning in         percent in 2022, to $31.31 billion, and by 4.7 percent
fiscal 2022, pursuant to Article VIII, Section 7-d of the      in 2023, to $32.8 billion. GR-R sales tax revenue is fore-
Texas Constitution (as added by Proposition 5, a consti-       cast to reach $64.11 billion in the 2022-23 biennium,
tutional amendment approved by voters in November              an increase of 5.1 percent from the 2020-21 estimate of
2019), the net revenue from sales taxation of sporting         $60.98 billion.
goods is dedicated and automatically appropriated to the
Parks and Wildlife Department and the Texas Historical         Franchise Tax
Commission, subject to allocation as provided by stat-            The franchise tax, Texas’ primary business tax, is
ute; this amount is projected to total $405 million in the     levied on businesses’ taxable margin. To determine tax-
2022-23 biennium. Also, an amount sufficient to com-           able margin, businesses first calculate their total revenue
pensate for repeal of a surcharge on fireworks is allocated    and then may subtract from that one of four deductions:
to the Volunteer Fire Department Assistance Account.           cost of goods sold; 30 percent of total revenue; total
Finally, collections associated with certain hotel projects    compensation; or $1 million. Businesses then appor-
and special events are allocated to trust funds.               tion their margin to Texas according to the share of their
   Other sales taxes include the boat and boat motor           total business conducted in the state as measured by
sales and use tax, levied at a rate of 6.25 percent, and       their gross receipts.
a 1.5 percent surcharge on off-road diesel equipment              Depending on the firm’s industry, a tax rate of either
dedicated to the Texas Emissions Reduction Plan                0.75 percent or 0.375 percent is applied to the appor-
Account (TERP). Beginning on September 1, 2021, this           tioned margin to arrive at the amount of tax due. Most
surcharge no longer will be deposited into the TERP            businesses use the 0.75 percent rate; those primarily
account; instead, it will be allocated to a trust fund out-    engaged in wholesale or retail trade (including food
side the State Treasury.                                       service) use the 0.375 percent rate. Businesses with total
   Total sales tax collections for all funds excluding         annual revenues of less than $20 million may elect to file
trusts (of which more than 99 percent represented the          an EZ report and pay a reduced rate of 0.331 percent.
limited sales and use tax) reached a new high of $34.1            During the 2015 legislative session, the Legislature
billion in fiscal 2020, an increase of only 0.2 percent        approved HB 32, which made permanent reductions

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to all franchise tax rates, among other changes. The tax      Motor Vehicle Taxes
rate applicable to businesses in wholesale and retail trade      The Texas motor vehicle sales and use tax (including
was reduced by 25 percent, from 0.5 percent to 0.375          seller-financed sales) applies to the retail sales of new
percent of taxable margin. The 25 percent reduction also      and used motor vehicles at a rate of 6.25 percent of the
applied to businesses formerly taxed at 1.0 percent of        sale’s total consideration. Also included in this group of
taxable margin; the rate is now 0.75 percent.                 related taxes are the motor vehicle rental tax (10 percent
     HB 32 also amended the E-Z tax computation               of gross receipts on rentals of 30 days or less, or 6.25
method in two ways: the total revenue threshold for a         percent of gross receipts on rentals of 31 to 180 days)
business to qualify for the E-Z calculation was raised to     and the manufactured housing sales and use tax (5 per-
$20 million from $10 million; and the tax rate applica-       cent of 65 percent of the sales price of a new manufac-
ble to apportioned revenue was reduced by 42 percent,         tured home).
from 0.575 percent to 0.331 percent. The new rates               GR-R motor vehicle sales tax collections totaled
became effective for reports due on or after January 1,       $4.48 billion in fiscal 2020, 3.4 percent lower than fiscal
2016.                                                         2019’s as a result of the pandemic. Motor vehicle sales
     Franchise tax revenue is split between GR and the        tax collections are expected to increase compared to fis-
Property Tax Relief Fund (PTRF). The PTRF portion             cal 2020 collections for the remainder of the 2020-21
is the amount by which the total revenues collected           biennium as people make vehicle purchases that had
under the current tax structure exceeds the amount that       been delayed due to the pandemic, with low interest
would have been collected under the tax as it existed on      rates providing an additional tailwind.
August 31, 2007. The portion deposited to GR is the              GR-R motor vehicle sales tax collections are expected
amount projected to have been collected had the former        to rise to $4.64 billion in fiscal 2021, $4.8 billion in
tax structure remained in place. Franchise tax revenue        2022 and $4.88 billion in 2023. Collections in 2022-23
deposited into the PTRF is projected at $2.62 billion for     are expected to reach $9.68 billion, an increase of 6.1
the 2020-21 biennium. The GR allocation is estimated          percent from 2020-21 collections of $9.12 billion. The
to be $5.99 billion.                                          PTRF and the Emissions Reduction Plan Account also
     Total franchise tax revenue for the 2022-23 bien-        receive small amounts from motor vehicle sales taxes.
nium is estimated to be $9 billion, an increase of $383       Beginning in fiscal year 2022, the portion currently
million (4.4 percent) from 2020-21. The amount pro-           deposited to the Emissions Reduction Plan Account will
jected for GR is $6.3 billion, while the PTRF projection      instead be deposited to the Emissions Reduction Plan
is $2.7 billion.                                              Trust Fund, outside the State Treasury, created by HB
     The pandemic and associated drop in crude oil price      3745 in the 86th Legislature.
caused a sharp decline in Texas economic activity in             Motor vehicle rental tax collections, the other
the second quarter of 2020, with the degree of recovery       major element in this tax category, are driven by busi-
thereafter expected to leave economic output for the          ness travel and consumer demand for vacation travel
year lower than 2019’s. Since 2021 franchise tax reports      and temporary vehicle needs. As such, motor vehicle
will be based on 2020 economic activity, franchise tax        rental tax collections have been greatly affected by the
revenue is expected to fall in 2021, with growth resum-       COVID-19 pandemic. Collections came in at an all-
ing thereafter.                                               time high of $330 million in fiscal 2019 but fell by
                                                              nearly 11.5 percent in fiscal 2020. Business and per-

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sonal travel are expected to be significantly affected for    January 2002 was less than $20 per barrel; in June 2008,
the near future, resulting in a decrease in projected col-    it spiked to an all-time monthly high of more than $134
lections for fiscal 2021 to $211 million. Collections are     before quickly declining to $39 in February 2009. Prices
projected to slowly increase to $217 million in fiscal        gradually increased to around $100 in summer 2014
2022 and $222 million in fiscal 2023. For the 2022-23         before again dropping sharply and eventually retreating
biennium, rental taxes are expected to generate $439          below $31 in February 2016. As global demand strength-
million, down 12.6 percent from 2020-21 expected              ened and excess global inventories dissipated, prices
collections of $503 million.                                  recovered to more than $70 in July 2018 before plunging
   Manufactured housing tax collections in fiscal 2020        to a record low of negative $37.63 on April 20, 2020, in
totaled $28 million, 5.6 percent more than the $26            response to the COVID-19 pandemic. Prices then recov-
million collected in 2019. Collections in 2020-21 are         ered and approached $50 in December.
projected to be $56 million and are expected to remain           Texas’ total oil production first peaked in 1972,
nearly flat at $56 million for the 2022-23 biennium. All      when calendar-year production reached 1.26 billion bar-
collections from this tax are deposited to GR.                rels. After a decades-long decline in production volumes,
   In 2015, the Legislature passed and voters approved a      reaching a low of 343 million barrels in 2007, the trend
constitutional amendment that required, starting in fis-      reversed and reached a new all-time record of 1.58 bil-
cal 2020, a transfer to the SHF of that portion of motor      lion barrels in 2019, due largely to the development in
vehicle sales tax revenue collected in excess of $5 billion   the Eagle Ford shale formation and increased production
in any fiscal year. We project that the threshold will be     in the Permian Basin.
met for the first time in fiscal 2022 and then again in          In fiscal 2014, rising production and higher prices
fiscal 2023, and that $61 million will be transferred to      increased oil production tax collections to $3.87 bil-
the SHF from motor vehicle sales tax collections in the       lion, a record at the time. Despite higher production in
2022-23 biennium.                                             2015, sharply lower prices pushed tax collections down
   GR-R collections from the entire group of motor            to $2.88 billion. Collections in 2016 dropped further
vehicle-related taxes, including sales, rental, and manu-     to $1.7 billion, with lower production and further
factured housing taxes, are expected to reach $9.63 bil-      price declines. As prices recovered, production started
lion in the 2020-21 biennium, 2.8 percent less than in        to rise. Collections increased to $2.11 billion in 2017,
2018-19. For the 2022-23 biennium, tax collections are        $3.39 billion in 2018 and $3.89 billion in 2019, a new
expected to reach $10.12 billion, up 5.1 percent from         all-time record, before falling back to $3.23 billion in
2020-21.                                                      2020. Looking ahead, prices are expected to average $44
                                                              in 2021 and increase to $49 in 2022 and $55 in 2023.
Oil and Natural Gas Severance Taxes                           Total Texas oil production is expected to remain rela-
   The taxes in this group consist of the oil production      tively stable through 2023 as prices continue to recover
tax, levied at 4.6 percent of value, and the natural gas      and demand returns toward pre-pandemic levels. Oil
production tax, levied at 7.5 percent of value.               production tax collections are expected to generate $6.5
   Severance tax collections are the product of two fac-      billion in the 2022-23 biennium compared to $5.9 bil-
tors: price and production. The price of oil during the       lion in 2020-21, a 10.1 percent increase.
past two decades is a study in volatility. The average New       Natural gas market prices remained stable — and low
York Mercantile Exchange (NYMEX) market price in              — throughout the 1980s and 1990s, at around $2 per

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million BTUs. In 2002, NYMEX market prices began a            generally is the value of gross premiums received, the
long upward trend, reaching an all-time monthly aver-         rates vary depending upon the type of insurance.
age high of $13.45 in October 2005, and after further            Insurance maintenance taxes are used to fund the
fluctuation stood at $12.78 in June 2008. Record high         Texas Department of Insurance’s (TDI’s) regulatory
prices during this period helped accelerate the shale         costs and are levied at rates adjusted annually based on
drilling boom that began in the Barnett Shale and was         TDI’s appropriation and unexpended balance from the
followed by shale plays in other parts of the country         previous year. Revenue collected from maintenance taxes
such as the Marcellus and Haynesville formations. The         is deposited to TDI’s operating account.
consequent boom created a nationwide glut, halted the            Insurance premium tax collections are deposited into
upward price trend and brought prices down to $2.05           the General Revenue Fund. The rate for life, accident
by April 2012. Unlike oil prices, rebounds in natural         and health insurance is 1.75 percent of the value of gross
gas prices were short-lived. They continued a downward        premiums written; for property and casualty insurance,
path to sub-$2 levels by March 2016, when inventories         1.6 percent; for title insurance, 1.35 percent; for cap-
reached record levels.                                        tive insurance companies, 0.5 percent; and the rate for
     In response to lower prices, the number of active        unauthorized, surplus lines and independently procured
Texas natural gas drilling rigs began to fall, from a peak    insurance is 4.85 percent.
of 756 in September 2008 to 14 in September 2016.                Beginning in fiscal 2009, premium tax collections
Associated oil-well gas (casinghead gas) production,          have been reduced by two temporary factors: Texas
however, has more than tripled since 2010 and today is        Windstorm Insurance Association (TWIA) assessment
a driving factor, accounting for 38 percent of total gas      credits and Certified Capital Company (CAPCO)
production in 2020 versus only 12.2 percent 10 years          investment premium tax credits. After claims related
prior.                                                        to hurricanes Dolly in July 2008 and Ike in Septem-
     COVID-19 reduced natural gas demand starting             ber 2008 exceeded available reserves, TWIA imposed
during the second quarter of fiscal 2020. The aver-           assessments of $460 million on insurers, $230 million
age NYMEX price for the third quarter of fiscal 2020          of which was made available as premium tax credits. A
was $1.87; it continued to drop to $1.75 in the fourth        maximum of 20 percent of these assessment credits ($46
quarter.                                                      million) could be taken in any fiscal year. TWIA assess-
     Total natural gas production is expected to rise         ment credits of $2.2 million are still available; a pro-
because of increasing prices at the start of fiscal 2021.     jected $80,000 will be redeemed in 2021, with a further
Market prices are expected to average $2.60 in 2021,          $80,000 redeemed in both 2022 and 2023. CAPCO
$2.75 in 2022 and $2.65 in 2023. Natural gas tax col-         investment premium tax credits, initially available at a
lections in the 2022-23 biennium are expected to be           maximum rate of $50 million per year, will continue
$3.54 billion, 66.9 percent more than the $2.12 billion       through 2023 at an estimated $1.0 million per year.
collected in 2020-21.                                            In fiscal 2020, insurance tax revenue (from all taxes
                                                              for all funds) rose by 5.5 percent from 2019, due pri-
Insurance Taxes                                               marily to increases in premium tax collections. Collec-
     Most of the insurance purchased in Texas is subject      tions in 2021 are expected to be reduced by pandemic
to two types of taxes: insurance premium taxes and            effects on calendar 2020 economic activity. Collec-
insurance maintenance taxes. While the tax base for each      tions are projected to exceed 2020 levels, but by only

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0.7 percent, the lowest annual increase since 2009. Total      based rate increased by 3 cents per ounce every Septem-
tax collections for the 2020-21 biennium are projected         ber through 2013 to reach the current and final rate of
to be $5.5 billion, 7.7 percent more than in 2018-19.          $1.22 per ounce.
The growth rate of insurance tax revenue is expected              A share of the additional revenue attributable to the
to decrease over the 2022-23 biennium, with collec-            weight-based taxation method initially was dedicated
tions reaching $5.7 billion, 3.6 percent more than in          to the Physician Education Loan Repayment Program
2020-21.                                                       (PELRP) account in GR, while the remaining revenue
                                                               was dedicated to unrestricted GR. The PELRP account
Tobacco Taxes                                                  received a 15 percent share in fiscal 2010, 25 percent in
   Effective January 1, 2007, the 79th Legislature             2011 and 50 percent thereafter. In 2015, the Legislature
increased the cigarette tax rate by one dollar to a total of   changed that allocation method to deposit the entire
$1.41 per pack of 20 cigarettes. The additional revenue        amount into GR if the PELRP account has a sufficient
attributable to that increase was dedicated to the PTRF,       unencumbered beginning balance to fund appropria-
while the revenue from the cigarette tax at the former         tions and other costs during the current fiscal biennium,
rate ($0.41 per pack) remains dedicated to GR.                 or to deposit the entire amount to the PELPR account if
   Cigarette distributors are entitled to 2.5 percent of       the beginning balance is not sufficient.
the face value of the cigarette tax stamps purchased as           Cigars are taxed at four rates that vary by weight, fac-
an allowance for the service they provide in fixing a tax      tory list price and ingredients. Those tax rates, ranging
stamp to each pack of 20 cigarettes. That allowance was        from one cent per 10 small cigars to $15 per 1,000 large
reduced from 3.0 percent by the 82nd Legislature in            cigars, have not changed since 1977. All revenue col-
2011. Distributors remitting the cigarette fee created         lected from cigar taxes is dedicated to GR.
by the 83rd Legislature (2013) on sales of nonsettling            Cigarette tax collections for all funds totaled $1.06
manufacturer cigarettes, however, can claim the full 3.0       billion in fiscal 2020, 10.3 percent less than in 2019.
percent stamping allowance for all of the cigarettes they      Cigar and tobacco product tax collections for all funds
stamp.                                                         were $238 million in 2020, a 4.7 percent increase
   For tobacco products other than cigarettes and cigars       from 2019. In the 2020-21 biennium, collections from
(i.e., snuff, chewing tobacco, pipe tobacco and roll-your-     the cigarette and cigar and tobacco products taxes are
own tobacco), the 79th Legislature increased the tax rate      expected to total $2.67 billion for all funds, 2.1 percent
from 35.213 percent to 40 percent of the manufacturer’s        below 2018-19 collections. For 2022-23, collections are
list price. The additional revenue attributable to that        expected to decline by 5.4 percent to $2.53 billion. Of
rate increase was dedicated to the PTRF, while the rev-        this amount, $1.07 billion will be deposited to GR and
enue from the tax at the former rate remains dedicated         $1.45 billion will be dedicated to the PTRF; there will
to GR.                                                         be no allocation to the PELRP account.
   As of September 1, 2009, the Legislature converted
the tax on non-cigarette and non-cigar tobacco from an         Alcoholic Beverage Taxes
assessment based on value to one based on the manufac-            Texas imposes six taxes on alcoholic beverages. The
turer’s list weight. The tax rate in fiscal 2010 was set at    taxes on beer ($6 per 31-gallon barrel), liquor ($2.40
$1.10 per ounce, while the prior ad valorem rate was 40        per gallon), wine (from 20.4 cents to 51.6 cents per
percent of the manufacturer’s list price. The new weight-      gallon) and malt liquor or ale (19.8 cents per gallon)

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are based on the volume sold. The two taxes levied on              The excise taxes on liquor, beer, wine and malt liquor
mixed beverage sales — 6.7 percent on the beverage              (ale), which represent a smaller portion of the alcoholic
vendor’s gross receipts and an 8.25 percent sales tax           beverage category, saw an overall increase in collections
on the consumer’s purchase — are value-based. As of             from fiscal 2019 to fiscal 2020. Collections from these
September 1, 2021, the 86th Legislature (2019) elimi-           taxes for 2020-21 are expected to reach $491 million,
nated the distinction between the malt liquor (ale) tax         5.8 percent more than in 2018-19. In the 2022-23 bien-
and the beer tax by combining them into a new malt              nium, collections are estimated to total $489 million, a
beverage category. The lower beer excise tax rate will          decrease of 0.4 percent from 2020-21.
be applied to malt liquor. The change is reflected in
the 2022-23 biennium estimate for both taxes with the           Motor Fuel Taxes
inclusion of the estimated malt liquor (ale) collections           Texas taxes the three major fossil fuels used to propel
in the beer tax estimate.                                       motor vehicles on public roads. The tax rate on gasoline
     In fiscal 2020, collections for all Texas alcoholic bev-   and diesel fuel is 20 cents per gallon, while liquefied and
erage taxes were $1.13 billion, a 17.8 percent decrease         compressed gas are taxed at 15 cents per gallon.
from collections in 2019. In the 2020-21 biennium, col-            The pandemic caused motor fuels tax collections to
lections are expected to total $2.21 billion, 16.8 percent      decline in fiscal 2020. Gasoline tax collections fell by 6.6
below 2018-19 collections. For 2022-23, collections are         percent from 2019, 8.3 percentage points lower than the
expected to increase by 13.9 percent, to $2.52 billion.         compounded annual growth rate of 1.7 percent from fis-
     Alcoholic beverage tax revenue fell sharply in fiscal      cal 2008 to fiscal 2019. Similarly, diesel fuel tax collec-
2020 due largely to the significant drop in activity at         tions fell by 3.6 percent from fiscal 2019, compared to
restaurants, bars and similar establishments. With the          a compounded annual growth rate of 1.7 percent from
advent of the pandemic, the leisure and hospitality sec-        fiscal 2008 to fiscal 2019.
tors experienced heavy revenue losses with the decrease            After deducting for transfers to the SHF, motor fuel
in travel and cancelation of many revenue-generating            tax revenues available for general-purpose spending in
events during which alcoholic beverages typically are           the 2020-21 biennium are expected to fall by 6.2 per-
sold. As COVID-19 cases and hospitalizations rose in            cent to $1.86 billion, then increase by 5.0 percent in
the state, bars were recognized as virus-spreading loca-        2022-23, to $1.96 billion.
tions and were ordered closed. Bars were subsequently
allowed to reopen with restrictions. The imposition of          Utility Taxes
various occupancy limits and bar closures throughout               Texas levies three utility taxes on utility companies:
fiscal 2020 shifted some alcohol purchases from res-            the gas, electric and water utility tax; the public utility
taurants and bars to grocery and package liquor stores.         gross receipts assessments; and the gas utility pipeline
The two mixed-beverage taxes accounted for 78 percent           tax.
of total alcoholic beverage tax revenue in fiscal 2020.            The gas, electric and water utility tax, which
Mixed-beverage tax collections for the 2020-21 bienni-          accounts for approximately 82 percent of utility tax
um are expected to reach $1.72 billion, 21.6 percent less       collections, is levied on investor-owned electric util-
than 2018-19 collections of $2.2 billion. In the 2022-23        ity gross receipts at rates ranging from 0.581 percent
biennium, collections are expected to rise to $2.03 bil-        to 1.997 percent, depending on the population of the
lion, a 17.9 percent increase from 2020-21.                     city served. The tax does not apply to receipts from

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sales of utility services in unincorporated areas; sales        electricity and natural gas continue to rise, total utility
in municipalities with populations of no more than              tax revenue collections are expected to reach $1 billion
1,000; sales by municipally owned utilities; or sales by        in the 2022-23 biennium, up 4.6 percent from an esti-
electric cooperatives. In 2020, GR-R collections from           mated $956 million in 2020-21.
this source totaled $386 million, down by 1.0 percent
from 2019 collections of $390 million. After adjust-            Hotel Occupancy Tax
ing for deposit errors, collections in fiscal 2020 totaled         The state hotel occupancy tax is imposed on a person
$391 million, 1.3 percent more than adjusted fiscal             who pays for a hotel room (or sleeping accommodations
2019 collections of $386 million. Decreasing electric-          in similar facilities) costing $15 or more each day, at a
ity demand seen in recent years, due mostly to the              rate of 6 percent of the price paid for the room. Local
replacement of less efficient end-use equipment with            taxing authorities are authorized to impose an additional
newer, more efficient equipment, has tapered off and            local hotel tax that they collect.
demand has resumed a slow increase. The increase in                Fiscal 2020 collections from the state hotel occu-
electricity demand, along with higher retail electricity        pancy tax totaled $471 million, a decrease of 26 percent
prices and increased natural gas usage in the industrial        from 2019 collections of $636 million, attributable
sector, contributed to the increase in 2020 revenues.           to reduced business and leisure travel from the global
Collections in the 2022-23 biennium are expected to             pandemic.
reach $821 million, an increase of 5.7 percent from                For the 2020-21 biennium, collections are expected
$777 million in 2020-21.                                        to reach $925 million, 25.3 percent below 2018-19
   Public utility gross receipts assessments, compris-          collections of $1.24 billion. In 2022-23 gross hotel tax
ing roughly 12 percent of total utility tax revenues, are       receipts should increase by an estimated 4.8 percent. But
paid by electric and telecommunications utilities at the        with more hotel projects becoming eligible for refunds
rate of one-sixth of 1 percent of gross receipts. GR-R          of state hotel occupancy tax revenue, net collections will
collections from this source were $60 million in fiscal         rise by just 2.5 percent, to $948 million.
2020, or $55 million after adjusting for deposit errors.
Collections during the 2022-23 biennium are expected            Other Taxes
to rise by 2.5 percent, to $114 million, versus 2020-21            The remaining state taxes include those on oil well
adjusted collections estimated at $111 million.                 services, coin-operated amusement machines, cement
   Revenues from the gas utility pipeline tax, the small-       and combative sports admissions. In fiscal 2020, net
est source of utility tax revenue, are levied at the rate       GR-R collections for this category totaled $138 million,
of one-half of 1 percent of gross receipts and totaled          35.2 percent less than 2019 collections of $213 million.
$32 million in fiscal 2020. Collections in the 2022-23          Most of this decrease, more than $74 million, is attrib-
biennium are expected to reach $66 million, 3.2 per-            utable to a reduction in the oil well services tax.
cent more than the estimated $63 million collected in              Collections from the other taxes category are
2020-21.                                                        expected to generate $167 million for general-purpose
   In fiscal 2020, the state’s net collections from all util-   spending in the 2022-23 biennium, a decrease of 18.5
ity taxes totaled $478 million, up 1.4 percent from $471        percent from an estimated $205 million in collections in
million in 2019. As electricity and natural gas consump-        2020-21.
tion increase slightly, and the average retail prices of

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Non-Tax Revenue                                                by increased scratch-ticket sales, which rose by 14.7 per-
     In addition to the $103.93 billion in tax revenue         cent to $5.56 billion. Of this amount, 66.3 percent of
estimated for the 2022-23 biennium, the state’s GR-R           gross sales was returned to players as prizes, while the lot-
funds are expected to receive $15.65 billion in non-tax        tery’s administrative costs, which are legally capped at 7
revenue, a 4.1 percent increase from the $15.03 billion        percent of gross sales, totaled approximately $216 million,
in non-tax revenue collected in 2020-21.                       or 3.2 percent of sales. Retailers receive a 5 percent sales
     The major non-tax revenue sources, accounting for         commission as well as a bonus for tickets they sell that are
92 percent of collections in the 2022-23 biennium, are         redeemed for large jackpots and other incentive payments
licenses, fees, fines and penalties; state lottery proceeds;   if certain sales targets are met.
interest and investment income, particularly distribu-            After prizes, administrative costs, retailer commis-
tions from the Permanent School Fund (PSF) to the              sions and other costs are paid, the remaining money is
Available School Fund (ASF) to public education spend-         transferred to the Foundation School Fund (FSF) to
ing; the Medicaid vendor drug program; unclaimed               support public schools throughout the state. In fiscal
property and escheated estates; and tobacco settlement         2020, this transfer totaled $1.66 billion. The Legislature
claims payments. This revenue category also includes the       also approved a scratch ticket game to generate revenue
sales of goods and services, land income and a wide vari-      specifically for the benefit of Texas veterans beginning in
ety of other sources.                                          fiscal 2009. In fiscal 2020, this resulted in a $19 million
                                                               transfer to the Texas Veterans Commission (TVC).
Licenses, fees, fines and penalties                               The transfer of lottery revenue to the FSF is pro-
     Texas collects revenue from charges levied on a wide      jected to decline by 6 percent during the 2022-23 bien-
variety of business and personal activities. Examples          nium, to $3.08 billion. This forecast assumes a decline
include transportation (vehicle registrations and inspec-      from record scratch-ticket sales in fiscal 2020, which
tions and drivers licenses); business regulation (profes-      occurred as a result of COVID-19 causing area casino
sional licenses); natural resources (environmental per-        operations to shut down temporarily. Revenue trans-
mits); parks and wildlife (parks fees and fishing/hunting      ferred to the TVC is expected to total $36 million in the
licenses); education (university tuition); and court           2022-23 biennium, 5.1 percent less than in the preced-
charges. GR-R collections in the 2022-23 biennium are          ing biennium.
expected to reach $2.55 billion, 0.7 percent less than the        Unclaimed lottery game prizes topped $87 million in
$2.57 billion collected in 2020-21.                            2020. Legislation passed in 2013 redirected the major-
                                                               ity of unclaimed prize money, formerly deposited to
Lottery Proceeds                                               the General Revenue Fund, to the FSF. For the 2022-
     Since 1992, the Texas Lottery Commission has              23 biennium, transfers of unclaimed prizes to the FSF
administered a lottery to raise revenue benefiting public      are projected to decline by 5 percent, to $159 million.
schools. Through the years, its portfolio of games has         Transfers of unclaimed prizes to TVC are expected to
expanded considerably and now includes multi-state             total $5 million during the 2022-23 biennium.
draw games such as Powerball and Mega Millions.
     Gross sales for all Texas lottery games rose from $6.25   Interest and Investment Income
billion in fiscal 2019 to $6.7 billion in fiscal 2020, a          This revenue category includes interest earnings on
growth rate of 7.2 percent. This growth was largely driven     state deposits, investment income and income distri-

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butions from the PSF to the ASF. GR-R interest and          Unclaimed Property and Escheated Estates
investment income in the 2022-23 biennium is expected          The category’s revenues represent proceeds from
to total $4.32 billion, 25.7 percent more than the $3.44    abandoned personal property such as checking accounts,
billion collected in 2020-21.                               savings accounts, certificates of deposit, safe deposit
   The biggest contributor to the increase in this cat-     boxes, stocks, bonds, mutual funds, mineral proceeds
egory for the 2022-23 biennium is a projected increase      and other types of property. For this revenue category,
in PSF income, which traditionally produces most of         which includes unclaimed property submitted to the
the investment income accruing to GR-R funds. The           state, GR-R collections are expected to be $1.46 billion
increase in distributions from the PSF to the ASF dur-      in the 2022-23 biennium, a 3.3 percent increase from
ing the 2022-23 biennium results from decisions by the      2020-21 collections of $1.41 billion.
State Board of Education and the School Land Board,
which jointly manage the PSF. Combined distributions        Tobacco Settlement Claim Payments
from both boards are expected to send $2.13 billion to         In fiscal 1999, Texas began receiving regularly
the ASF in fiscal 2022 and $2.18 billion in fiscal 2023,    scheduled court settlement payments from tobacco
a biennial increase of $906 million or 26.6 percent from    product manufacturers. Beginning in the 2000-01
2020-21.                                                    biennium, these payments were adjusted for changes in
                                                            the national consumer price index, the settling tobacco
State Health Service Fees and Rebates                       companies’ U.S. cigarette sales and their domestic
   Revenue from the federally mandated and state-           operating profits. In the 2020-21 biennium, Texas
supplemental Medicaid vendor drug programs consists         tobacco settlement receipts are expected to total $895
of rebates the state collects from drug manufacturers       million, a 1.6 percent decline from the $938 million
for drugs covered by state Medicaid programs. State         collected in 2018-19. For 2022-23, these receipts are
and non-state hospitals that provide health care servic-    expected to reach $881 million, 4.6 percent less than
es to indigent patients receive adjustments through the     in 2020-21. Tobacco settlement payments have been
Medicaid Uncompensated Care and Disproportionate            affected negatively by cigarette tax increases imposed
Share Hospital programs; net revenue after hospitals        by federal, state and local governments. The resulting
receive these payments is considered general revenue.       higher consumer prices have accelerated the decline in
Together with premium credits from the Medicaid pro-        cigarette consumption, reducing the sales volume of
gram, these funds and rebates comprise state revenue        the settling cigarette manufacturers and thereby lower-
to this category. Based on revenue estimates from the       ing settlement payments.
Texas Health and Human Services Commission and
the Legislative Budget Board (LBB), the GR portion of       Revenue to All Funds
these funds and rebates is expected to total $2.02 bil-        Revenue to all funds will total $270.47 billion in
lion in the 2022-23 biennium, an increase of 3.3 per-       the 2022-23 biennium, a 6.5 percent decrease from
cent from the $1.96 billion expected in 2020-21. The        the $289.42 billion expected in 2020-21. In 2022-23,
2022-23 estimate is based on the LBB’s assumptions          GR-R receipts will total $119.58 billion, 6.3 percent
for future Federal Medical Assistance Percentages as of     more than the $112.44 billion in 2020-21 collections
October 2020.                                               that were affected significantly by the pandemic.



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     Dedicated federal income in 2022-23 will account           Another large source of all-funds revenue is the
for $98.18 billion, $26.6 billion or 21.3 percent less       SHF’s share of motor fuels tax revenue. This revenue is
than the $124.78 billion expected in 2020-21, during         constitutionally dedicated to activities associated with
which the state received a substantial increase in federal   the state highway system.
revenue to cover costs associated with COVID-19. Esti-          Total estimated revenues include certain funds that
mates of state revenue attributable to federal COVID-19      are deposited in the State Treasury but not appropriated,
relief legislation passed in late December 2020 are based    such as royalties deposited to the PSF. Excluded are local
on the best available data at the time of publication;       funds that are appropriated but not deposited into the
as such, those estimates are preliminary and subject to      State Treasury and deposits by certain semi-independent
change as more information is made available.                agencies. µ




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     TABLE A-1
     Estimated General Revenue-Related Balances, Revenue,
     Disbursements, and Appropriation Authority
                                                                                                                              Thousands of Dollars
                                                                                                             2021                   2022                     2023
     REVENUE AND BEGINNING FUND BALANCES
      General Revenue-Related Adjusted Fund Balance*                                                   $  4,868,679               $   (946,452)          $ 54,682,974
      General Revenue-Related Revenue**                                                                  55,459,224                 58,444,355              61,133,151
      Adjustment to Dedicated Account Balances                                                             (319,294)                         0                       0
       Total Revenue and Beginning Fund Balances                                                       $ 60,008,609               $ 57,497,903           $ 115,816,125

     PROBABLE DISBURSEMENTS AND OTHER ADJUSTMENTS
      Disbursements for Foundation School Programs                                                     $ 18,197,062               $            0         $           0
      State Technology and Instructional Materials Disbursements                                            374,112                            0                     0
      Other Probable Disbursements                                                                       40,332,393                            0                     0
      Reserve for Transfers to the Economic Stabilization and State Highway Funds                         2,051,495                    2,701,334             3,128,989
      Reserve for Transfers to the Texas Tomorrow Fund                                                         N/A                       113,596               157,580
       Total Probable Disbursements and Other Adjustments                                              $ 60,955,061               $    2,814,930         $   3,286,569

     ESTIMATED ENDING CERTIFICATION BALANCE, AUGUST 31                                                 $      (946,452)           $ 54,682,974           $ 112,529,555

     APPROPRIATION AUTHORITY
      Prior-Year Authority                                                                                                        $    2,859,024
      Current-Year Authority                                                                                                          58,903,567

     TOTAL APPROPRIATION AUTHORITY                                                                                                $ 61,762,590

     * Excludes constitutionally restricted accounts, dedicated lottery proceeds, oil overcharge and other general revenue-dedicated account balances
        that are not available for certification.
     ** Excludes constitutionally restricted motor fuel, sales and motor vehicle sales taxes transfers to the State Highway Fund.
     Note: Totals may not sum because of rounding.
     SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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  TABLE A-2
  Estimated General Revenue-Related Revenue and Balances
  Available for Certification
                                                                                         Thousands of Dollars
                                                                                     2020-21             2022-23
  BEGINNING FUND BALANCES
   Consolidated General Revenue Fund Adjusted Balance                            $    4,289,697      $   (1,273,341)
   Available School Fund Balance                                                         58,188              35,000
   State Technology and Instructional Materials Fund Balance                            372,930             291,889
    Total Beginning Fund Balances                                                $    4,720,816      $     (946,452)


  REVENUE
   General Revenue Fund                                                          $ 105,586,138       $ 112,028,724
   Available School Fund                                                             3,407,283           4,311,197
   State Technology and Instructional Materials Fund                                     8,551               2,342
   Foundation School Account                                                         3,440,400           3,235,243
    Total Revenue                                                                $ 112,442,372       $ 119,577,506


  OTHER ADJUSTMENTS
   Change in General Revenue-Dedicated Account Balances                          $      120,466      $            0
   Reserve for Transfers to the Economic Stabilization and State Highway Funds       (4,318,871)         (5,830,322)
   Reserve for Transfers to the Texas Tomorrow Fund                                        N/A             (271,177)
    Total Other Adjustments                                                      $   (4,198,404)     $   (6,101,499)


  TOTAL GENERAL REVENUE-RELATED REVENUE AND BALANCES                             $ 112,964,783       $ 112,529,555

  Note: Totals may not sum because of rounding.
  SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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     TABLE A-3
     Estimated General Revenue-Related Funds Revenue
     Object                                                                                                                Thousands of Dollars
     Code                                          Description                                              2021                 2022                       2023

     GENERAL REVENUE FUND
     3004 Motor Vehicle Sales and Use Tax                                                              $ 4,455,732             $ 4,622,237              $ 4,734,239
     3005 Motor Vehicle Rental Tax                                                                          210,797                 217,373                  221,721
     3007 Gasoline Tax                                                                                    2,629,338               2,655,262                2,682,552
     3008 Diesel Fuel Tax                                                                                   901,925                 934,077                  975,596
     3016 Motor Vehicle Sales and Use Tax–Seller Financed Motor Vehicles                                    157,125                 161,839                  164,267
     3027 Driver Record Information Fees                                                                      3,390                   3,556                    3,738
     3102 Limited Sales and Use Tax                                                                      32,609,500              33,928,400               35,420,600
     3111 Boat and Boat Motor Sales and Use Tax                                                              75,800                  78,700                   83,200
     3114 Escheated Estates                                                                                 698,823                 719,788                  741,381
     3130 Franchise/Business Margins Tax                                                                  2,936,700               3,045,200                3,252,300
     3139 Hotel Occupancy Tax                                                                               453,877                 466,102                  481,964
     3175 Professional Fees                                                                                  62,006                  64,559                   64,732
     3186 Securities Fees                                                                                   140,000                 140,000                  140,000
     3201 Insurance Premium Taxes                                                                         2,638,111               2,655,246                2,749,332
     3219 Insurance Maintenance Tax–Workers' Compensation Division and OIEC                                  48,748                  51,185                   53,744
     3230 Public Utility Gross Receipts Assessment                                                           55,704                  56,539                   57,104
     3233 Gas, Electric and Water Utility Tax                                                               390,321                 404,037                  416,825
     3250 Mixed Beverage Gross Receipts Tax                                                                 379,407                 443,765                  468,667
     3251 Mixed Beverage Sales Tax                                                                          466,586                 544,065                  574,623
     3253 Liquor Tax                                                                                        104,016                 105,200                  106,400
     3258 Beer Tax                                                                                          105,501                 118,900                  120,100
     3275 Cigarette Tax                                                                                     360,700                 312,700                  341,600
     3278 Cigar and Tobacco Products Tax                                                                    213,722                 210,838                  209,212
     3290 Oil Production Tax                                                                              2,672,076               3,037,430                3,461,722
     3291 Natural Gas ProductionTax                                                                       1,194,898               1,695,996                1,841,911
     3849 Tobacco Suit Settlement Receipts                                                                  456,900                 445,800                  435,100
     3854 Interest Other - General, Non-Program                                                               1,556                   1,556                    1,556
     3950 Allocations to General Revenue from Special Funds                                                  12,705                  20,292                   20,292
     3952 Allocation of Uncompensated Care and Disproportionate Share Revenues                              199,310                 198,149                  198,149
          Other General Revenue Fund Revenue                                                              2,504,842               2,689,292                2,745,700
     3901 Less: Motor Fuel Taxes Allocation to State Highway Fund                                        (2,586,246)             (2,625,914)              (2,675,686)
     3924 Less: Sporting Goods Sales Taxes Allocation to the TPWD and THC                                      N/A                 (196,900)                (207,900)
     3925 Less: Sales Taxes Allocation to State Highway Fund                                             (2,500,000)             (2,500,000)              (2,500,000)
     3928 Less: Motor Vehicle Sales Taxes Allocation to State Highway Fund                                        0                  (9,745)                 (51,541)
          Subtotal, General Revenue Fund                                                               $ 52,053,870            $ 54,695,524             $ 57,333,200

     SCHOOL FUNDS*
     3851 Interest on State Deposits/Investments - General, Non-Program                                $     2,723             $     2,943              $     1,596
     3910 Allocation from Permanent School Fund to Available School Fund                                 1,701,670               2,132,000                2,177,000
     3922 State Gain from Lottery Proceeds                                                               1,617,708               1,534,623                1,542,090
          Other School Funds Revenue                                                                        83,253                  79,265                   79,265
          Subtotal, School Funds                                                                       $ 3,405,354             $ 3,748,831              $ 3,799,951

     TOTAL ESTIMATED NET GENERAL REVENUE-RELATED FUNDS                                                 $ 55,459,224            $ 58,444,355             $ 61,133,151

     * Includes net revenue for the Available School Fund, the State Technology and Instructional Materials Fund, and the Foundation School Account.
     Note: Totals may not sum because of rounding.
     SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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TABLE A-4
Estimated General Revenue-Dedicated Accounts Revenue
Account                                                                                                      Thousands of Dollars
Number                                       Account                                          2021                 2022                2023

9       Game, Fish, and Water Safety                                                      $ 147,294                $ 148,595        $ 148,831
27      Coastal Protection                                                                   15,193                   15,529           10,481
64      State Parks                                                                          48,984                  237,471          247,701
151     Clean Air                                                                            69,236                   68,068           68,605
153     Water Resource Management                                                            84,055                   86,282           87,746
225     University of Houston Current                                                        78,446                   78,446           78,446
238     University of Texas at Dallas Current                                                52,093                   53,632           54,688
242     Texas A&M University Current                                                        112,482                  113,282          113,782
244     University of Texas at Arlington Current                                             66,962                   68,142           68,706
248     University of Texas at Austin Current                                               113,667                  113,667          113,667
249     University of Texas at San Antonio Current                                           43,919                   45,065           45,516
250     University of Texas at El Paso Current                                               31,223                   31,435           32,016
255     Texas Tech University Current                                                        58,372                   58,372           58,372
258     University of North Texas Current                                                    47,802                   48,754           49,724
259     Sam Houston State University Current                                                 27,299                   27,368           27,574
421     Criminal Justice Planning                                                            16,115                   17,034           16,281
469     Compensation to Victims of Crime                                                     63,729                   66,505           64,601
549     Waste Management                                                                     36,204                   36,449           36,697
550     Hazardous and Solid Waste Remediation Fees                                           28,771                   28,898           29,015
655     Petroleum Storage Tank Remediation                                                   16,883                   17,161           17,490
5000    Solid Waste Disposal Fees                                                            11,493                   11,606           11,720
5007    Commission on State Emergency Communications                                         18,355                   18,355           18,355
5025    Lottery*                                                                            552,115                  525,804          525,804
5050    9-1-1 Service Fees                                                                   32,511                   32,511           32,449
5064    Volunteer Fire Department Assistance                                                 22,626                   21,652           21,642
5071    Emissions Reduction Plan**                                                          101,490                        0                0
5073    Fair Defense                                                                         37,019                   39,380           37,809
5080    Quality Assurance                                                                    60,057                   60,057           60,057
5094    Operating Permit Fees                                                                39,425                   39,757           40,093
5111    Designated Trauma Facility and EMS                                                  107,900                  105,565          103,918
5155    Oil and Gas Regulation and Cleanup                                                   67,339                   71,046           73,432
        Other Accounts                                                                      856,938                  883,477          889,169

TOTAL ESTIMATED GENERAL REVENUE-DEDICATED ACCOUNTS                                        $ 3,065,997              $ 3,169,365      $ 3,184,387

* Net of proceeds to the Foundation School Account and other dedicated accounts.
** Revenue collections do not include transfers from the State Highway Fund. Beginning on September 1, 2021,
   all revenue that was deposited into the TERP account will be allocated to a trust fund outside the State Treasury.
Note: Totals may not sum because of rounding.
SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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     TABLE A-5
     Estimated Federal Income, by Fund or Account
     Fund/
     Account                                                                                 Thousands of Dollars
     Number                               Fund or Account                       2021               2022                 2023

     1      General Revenue Fund                                             $ 33,631,501       $ 35,659,490        $ 32,818,467
     6      State Highway Fund                                                  5,853,758          4,329,196           3,963,289
     9      Game, Fish, and Water Safety Account                                   58,019             58,019              58,019
     37     Federal Child Welfare Service Account                                 509,161            513,469             519,060
     92     Federal Disaster Account                                              202,788            172,645             156,103
     127    Community Affairs Federal Account                                     280,153            280,726             282,887
     148    Federal Health, Education and Welfare Account                       3,364,884          3,341,116           3,341,116
     171    Federal School Lunch Account                                        2,246,334          1,979,337           1,979,337
     222    Department of Public Safety Federal Account                             1,900              1,850               1,850
     224    Governor's Office Federal Projects Account                            108,383            115,591             123,278
     273    Federal Health and Health Lab Funding Excess Revenue Account          301,277            301,277             301,277
     325    Coronavirus Relief Fund                                            17,757,385          2,867,176             497,106
     421    Criminal Justice Planning Account                                     218,818            218,678             218,539
     449    Texas Military Federal Account                                         66,794             68,797              67,864
     469    Compensation to Victims of Crime Account                               31,853             20,511              21,249
     549    Waste Management Account                                                6,750              6,750               6,750
     5026   Workforce Commission Federal Account                                1,741,995          1,673,774           1,667,827
     5091   Office of Rural Community Affairs Federal Account                      68,166             67,777              67,777
            Other Funds and Accounts                                              208,467            206,722             203,009

     TOTAL ESTIMATED FEDERAL INCOME                                          $ 66,658,386       $ 51,882,901        $ 46,294,804

     Note: Totals may not sum because of rounding.
     SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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TABLE A-6
Estimated Other Funds Revenue, by Fund or Account
Fund/
Account                                                                                                        Thousands of Dollars
Number                                   Fund or Account                                        2021                 2022                          2023

6      State Highway Fund                                                                  $ 7,162,536              $ 7,184,081                $ 7,320,137
11     Available University Fund                                                             1,173,292                1,220,037                  1,278,669
193    Foundation School Account/Local Recapture – Attendance Credits                        2,814,010                2,796,200                  3,031,800
304    Property Tax Relief Fund                                                              2,084,728                2,028,444                  2,180,666
365    Texas Mobility Fund                                                                     523,785                  518,048                    524,912
573    Judicial Fund                                                                            77,789                   72,347                     67,468
       Disproportionate Share Revenue/State & Local Hospitals                                5,026,129                5,408,844                  3,215,099
       Appropriated Receipts                                                                   675,622                  701,482                    620,373
       Other Funds                                                                           3,119,620                3,869,475                  4,319,715

TOTAL ESTIMATED OTHER FUNDS REVENUE                                                        $ 22,657,511             $ 23,798,958               $ 22,558,839

Note: Excludes certain local funds that are appropriated but not deposited in the State Treasury, and deposits by semi-independent agencies.
      Includes certain state revenue deposited in the State Treasury but not appropriated. Excludes federal income.
Note: Totals may not sum because of rounding.
SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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         TABLE A-7
         Estimated All Funds Revenue, Excluding Trust Funds
                                                                                               Thousands of Dollars
         Source                                                               2021                   2022                          2023

         General Revenue-Related                                         $ 55,459,224              $ 58,444,355               $ 61,133,151
         General Revenue-Dedicated                                          3,065,997                 3,169,365                  3,184,387
         Federal Income                                                    66,658,386                51,882,901                 46,294,804
         Other Funds                                                       22,657,511                23,798,958                 22,558,839

         TOTAL ESTIMATED ALL FUNDS REVENUE                               $ 147,841,118             $ 137,295,579              $ 133,171,181

         Note: Excludes local funds and deposits by semi-independent agencies. Includes certain state revenue deposited in the State Treasury
               but not appropriated.
         Note: Totals may not sum because of rounding.
         SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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TABLE A-8
Estimated Allocations and Transfers from the General Revenue Fund
                                                                                                                         Thousands of Dollars
                                                                                                          2021                 2022                         2023
ALLOCATIONS AND TRANSFERS TO OTHER FUNDS
 Available School Fund–Motor Fuel Taxes                                                               $    868,483            $    881,847            $    898,620
 State Highway Fund–Motor Fuel Taxes                                                                     2,586,246               2,625,914               2,675,686
 State Highway Fund–Severance Taxes                                                                      1,133,688               1,025,747               1,350,667
 State Highway Fund–Sales Taxes                                                                          2,500,000               2,500,000               2,500,000
 State Highway Fund–Motor Vehicle Sales Taxes                                                                    0                   9,745                  51,541
 County and Road District Highway Fund–Motor Fuel Taxes                                                      7,300                   7,300                   7,300
 Economic Stabilization Fund–Severance Taxes                                                             1,133,688               1,025,747               1,350,667
 Teacher Retirement System Trust Fund (excl. health insurance)                                           2,315,411               2,462,444               2,616,168
  Total Allocations and Transfers to Other Funds                                                      $ 10,544,816            $ 10,538,744            $ 11,450,649

ALLOCATIONS AND TRANSFERS TO GENERAL REVENUE-DEDICATED ACCOUNTS
 Motor Fuel Allocation to Parks and Wildlife                                                          $    18,720             $    18,904             $    19,097
 Motor Fuel Enforcement Allocation                                                                         31,802                  32,318                  32,977
 State Parks Account–Sporting Goods Sales Tax (SGST)                                                      127,701                 183,117                 193,347
 Texas Recreation and Parks Account–SGST                                                                   10,668                       0                       0
 Parks and Wildlife Conservation Capital Account–SGST                                                      58,150                       0                       0
 Large County & Municipal Recreation and Parks Account–SGST                                                 5,198                       0                       0
 Historic Sites Account–SGST                                                                               15,183                  13,783                  14,553
 Foundation School Account–Occupation Taxes                                                             1,740,298               1,967,825               2,139,299
 Hotel Occupancy Tax–Economic Development                                                                  37,823                  38,842                  40,164
 Hotel Occupancy Tax–Coastal Erosion                                                                         N/A                   17,004                  17,956
 Texas Department of Insurance Operating Account–Insurance Maintenance Taxes                              143,485                 145,877                 148,046
 Rural Volunteer Fire Department Insurance Account–Sales Tax                                                2,120                   2,160                   2,280
  Total Allocations and Transfers to General Revenue-Dedicated Accounts                               $ 2,191,148             $ 2,419,830             $ 2,607,719

TOTAL ALLOCATIONS AND TRANSFERS FROM GENERAL REVENUE                                                  $ 12,735,964            $ 12,958,574            $ 14,058,367

DETAILS OF THE ECONOMIC STABILIZATION FUND – CASH BASIS REPORTING

TOTAL BEGINNING BALANCE*                                                                              $ 9,996,515             $ 8,947,194             $ 10,073,639

TRANSFERS, INTEREST AND INVESTMENT INCOME
 Oil Production Tax Transfer                                                                            1,011,552                 802,577                 939,584
 Natural Gas Production Tax Transfer                                                                      122,136                 223,171                 411,082
 Unencumbered Balance Transfer                                                                                  0                       0                       0
 Interest Income                                                                                           20,503                  16,886                  12,142
 Investment Income                                                                                         59,501                  83,812                 118,139
  Total Transfers and Interest Income                                                                 $ 1,213,692             $ 1,126,445             $ 1,480,948

APPROPRIATIONS                                                                                            2,263,014                         0                      0

TOTAL ENDING BALANCE OF ESF                                                                           $ 8,947,194             $ 10,073,639            $ 11,554,587

* The total beginning balance includes the cash balance in the State Treasury and the invested balance with the Texas Treasury Safekeeping Trust Company.
  The invested balance and gain on those investments are based on the projected earnings as of October 16, 2021.
Note: Totals may not sum because of rounding.
SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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TABLE A-9
Available School Fund and State Technology and Instructional Materials Fund
Estimated Balances, Revenues and Expenditures
                                                                                                           Thousands of Dollars
                                                                                            2021                 2022                    2023
Beginning Cash Balances
 Available School Fund                                                                 $  13,458               $  35,000            $  18,476
 State Technology and Instructional Materials Fund                                       666,415                 291,889              293,745
  Total Beginning Cash Balances                                                        $ 679,874               $ 326,889            $ 312,221

ESTIMATED REVENUE
 Available School Fund
  Total Return Allocation from Permanent School Fund                                   $ 1,701,670             $ 2,132,000          $ 2,177,000
  Interest on State Deposits/Investments - General, Non-Program                                867                   1,087                1,110
  Allocation from General Revenue Fund                                                     868,483                 881,847              898,620
   Total Estimated Available School Fund Revenue                                       $ 2,571,020             $ 3,014,934          $ 3,076,730

 State Technology and Instructional Materials Fund
  Sale of Textbooks                                                                    $          0            $          0         $         0
  Interest on State Deposits/Investments - General, Non-Program                               1,856                   1,856                 486
  Other Revenue                                                                                   0                       0                   0
   Total Estimated State Technology and Instructional Materials Fund Revenue           $      1,856            $      1,856         $       486

TOTAL ESTIMATED REVENUE AND BEGINNING CASH BALANCES                                    $ 3,252,750             $ 3,343,679          $ 3,389,437

ESTIMATED EXPENDITURES
 State Technology and Instructional Materials*                                         $ 374,112               $ 1,035,439          $     10,000
 Administration–State Technology and Instructional Materials Fund                          2,271                     2,271                 2,271
 Administration–Available School Fund                                                          0                         0                     0
 Per Capita Apportionment
  5,059,590 (prior year ADA) @ $504                                                        2,549,478
  5,095,199 (prior year ADA) @ $391                                                                                1,993,748
  5,131,468 (prior year ADA) @ $609                                                                                                   3,124,064
   Total Estimated Expenditures                                                        $ 2,925,861             $ 3,031,458          $ 3,136,335

ENDING CASH BALANCE                                                                    $ 326,889               $ 312,221            $ 253,102

* Represents only state revenue.
Note: Totals may not sum because of rounding.
SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts, Legislative Budget Board.




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TABLE A-10
Sources of Property Tax Relief Fund Revenue
                                                                                    Thousands of Dollars
                                                                         2021             2022                 2023

BEGINNING CASH BALANCE                                               $          0       $        0         $ 2,028,444

REVENUE
3004 Motor Vehicle Sales and Use Tax                                      25,442             26,393             27,033
3130 Franchise/Business Margins Tax                                    1,258,600          1,305,100          1,393,800
3275 Cigarette Tax                                                       780,300            676,400            738,900
3278 Cigar and Tobacco Products Tax                                       18,877             19,062             19,388
3851 Interest on State Deposits/Investments - General, Non-Program         1,509              1,489              1,545
      Total Revenue                                                  $ 2,084,728        $ 2,028,444        $ 2,180,666

NET TRANSFERS                                                        $          0       $        0         $          0

APPROPRIATIONS                                                       $ 2,084,728        $        0         $          0

ENDING CASH BALANCE                                                  $          0       $ 2,028,444        $ 4,209,110

Note: Totals may not sum because of rounding.
SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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     TABLE A-11
     Sources of State Highway Fund Revenue
     Object                                                                                                     Thousands of Dollars
     Code                                    Description                                         2021                 2022                  2023

     STATE REVENUE
     3010 Motor Fuel Lubricants Sales Tax                                                   $    37,000              $    37,500       $    38,000
     3014 Motor Vehicle Registration Fees                                                     1,644,027                1,685,128         1,727,256
     3018 Special Vehicle Permits Fees                                                          122,729                  125,119           127,557
     3752 Sale of Publications/Advertising                                                        4,636                    4,683             4,729
     3767 Supplies/Equipment/Services–Federal/Other                                              20,271                   20,474            20,679
     3851 Interest on State Deposits/Investments - General, Non-Program                          19,905                   13,013            12,411
     3901 Motor Fuel Taxes Allocation                                                         2,586,246                2,625,914         2,675,686
     3969 Severance Taxes Allocation                                                          1,133,688                1,025,747         1,350,667
     3925 Sales Taxes Allocation                                                              2,500,000                2,500,000         2,500,000
     3928 Motor Vehicle Sales Taxes Allocation                                                        0                    9,745            51,541
            Other Revenue                                                                       227,722                  162,505           162,278
             Total State Revenue                                                            $ 8,296,224              $ 8,209,828       $ 8,670,804

     FEDERAL INCOME
     3001 Federal Receipts Matched–Transportation Programs*                                 $ 5,853,758              $ 4,329,196       $ 3,963,289
     3701 Federal Receipts Not Matched–Other Programs                                                 0                        0                 0
            Total Federal Income                                                            $ 5,853,758              $ 4,329,196       $ 3,963,289

     TOTAL STATE HIGHWAY FUND REVENUE                                                       $ 14,149,982             $ 12,539,024      $ 12,634,093

     * The estimate for Federal Income is based on the Texas Department of Transportation's October cash forecast.
     Note: Totals may not sum because of rounding.
     SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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 TABLE A-12
 State Revenue, by Source and Fiscal Year
 General Revenue-Related
                                                                       Thousands of Dollars
                                                       2020         2021               2022             2023
                                                      Actual      Estimated          Estimated       Estimated
 TAX COLLECTIONS
  Sales Taxes                                     $ 30,799,500   $ 30,185,300       $ 31,310,200    $ 32,795,900
  Motor Vehicle Sales and Rental Taxes               4,773,615      4,851,684          5,019,733       5,096,715
  Motor Fuel Taxes                                     913,780        951,177            969,772         989,003
  Franchise Tax                                      3,055,377      2,936,700          3,045,200       3,252,300
  Oil Production Tax                                 3,229,347      2,672,076          3,037,430       3,461,722
  Insurance Taxes                                    2,740,586      2,759,697          2,802,069       2,898,371
  Cigarette and Tobacco Taxes                          546,724        574,422            523,538         550,812
  Natural Gas Production Tax                           925,473      1,194,898          1,695,996       1,841,911
  Alcoholic Beverages Taxes                          1,125,322      1,088,010          1,231,530       1,288,890
  Hotel Occupancy Tax                                  470,703        453,877            466,102         481,964
  Utility Taxes                                        478,155        477,475            492,703         507,306
  Other Taxes                                          138,326         66,210             78,980          87,733
   Total Tax Collections                          $ 49,196,907   $ 48,211,526       $ 50,673,253    $ 53,252,627

 REVENUE BY SOURCE
  Tax Collections                                 $ 49,196,907   $ 48,211,526       $ 50,673,253    $ 53,252,627
  Licenses, Fees, Fines, and Penalties               1,439,320      1,127,545          1,270,291       1,278,204
  State Health Service Fees and Rebates                985,540        975,402            992,427       1,032,449
  Net Lottery Proceeds                               1,655,764      1,617,708          1,534,623       1,542,090
  Land Income                                            6,389          2,983              4,397           4,599
  Interest and Investment Income                     1,729,079      1,706,620          2,137,030       2,180,589
  Settlements of Claims                                594,637        497,267            486,167         475,467
  Escheated Estates                                    715,456        698,823            719,788         741,381
  Sales of Goods and Services                          125,203        124,939            125,628         125,628
  Other Revenue                                        534,852        496,411            500,751         500,117
   Total Net Revenue                              $ 56,983,148   $ 55,459,224       $ 58,444,355    $ 61,133,151

 Note: Totals may not sum because of rounding.
 SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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        TABLE A-13
        Percent Change in State Revenue, by Source and Fiscal Year
        General Revenue-Related
                                                             2020         2021            2022            2023
                                                            Actual      Estimated       Estimated       Estimated
        TAX COLLECTIONS
         Sales Taxes                                           3.2 %       (2.0) %          3.7 %           4.7 %
         Motor Vehicle Sales and Rental Taxes                 (3.9)         1.6             3.5             1.5
         Motor Fuel Taxes                                     (9.4)         4.1             2.0             2.0
         Franchise Tax                                         3.1         (3.9)            3.7             6.8
         Oil Production Tax                                  (16.9)       (17.3)           13.7            14.0
         Insurance Taxes                                       5.5          0.7             1.5             3.4
         Cigarette and Tobacco Taxes                          (8.0)         5.1            (8.9)            5.2
         Natural Gas Production Tax                          (45.1)        29.1            41.9             8.6
         Alcoholic Beverages Taxes                           (17.8)        (3.3)           13.2             4.7
         Hotel Occupancy Tax                                 (26.0)        (3.6)            2.7             3.4
         Utility Taxes                                         1.4         (0.1)            3.2             3.0
         Other Taxes                                         (35.2)       (52.1)           19.3            11.1
          Total Tax Collections                               (2.1) %      (2.0) %          5.1 %           5.1 %

        REVENUE BY SOURCE
         Tax Collections                                      (2.1) %      (2.0) %          5.1 %           5.1 %
         Licenses, Fees, Fines, and Penalties                  1.7        (21.7)           12.7             0.6
         State Health Service Fees and Rebates                (6.9)        (1.0)            1.7             4.0
         Net Lottery Proceeds                                  8.7         (2.3)           (5.1)            0.5
         Land Income                                         (18.6)       (53.3)           47.4             4.6
         Interest and Investment Income                        2.5         (1.3)           25.2             2.0
         Settlements of Claims                                (3.7)       (16.4)           (2.2)           (2.2)
         Escheated Estates                                     3.2         (2.3)            3.0             3.0
         Sales of Goods and Services                          (5.7)        (0.2)            0.6             0.0
         Other Revenue                                         6.7         (7.2)            0.9            (0.1)
          Total Net Revenue                                   (1.5) %      (2.7) %          5.4 %           4.6 %

        SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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      TABLE A-14
      State Revenue, by Source and Biennium
      General Revenue-Related
                                                                          Thousands of Dollars
                                                             2018-19           2020-21              2022-23
                                                              Actual          Estimated            Estimated
      TAX COLLECTIONS
       Sales Taxes                                        $ 60,727,319       $ 60,984,800        $ 64,106,100
       Motor Vehicle Sales and Rental Taxes                   9,897,902         9,625,299           10,116,448
       Motor Fuel Taxes                                       1,988,997         1,864,957            1,958,775
       Franchise Tax                                          5,791,958         5,992,077            6,297,500
       Oil Production Tax                                     7,278,341         5,901,423            6,499,152
       Insurance Taxes                                        5,105,102         5,500,283            5,700,440
       Cigarette and Tobacco Taxes                            1,155,971         1,121,146            1,074,350
       Natural Gas Production Tax                             3,116,787         2,120,371            3,537,907
       Alcoholic Beverages Taxes                              2,661,391         2,213,332            2,520,420
       Hotel Occupancy Tax                                    1,237,354           924,580              948,066
       Utility Taxes                                            923,753           955,630            1,000,009
       Other Taxes                                              419,005           204,536              166,713
        Total Tax Collections                             $ 100,303,880      $ 97,408,433        $ 103,925,880

      REVENUE BY SOURCE
       Tax Collections                                    $ 100,303,880     $ 97,408,433         $ 103,925,880
       Licenses, Fees, Fines, and Penalties                   2,827,193         2,566,865            2,548,495
       State Health Service Fees and Rebates                  2,317,376         1,960,942            2,024,876
       Net Lottery Proceeds                                   2,907,636         3,273,472            3,076,713
       Land Income                                                3,834             9,372                8,996
       Interest and Investment Income                         2,933,745         3,435,699            4,317,619
       Settlements of Claims                                  1,135,150         1,091,904              961,634
       Escheated Estates                                      1,329,612         1,414,279            1,461,169
       Sales of Goods and Services                              260,803           250,142              251,256
       Other Revenue                                          1,002,958         1,031,263            1,000,868
        Total Net Revenue                                 $ 115,022,186     $ 112,442,372        $ 119,577,506

      Note: Totals may not sum because of rounding.
      SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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         TABLE A-15
          Percent Change in State Revenue, by Source and Biennium
          General Revenue-Related
                                                                      2018-19     2020-21           2022-23
                                                                       Actual    Estimated         Estimated
         TAX COLLECTIONS
          Sales Taxes                                                    6.7 %         0.4 %             5.1 %
          Motor Vehicle Sales and Rental Taxes                           9.1          (2.8)              5.1
          Motor Fuel Taxes                                               5.4          (6.2)              5.0
          Franchise Tax                                                  3.9           3.5               5.1
          Oil Production Tax                                            91.0         (18.9)             10.1
          Insurance Taxes                                               11.0           7.7               3.6
          Cigarette and Tobacco Taxes                                   (2.6)         (3.0)             (4.2)
          Natural Gas Production Tax                                    99.6         (32.0)             66.9
          Alcoholic Beverages Taxes                                     10.9         (16.8)             13.9
          Hotel Occupancy Tax                                           17.6         (25.3)              2.5
          Utility Taxes                                                  5.7           3.5               4.6
          Other Taxes                                                  135.5         (51.2)            (18.5)
           Total Tax Collections                                        12.5 %        (2.9) %            6.7 %

         REVENUE BY SOURCE
          Tax Collections                                               12.5 %        (2.9) %            6.7 %
          Licenses, Fees, Fines, and Penalties                          (1.9)         (9.2)             (0.7)
          State Health Service Fees and Rebates                        (12.6)        (15.4)              3.3
          Net Lottery Proceeds                                          16.1          12.6              (6.0)
          Land Income                                                  (86.8)        144.5              (4.0)
          Interest and Investment Income                                35.3          17.1              25.7
          Settlements of Claims                                          3.3          (3.8)            (11.9)
          Escheated Estates                                            (12.9)          6.4               3.3
          Sales of Goods and Services                                    6.2          (4.1)              0.4
          Other Revenue                                                 21.3           2.8              (2.9)
           Total Net Revenue                                            11.6 %        (2.2) %            6.3 %

         SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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TABLE A-16
State Revenue, by Source and Fiscal Year
All Funds, Excluding Trust Funds
                                                                                         Thousands of Dollars
                                                             2020                     2021                2022                              2023
                                                            Actual                  Estimated          Estimated                          Estimated
TAX COLLECTIONS
 Sales Taxes                                           $ 34,099,115              $ 33,623,996              $ 34,918,812                 $ 36,461,248
 Motor Vehicle Sales and Rental Taxes                     4,815,240                 4,893,369                 5,055,871                    5,175,289
 Motor Fuel Taxes                                         3,524,712                 3,537,423                 3,595,686                    3,664,689
 Franchise Tax                                            4,418,420                 4,195,300                 4,350,300                    4,646,100
 Oil Production Tax                                       3,229,347                 2,672,076                 3,037,430                    3,461,722
 Insurance Taxes                                          2,741,653                 2,760,758                 2,803,252                    2,899,444
 Cigarette and Tobacco Taxes                              1,299,014                 1,373,599                 1,219,000                    1,309,100
 Natural Gas Production Tax                                 925,473                 1,194,898                 1,695,996                    1,841,911
 Alcoholic Beverages Taxes                                1,125,322                 1,088,010                 1,231,530                    1,288,890
 Hotel Occupancy Tax                                        470,703                   453,877                   466,102                      481,964
 Utility Taxes                                              478,155                   477,475                   492,703                      507,306
 Other Taxes                                                252,664                   179,198                   191,968                      200,721
  Total Tax Collections                                $ 57,379,818              $ 56,449,979              $ 59,058,650                 $ 61,938,384

REVENUE BY SOURCE
 Tax Collections                                       $ 57,379,818              $ 56,449,979              $ 59,058,650                 $ 61,938,384
 Federal Income                                           58,116,754                66,658,386                51,882,901                   46,294,804
 Licenses, Fees, Fines, and Penalties                      6,241,256                 6,218,588                 6,446,651                    6,426,975
 State Health Service Fees and Rebates                     7,497,445                 6,988,056                 7,536,138                    5,445,452
 Net Lottery Proceeds                                      2,391,653                 2,463,540                 2,566,046                    2,566,046
 Land Income                                               1,809,261                 1,400,548                 2,011,094                    2,406,944
 Interest and Investment Income                            2,529,037                 1,926,245                 2,143,170                    2,186,675
 Settlements of Claims                                       624,354                   527,043                   516,423                      506,006
 Escheated Estates                                           715,456                   698,823                   719,788                      741,381
 Sales of Goods and Services                                 254,791                   259,529                   261,705                      262,032
 Other Revenue                                             4,016,497                 4,250,381                 4,153,013                    4,396,482
  Total Net Revenue                                    $ 141,576,323             $ 147,841,118             $ 137,295,579                $ 133,171,181

Note: Excludes local funds and deposits by semi-independent agencies. Includes certain state revenues deposited in the State Treasury
      but not appropriated.
Note: Totals may not sum because of rounding.
SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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         TABLE A-17
         Percent Change in State Revenue, by Source and Fiscal Year
         All Funds, Excluding Trust Funds
                                                              2020          2021            2022            2023
                                                             Actual      Estimated       Estimated       Estimated
         TAX COLLECTIONS
          Sales Taxes                                           0.2 %       (1.4) %          3.9 %          4.4 %
          Motor Vehicle Sales and Rental Taxes                 (3.9)         1.6             3.3            2.4
          Motor Fuel Taxes                                     (5.8)         0.4             1.6            1.9
          Franchise Tax                                         4.8         (5.0)            3.7            6.8
          Oil Production Tax                                  (16.9)       (17.3)           13.7           14.0
          Insurance Taxes                                       5.5          0.7             1.5            3.4
          Cigarette and Tobacco Taxes                          (7.9)         5.7           (11.3)           7.4
          Natural Gas Production Tax                          (45.1)        29.1            41.9            8.6
          Alcoholic Beverages Taxes                           (17.8)        (3.3)           13.2            4.7
          Hotel Occupancy Tax                                 (26.0)        (3.6)            2.7            3.4
          Utility Taxes                                         1.4         (0.1)            3.2            3.0
          Other Taxes                                         (22.6)       (29.1)            7.1            4.6
           Total Tax Collections                               (3.4) %      (1.6) %          4.6 %          4.9 %

         REVENUE BY SOURCE
          Tax Collections                                      (3.4) %      (1.6) %          4.6 %           4.9 %
          Federal Income                                       38.7         14.7           (22.2)          (10.8)
          Licenses, Fees, Fines, and Penalties                 (4.6)        (0.4)            3.7            (0.3)
          State Health Service Fees and Rebates                 5.8         (6.8)            7.8           (27.7)
          Net Lottery Proceeds                                 (4.7)         3.0             4.2             0.0
          Land Income                                         (19.6)       (22.6)           43.6            19.7
          Interest and Investment Income                        1.0        (23.8)           11.3             2.0
          Settlements of Claims                                (3.4)       (15.6)           (2.0)           (2.0)
          Escheated Estates                                     3.2         (2.3)            3.0             3.0
          Sales of Goods and Services                          (8.6)         1.9             0.8             0.1
          Other Revenue                                        (3.0)         5.8            (2.3)            5.9
           Total Net Revenue                                   10.7 %        4.4 %          (7.1) %         (3.0) %

         SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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      TABLE A-18
      State Revenue, by Source and Biennium
      All Funds, Excluding Trust Funds
                                                                                     Thousands of Dollars
                                                                   2018-19                2020-21                      2022-23
                                                                    Actual               Estimated                    Estimated
      TAX COLLECTIONS
       Sales Taxes                                             $ 65,961,151              $ 67,723,111              $ 71,380,060
       Motor Vehicle Sales and Rental Taxes                        9,984,033                 9,708,609                10,231,160
       Motor Fuel Taxes                                            7,418,001                 7,062,135                 7,260,375
       Franchise Tax                                               7,903,809                 8,613,720                 8,996,400
       Oil Production Tax                                          7,278,341                 5,901,423                 6,499,152
       Insurance Taxes                                             5,107,459                 5,502,411                 5,702,696
       Cigarette and Tobacco Taxes                                 2,730,930                 2,672,613                 2,528,100
       Natural Gas Production Tax                                  3,116,787                 2,120,371                 3,537,907
       Alcoholic Beverages Taxes                                   2,661,391                 2,213,332                 2,520,420
       Hotel Occupancy Tax                                         1,237,354                   924,580                   948,066
       Utility Taxes                                                 923,753                   955,630                 1,000,009
       Other Taxes                                                   642,488                   431,862                   392,689
        Total Tax Collections                                  $ 114,965,497             $ 113,829,797             $ 120,997,034

      REVENUE BY SOURCE
       Tax Collections                                         $ 114,965,497             $ 113,829,797             $ 120,997,034
       Federal Income                                             81,523,043               124,775,140                98,177,705
       Licenses, Fees, Fines, and Penalties                       13,019,467                12,459,844                12,873,626
       State Health Service Fees and Rebates                      14,686,818                14,485,501                12,981,590
       Net Lottery Proceeds                                        4,738,922                 4,855,193                 5,132,092
       Land Income                                                 4,312,293                 3,209,809                 4,418,038
       Interest and Investment Income                              4,353,442                 4,455,282                 4,329,845
       Settlements of Claims                                       1,190,673                 1,151,397                 1,022,429
       Escheated Estates                                           1,329,612                 1,414,279                 1,461,169
       Sales of Goods and Services                                   564,011                   514,320                   523,737
       Other Revenue                                               7,423,243                 8,266,878                 8,549,495
        Total Net Revenue                                      $ 248,107,022             $ 289,417,441             $ 270,466,760

      Note: Excludes local funds and deposits by semi-independent agencies. Includes certain state revenue deposited in
            the State Treasury but not appropriated.
      Note: Totals may not sum because of rounding.
      SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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         TABLE A-19
         Percent Change in State Revenue, by Source and Biennium
         All Funds, Excluding Trust Funds
                                                                      2018-19      2020-21          2022-23
                                                                       Actual     Estimated        Estimated
         TAX COLLECTIONS
          Sales Taxes                                                   15.4 %          2.7 %           5.4 %
          Motor Vehicle Sales and Rental Taxes                           9.1           (2.8)            5.4
          Motor Fuel Taxes                                               4.5           (4.8)            2.8
          Franchise Tax                                                 11.0            9.0             4.4
          Oil Production Tax                                            91.0          (18.9)           10.1
          Insurance Taxes                                               11.0            7.7             3.6
          Cigarette and Tobacco Taxes                                   (6.2)          (2.1)           (5.4)
          Natural Gas Production Tax                                    99.6          (32.0)           66.9
          Alcoholic Beverages Taxes                                     10.9          (16.8)           13.9
          Hotel Occupancy Tax                                           17.6          (25.3)            2.5
          Utility Taxes                                                  5.7            3.5             4.6
          Other Taxes                                                   64.2          (32.8)           (9.1)
           Total Tax Collections                                        17.2 %         (1.0) %          6.3 %

         REVENUE BY SOURCE
          Tax Collections                                                17.2 %        (1.0) %           6.3 %
          Federal Income                                                  4.7          53.1            (21.3)
          Licenses, Fees, Fines, and Penalties                            5.1          (4.3)             3.3
          State Health Service Fees and Rebates                          (0.6)         (1.4)           (10.4)
          Net Lottery Proceeds                                           10.9           2.5              5.7
          Land Income                                                    52.2         (25.6)            37.6
          Interest and Investment Income                                 42.6           2.3             (2.8)
          Settlements of Claims                                           0.9          (3.3)           (11.2)
          Escheated Estates                                             (12.9)          6.4              3.3
          Sales of Goods and Services                                    (6.2)         (8.8)             1.8
          Other Revenue                                                  26.0          11.4              3.4
           Total Net Revenue                                             11.5 %        16.7 %           (6.5) %

         SOURCE: Glenn Hegar, Texas Comptroller of Public Accounts.




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                               Fund
                               Detail




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Schedule I
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                    Fiscal Year
No.                                                                                     2021               2022                2023

SOURCE: GENERAL REVENUE
0001 General Revenue Fund
     Account: 0001 General Revenue Fund
       3003 Motor Vehicle Sales and Use Tax – Motor Carrier                        $            1   $            0        $            0
       3004 Motor Vehicle Sales and Use Tax                                             4,455,732        4,622,237             4,734,239
       3005 Motor Vehicle Rental Tax                                                      210,797          217,373               221,721
       3007 Gasoline Tax                                                                2,629,338        2,655,262             2,682,552
       3008 Diesel Fuel Tax                                                               901,925          934,077               975,596
       3011 Liquefied and Compressed Natural Gas Tax                                        6,160            6,347                 6,541
       3012 Motor Vehicle Certificates                                                     34,399           35,405                36,440
       3014 Motor Vehicle Registration Fees                                                17,201           17,458                17,721
       3016 Motor Vehicle Sales and Use Tax – Seller Financed Motor Vehicles              157,125          161,839               164,267
       3018 Special Vehicle Permits                                                        45,156           51,930                53,488
       3020 Motor Vehicle Inspection Fees                                                     625              628                   641
       3026 Voluntary Driver License Fee for Blindness, Screening and Treatment               500              500                   500
       3027 Driver Record Information Fees                                                  3,390            3,556                 3,738
       3030 Commercial Driver Training School Fees                                          1,605            1,605                 1,605
       3031 Automobile Clubs Registration                                                      30               30                    30
       3032 School Fund Benefit Fee on Diesel Fuel                                            162              168                   175
       3035 Commercial Transportation Fees                                                 13,468           13,599                13,667
       3038 Motor Carrier – Proof of Insurance Filing Fee                                     990            1,029                 1,050
       3045 Railroad Commission Service Fees                                                    1                1                     1
       3050 Abandoned Motor Vehicles                                                            1                1                     1
       3055 Excess Fines from Speeding Violations                                             139              139                   139
       3056 Motor Vehicle Safety Responsibility Violations                                  7,525            7,525                 7,525
       3057 Motor Carrier Act Penalties                                                     1,101            1,145                 1,168
       3062 Rail Safety Program Fees                                                        1,629            1,634                 1,639
       3080 Petroleum Product Delivery Fees                                                   345              350                   357
       3102 Limited Sales and Use Tax                                                  32,609,500       33,928,400            35,420,600
       3104 Manufactured Housing Sales and Use Tax                                         28,029           28,029                28,029
       3106 City Sales Tax Service Fees                                                   125,000          130,000               135,800
       3107 Local MTA Sales Tax Service Fees                                               41,900           43,600                45,600
       3108 County Sales Tax Service Fees                                                  12,100           12,600                13,100
       3109 Local SPD Sales Tax Service Fees                                               15,100           15,700                16,400
       3111 Boat and Boat Motor Sales and Use Tax                                          75,800           78,700                83,200
       3114 Escheated Estates                                                             698,823          719,788               741,381
       3123 Volatile Chemical Sales Permit                                                    738              738                   738
       3126 License to Carry a Handgun Fees                                                12,900           11,810                11,810
       3130 Franchise/Business Margins Tax                                              2,936,700        3,045,200             3,252,300
       3133 General Business Filing Fees                                                  104,700          109,800               116,300
       3134 Private Sector Prison Industries Oversight Receipts                               434              434                   434
       3136 Cement Tax                                                                     10,152           10,416                10,687
       3137 Racing Association ATM Receipts                                                   100              100                   100
       3139 Hotel Occupancy Tax                                                           453,877          466,102               481,964
       3142 Food Service Worker Training                                                       36               49                    36
       3146 Combative Sports Admissions Tax                                                   510              510                   510
       3147 Combative Sports Licenses                                                          88               88                    88
       3150 Coin-Operated Amusement Machine Tax                                             8,190            7,881                 7,583
       3151 Coin-Operated Machine Business License Fee                                        727              705                   684
       3152 Bingo Operators/Lessors                                                           559              559                   559
       3153 Bingo Equipment                                                                    62               62                    62
       3157 Loan Administration Fees                                                           11                9                     9
       3160 Manufactured and Industrialized Housing Registration License Fees               1,299            1,299                 1,299
       3161 Manufactured and Industrialized Housing Inspection Fees                         2,025            2,025                 2,025
       3164 Boiler Inspection Fees                                                          2,643            2,643                 2,643
       3170 Bingo Prize Fees                                                               14,030           14,030                14,030


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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                            Fiscal Year
No.                                                                                            2021                2022               2023

SOURCE: GENERAL REVENUE (continued)
0001 General Revenue Fund (continued)
     Account: 0001 General Revenue Fund (continued)
       3173 Credit Service and Charitable Organizations Registration                       $          41    $            41       $          41
       3175 Professional Fees                                                                     62,006             64,559              64,732
       3186 Securities Fees                                                                      140,000            140,000             140,000
       3201 Insurance Premium Taxes                                                            2,638,111          2,655,246           2,749,332
       3203 Insurance Maintenance Taxes                                                           94,737             94,692              94,302
       3205 Office of Public Insurance Counsel (OPIC) Assessment                                   2,643              2,643               2,643
       3206 Insurance Company Fees                                                                42,428             42,996              43,573
       3210 Insurance Agents Licenses                                                                675                703                 734
       3214 Insurance Maintenance Tax – Comptroller                                              (22,800)                 0                   0
       3215 Insurance Department Fees – Miscellaneous                                                224                224                 224
       3219 Insurance Maintenance Tax – Workers’ Compensation Division and Office of
             Injured Employee Counsel                                                            48,748              51,185              53,744
       3220 Insurance Maintenance Tax – Workers’ Compensation Research and Oversight
             Division                                                                               901                 946                 993
       3221 Insurance Penalties                                                                  44,745              44,745              44,745
       3222 Insurance Administrative Penalties and Fines in Lieu of Suspension or
             Cancellation                                                                         7,545              8,935                8,935
       3230 Public Utility Gross Receipts Assessment                                             55,704             56,539               57,104
       3233 Gas, Electric and Water Utility Tax                                                 390,321            404,037              416,825
       3234 Gas Utility Pipeline Tax                                                             31,450             32,127               33,377
       3236 Automatic Dial Announcing Devices                                                         5                  5                    5
       3245 Compressed Natural Gas Training and Examinations                                         47                 47                   47
       3246 Compressed Natural Gas Licenses                                                          44                 44                   44
       3250 Mixed Beverage Gross Receipts Tax                                                   379,407            443,765              468,667
       3251 Mixed Beverage Sales Tax                                                            466,586            544,065              574,623
       3253 Liquor Tax                                                                          104,016            105,200              106,400
       3256 Liquor Permit Fees                                                                   33,300             57,047               58,188
       3257 License/Permit Surcharges – General                                                  30,500                  0                    0
       3258 Beer Tax                                                                            105,501            118,900              120,100
       3259 Wine Tax                                                                             17,700             18,400               19,100
       3261 Wine and Beer Permit Fees                                                             5,600             16,186               16,543
       3263 Brew Pub Licenses                                                                       145                248                  253
       3265 Malt Liquor (Ale) Tax                                                                14,800              1,200                    0
       3266 Temporary Charitable Auction Permit Fees – Alcoholic Beverages                            7                 12                   13
       3268 Alcoholic Beverage Code Money Penalty in Lieu of Cancellation or
             Suspension                                                                            1,200              1,200               1,200
       3271 Alcoholic Beverage Import Fee                                                          4,448              4,900               4,900
       3272 Alcoholic Beverage Seller Training Programs                                              790                790                 806
       3273 Alcoholic Beverage Samples and Labels Certificate of Approval                            519                519                 530
       3274 Alcoholic Beverage Commission Administrative Fees                                         18                 18                  18
       3275 Cigarette Tax                                                                        360,700            312,700             341,600
       3276 Cigarette Fee                                                                         31,100             30,600              30,100
       3278 Cigar and Tobacco Products Tax                                                       213,722            210,838             209,212
       3280 Tobacco Product Related Fines                                                            104                104                 104
       3281 Tobacco Product Advertising Fees                                                          41                 41                  41
       3282 Cigarette, Cigar and Tobacco Combination Permits                                         662              5,977                 662
       3290 Oil Production Tax                                                                 2,672,076          3,037,430           3,461,722
       3291 Natural Gas Production Tax                                                         1,194,898          1,695,996           1,841,911
       3296 Oil Well Service Tax                                                                  47,438             60,293              69,133
       3301 Land Office Fees                                                                         980              1,100               1,100
       3314 Oil and Gas Violations                                                                 1,000              1,000               1,000
       3321 Oil Royalties from Other State Lands for State Departments, Boards, Agencies           1,238              1,442               1,644
       3326 Gas Royalties from Other State Lands for State Departments, Boards, Agencies              12                 12                  12


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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                Fiscal Year
No.                                                                                  2021              2022               2023

SOURCE: GENERAL REVENUE (continued)
0001 General Revenue Fund (continued)
     Account: 0001 General Revenue Fund (continued)
       3327 Outer Continental Shelf Settlement Monies                            $       600    $          600        $         600
       3329 Surface Mining Permits                                                     2,678             2,700                2,700
       3340 Land Easements                                                               265             1,466                1,466
       3342 Land Lease                                                                    56                65                   65
       3344 Sand, Shell, Gravel, Timber Sales                                             12                12                   12
       3366 Business Fees – Natural Resources                                            486               486                  486
       3372 Quarry Pit Safety Fees                                                         6                 6                    6
       3390 Purchase of Dry Cleaning Solvent Fees                                          0               395                  345
       3396 Deepwater Horizon Incident, Economic Damages                               6,667             6,667                6,667
       3400 Business Fees – Agriculture                                                6,244             6,244                6,244
       3402 Weighing and Measuring Device Service Licenses                                67                67                   67
       3404 Citrus Budwood and Grove Certification Fees                                    6                 6                    6
       3410 Agriculture Registration Fees                                              4,446             5,946                4,446
       3414 Agriculture Inspection Fees                                               17,877            17,877               17,877
       3420 Livestock Export/Import Processing Fees                                      770               745                  745
       3422 Agricultural Administrative Penalties                                        250               250                  250
       3428 Texas Certified Retirement Community Program Application Fees                  5                 0                    5
       3435 Game, Fish and Equipment Fees – Commercial                                    10                10                   10
       3436 Oyster Fees                                                                    6                 6                    6
       3449 Game and Fish, Water Safety, and Parks Violations                              3                 3                    3
       3462 Boater Education Exam Fees                                                   302               302                  302
       3463 Marine Safety Enforcement Officer Certification Fees                           4                 4                    4
       3464 Floating Cabin Permit, Application, Renewal and Transfer                       1                 1                    1
       3510 High School Equivalency Certificate                                          650               657                  661
       3511 Teacher Certification Fees                                                28,183            25,683               25,683
       3530 School Bond Guarantee Fees                                                   448               448                  448
       3554 Food and Drug Fees                                                         3,093             4,153                2,987
       3555 Hazardous Substance Manufacture                                              269               269                  269
       3557 Health Care Facilities Fees                                                7,039             7,039                7,039
       3560 Medical Examination and Registration                                      42,507            43,428               43,763
       3562 Health Related Professional Fees                                          34,969            34,803               35,039
       3565 Vendor Drug Rebates, Medicaid Program – Supplemental                      46,119            47,293               49,665
       3570 Peer Assistance Program Fees                                               1,601             1,579                1,558
       3573 Health Licenses for Camps                                                    193               193                  193
       3579 Vital Statistics Certification and Service Fees                            1,814             1,814                1,814
       3582 Controlled Substances Act Forfeited Property Sales                            64                64                   64
       3583 Controlled Substances Act Forfeited Money                                  3,000             3,000                3,000
       3589 Radioactive Materials and Devices for Equipment Regulation                13,351            13,351               13,351
       3592 Waste Disposal Facilities, Generators, and Transporters                       22                22                   22
       3595 Medical Assistance Cost Recovery                                          82,484            82,484               82,484
       3598 Battery Sales Fee                                                            987             1,024                1,037
       3602 Earned Federal Funds, SNAP Recoupment                                      6,194             6,320                6,669
       3611 Private Institutions License Fees                                          1,858             1,874                1,865
       3616 Social Worker Regulation                                                   1,512             1,515                1,518
       3618 Welfare/MHMR Service Fees                                                 24,472            24,409               24,409
       3622 Child Support Collections – State, Title IV-D                            101,922           101,598              101,598
       3625 Court Costs Awarded Parent/Child Cases                                       243               227                  227
       3628 Dormitory, Cafeteria and Merchandise Sales                               119,000           119,000              119,000
       3632 Elderly Housing Set-Aside                                                    415               415                  415
       3634 Medicare Reimbursements                                                   39,464            39,464               39,464
       3636 Inmate Fee for Health Care                                                 1,000             2,000                2,000
       3638 Vendor Drug Rebates, Medicaid Program – Mandated                         710,919           727,399              763,907




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                           Fiscal Year
No.                                                                                           2021                2022                2023

SOURCE: GENERAL REVENUE (continued)
0001 General Revenue Fund (continued)
     Account: 0001 General Revenue Fund (continued)
       3639 Premium Credits – Medicaid Program                                           $       8,744     $         8,263       $        8,280
       3640 Vendor Drug Rebates – Non-Medicaid Programs                                          6,048               6,048                6,048
       3642 Residential Aftercare Participant Fees                                                   9                   9                    9
       3643 Premium Co-payments                                                                  5,140               5,653                5,653
       3649 Vendor Drug and HMO Experience Rebates, CHIP Program                                 4,262               5,275                6,400
       3694 Educator Preparation Program Accreditation Fee                                       1,584               1,584                1,584
       3702 Federal Receipts – Earned Credits                                                   55,933              56,019               56,011
       3704 Court Costs                                                                          5,000               4,000                3,000
       3705 State Parking Violations                                                                44                  44                   44
       3706 Arrest Fees                                                                          1,024               1,024                1,024
       3707 Marriage License Fees                                                                1,677               1,612                1,549
       3708 Judge’s Retirement Contributions                                                        17                  17                   17
       3710 Court Fines                                                                         50,030              50,030               50,030
       3714 Judgments and Settlements                                                           30,700              30,700               30,700
       3716 Lien Fees                                                                              375                 375                  375
       3717 Civil Penalties                                                                      5,000               5,000                5,000
       3720 Expedited Handling Charges, Secretary of State                                       1,800               1,800                1,800
       3723 Fees for Examinations and Audits                                                    12,164              10,879               10,795
       3724 Insurance Notification of HIV Related Test Fees                                          1                   1                    1
       3726 Federal Receipts – Indirect Cost Recoveries                                         38,014              37,621               37,687
       3727 Fees for Administrative Services                                                   (45,267)             64,240               60,272
       3731 Controlled Substance Reimbursement of Related Costs                                  2,100               2,200                2,200
       3733 Workers’ Compensation Administrative Penalties                                         849                 849                  849
       3735 Recovery of Parole Costs                                                             6,606               6,937                6,937
       3746 Rental of Lands/Miscellaneous Land Income                                              800                 800                  800
       3748 Royalties                                                                               59                  75                   75
       3749 Use of Great Seal of Texas – Licenses                                                    3                   3                    3
       3753 Sale of Surplus Property Fee                                                           713                 713                  713
       3755 Commemorative Sales/Gift Shop and Museum Revenues                                       88                  88                   88
       3756 Prison Industries Sales                                                              3,516               4,205                4,205
       3763 Sale of Operating Supplies                                                               3                   3                    3
       3770 Administrative Penalties                                                            15,693              15,655               15,699
       3771 Tax Refunds to Employers of TANF Recipients                                            (80)               (120)                (180)
       3775 Returned Check Fees                                                                    476                 533                  522
       3776 Fingerprint Record Fees                                                                100                 100                  100
       3777 Warrants Voided by Statute of Limitation – Default Fund                             10,000              10,000               10,000
       3782 Repayments from Political Subdivisions/Other of Loans/Advances                       8,125               7,375                6,682
       3793 Political Subdivision Administrative Fees, Failure to Appear                            35                   0                    0
       3795 Other Miscellaneous Governmental Revenue                                             4,279               4,461                4,461
       3796 Interest Received/Paid to Federal Government                                        (3,000)             (3,000)              (3,000)
       3799 Local Account Balances Brought into Treasury                                           766                 811                  834
       3801 Time Payment Plan for Court Costs/Fees                                                  24                   0                    0
       3839 Sale of Vehicles, Boats and Aircraft                                                 2,420               2,420                2,420
       3848 Public/Private Revenue Sharing – State Receipts (State Electronic Internet
             Portal)                                                                            32,074             32,246                31,875
       3849 Tobacco Suit Settlement Receipts                                                   456,900            445,800               435,100
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program           3,015              3,015                 3,015
       3854 Interest Other – General, Non-Program                                                1,556              1,556                 1,556
       3875 Interest Income, Other Operating Revenue – Operating Grants and
             Contributions                                                                           656               516                   422
       3901 Allocations to GR 0001 (Unapp Undyed Diesel), Fund 0002, Fund 0006 and
             Fund 0057 from Fund 0001 (Motor Fuels Tax)                                      (2,586,246)        (2,625,914)          (2,675,686)




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
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Fund                                                                                                            Fiscal Year
No.                                                                                            2021                2022                 2023

SOURCE: GENERAL REVENUE (concluded)
0001 General Revenue Fund (concluded)
     Account: 0001 General Revenue Fund (concluded)
       3924 Allocations to GRD Accounts 0064, 0467, 5004 and 5150 (Parks and Wildlife)
               from Fund 0001 (Sporting Goods Sales Tax)                                  $            0    $      (183,117)      $     (193,347)
       3924 Allocations to GRD Account 5139 (Historic Site) from Fund 0001
               (Sporting Goods Sales Tax)                                                              0            (13,783)             (14,553)
       3925 Allocations to Fund 0006 (State Highway) from Fund 0001
               (Sales and Use Tax)                                                            (2,500,000)        (2,500,000)          (2,500,000)
       3928 Allocations to Fund 0006 (State Highway) from Fund 0001
               (Motor Vehicle Tax)                                                                    0             (9,745)             (51,541)
       3950 Allocations to Fund 0001/Other Funds from Special Funds – UB                         12,705             20,292               20,292
       3952 Transfer to Unappropriated GR 0001 from Disproportionate Share Funds                199,310            198,149              198,149
       3953 Unappropriated GR 0001 Reimbursement for Statewide Cost Allocation Plan
               (SWCAP)                                                                            12,012            12,012                12,012
     Total Estimated Account 0001 Receipts                                                    52,053,870        54,695,524            57,333,200

       ACCOUNT: 0193 GR ACCOUNT – FOUNDATION SCHOOL
         3922 Transfers to GR Account – Foundation School 0193 from GR Account –
                 Lottery 5025 (Education)                                                      1,617,708          1,534,623            1,542,090
         3963 Transfer to GR Account – State Owned Multicategorical Teaching Hospital
                 5049 and Unappropriated GR 0001 from GR Account – Lottery 5025 (Other)           83,253             79,265               79,265
       Total Estimated Account 0193 Receipts                                                   1,700,961          1,613,888            1,621,355

       Total Estimated Fund 0001 Receipts                                                     53,754,831        56,309,412            58,954,555

0002 Available School Fund
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program               867              1,087                1,110
       3910 Transfers to Available Education Funds from Permanent Education Funds              1,701,670          2,132,000            2,177,000
     Total Estimated Fund 0002 Receipts                                                        1,702,537          2,133,087            2,178,110

0003 State Technology and Instructional Materials Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program            1,856              1,856                    486
     Total Estimated Fund 0003 Receipts                                                            1,856              1,856                    486

       Total Estimated General Revenue                                                        55,459,224        58,444,355            61,133,151

SOURCE: GENERAL REVENUE DEDICATED
0001 General Revenue Fund
     Account: 0009 GR Account – Game, Fish, and Water Safety
       3111 Boat and Boat Motor Sales and Use Tax                                                 4,050              4,212                4,448
       3319 Oil Royalties from Parks and Wildlife Lands                                             101                155                  155
       3324 Gas Royalties from Parks and Wildlife Lands                                              43                 68                   68
       3340 Land Easements                                                                            2                  2                    2
       3341 Grazing Lease Rental                                                                    286                286                  286
       3344 Sand, Shell, Gravel, Timber Sales                                                        89                 89                   89
       3433 Lake Texoma Fishing License Fees                                                        304                304                  304
       3434 Game, Fish and Equipment Fees – Non-Commercial                                      105,248            105,248              105,248
       3435 Game, Fish and Equipment Fees – Commercial                                            5,593              5,593                5,593
       3437 Public Hunting/Fishing/Other Participation Fees                                       1,837              1,837                1,837
       3445 Oyster Bed Location Rental                                                               48                 48                   48
       3446 Wildlife Value Recovery                                                                 776                776                  776
       3447 Sale of Confiscated Pelts, Marine Life, Vessels, Contraband                              14                 14                   14
       3448 Parks and Wildlife, Sale of Forfeited Property                                           14                 14                   14
       3449 Game and Fish, Water Safety, and Parks Violations                                     1,666              1,666                1,666
       3452 Wildlife Management Permits                                                           3,376              4,390                4,390



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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
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Fund                                                                                                            Fiscal Year
No.                                                                                            2021                2022              2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 0009 GR Account – Game, Fish, and Water Safety (concluded)
       3455 Vessel Registration Fees                                                       $    14,904      $       14,904       $       14,904
       3456 Vessel or Outboard Motor Title Certificate                                           4,662               4,662                4,662
       3464 Floating Cabin Permit, Application, Renewal and Transfer                                42                  42                   42
       3468 Parks and Wildlife Publication Sales                                                   871                 871                  871
       3714 Judgments and Settlements                                                              423                 423                  423
       3727 Fees for Administrative Services                                                     1,563               1,588                1,588
       3755 Commemorative Sales/Gift Shop and Museum Revenues                                      123                 144                  144
       3839 Sale of Vehicles, Boats and Aircraft                                                   709                 709                  709
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program             550                 550                  550
     Total Estimated Account 0009 Receipts                                                     147,294             148,595              148,831

       Account: 0019 GR Account – Vital Statistics
         3579 Vital Statistics Certification and Service Fees                                    4,769                4,530               4,530
         3624 Adoption Registry Fees                                                               130                  130                 130
       Total Estimated Account 0019 Receipts                                                     4,899                4,660               4,660

       Account: 0027 GR Account – Coastal Protection
         3378 Coastal Protection Fee                                                            15,016               15,334              10,271
         3379 Oil Spill Prevention and Response Act Violations                                     117                  117                 117
         3839 Sale of Vehicles, Boats and Aircraft                                                   5                    5                   5
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            55                   73                  88
       Total Estimated Account 0027 Receipts                                                    15,193               15,529              10,481

       Account: 0028 GR Account – Appraiser Registry
         3175 Professional Fees                                                                       166             1,003                 166
       Total Estimated Account 0028 Receipts                                                          166             1,003                 166

       Account: 0036 GR Account – Texas Department of Insurance Operating
         3149 Amusement Ride Inspection                                                            246                  209                 179
         3175 Professional Fees                                                                  3,292                3,346               3,403
         3206 Insurance Company Fees                                                               339                  321                 306
         3210 Insurance Agents Licenses                                                         24,260               25,126              25,113
         3212 Texas Workers’ Compensation Self-Insurance Regulatory Fees                           521                  482                 445
         3213 Catastrophe Property Insurance Pool Fees                                               1                    1                   1
         3215 Insurance Department Fees – Miscellaneous                                            805                  787                 772
         3216 Insurance Department Examination and Audit Fees                                    3,362                4,346               4,346
         3219 Insurance Maintenance Tax – Workers’ Compensation Division and Office of
                 Injured Employee Counsel                                                        1,050                1,161               1,051
         3220 Insurance Maintenance Tax – Workers’ Compensation Research and Oversight
                 Division                                                                           11                   22                  22
         3727 Fees for Administrative Services                                                     139                   93                  56
       Total Estimated Account 0036 Receipts                                                    34,026               35,894              35,694

       Account: 0064 GR Account – State Parks
         3319 Oil Royalties from Parks and Wildlife Lands                                          244                  270                 270
         3324 Gas Royalties from Parks and Wildlife Lands                                          785                  979                 979
         3340 Land Easements                                                                         9                    9                   9
         3341 Grazing Lease Rental                                                                   7                    7                   7
         3342 Land Lease                                                                            32                   32                  32
         3344 Sand, Shell, Gravel, Timber Sales                                                      9                   10                  10
         3349 Land Sales                                                                            49                    0                   0
         3449 Game and Fish, Water Safety, and Parks Violations                                     96                   96                  96
         3461 State Park Fees                                                                   46,782               51,980              51,980


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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                            Fiscal Year
No.                                                                                            2021                2022                 2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 0064 GR Account – State Parks (concluded)
       3468 Parks and Wildlife Publication Sales                                           $       932      $          932        $         932
       3883 Issuance of Parks and Wildlife Gift Cards                                               39                  39                   39
       3924 Allocations to GRD Account 0064 from Fund 0001 (Sporting Goods Sales Tax)                0             183,117              193,347
     Total Estimated Account 0064 Receipts                                                      48,984             237,471              247,701

       Account: 0088 GR Account – Low-Level Radioactive Waste
         3589 Radioactive Materials and Devices for Equipment Regulation                              450               450                    450
         3590 Low-Level Radioactive Waste Disposal Fees                                               250               250                    250
       Total Estimated Account 0088 Receipts                                                          700               700                    700

       Account: 0116 GR Account – Texas Commission on Law Enforcement
         3175 Professional Fees                                                                    130                  130                 130
         3704 Court Costs                                                                        6,496                6,837               6,535
         3727 Fees for Administrative Services                                                      30                   25                  25
         3839 Sale of Vehicles, Boats and Aircraft                                                   5                    0                   0
       Total Estimated Account 0116 Receipts                                                     6,661                6,992               6,690

       Account: 0127 GR Account – Community Affairs Federal
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program              600               630                    662
       Total Estimated Account 0127 Receipts                                                          600               630                    662

       Account: 0129 GR Account – Hospital Licensing
         3557 Health Care Facilities Fees                                                        2,542                2,542               2,542
       Total Estimated Account 0129 Receipts                                                     2,542                2,542               2,542

       Account: 0151 GR Account – Clean Air
         3020 Motor Vehicle Inspection Fees                                                     53,660               52,480              53,005
         3375 Air Pollution Control Fees                                                        15,576               15,588              15,600
       Total Estimated Account 0151 Receipts                                                    69,236               68,068              68,605

       Account: 0153 GR Account – Water Resource Management
         3242 Water/Sewer Utility Service Regulatory Assessments/Penalties                      11,263               11,601              11,949
         3364 Water Use Permits                                                                  6,213                6,299               6,389
         3366 Business Fees – Natural Resources                                                 26,732               26,876              27,281
         3370 Boat Sewage Disposal Device Certificate                                                8                   30                   8
         3371 Waste Treatment Inspection Fee                                                    36,240               37,809              38,380
         3373 Injection Well Regulation                                                             11                   11                  11
         3592 Waste Disposal Facilities, Generators, Transporters                                  700                  711                 724
         3596 Automotive Oil Sales Fee                                                           2,888                2,945               3,004
       Total Estimated Account 0153 Receipts                                                    84,055               86,282              87,746

       Account: 0158 GR Account – Watermaster Administration
         3364 Water Use Permits                                                                  2,680                2,680               2,680
         3592 Waste Disposal Facilities, Generators, Transporters                                  (24)                   0                   0
       Total Estimated Account 0158 Receipts                                                     2,656                2,680               2,680

       Account: 0165 GR Account – Unemployment Compensation Special Administration
         3716 Lien Fees                                                                              4                    4                   4
         3732 Unemployment Compensation Penalties                                               16,221               16,221              16,221
         3770 Administrative Penalties                                                             211                  211                 211
       Total Estimated Account 0165 Receipts                                                    16,436               16,436              16,436




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Fund                                                                                                            Fiscal Year
No.                                                                                            2021                2022              2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 0221 GR Account – Federal Civil Defense and Disaster Relief
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program     $           1    $             1      $           1
     Total Estimated Account 0221 Receipts                                                             1                  1                  1

       Account: 0222 GR Account – Department of Public Safety Federal
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program              15                 15                 15
       Total Estimated Account 0222 Receipts                                                          15                 15                 15

       Account: 0224 GR Account – Governor’s Office Federal Projects
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program              146               146                 146
       Total Estimated Account 0224 Receipts                                                          146               146                 146

       Account: 0225 GR Account – University of Houston Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  77,839               77,839             77,839
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program           607                  607                607
       Total Estimated Account 0225 Receipts                                                    78,446               78,446             78,446

       Account: 0227 GR Account – Angelo State University Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  10,878               10,891             10,923
         3522 Higher Education, Sales/Services of Educational and Research Activities              120                  120                120
         3527 Administrative Fees – Higher Education                                               155                  155                155
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            35                   35                 35
       Total Estimated Account 0227 Receipts                                                    11,188               11,201             11,233

       Account: 0228 GR Account – University of Texas at Tyler Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  13,377               13,736             14,111
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            65                   65                 65
       Total Estimated Account 0228 Receipts                                                    13,442               13,801             14,176

       Account: 0229 GR Account – University of Houston - Clear Lake Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  12,672               12,672             12,925
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            41                   41                 41
       Total Estimated Account 0229 Receipts                                                    12,713               12,713             12,966

       Account: 0230 GR Account – Texas A&M University - Corpus Christi Current
         3503 Higher Education, Other Fees                                                           4                    0                  0
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  16,475               16,650             16,827
         3506 Higher Education, Laboratory Fees                                                     68                   64                 70
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            56                   56                 56
       Total Estimated Account 0230 Receipts                                                    16,603               16,770             16,953

       Account: 0231 GR Account – Texas A&M International University Current
         3503 Higher Education, Other Fees                                                         146                  146                146
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  10,853               11,103             11,359
         3506 Higher Education, Laboratory Fees                                                    179                  181                183
         3527 Administrative Fees – Higher Education                                                30                   30                 30
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            78                   78                 78
       Total Estimated Account 0231 Receipts                                                    11,286               11,538             11,796

       Account: 0232 GR Account – Texas A&M University - Texarkana Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   1,930                2,027              2,087
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            10                   10                 10
       Total Estimated Account 0232 Receipts                                                     1,940                2,037              2,097



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Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                             Fiscal Year
No.                                                                                             2021                2022                 2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 0233 GR Account – University of Houston - Victoria Current
       3505 Higher Education, Tuition and Fees – Non-Pledged                                $     5,237      $         5,237       $       5,237
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program               11                   11                  11
     Total Estimated Account 0233 Receipts                                                        5,248                5,248               5,248

       Account: 0236 GR Account – University of Texas System Cancer Center Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                         734               748                    763
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program                 6                 6                      6
       Total Estimated Account 0236 Receipts                                                           740               754                    769

       Account: 0237 GR Account – Texas State Technical College System Current
         3688 Higher Education, Tuition and Fees – Pledged                                        5,458                5,622               5,790
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program             57                   57                  57
       Total Estimated Account 0237 Receipts                                                      5,515                5,679               5,847

       Account: 0238 GR Account – University of Texas at Dallas Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   51,919               53,458              54,514
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            174                  174                 174
       Total Estimated Account 0238 Receipts                                                     52,093               53,632              54,688

       Account: 0239 GR Account – Texas Tech University Health Sciences Center Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   16,646               16,646              16,646
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program             55                   55                  55
       Total Estimated Account 0239 Receipts                                                     16,701               16,701              16,701

       Account: 0242 GR Account – Texas A&M University Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  112,000             112,800              113,300
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            482                 482                  482
       Total Estimated Account 0242 Receipts                                                    112,482             113,282              113,782

       Account: 0243 GR Account – Tarleton State University Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   16,263               16,588              16,920
         3506 Higher Education, Laboratory Fees                                                     177                  160                 144
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program             21                   21                  21
       Total Estimated Account 0243 Receipts                                                     16,461               16,769              17,085

       Account: 0244 GR Account – University of Texas at Arlington Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   66,744               67,924              68,488
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            218                  218                 218
       Total Estimated Account 0244 Receipts                                                     66,962               68,142              68,706

       Account: 0245 GR Account – Prairie View A&M University Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   14,875               15,061              15,249
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            114                  114                 114
       Total Estimated Account 0245 Receipts                                                     14,989               15,175              15,363

       Account: 0246 GR Account – University of Texas Medical Branch at Galveston Current
         3503 Higher Education, Other Fees                                                          320                  327                 333
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   10,214               10,418              10,627
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program             15                   15                  15
       Total Estimated Account 0246 Receipts                                                     10,549               10,760              10,975




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                           Fiscal Year
No.                                                                                             2021              2022              2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 0247 GR Account – Texas Southern University Current
       3503 Higher Education, Other Fees                                                    $        80    $            39      $           39
       3505 Higher Education, Tuition and Fees – Non-Pledged                                     22,930             23,801              23,801
       3506 Higher Education, Laboratory Fees                                                       424                170                 170
       3507 Higher Education, Student Fees                                                        1,111                535                 535
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program               80                 80                  80
     Total Estimated Account 0247 Receipts                                                       24,625             24,625              24,625

       Account: 0248 GR Account – University of Texas at Austin Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  112,950           112,950              112,950
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            717               717                  717
       Total Estimated Account 0248 Receipts                                                    113,667           113,667              113,667

       Account: 0249 GR Account – University of Texas at San Antonio Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   43,778             44,924              45,375
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            141                141                 141
       Total Estimated Account 0249 Receipts                                                     43,919             45,065              45,516

       Account: 0250 GR Account – University of Texas at El Paso Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   31,184             31,396              31,977
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program             39                 39                  39
       Total Estimated Account 0250 Receipts                                                     31,223             31,435              32,016

       Account: 0251 GR Account – University of Texas of the Permian Basin Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                    8,132              8,299               8,469
         3506 Higher Education, Laboratory Fees                                                      20                 20                  20
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program             71                 71                  71
       Total Estimated Account 0251 Receipts                                                      8,223              8,390               8,560

       Account: 0252 GR Account – University of Texas Southwestern Medical Center Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                    6,501              6,455               6,455
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            130                130                 130
       Total Estimated Account 0252 Receipts                                                      6,631              6,585               6,585

       Account: 0253 GR Account – Texas Woman’s University Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   20,935             20,958              20,979
         3687 Tuition Set-Aside for Dental Hygiene Education Loan Repayments                         18                 18                  18
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program             35                 35                  35
       Total Estimated Account 0253 Receipts                                                     20,988             21,011              21,032

       Account: 0254 GR Account – Texas A&M University - Kingsville Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   12,367             12,487              12,606
         3506 Higher Education, Laboratory Fees                                                      84                 86                  86
         3527 Administrative Fees – Higher Education                                                240                240                 240
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program             23                 23                  23
       Total Estimated Account 0254 Receipts                                                     12,714             12,836              12,955

       Account: 0255 GR Account – Texas Tech University Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   57,293             57,293              57,293
         3527 Administrative Fees – Higher Education                                                575                575                 575
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            504                504                 504
       Total Estimated Account 0255 Receipts                                                     58,372             58,372              58,372




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Fund                                                                                                         Fiscal Year
No.                                                                                            2021             2022                 2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 0256 GR Account – Lamar University Current
       3505 Higher Education, Tuition and Fees – Non-Pledged                               $    17,000   $        17,000       $      17,000
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program              38                38                  38
     Total Estimated Account 0256 Receipts                                                      17,038            17,038              17,038

       Account: 0257 GR Account – Texas A&M University - Commerce Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  15,631            15,579              15,564
         3506 Higher Education, Laboratory Fees                                                     86                86                  86
         3527 Administrative Fees – Higher Education                                               100               100                 100
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            23                23                  23
       Total Estimated Account 0257 Receipts                                                    15,840            15,788              15,773

       Account: 0258 GR Account – University of North Texas Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  47,448            48,397              49,364
         3506 Higher Education, Laboratory Fees                                                    137               140                 143
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program           217               217                 217
       Total Estimated Account 0258 Receipts                                                    47,802            48,754              49,724

       Account: 0259 GR Account – Sam Houston State University Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  26,642            26,703              26,903
         3507 Higher Education, Student Fees                                                       442               450                 456
         3527 Administrative Fees – Higher Education                                               112               112                 112
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program           103               103                 103
       Total Estimated Account 0259 Receipts                                                    27,299            27,368              27,574

       Account: 0260 GR Account – Texas State University Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  42,524            42,524              42,524
         3506 Higher Education, Laboratory Fees                                                     80                80                  80
         3522 Higher Education, Sales/Services of Educational and Research Activities            1,065             1,065               1,065
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program           103               103                 103
       Total Estimated Account 0260 Receipts                                                    43,772            43,772              43,772

       Account: 0261 GR Account – Stephen F. Austin State University Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  15,725            15,800              15,850
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            19                19                  19
       Total Estimated Account 0261 Receipts                                                    15,744            15,819              15,869

       Account: 0262 GR Account – Sul Ross State University Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   1,660             1,648               1,644
         3527 Administrative Fees – Higher Education                                                 8                 8                   8
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            11                11                  11
       Total Estimated Account 0262 Receipts                                                     1,679             1,667               1,663

       Account: 0263 GR Account – West Texas A&M University Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  12,698            12,657              12,678
         3527 Administrative Fees – Higher Education                                                35                14                  12
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            10                10                  10
       Total Estimated Account 0263 Receipts                                                    12,743            12,681              12,700

       Account: 0264 GR Account – Midwestern State University Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   5,276             5,225               5,181
         3506 Higher Education, Laboratory Fees                                                     50                48                  48




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Fund                                                                                                              Fiscal Year
No.                                                                                              2021                2022              2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 0264 GR Account – Midwestern State University Current (concluded)
       3687 Tuition Set-Aside for Dental Hygiene Education Loan Repayments                   $         1      $             1      $           1
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program                11                   11                 11
     Total Estimated Account 0264 Receipts                                                         5,338                5,285              5,241

       Account: 0268 GR Account – University of Houston Downtown Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                    17,404               17,752             18,107
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program              22                   22                 22
       Total Estimated Account 0268 Receipts                                                      17,426               17,774             18,129

       Account: 0271 GR Account – University of Texas Health Science Center at Houston
       Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                    23,572               23,689             23,808
         3506 Higher Education, Laboratory Fees                                                      150                  150                150
         3684 Dental School Set-Aside, Loan Repayments                                                45                   45                 45
         3687 Tuition Set-Aside for Dental Hygiene Education Loan Repayments                           2                    2                  2
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program             222                  222                222
       Total Estimated Account 0271 Receipts                                                      23,991               24,108             24,227

       Account: 0275 GR Account – Texas A&M University at Galveston Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                     3,051                3,112              3,175
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program              19                   19                 19
       Total Estimated Account 0275 Receipts                                                       3,070                3,131              3,194

       Account: 0279 GR Account – University of Texas Health Science Center at San Antonio
       Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                    12,003               12,140             12,284
         3684 Dental School Set-Aside, Loan Repayments                                                48                   48                 48
         3687 Tuition Set-Aside for Dental Hygiene Education Loan Repayments                           2                    2                  2
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program              33                   33                 33
       Total Estimated Account 0279 Receipts                                                      12,086               12,223             12,367

       Account: 0280 GR Account – University of North Texas Health Science Center at
       Fort Worth Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                    10,076               10,126             10,227
         3506 Higher Education, Laboratory Fees                                                       24                   24                 25
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program              17                   17                 17
       Total Estimated Account 0280 Receipts                                                      10,117               10,167             10,269

       Account: 0282 GR Account – University of Texas Health Center at Tyler Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                          382               387                 464
         3506 Higher Education, Laboratory Fees                                                           5                 2                   3
       Total Estimated Account 0282 Receipts                                                            387               389                 467

       Account: 0285 GR Account – Lamar State College Orange Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                     1,931                1,951              1,970
         3506 Higher Education, Laboratory Fees                                                       23                   23                 24
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program              15                   15                 15
       Total Estimated Account 0285 Receipts                                                       1,969                1,989              2,009




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Fund                                                                                                         Fiscal Year
No.                                                                                            2021             2022                 2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 0286 GR Account – Lamar State College Port Arthur Current
       3505 Higher Education, Tuition and Fees – Non-Pledged                               $     1,827   $         1,857       $       1,876
       3506 Higher Education, Laboratory Fees                                                       15                15                  16
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program              11                11                  11
     Total Estimated Account 0286 Receipts                                                       1,853             1,883               1,903

       Account: 0287 GR Account – Lamar Institute of Technology Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   2,080             2,080               2,080
         3506 Higher Education, Laboratory Fees                                                     11                11                  11
         3687 Tuition Set-Aside for Dental Hygiene Education Loan Repayments                         1                 1                   1
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            10                10                  10
       Total Estimated Account 0287 Receipts                                                     2,102             2,102               2,102

       Account: 0289 GR Account – Texas A&M University System Health Science Center
       Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  16,671            16,966              17,136
         3684 Dental School Set-Aside, Loan Repayments                                              42                42                  42
         3687 Tuition Set-Aside for Dental Hygiene Education Loan Repayments                         2                 2                   2
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program           141               141                 141
       Total Estimated Account 0289 Receipts                                                    16,856            17,151              17,321

       Account: 0290 GR Account – Texas A&M University - San Antonio Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   6,796             6,855               6,915
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            58                58                  58
       Total Estimated Account 0290 Receipts                                                     6,854             6,913               6,973

       Account: 0291 GR Account – Texas A&M University - Central Texas Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   2,397             2,395               2,382
         3506 Higher Education, Laboratory Fees                                                      8                 8                   8
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program             7                 7                   7
       Total Estimated Account 0291 Receipts                                                     2,412             2,410               2,397

       Account: 0292 GR Account – University of North Texas - Dallas Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   7,098             7,453               7,825
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            15                15                  15
       Total Estimated Account 0292 Receipts                                                     7,113             7,468               7,840

       Account: 0293 GR Account – University of Texas - Rio Grande Valley Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                  34,765            34,765              34,765
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program           226               226                 226
       Total Estimated Account 0293 Receipts                                                    34,991            34,991              34,991

       Account: 0294 GR Account – Texas Tech University Health Sciences Center El Paso
       Current
         3505 Higher Education, Tuition and Fees – Non-Pledged                                   2,992             3,586               4,424
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            27                27                  27
       Total Estimated Account 0294 Receipts                                                     3,019             3,613               4,451

       Account: 0341 GR Account – Food and Drug Retail Fees
         3554 Food and Drug Fees                                                                 2,621             2,684               2,490
       Total Estimated Account 0341 Receipts                                                     2,621             2,684               2,490




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Fund                                                                                                            Fiscal Year
No.                                                                                            2021                2022              2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 0412 GR Account – Midwestern State University Special Mineral
       3320 Oil Royalties from Lands Owned by Educational Institutions                     $           2    $             2      $           2
     Total Estimated Account 0412 Receipts                                                             2                  2                  2

       Account: 0421 GR Account – Criminal Justice Planning
         3704 Court Costs                                                                       16,115               17,034             16,281
       Total Estimated Account 0421 Receipts                                                    16,115               17,034             16,281

       Account: 0449 GR Account – Texas Military Federal
         3795 Other Miscellaneous Governmental Revenue                                                18                 18                 18
       Total Estimated Account 0449 Receipts                                                          18                 18                 18

       Account: 0450 GR Account – Coastal Public Lands Management Fee
         3302 Land Office Administrative Fees                                                         312               312                 312
       Total Estimated Account 0450 Receipts                                                          312               312                 312

       Account: 0468 GR Account – TCEQ Occupational Licensing
         3175 Professional Fees                                                                    428                  414                474
         3366 Business Fees – Natural Resources                                                  1,152                1,089              1,186
         3386 Engineer Registration Program Fees                                                    25                   13                 21
         3562 Health Related Professional Fees                                                     140                   96                128
         3592 Waste Disposal Facilities, Generators, Transporters                                  792                  741                790
       Total Estimated Account 0468 Receipts                                                     2,537                2,353              2,599

       Account: 0469 GR Account – Compensation to Victims of Crime
         3704 Court Costs                                                                       46,377               49,008             46,841
         3727 Fees for Administrative Services                                                  15,999               16,231             16,494
         3734 Recoveries from Crime Victim Restitution                                             910                  910                910
         3777 Warrants Voided by Statute of Limitation – Default Fund                              181                   94                 94
         3801 Time Payment Plan for Court Costs/Fees                                                 7                    7                  7
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program           255                  255                255
       Total Estimated Account 0469 Receipts                                                    63,729               66,505             64,601

       Account: 0492 GR Account – Business Enterprise Program
         3628 Dormitory, Cafeteria and Merchandise Sales                                              666               666                 666
       Total Estimated Account 0492 Receipts                                                          666               666                 666

       Account: 0494 GR Account – Compensation to Victims of Crime Auxiliary
         3736 Unclaimed Compensation to Crime Victims                                                 500               500                 500
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program               45                45                  45
       Total Estimated Account 0494 Receipts                                                          545               545                 545

       Account: 0501 GR Account – Motorcycle Education
         3025 Driver’s License Fees                                                              1,412                1,412              1,412
       Total Estimated Account 0501 Receipts                                                     1,412                1,412              1,412

       Account: 0506 GR Account – Non-Game and Endangered Species Conservation
         3435 Game, Fish and Equipment Fees – Commercial                                               23                23                  23
         3452 Wildlife Management Permits                                                               9                 9                   9
         3469 Parks and Wildlife Publication Royalties and Commissions                                  1                 1                   1
       Total Estimated Account 0506 Receipts                                                           33                33                  33




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Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                           Fiscal Year
No.                                                                                              2021             2022                 2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 0512 GR Account – Bureau of Emergency Management
       3557 Health Care Facilities Fees                                                      $       134   $           133       $         133
       3560 Medical Examination and Registration                                                   2,505             2,480               2,480
     Total Estimated Account 0512 Receipts                                                         2,639             2,613               2,613

       Account: 0524 GR Account – Public Health Services Fee
         3595 Medical Assistance Cost Recovery                                                    24,571            23,343              23,343
         3727 Fees for Administrative Services                                                        90                90                  90
       Total Estimated Account 0524 Receipts                                                      24,661            23,433              23,433

       Account: 0540 GR Account – Judicial and Court Personal Training Fund
         3704 Court Costs                                                                          6,270             6,600               6,308
         3711 Judicial Fees                                                                        6,000             6,000               6,000
       Total Estimated Account 0540 Receipts                                                      12,270            12,600              12,308

       Account: 0543 GR Account – Texas Capital Trust
         3315 Oil and Gas Lease Bonus                                                                 50                50                  50
         3316 Oil and Gas Lease Rental                                                                 5                 5                   5
         3321 Oil Royalties from Other State Lands for State Departments, Boards, Agencies         1,549               831                 723
         3326 Gas Royalties from Other State Lands for State Departments, Boards, Agencies           265               201                 182
         3340 Land Easements                                                                          17                17                  17
         3349 Land Sales                                                                           1,836             1,836               1,836
         3746 Rental of Lands /Miscellaneous Land Income                                              80                80                  80
       Total Estimated Account 0543 Receipts                                                       3,802             3,020               2,893

       Account: 0544 GR Account – Lifetime License Endowment
         3434 Game, Fish and Equipment Fees – Non-Commercial                                       1,372             1,372               1,372
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program             140               140                 140
       Total Estimated Account 0544 Receipts                                                       1,512             1,512               1,512

       Account: 0549 GR Account – Waste Management
         3374 Underground and Above Ground Storage Tank Fees                                           1                 1                   1
         3571 Hazardous Waste Clean Up Application Fees                                            1,000             1,000               1,000
         3585 Toxic Chemical Release Form Reporting Fees                                             131               131                 131
         3589 Radioactive Materials and Devices for Equipment Regulation                           1,054             1,054               1,054
         3592 Waste Disposal Facilities, Generators, Transporters                                 33,993            34,238              34,486
         3727 Fees for Administrative Services                                                        25                25                  25
       Total Estimated Account 0549 Receipts                                                      36,204            36,449              36,697

       Account: 0550 GR Account – Hazardous and Solid Waste Remediation Fees
         3571 Hazardous Waste Clean Up Application Fees                                               80                85                  85
         3592 Waste Disposal Facilities, Generators, Transporters                                  5,415             5,420               5,420
         3598 Battery Sales Fee                                                                   23,276            23,393              23,510
       Total Estimated Account 0550 Receipts                                                      28,771            28,898              29,015

       Account: 0570 GR Account – Federal Surplus Property Service Charge
         3753 Sale of Surplus Property Fee                                                         1,226             1,260               1,260
         3839 Sale of Vehicles, Boats and Aircraft                                                    10                 0                   0
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program              34                34                  34
       Total Estimated Account 0570 Receipts                                                       1,270             1,294               1,294




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(Thousands of Dollars)

Fund                                                                                                            Fiscal Year
No.                                                                                            2021                2022              2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 0581 GR Account – Bill Blackwood Law Enforcement Management Institute
       3704 Court Costs                                                                    $     2,779      $         2,928      $       2,799
     Total Estimated Account 0581 Receipts                                                       2,779                2,928              2,799

       Account: 0597 GR Account – Texas Racing Commission
         3188 Race Track Licenses – Horse                                                        1,550                1,389              1,244
         3189 Racing and Wagering Licenses                                                         796                  796                796
         3190 Race Track Licenses – Greyhound                                                      635                  581                532
         3196 Racing Pool – State Share – Greyhound, Simulcast Pari-Mutuel                         400                  400                400
         3200 Racing Pool – State Share – Horse, Simulcast Pari-Mutuel                           1,800                1,800              1,800
       Total Estimated Account 0597 Receipts                                                     5,181                4,966              4,772

       Account: 0655 GR Account – Petroleum Storage Tank Remediation
         3080 Petroleum Product Delivery Fees                                                   16,883               17,161             17,490
       Total Estimated Account 0655 Receipts                                                    16,883               17,161             17,490

       Account: 0664 GR Account – Texas Preservation Trust
         3855 Interest on Investments, Obligations and Securities – General, Non-Program              249               249                 249
       Total Estimated Account 0664 Receipts                                                          249               249                 249

       Account: 0679 GR Account – Artificial Reef
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program               70                70                  70
       Total Estimated Account 0679 Receipts                                                           70                70                  70

       Account: 5000 GR Account – Solid Waste Disposal Fees
         3592 Waste Disposal Facilities, Generators, Transporters                               11,493               11,606             11,720
       Total Estimated Account 5000 Receipts                                                    11,493               11,606             11,720

       Account: 5005 GR Account – Oil Overcharge
         3782 Repayments from Political Subdivisions/Other of Loans/Advances                     9,851               10,713              9,614
         3785 Interest on Oil Overcharge Loans                                                   1,372                1,566              1,288
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program           461                  461                461
       Total Estimated Account 5005 Receipts                                                    11,684               12,740             11,363

       Account: 5006 GR Account – Attorney General Law Enforcement
         3583 Controlled Substances Act Forfeited Money                                               328               527                 527
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program               15                15                  14
       Total Estimated Account 5006 Receipts                                                          343               542                 541

       Account: 5007 GR Account – Commission on State Emergency Communications
         3563 Equalization Surcharges, 9-1-1 Emergencies                                        18,355               18,355             18,355
       Total Estimated Account 5007 Receipts                                                    18,355               18,355             18,355

       Account: 5010 GR Account – Sexual Assault Program
         3175 Professional Fees                                                                 13,500               17,200             19,700
         3710 Court Fines                                                                          204                  207                211
         3727 Fees for Administrative Services                                                     244                  248                253
       Total Estimated Account 5010 Receipts                                                    13,948               17,655             20,164

       Account: 5012 GR Account – Crime Stoppers Assistance
         3704 Court Costs                                                                             473               482                 461
       Total Estimated Account 5012 Receipts                                                          473               482                 461




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(Thousands of Dollars)

Fund                                                                                                              Fiscal Year
No.                                                                                              2021                2022                 2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 5013 GR Account – Breath Alcohol Testing
       3704 Court Costs                                                                      $          738   $           775       $            740
     Total Estimated Account 5013 Receipts                                                              738               775                    740

       Account: 5017 GR Account – Asbestos Removal Licensure
         3175 Professional Fees                                                                    3,769                3,769               3,769
       Total Estimated Account 5017 Receipts                                                       3,769                3,769               3,769

       Account: 5018 GR Account – Home Health Services
         3557 Health Care Facilities Fees                                                          6,307                6,826               6,307
         3770 Administrative Penalties                                                             1,697                1,697               1,697
       Total Estimated Account 5018 Receipts                                                       8,004                8,523               8,004

       Account: 5020 GR Account – Workplace Chemicals List
         3577 Tier Two Forms Filing Fees                                                           1,218                1,310               1,415
       Total Estimated Account 5020 Receipts                                                       1,218                1,310               1,415

       Account: 5021 GR Account – Certification of Mammography Systems
         3557 Health Care Facilities Fees                                                          1,341                1,328               1,328
       Total Estimated Account 5021 Receipts                                                       1,341                1,328               1,328

       Account: 5022 GR Account – Oyster Sales
         3436 Oyster Fees                                                                               291               277                    277
       Total Estimated Account 5022 Receipts                                                            291               277                    277

       Account: 5024 GR Account – Food and Drug Registration
         3554 Food and Drug Fees                                                                  10,254                9,705              10,254
       Total Estimated Account 5024 Receipts                                                      10,254                9,705              10,254

       Account: 5025 GR Account – Lottery
         3176 Lottery License Application Fees                                                       311                 311                  311
         3177 Lottery Ticket Sales                                                               551,744             525,433              525,433
         3178 Lottery Security Proceeds                                                               60                  60                   60
       Total Estimated Account 5025 Receipts                                                     552,115             525,804              525,804

       Account: 5026 GR Account – Workforce Commission Federal
         3321 Oil Royalties from Other State Lands for State Departments, Boards, Agencies             2                    2                   2
         3349 Land Sales                                                                             225                  782               1,633
         3716 Lien Fees                                                                               55                   55                  55
         3751 Sale of Buildings                                                                    1,201                1,975               3,236
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program              16                   16                  16
       Total Estimated Account 5026 Receipts                                                       1,499                2,830               4,942

       Account: 5029 GR Account – Center for Study and Prevention of Juvenile Crime and
       Delinquency
         3704 Court Costs                                                                          1,615                1,696               1,621
       Total Estimated Account 5029 Receipts                                                       1,615                1,696               1,621

       Account: 5044 GR Account – Permanent Fund for Health and Tobacco Education and
       Enforcement
         3873 Interest on Investments, Obligations and Securities, Operating Revenue –
                 Operating Grants and Contributions                                                     425               118                     98
       Total Estimated Account 5044 Receipts                                                            425               118                     98




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(Thousands of Dollars)

Fund                                                                                                           Fiscal Year
No.                                                                                           2021                2022              2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 5045 GR Account – Permanent Fund for Children and Public Health
       3873 Interest on Investments, Obligations and Securities, Operating Revenue –
               Operating Grants and Contributions                                         $          213   $            58      $          47
     Total Estimated Account 5045 Receipts                                                           213                58                 47

       Account: 5046 GR Account – Permanent Fund for Emergency Medical Services and
       Trauma Care
          3873 Interest on Investments, Obligations and Securities, Operating Revenue –
                 Operating Grants and Contributions                                                  213                56                 44
       Total Estimated Account 5046 Receipts                                                         213                56                 44

       Account: 5047 GR Account – Permanent Fund for Rural Health Facility Capital
       Improvement
         3873 Interest on Investments, Obligations and Securities, Operating Revenue –
                 Operating Grants and Contributions                                             1,701                1,746              1,786
       Total Estimated Account 5047 Receipts                                                    1,701                1,746              1,786

       Account: 5048 GR Account – Permanent Hospital Fund for Capital Improvements
       and the Texas Center for Infectious Disease
         3873 Interest on Investments, Obligations and Securities, Operating Revenue –
                 Operating Grants and Contributions                                                  850               873                 893
       Total Estimated Account 5048 Receipts                                                         850               873                 893

       Account: 5049 GR Account – State Owned Multicategorical Teaching Hospital
         3963 Transfer to GR Account – State Owned Multicategorical Teaching Hospital
                 5049 and Unappropriated GR 0001 from GR Account – Lottery 5025 (Other)              439               439                 439
       Total Estimated Account 5049 Receipts                                                         439               439                 439

       Account: 5050 GR Account – 9-1-1 Service Fees
         3647 9-1-1 Emergency Service Fees                                                      6,025                6,025              5,619
         3981 Transfers to 9-1-1 Service Fee 5050 from 0875                                    26,486               26,486             26,830
       Total Estimated Account 5050 Receipts                                                   32,511               32,511             32,449

       Account: 5064 GR Account – Volunteer Fire Department Assistance
         3208 Insurance Assessment for Volunteer Fire Departments                              22,563               21,613             21,613
         3782 Repayments from Political Subdivisions/Other of Loans/Advances                       57                   36                 27
         3854 Interest Other – General, Non-Program                                                 6                    3                  2
       Total Estimated Account 5064 Receipts                                                   22,626               21,652             21,642

       Account: 5065 GR Account – Environmental Trust Lab Accreditation
         3557 Health Care Facilities Fees                                                            831               831                 831
       Total Estimated Account 5065 Receipts                                                         831               831                 831

       Account: 5071 GR Account – Emissions Reduction Plan
         3004 Motor Vehicle Sales and Use Tax                                                  16,212                    0                   0
         3014 Motor Vehicle Registration Fees                                                  11,689                    0                   0
         3016 Motor Vehicle Sales and Use Tax – Seller Financed Motor Vehicles                     31                    0                   0
         3020 Motor Vehicle Inspection Fees                                                     5,912                    0                   0
         3102 Limited Sales and Use Tax                                                        67,646                    0                   0
       Total Estimated Account 5071 Receipts                                                  101,490                    0                   0




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                            Fiscal Year
No.                                                                                            2021                2022                 2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 5073 GR Account – Fair Defense
       3195 Additional Legal Services Fee                                                  $     2,000      $         2,000       $       2,000
       3704 Court Costs                                                                         33,169               35,530              33,959
       3858 Bail Bond Surety Fees                                                                1,850                1,850               1,850
     Total Estimated Account 5073 Receipts                                                      37,019               39,380              37,809

       Account: 5080 GR Account – Quality Assurance
         3557 Health Care Facilities Fees                                                       60,000               60,000              60,000
         3770 Administrative Penalties                                                              57                   57                  57
       Total Estimated Account 5080 Receipts                                                    60,057               60,057              60,057

       Account: 5083 GR Account – Correctional Management Institute and Criminal Justice
       Center
         3704 Court Costs                                                                        1,612                1,693               1,618
       Total Estimated Account 5083 Receipts                                                     1,612                1,693               1,618

       Account: 5085 GR Account – Child Abuse Neglect and Prevention Trust
         3707 Marriage License Fees                                                              3,500                3,364               3,232
       Total Estimated Account 5085 Receipts                                                     3,500                3,364               3,232

       Account: 5093 GR Account – Dry Cleaner Facility Release
         3175 Professional Fees                                                                  2,705                    0                     0
         3390 Purchase of Dry Cleaning Solvent Fees                                                452                    0                     0
         3770 Administrative Penalties                                                               4                    0                     0
       Total Estimated Account 5093 Receipts                                                     3,161                    0                     0

       Account: 5094 GR Account – Operating Permit Fees
         3375 Air Pollution Control Fees                                                        39,425               39,757              40,093
       Total Estimated Account 5094 Receipts                                                    39,425               39,757              40,093

       Account: 5095 GR Account – Election Improvement
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program              90                 50                    25
       Total Estimated Account 5095 Receipts                                                          90                 50                    25

       Account: 5096 GR Account – Perpetual Care
         3589 Radioactive Materials and Devices for Equipment Regulation                              424               424                    424
       Total Estimated Account 5096 Receipts                                                          424               424                    424

       Account: 5101 GR Account – Subsequent Injury
         3869 Workers’ Compensation Insurance – Death Benefits to the State                     11,398               11,398              11,398
       Total Estimated Account 5101 Receipts                                                    11,398               11,398              11,398

       Account: 5105 GR Account – Public Assurance
         3572 Health Related Professional Fees, Doctor Surcharge                                 3,599                3,646               3,693
       Total Estimated Account 5105 Receipts                                                     3,599                3,646               3,693

       Account: 5106 GR Account – Economic Development Bank
         3727 Fees for Administrative Services                                                        150               150                    150
         3782 Repayments from Political Subdivisions/Other of Loans/Advances                          864               882                    567
         3852 Interest on Local Deposits – State Agencies                                               1                 1                      1
         3875 Interest Income, Other Operating Revenue – Operating Grants and
                 Contributions                                                                     113                   89                     65
       Total Estimated Account 5106 Receipts                                                     1,128                1,122                    783



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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                            Fiscal Year
No.                                                                                            2021                2022              2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 5107 GR Account – Texas Enterprise
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program     $     1,081      $           996      $          911
     Total Estimated Account 5107 Receipts                                                       1,081                  996                 911

       Account: 5108 GR Account – EMS, Trauma Facilities, Trauma Care Systems
         3704 Court Costs                                                                          688                  661                 661
         3710 Court Fines                                                                        1,523                1,462               1,462
       Total Estimated Account 5108 Receipts                                                     2,211                2,123               2,123

       Account: 5109 GR Account – Medicaid Recovery 42 U.S.C. § 1396p
         3595 Medical Assistance Cost Recovery                                                   2,300                2,300               2,300
       Total Estimated Account 5109 Receipts                                                     2,300                2,300               2,300

       Account: 5111 GR Account – Designated Trauma Facility and EMS
         3206 Insurance Company Fees                                                            60,619              61,772               62,637
         3710 Court Fines                                                                       41,281              41,281               41,281
         3717 Civil Penalties                                                                    6,000               2,512                    0
       Total Estimated Account 5111 Receipts                                                   107,900             105,565              103,918

       Account: 5114 GR Account – Texas Military Value Revolving Loan
         3782 Repayments from Political Subdivisions/Other of Loans/Advances                     1,396                1,450               1,505
         3875 Interest Income, Other Operating Revenue – Operating Grants and
                 Contributions                                                                     743                  686                 627
       Total Estimated Account 5114 Receipts                                                     2,139                2,136               2,132

       Account: 5125 GR Account – Childhood Immunization
         3579 Vital Statistics Certification and Service Fees                                         68                 68                  68
       Total Estimated Account 5125 Receipts                                                          68                 68                  68

       Account: 5128 GR Account – Employment and Training Investment Holding
         3728 Unemployment Assessments                                                         112,988             112,988              112,988
       Total Estimated Account 5128 Receipts                                                   112,988             112,988              112,988

       Account: 5139 GR Account – Historic Site
         3340 Land Easements                                                                           10                10                  10
         3344 Sand, Shell, Gravel, Timber Sales                                                        12                12                  12
         3461 State Park Fees                                                                         520               567                 567
         3727 Fees for Administrative Services                                                         49                49                  49
         3755 Commemorative Sales/Gift Shop and Museum Revenues                                       234               234                 234
         3924 Allocations to GRD Account 5139 from Fund 0001 (Sporting Goods Sales Tax)                 0            13,783              14,553
       Total Estimated Account 5139 Receipts                                                          825            14,655              15,425

       Account: 5152 GR Account – Alamo Complex
         3748 Royalties                                                                              0                    2                   2
         3755 Commemorative Sales/Gift Shop and Museum Revenues                                  1,030                4,120               4,120
         3770 Administrative Penalties                                                               2                    7                   7
         3833 Cash Receipt – Capital Contributions/Capital Grants and Contributions –
                 Other Grant Revenue                                                                 6                   24                  24
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program            24                   24                  24
       Total Estimated Account 5152 Receipts                                                     1,062                4,177               4,177




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                         Fiscal Year
No.                                                                                         2021                2022                 2023

SOURCE: GENERAL REVENUE DEDICATED (continued)
0001 General Revenue Fund (continued)
     Account: 5153 GR Account – Emergency Radio Infrastructure
       3704 Court Costs                                                                 $     6,942      $         7,333       $       7,009
     Total Estimated Account 5153 Receipts                                                    6,942                7,333               7,009

       Account: 5155 GR Account – Oil and Gas Regulation and Cleanup
         3310 Oil and Gas Regulation and Cleanup Fee Surcharge                               16,164               18,028              19,197
         3313 Oil and Gas Well Drilling Permit                                                4,034                5,057               5,682
         3314 Oil and Gas Violations                                                         11,968               11,968              11,968
         3338 Organization Report Fees                                                        3,750                3,750               3,750
         3339 Railroad Commission Voluntary Cleanup Application Fees                             10                   10                  10
         3369 Reimbursement for Well Plugging Costs                                           1,475                1,475               1,475
         3373 Injection Well Regulation                                                          51                   57                  60
         3381 Oil Field Cleanup Regulatory Fee on Oil                                         8,998                9,038               9,158
         3382 Railroad Commission Rule Exceptions                                             1,262                1,352               1,449
         3383 Oil Field Cleanup Regulatory Fee on Gas                                         5,911                6,384               6,617
         3384 Oil and Gas Compliance Certification Reissue Fee                                  433                  557                 612
         3393 Abandoned Well Site Equipment Disposal                                            997                1,084               1,168
         3553 Pipeline Safety Inspection Fees                                                11,050               11,050              11,050
         3592 Waste Disposal Facilities, Generators, Transporters                               190                  190                 190
         3727 Fees for Administrative Services                                                1,046                1,046               1,046
       Total Estimated Account 5155 Receipts                                                 67,339               71,046              73,432

       Account: 5157 GR Account – Statewide Electronic Filing System
         3704 Court Costs                                                                     1,419                1,090               1,041
         3711 Judicial Fees                                                                  23,755               24,279              24,814
       Total Estimated Account 5157 Receipts                                                 25,174               25,369              25,855

       Account: 5158 GR Account – Environmental Radiation and Perpetual Care
         3589 Radioactive Materials and Devices for Equipment Regulation                         45                   45                  45
         3590 Low-Level Radioactive Waste Disposal Fees                                       1,500                1,550               1,550
       Total Estimated Account 5158 Receipts                                                  1,545                1,595               1,595

       Account: 5161 GR Account – Governor’s University Research Initiative
         3782 Repayments from Political Subdivisions/Other of Loans/Advances                       880               907                    934
         3875 Interest Income, Other Operating Revenue – Operating Grants and
                 Contributions                                                                  827                  801                 773
       Total Estimated Account 5161 Receipts                                                  1,707                1,708               1,707

       Account: 5164 GR Account – Truancy Prevention and Diversion
         3704 Court Costs                                                                     4,935                5,156               4,928
       Total Estimated Account 5164 Receipts                                                  4,935                5,156               4,928

       Account: 5168 GR Account – Cancer Prevention and Research Interest and Sinking
         3748 Royalties                                                                            350               350                    350
       Total Estimated Account 5168 Receipts                                                       350               350                    350

       Account: 5173 GR Account – Texas Forensic Science Commission
         3562 Health Related Professional Fees                                                     157                45                    157
       Total Estimated Account 5173 Receipts                                                       157                45                    157

       Account: 5178 GR Account – State Hemp Program
         3400 Business Fees – Agriculture                                                          712               712                    712
       Total Estimated Account 5178 Receipts                                                       712               712                    712



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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                          Fiscal Year
No.                                                                                          2021                2022               2023

SOURCE: GENERAL REVENUE DEDICATED (concluded)
0001 General Revenue Fund (concluded)
     Account: 5184 GR Account – Specialty Court
       3704 Court Costs                                                                 $       1,806     $         2,061      $        1,970
     Total Estimated Account 5184 Receipts                                                      1,806               2,061               1,970

       Account: 5185 GR Account – DNA Testing
         3704 Court Costs                                                                           243               277                  265
       Total Estimated Account 5185 Receipts                                                        243               277                  265

       Account: 5186 GR Account – Transportation Administrative Fee
         3704 Court Costs                                                                       7,549               8,614               8,233
       Total Estimated Account 5186 Receipts                                                    7,549               8,614               8,233

       Total Estimated Fund 0001 Receipts                                                    3,065,997          3,169,365           3,184,387

       Total Estimated General Revenue Dedicated                                        $    3,065,997    $     3,169,365      $    3,184,387

SOURCE: FEDERAL FUNDS
0001 General Revenue Fund
     Account: 0001 General Revenue Fund
       3500 Federal Receipts, Matched – Education Programs                                         398               120                    0
       3501 Federal Receipts, Not Matched – Education Programs                                      43                 0                    0
       3550 Federal Receipts, Matched – Health Programs                                          1,217             1,217                1,217
       3551 Federal Receipts, Not Matched – Health Programs                                    672,870           672,870              672,870
       3600 Federal Receipts, Matched – Medicaid, TANF, Other Health Programs               30,386,328        31,516,942           28,756,000
       3601 Federal Receipts, Not Matched – Medicaid Standards/Mental Health                    85,287            85,287               85,287
       3700 Federal Receipts, Matched – Other Programs                                         552,695           547,459              547,257
       3701 Federal Receipts, Not Matched – Other Programs                                   1,932,663         2,835,595            2,755,836
     Total Estimated Account 0001 Receipts                                                  33,631,501        35,659,490           32,818,467

       Account: 0009 GR Account – Game, Fish, and Water Safety
         3430 Federal Receipts, Matched – Parks and Wildlife                                   55,697              55,697              55,697
         3431 Federal Receipts, Not Matched – Parks and Wildlife                                2,322               2,322               2,322
       Total Estimated Account 0009 Receipts                                                   58,019              58,019              58,019

       Account: 0027 GR Account – Coastal Protection
         3700 Federal Receipts, Matched – Other Programs                                         2,531              2,531               2,531
         3701 Federal Receipts, Not Matched – Other Programs                                       524                524                 524
       Total Estimated Account 0027 Receipts                                                     3,055              3,055               3,055

       Account: 0036 GR Account – Texas Department of Insurance Operating
         3700 Federal Receipts, Matched – Other Programs                                         2,784              2,820               2,820
       Total Estimated Account 0036 Receipts                                                     2,784              2,820               2,820

       Account: 0037 GR Account – Federal Child Welfare Service
         3600 Federal Receipts, Matched – Medicaid, TANF, Other Health Programs               477,072            479,988              477,654
         3601 Federal Receipts, Not Matched – Medicaid Standards/Mental Health                 31,385             32,812               40,771
         3621 Child Support Collections – Federal                                                 704                669                  635
       Total Estimated Account 0037 Receipts                                                  509,161            513,469              519,060

       Account: 0064 GR Account – State Parks
         3430 Federal Receipts, Matched – Parks and Wildlife                                        129               129                  129
       Total Estimated Account 0064 Receipts                                                        129               129                  129




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                          Fiscal Year
No.                                                                                          2021                2022                 2023

SOURCE: FEDERAL FUNDS (continued)
0001 General Revenue Fund (continued)
     Account: 0092 GR Account – Federal Disaster
       3701 Federal Receipts, Not Matched – Other Programs                               $    202,788     $      172,645        $     156,103
     Total Estimated Account 0092 Receipts                                                    202,788            172,645              156,103

       Account: 0118 GR Account – Federal Public Library Service
         3700 Federal Receipts, Matched – Other Programs                                       11,834              11,834              11,834
       Total Estimated Account 0118 Receipts                                                   11,834              11,834              11,834

       Account: 0127 GR Account – Community Affairs Federal
         3701 Federal Receipts, Not Matched – Other Programs                                  280,153            280,726              282,887
       Total Estimated Account 0127 Receipts                                                  280,153            280,726              282,887

       Account: 0148 GR Account – Federal Health, Education and Welfare
         3501 Federal Receipts, Not Matched – Education Programs                             3,364,884          3,341,116           3,341,116
       Total Estimated Account 0148 Receipts                                                 3,364,884          3,341,116           3,341,116

       Account: 0151 GR Account – Clean Air
         3700 Federal Receipts, Matched – Other Programs                                        6,750               6,750               6,750
         3701 Federal Receipts, Not Matched – Other Programs                                    3,500               3,500               3,500
       Total Estimated Account 0151 Receipts                                                   10,250              10,250              10,250

       Account: 0153 GR Account – Water Resource Management
         3700 Federal Receipts, Matched – Other Programs                                       13,500              13,500              13,500
         3701 Federal Receipts, Not Matched – Other Programs                                    5,500               5,500               5,500
       Total Estimated Account 0153 Receipts                                                   19,000              19,000              19,000

       Account: 0171 GR Account – Federal School Lunch
         3501 Federal Receipts, Not Matched – Education Programs                             2,246,334          1,979,337           1,979,337
       Total Estimated Account 0171 Receipts                                                 2,246,334          1,979,337           1,979,337

       Account: 0221 GR Account – Federal Civil Defense and Disaster Relief
         3701 Federal Receipts, Not Matched – Other Programs                                        281                 0                    0
       Total Estimated Account 0221 Receipts                                                        281                 0                    0

       Account: 0222 GR Account – Department of Public Safety Federal
         3701 Federal Receipts, Not Matched – Other Programs                                    1,900               1,850               1,850
       Total Estimated Account 0222 Receipts                                                    1,900               1,850               1,850

       Account: 0224 GR Account – Governor’s Office Federal Projects
         3701 Federal Receipts, Not Matched – Other Programs                                  108,383            115,591              123,278
       Total Estimated Account 0224 Receipts                                                  108,383            115,591              123,278

       Account: 0273 GR Account – Federal Health and Health Lab Funding Excess Revenue
         3550 Federal Receipts, Matched – Health Programs                                     160,900            160,900              160,900
         3551 Federal Receipts, Not Matched – Health Programs                                 140,377            140,377              140,377
       Total Estimated Account 0273 Receipts                                                  301,277            301,277              301,277

       Account: 0421 GR Account – Criminal Justice Planning
         3700 Federal Receipts, Matched – Other Programs                                       12,338              12,198              12,059
         3701 Federal Receipts, Not Matched – Other Programs                                  206,480             206,480             206,480
       Total Estimated Account 0421 Receipts                                                  218,818             218,678             218,539




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                      Fiscal Year
No.                                                                                      2021                2022              2023

SOURCE: FEDERAL FUNDS (continued)
0001 General Revenue Fund (continued)
     Account: 0449 GR Account – Texas Military Federal
       3700 Federal Receipts, Matched – Other Programs                               $     66,794     $        68,797      $      67,864
     Total Estimated Account 0449 Receipts                                                 66,794              68,797             67,864

       Account: 0467 GR Account – Texas Recreation and Parks
         3430 Federal Receipts, Matched – Parks and Wildlife                                5,332               5,332              5,332
       Total Estimated Account 0467 Receipts                                                5,332               5,332              5,332

       Account: 0469 GR Account – Compensation to Victims of Crime
         3700 Federal Receipts, Matched – Other Programs                                   31,853              20,511             21,249
       Total Estimated Account 0469 Receipts                                               31,853              20,511             21,249

       Account: 0549 GR Account – Waste Management
         3700 Federal Receipts, Matched – Other Programs                                    6,000               6,000              6,000
         3701 Federal Receipts, Not Matched – Other Programs                                  750                 750                750
       Total Estimated Account 0549 Receipts                                                6,750               6,750              6,750

       Account: 0550 GR Account – Hazardous and Solid Waste Remediation Fees
         3700 Federal Receipts, Matched – Other Programs                                        225               225                 225
         3701 Federal Receipts, Not Matched – Other Programs                                    425               425                 425
       Total Estimated Account 0550 Receipts                                                    650               650                 650

       Account: 0655 GR Account – Petroleum Storage Tank Remediation
         3700 Federal Receipts, Matched – Other Programs                                    4,000               4,000              4,000
       Total Estimated Account 0655 Receipts                                                4,000               4,000              4,000

       Account: 5006 GR Account – Attorney General Law Enforcement
         3700 Federal Receipts, Matched – Other Programs                                        523               523                 523
       Total Estimated Account 5006 Receipts                                                    523               523                 523

       Account: 5007 GR Account – Commission on State Emergency Communications
         3701 Federal Receipts, Not Matched – Other Programs                                4,755               3,380                   0
       Total Estimated Account 5007 Receipts                                                4,755               3,380                   0

       Account: 5026 GR Account – Workforce Commission Federal
         3550 Federal Receipts, Matched – Health Programs                                  272,835            260,123            264,951
         3551 Federal Receipts, Not Matched – Health Programs                               18,297             18,114             18,114
         3700 Federal Receipts, Matched – Other Programs                                   241,790            238,069            238,001
         3701 Federal Receipts, Not Matched – Other Programs                             1,209,073          1,157,468          1,146,761
       Total Estimated Account 5026 Receipts                                             1,741,995          1,673,774          1,667,827

       Account: 5041 GR Account – Railroad Commission Federal
         3700 Federal Receipts, Matched – Other Programs                                    1,400               1,460              1,460
         3701 Federal Receipts, Not Matched – Other Programs                                1,640               1,640              1,640
       Total Estimated Account 5041 Receipts                                                3,040               3,100              3,100

       Account: 5091 GR Account – Office of Rural Community Affairs Federal
         3700 Federal Receipts, Matched – Other Programs                                    1,076               1,076              1,076
         3701 Federal Receipts, Not Matched – Other Programs                               67,090              66,701             66,701
       Total Estimated Account 5091 Receipts                                               68,166              67,777             67,777




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Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                     Fiscal Year
No.                                                                                     2021                2022                 2023

SOURCE: FEDERAL FUNDS (concluded)
0001 General Revenue Fund (concluded)
     Account: 5155 GR Account – Oil and Gas Regulation and Cleanup
       3700 Federal Receipts, Matched – Other Programs                             $       5,700     $         5,700       $       5,700
       3701 Federal Receipts, Not Matched – Other Programs                                   120                 120                 120
     Total Estimated Account 5155 Receipts                                                 5,820               5,820               5,820

       Total Estimated Fund 0001 Receipts                                          $ 42,910,229      $ 44,549,700          $ 41,697,913

0006 State Highway Fund
       3001 Federal Receipts, Matched – Transportation Programs                         5,853,758          4,329,196           3,963,289
     Total Estimated Fund 0006 Receipts                                                 5,853,758          4,329,196           3,963,289

0008 State Highway Debt Service Fund
        3001 Federal Receipts, Matched – Transportation Programs                          36,629              36,372              36,014
     Total Estimated Fund 0008 Receipts                                                   36,629              36,372              36,014

0010 Texas Department of Motor Vehicles Fund
       3001 Federal Receipts, Matched – Transportation Programs                                744               744                    744
     Total Estimated Fund 0010 Receipts                                                        744               744                    744

0325 Coronavirus Relief Fund
       3001 Federal Receipts, Matched – Transportation Programs                         1,004,700                  0                   0
       3501 Federal Receipts, Not Matched – Education Programs                          5,256,050          1,827,396                   0
       3551 Federal Receipts, Not Matched – Health Programs                             1,796,205            495,296              30,157
       3600 Federal Receipts, Matched – Medicaid, TANF, Other Health Programs           2,373,519                  0                   0
       3601 Federal Receipts, Not Matched – Medicaid Standards/Mental Health                3,518              1,173                   0
       3700 Federal Receipts, Matched – Other Programs                                  1,634,380              1,818                   0
       3701 Federal Receipts, Not Matched – Other Programs                              3,105,771            541,493             466,949
       3831 Federal Receipts – Proprietary Funds – Operating                            2,583,242                  0                   0
     Total Estimated Fund 0325 Receipts                                                17,757,385          2,867,176             497,106

0365 Texas Mobility Fund
       3001 Federal Receipts, Matched – Transportation Programs                           21,945              21,955              21,918
     Total Estimated Fund 0365 Receipts                                                   21,945              21,955              21,918

0368 Fund for Veterans’ Assistance
       3701 Federal Receipts, Not Matched – Other Programs                                      30                30                     30
     Total Estimated Fund 0368 Receipts                                                         30                30                     30

0369 Federal American Recovery and Reinvestment Fund
       3701 Federal Receipts, Not Matched – Other Programs                                  6,141              6,203               6,265
     Total Estimated Fund 0369 Receipts                                                     6,141              6,203               6,265

0374 Veterans Financial Assistance Program Fund
       3700 Federal Receipts, Matched – Other Programs                                     5,566               5,566               5,566
       3701 Federal Receipts, Not Matched – Other Programs                                 3,215               3,215               3,215
       3831 Federal Receipts – Proprietary Funds – Operating                              62,744              62,744              62,744
     Total Estimated Fund 0374 Receipts                                                   71,525              71,525              71,525

       Total Estimated Federal Funds                                               $ 66,658,386      $ 51,882,901          $ 46,294,804




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                       Fiscal Year
No.                                                                                        2021               2022              2023

SOURCE: APPROPRIATED RECEIPTS
0001 General Revenue Fund
     Account: 0001 General Revenue Fund
       3015 Motor Fuel Mixture Testing Fee                                             $     1,625     $         1,625      $        1,625
       3158 Manufactured Housing Training Fees                                                 128                 128                 128
       3159 Manufactured Housing Statement of Ownership                                      3,500               3,500               3,500
       3180 Health Regulation Fees                                                           4,081               4,092               4,092
       3509 Private Educational Institution Fees                                             1,618               1,618               1,618
       3517 Repayment of College Student Loans                                               3,476               3,298               3,136
       3540 Tax Discount Donation – Student Financial Assistance Grants                          3                   3                   3
       3552 Vendor Drug Rebates, HIV Program                                                20,180              20,180              20,180
       3591 Transfers from State Hospitals/Agencies for Medicaid Match (UC, UPL, and
               DSRIP)                                                                       67,401              88,284               5,086
       3603 Reimbursement for Telecommunications Assistance, Distance Learning and
               Other Advanced Services                                                       1,551               1,551               1,551
       3606 Support and Maintenance of Patients                                             27,454              27,454              27,454
       3718 Court Costs/Attorney/OAG Authorized Collection Fees                             20,500              23,000              23,000
       3719 Fees for Copies or Filing of Records                                            32,103              37,406              37,406
       3722 Conference, Seminars, and Training Registration Fees                             5,482               5,922               5,922
       3738 Grants – Cities/Counties                                                         3,000               3,000               3,000
       3739 Grants – Other Political Subdivisions                                               70                  70                  70
       3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
               Operating Grants and Contributions                                            6,600              6,600                6,600
       3747 Rental – Other                                                                     925                997                1,033
       3750 Sale of Furniture and Equipment                                                  1,371              1,371                1,371
       3752 Sale of Publications/Advertising                                                 9,269              9,314                9,369
       3754 Other Surplus or Salvage Property/Materials Sales                               10,300             10,300               10,300
       3759 Telecommunications Service from Local Funds                                     20,500             21,000               21,000
       3766 Supplies/Equipment/Services – Local Funds                                        4,700              4,700                4,700
       3767 Supplies/Equipment/Services – Federal/Other                                      7,797              7,797                7,797
       3769 Forfeitures                                                                        353                353                  353
       3773 Insurance Recovery In Subsequent Years                                          16,000             16,000               16,000
       3802 Reimbursements – Third Party                                                   312,162            312,749              313,560
       3803 Reimbursements – Intra-Agency                                                       83                103                  103
       3805 Subrogation Recoveries                                                             585                585                  585
       3806 Rental of Housing to State Employees                                             2,176              2,192                2,192
       3879 Credit Card and Electronic Services Related Fees                                47,760             50,960               52,347
     Total Estimated Account 0001 Receipts                                                 632,753            666,152              585,081

       Account: 0009 GR Account – Game, Fish, and Water Safety
         3719 Fees for Copies or Filing of Records                                                 4                 4                  4
         3722 Conference, Seminars, and Training Registration Fees                                38                38                 38
         3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
                 Operating Grants and Contributions                                            922                 922                 922
         3747 Rental – Other                                                                     5                   5                   5
         3750 Sale of Furniture and Equipment                                                   26                  26                  26
         3754 Other Surplus or Salvage Property/Materials Sales                                 68                  68                  68
         3766 Supplies/Equipment/Services – Local Funds                                         10                  10                  10
         3767 Supplies/Equipment/Services – Federal/Other                                      111                 111                 111
         3802 Reimbursements – Third Party                                                   1,866               1,866               1,866
         3806 Rental of Housing to State Employees                                              70                  70                  70
         3879 Credit Card and Electronic Services Related Fees                                 809                 809                 809
       Total Estimated Account 0009 Receipts                                                 3,929               3,929               3,929




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                     Fiscal Year
No.                                                                                     2021                2022                 2023

SOURCE: APPROPRIATED RECEIPTS (continued)
0001 General Revenue Fund (continued)
     Account: 0019 GR Account – Vital Statistics
       3802 Reimbursements – Third Party                                            $      7,851     $         7,851       $       7,851
       3879 Credit Card and Electronic Services Related Fees                               4,550               4,550               4,550
     Total Estimated Account 0019 Receipts                                                12,401              12,401              12,401

       Account: 0027 GR Account – Coastal Protection
         3802 Reimbursements – Third Party                                                     227               227                    227
       Total Estimated Account 0027 Receipts                                                   227               227                    227

       Account: 0036 GR Account – Texas Department of Insurance Operating
         3719 Fees for Copies or Filing of Records                                            52                  71                  71
         3802 Reimbursements – Third Party                                                 2,873               3,001               3,082
       Total Estimated Account 0036 Receipts                                               2,925               3,072               3,153

       Account: 0064 GR Account – State Parks
         3722 Conference, Seminars, and Training Registration Fees                              40                59                     59
         3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
                 Operating Grants and Contributions                                        1,147               1,147               1,147
         3767 Supplies/Equipment/Services – Federal/Other                                     20                  20                  20
         3802 Reimbursements – Third Party                                                 9,566                 387                 387
         3806 Rental of Housing to State Employees                                           299                 299                 299
         3879 Credit Card and Electronic Services Related Fees                             1,537               1,537               1,537
       Total Estimated Account 0064 Receipts                                              12,609               3,449               3,449

       Account: 0116 GR Account – Texas Commission on Law Enforcement
         3719 Fees for Copies or Filing of Records                                             250               250                    250
         3722 Conference, Seminars, and Training Registration Fees                               0               195                    200
         3802 Reimbursements – Third Party                                                     270               160                    160
         3879 Credit Card and Electronic Services Related Fees                                   4                 5                      5
       Total Estimated Account 0116 Receipts                                                   524               610                    615

       Account: 0127 GR Account – Community Affairs Federal
         3767 Supplies/Equipment/Services – Federal/Other                                      670               690                    711
         3802 Reimbursements – Third Party                                                     150               150                    150
       Total Estimated Account 0127 Receipts                                                   820               840                    861

       Account: 0193 GR Account – Foundation School
         3680 Recapture Receipts                                                        2,814,010          2,796,200           3,031,800
       Total Estimated Account 0193 Receipts                                            2,814,010          2,796,200           3,031,800

       Account: 0225 GR Account – University of Houston Current
         3754 Other Surplus or Salvage Property/Materials Sales                                 10                10                     10
       Total Estimated Account 0225 Receipts                                                    10                10                     10

       Account: 0264 GR Account – Midwestern State University Current
         3747 Rental – Other                                                                     1                 1                      1
       Total Estimated Account 0264 Receipts                                                     1                 1                      1

       Account: 0334 GR Account – Commission of Arts Operating
         3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
                 Operating Grants and Contributions                                            152               152                    152
       Total Estimated Account 0334 Receipts                                                   152               152                    152




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                       Fiscal Year
No.                                                                                       2021                2022              2023

SOURCE: APPROPRIATED RECEIPTS (continued)
0001 General Revenue Fund (continued)
     Account: 0449 GR Account – Texas Military Federal
       3739 Grants – Other Political Subdivisions                                     $          10    $            10      $          10
       3802 Reimbursements – Third Party                                                         12                 12                 12
     Total Estimated Account 0449 Receipts                                                       22                 22                 22

       Account: 0469 GR Account – Compensation to Victims of Crime
         3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
                 Operating Grants and Contributions                                              171               171                 171
         3802 Reimbursements – Third Party                                                        15                15                  15
         3805 Subrogation Recoveries                                                             516               516                 516
       Total Estimated Account 0469 Receipts                                                     702               702                 702

       Account: 0472 GR Account – Inaugural
         3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
                 Operating Grants and Contributions                                                0                 0                  12
       Total Estimated Account 0472 Receipts                                                       0                 0                  12

       Account: 0492 GR Account – Business Enterprise Program
         3747 Rental – Other                                                                     783               633                 482
         3802 Reimbursements – Third Party                                                        27                27                  27
       Total Estimated Account 0492 Receipts                                                     810               660                 509

       Account: 0506 GR Account – Non-Game and Endangered Species Conservation
         3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
                 Operating Grants and Contributions                                                3                 3                   3
       Total Estimated Account 0506 Receipts                                                       3                 3                   3

       Account: 0524 GR Account – Public Health Services Fee
         3879 Credit Card and Electronic Services Related Fees                                     6                 6                   6
       Total Estimated Account 0524 Receipts                                                       6                 6                   6

       Account: 0540 GR Account – Judicial and Court Personal Training Fund
         3719 Fees for Copies or Filing of Records                                                 1                 1                   1
       Total Estimated Account 0540 Receipts                                                       1                 1                   1

       Account: 0544 GR Account – Lifetime License Endowment
         3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
                 Operating Grants and Contributions                                                1                 1                   1
       Total Estimated Account 0544 Receipts                                                       1                 1                   1

       Account: 0550 GR Account – Hazardous and Solid Waste Remediation Fees
         3802 Reimbursements – Third Party                                                       500               500                 500
       Total Estimated Account 0550 Receipts                                                     500               500                 500

       Account: 0570 GR Account – Federal Surplus Property Service Charge
         3754 Other Surplus or Salvage Property/Materials Sales                                  276               276                 276
         3802 Reimbursements – Third Party                                                       607               607                 607
       Total Estimated Account 0570 Receipts                                                     883               883                 883

       Account: 0597 GR Account – Texas Racing Commission
         3802 Reimbursements – Third Party                                                        12                12                  12
       Total Estimated Account 0597 Receipts                                                      12                12                  12




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                      Fiscal Year
No.                                                                                      2021                2022                 2023

SOURCE: APPROPRIATED RECEIPTS (continued)
0001 General Revenue Fund (continued)
     Account: 0679 GR Account – Artificial Reef
       3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
               Operating Grants and Contributions                                    $          800   $           800       $            800
     Total Estimated Account 0679 Receipts                                                      800               800                    800

       Account: 5018 GR Account – Home Health Services
         3879 Credit Card and Electronic Services Related Fees                                   87                87                     87
       Total Estimated Account 5018 Receipts                                                     87                87                     87

       Account: 5025 GR Account – Lottery
         3719 Fees for Copies or Filing of Records                                                5                 5                      5
         3802 Reimbursements – Third Party                                                      481               481                    481
       Total Estimated Account 5025 Receipts                                                    486               486                    486

       Account: 5026 GR Account – Workforce Commission Federal
         3719 Fees for Copies or Filing of Records                                              175               165                    155
         3747 Rental – Other                                                                     42                42                     42
         3752 Sale of Publications/Advertising                                                   90                90                     90
         3767 Supplies/Equipment/Services – Federal/Other                                       500               500                    500
       Total Estimated Account 5026 Receipts                                                    807               797                    787

       Account: 5059 GR Account – Peace Officer Flag
         3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
                 Operating Grants and Contributions                                               7                 5                      7
       Total Estimated Account 5059 Receipts                                                      7                 5                      7

       Account: 5093 GR Account – Dry Cleaner Facility Release
         3802 Reimbursements – Third Party                                                        3                 0                      0
       Total Estimated Account 5093 Receipts                                                      3                 0                      0

       Account: 5107 GR Account – Texas Enterprise
         3769 Forfeitures                                                                  1,100                1,100               1,100
       Total Estimated Account 5107 Receipts                                               1,100                1,100               1,100

       Account: 5136 GR Account – Cancer Prevention and Research
         3802 Reimbursements – Third Party                                                       40                40                     40
       Total Estimated Account 5136 Receipts                                                     40                40                     40

       Account: 5139 GR Account – Historic Site
         3806 Rental of Housing to State Employees                                               20                20                     20
       Total Estimated Account 5139 Receipts                                                     20                20                     20

       Account: 5152 GR Account – Alamo Complex
         3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
                 Operating Grants and Contributions                                              60               239                 239
         3747 Rental – Other                                                                    428             1,713               1,713
         3802 Reimbursements – Third Party                                                       24                95                  95
       Total Estimated Account 5152 Receipts                                                    512             2,047               2,047

       Account: 5155 GR Account – Oil and Gas Regulation and Cleanup
         3802 Reimbursements – Third Party                                                        5                 5                      5
         3879 Credit Card and Electronic Services Related Fees                                  450               450                    450
       Total Estimated Account 5155 Receipts                                                    455               455                    455



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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                           Fiscal Year
No.                                                                                           2021                2022               2023

SOURCE: APPROPRIATED RECEIPTS (concluded)
0001 General Revenue Fund (concluded)
     Account: 5170 GR Account – Evidence Testing
       3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
               Operating Grants and Contributions                                         $          800   $           800       $          800
     Total Estimated Account 5170 Receipts                                                           800               800                  800

       Account: 5173 GR Account – Texas Forensic Science Commission
         3879 Credit Card and Electronic Services Related Fees                                         2                 0                    2
       Total Estimated Account 5173 Receipts                                                           2                 0                    2

       Account: 5177 GR Account – Identification Fee Exemption
         3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
                 Operating Grants and Contributions                                               1,200              1,200                1,200
       Total Estimated Account 5177 Receipts                                                      1,200              1,200                1,200

       Account: 5178 GR Account – State Hemp Program
         3879 Credit Card and Electronic Services Related Fees                                        12                12                   12
       Total Estimated Account 5178 Receipts                                                          12                12                   12

       Total Estimated Fund 0001 Receipts                                                     3,489,632          3,497,682           3,652,173

       Total Estimated Appropriated Receipts                                              $   3,489,632    $     3,497,682       $   3,652,173

SOURCE: OTHER FUNDS
0001 General Revenue Fund
     Account: 0001 General Revenue Fund
       3564 Disproportionate Share Revenues/State Hospitals                                    322,455            322,455               322,455
       3565 Vendor Drug Rebates, Medicaid Program – Supplemental                                65,549             73,878                77,323
       3568 Disproportionate Share Revenues/Non-State Hospitals                                588,732            605,057               615,998
       3569 Receipt of Federal/State Disproportionate Share and Upper Payment Limit
               Program by State Hospitals                                                      296,369            297,086               296,049
       3588 Transfers from Urban and Rural Hospitals for Medicaid Match
               (UC, UPL, STAR+PLUS, and DSRIP)                                                3,613,533          3,979,206           1,775,557
       3597 WIC (Women, Infants, and Children Program) Rebates                                  205,040            205,040             205,040
       3638 Vendor Drug Rebates, Medicaid Program – Mandated                                  1,075,759          1,211,298           1,267,761
       3639 Premium Credits – Medicaid Program                                                   12,428             12,908              12,891
       3649 Vendor Drug and HMO Experience Rebates, CHIP Program                                 11,919             14,752              17,898
       3950 Allocations to Fund 0001/Other Funds from Special Funds – UB                        (12,705)           (20,292)            (20,292)
       3952 Transfer to Unappropriated GR 0001 from Disproportionate Share Funds               (199,310)          (198,149)           (198,149)
       3953 Unappropriated GR 0001 Reimbursement for Statewide Cost Allocation Plan
               (SWCAP)                                                                          (12,012)           (12,012)            (12,012)
     Total Estimated Account 0001 Receipts                                                    5,967,757          6,491,227           4,360,519

       Account: 5025 GR Account – Lottery
         3177 Lottery Ticket Sales                                                             275,073            487,863               480,396
         3963 Transfer to GR Account – State Owned Multicategorical Teaching Hospital
                 5049 and Unappropriated GR 0001 from GR Account – Lottery 5025 (Other)        (86,476)           (82,355)              (82,355)
       Total Estimated Account 5025 Receipts                                                   188,597            405,508               398,041

       Total Estimated Fund 0001 Receipts                                                 $   6,156,354    $     6,896,735       $   4,758,560

0006 State Highway Fund
       3010 Motor Fuel Lubricants Sales Tax                                                      37,000             37,500              38,000
        3012 Motor Vehicle Certificates                                                           8,097              8,258               8,423
        3014 Motor Vehicle Registration Fees                                                  1,644,027          1,685,128           1,727,256


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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                            Fiscal Year
No.                                                                                             2021               2022                 2023

SOURCE: OTHER FUNDS (continued)
0006 State Highway Fund (concluded)
       3018 Special Vehicle Permits                                                         $    122,729    $      125,119        $     127,557
       3046 State Highway Toll Project Revenue                                                    48,031            48,031               48,031
       3047 Concession Payments/Other Contractual Receipts from Comprehensive
               Development Agreements                                                              5,608              5,900               6,188
        3049 Upfront Payments – Service Concession Arrangements                                       75                  0                   0
        3052 Highway Beautification Fees                                                           1,119              1,130               1,141
        3053 Logo, Major Shopping and Tourist-Oriented Signs                                      11,398             11,512              11,627
        3315 Oil and Gas Lease Bonus                                                                 817                825                 833
        3321 Oil Royalties from Other State Lands for State Departments, Boards, Agencies         10,585             10,691              10,798
        3326 Gas Royalties from Other State Lands for State Departments, Boards, Agencies          3,000              3,031               3,060
        3331 Wind/Other Surface Lease Income from School Land                                          5                  5                   5
        3349 Land Sales                                                                            9,373              9,467               9,562
        3704 Court Costs                                                                             152                154                 156
        3714 Judgments and Settlements                                                            28,077             28,358              28,641
        3719 Fees for Copies or Filing of Records                                                      1                  1                   1
        3727 Fees for Administrative Services                                                          3                  0                   0
        3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
               Operating Grants and Contributions                                                    100                100                 100
        3746 Rental of Lands/Miscellaneous Land Income                                             5,421              5,475               5,530
        3752 Sale of Publications/Advertising                                                      4,636              4,683               4,729
        3754 Other Surplus or Salvage Property/Materials Sales                                      (687)                 0                   0
        3767 Supplies/Equipment/Services – Federal/Other                                          20,271             20,474              20,679
        3777 Warrants Voided by Statute of Limitation – Default Fund                                 192                194                 196
        3782 Repayments from Political Subdivisions/Other of Loans/Advances                       88,962             23,022              22,172
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program           19,905             13,013              12,411
        3854 Interest Other – General, Non-Program                                                 7,386              6,344               5,807
        3879 Credit Card and Electronic Services Related Fees                                          7                  7                   7
        3901 Allocations to GR 0001 (Unapp Undyed Diesel), Fund 0002, Fund 0006 and
               Fund 0057 from Fund 0001 (Motor Fuels Tax)                                       2,586,246         2,625,914           2,675,686
        3925 Allocations to Fund 0006 from Fund 0001 (Sales and Use Tax)                        2,500,000         2,500,000           2,500,000
        3928 Allocations to Fund 0006 from Fund 0001 (Motor Vehicle Tax)                                0             9,745              51,541
     Total Estimated Fund 0006 Receipts                                                         7,162,536         7,184,081           7,320,137

0008 State Highway Debt Service Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program            1,465              1,465               1,465
     Total Estimated Fund 0008 Receipts                                                            1,465              1,465               1,465

0010 Texas Department of Motor Vehicles Fund
       3012 Motor Vehicle Certificates                                                            40,713             41,934              42,563
       3014 Motor Vehicle Registration Fees                                                       34,223             35,080              35,959
       3018 Special Vehicle Permits                                                               13,340             16,008              16,488
       3022 Assigned Vehicle Identification Number Fees                                                4                  4                   4
       3035 Commercial Transportation Fees                                                         7,686              7,994               8,154
       3036 Motor Vehicle Complaints/Protests                                                         21                 22                  22
       3050 Abandoned Motor Vehicles                                                                  14                 14                  14
       3081 Equipment Lease to County Automated Registration and Titling System                      245                245                 245
       3717 Civil Penalties                                                                        1,296              1,347               1,374
       3719 Fees for Copies or Filing of Records                                                       3                  3                   3
       3727 Fees for Administrative Services                                                      57,347             56,630              57,766
       3775 Returned Check Fees                                                                       20                 21                  21
       3777 Warrants Voided by Statute of Limitation – Default Fund                                    5                  0                   0




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(Thousands of Dollars)

Fund                                                                                                           Fiscal Year
No.                                                                                           2021                2022                2023

SOURCE: OTHER FUNDS (continued)
0010 Texas Department of Motor Vehicles Fund (concluded)
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program   $         628     $          590        $          672
       3879 Credit Card and Electronic Services Related Fees                                     4,433              4,611                 4,703
     Total Estimated Fund 0010 Receipts                                                        159,978            164,503               167,988

0011 Available University Fund
       3301 Land Office Fees                                                                       225                 225                 225
       3315 Oil and Gas Lease Bonus                                                                155                 155                 155
       3328 Surface Damages                                                                      3,670               3,303               3,663
       3337 Brine and Water Receipts                                                            13,743              12,369              13,606
       3340 Land Easements                                                                      31,218              28,097              30,906
       3341 Grazing Lease Rental                                                                 5,000               5,000               5,000
       3344 Sand, Shell, Gravel, Timber Sales                                                    1,126               1,013               1,114
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program           4,590               4,590               4,590
       3854 Interest Other – General, Non-Program                                                1,300               1,300               1,300
       3855 Interest on Investments, Obligations and Securities – General, Non-Program       1,112,265           1,163,985           1,218,110
     Total Estimated Fund 0011 Receipts                                                      1,173,292           1,220,037           1,278,669

0044 Permanent School Fund
       3302 Land Office Administrative Fees                                                        606                640                   640
       3315 Oil and Gas Lease Bonus                                                             44,000             44,000                39,000
       3316 Oil and Gas Lease Rental                                                             3,500              7,564                 7,564
       3318 Sale of Natural Gas – State Energy Marketing Program                                50,000             50,000                50,000
       3320 Oil Royalties from Lands Owned by Educational Institutions                         494,220            727,324               890,321
       3325 Gas Royalties from Lands Owned by Educational Institutions                         161,158            237,170               290,321
       3327 Outer Continental Shelf Settlement Monies                                            1,200              1,200                 1,200
       3328 Surface Damages                                                                      6,300              7,300                 7,300
       3330 Hard Mineral – Prospect and Lease                                                      400                480                   480
       3331 Wind/Other Surface Lease Income from School Land                                       130                202                   202
       3335 Royalties – Other Hard Minerals                                                        938                938                   938
       3340 Land Easements                                                                       4,500              4,900                 4,900
       3341 Grazing Lease Rental                                                                 3,500              4,700                 4,700
       3342 Land Lease                                                                           1,750              1,800                 1,800
       3344 Sand, Shell, Gravel, Timber Sales                                                    1,200              1,200                 1,200
       3350 Interest on Land Sales, Public School Land                                               7                  7                     7
       3714 Judgments and Settlements                                                               38                 38                    38
       3770 Administrative Penalties                                                               700                900                   900
       3802 Reimbursements – Third Party                                                           180                180                   180
       3828 Dividend Income                                                                          8                  8                     8
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program           5,294              5,294                 5,294
       3854 Interest Other – General, Non-Program                                                8,000              8,000                 8,000
       3861 Gain on Sale of Investments, Obligations, and Securities                           120,000            135,000               135,000
       3864 Interest on State Deposits and Treasury Investments, Non-Operating
               Revenue – Operating Grants and Contributions                                     18,856              18,856               18,856
       3873 Interest on Investments, Obligations and Securities, Operating Revenue –
               Operating Grants and Contributions                                                78,000             83,000               83,000
       3910 Transfers to Available Education Funds from Permanent Education Funds            (1,701,670)        (2,132,000)          (2,177,000)
     Total Estimated Fund 0044 Receipts                                                        (697,185)          (791,299)            (625,151)

0045 Permanent University Fund
       3315 Oil and Gas Lease Bonus                                                              5,000             25,000                10,000
       3316 Oil and Gas Lease Rental                                                                62                312                   125
       3320 Oil Royalties from Lands Owned by Educational Institutions                         520,637            766,201               937,911




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Schedule I (continued)
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(Thousands of Dollars)

Fund                                                                                                           Fiscal Year
No.                                                                                           2021                2022                 2023

SOURCE: OTHER FUNDS (continued)
0045 Permanent University Fund (concluded)
       3325 Gas Royalties from Lands Owned by Educational Institutions                    $    69,170      $      101,795        $     124,607
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program             49                  49                   49
     Total Estimated Fund 0045 Receipts                                                       594,918             893,357            1,072,692

0047 Texas A&M University Available Fund
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program          2,819                2,819               2,819
     Total Estimated Fund 0047 Receipts                                                         2,819                2,819               2,819

0053 Charter District Bond Guarantee Reserve Fund
       3530 School Bond Guarantee Fees                                                         20,559               20,970              21,390
       3864 Interest on State Deposits and Treasury Investments, Non-Operating
               Revenue – Operating Grants and Contributions                                         1                    1                   1
     Total Estimated Fund 0053 Receipts                                                        20,560               20,971              21,391

0161 TexasSure Fund
       3014 Motor Vehicle Registration Fees                                                     5,074                5,074               5,074
     Total Estimated Fund 0161 Receipts                                                         5,074                5,074               5,074

0175 Texas Infrastructure Resiliency Fund
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program          2,912                2,884               2,659
     Total Estimated Fund 0175 Receipts                                                         2,912                2,884               2,659

0179 Permanent Fund Supporting Graduate Education
       3854 Interest Other – General, Non-Program                                              11,000               11,000              11,000
     Total Estimated Fund 0179 Receipts                                                        11,000               11,000              11,000

0183 Texas Economic Development Fund
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program               50                 50                    50
     Total Estimated Fund 0183 Receipts                                                              50                 50                    50

0184 Transportation Infrastructure Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              51                 51                    51
     Total Estimated Fund 0184 Receipts                                                              51                 51                    51

0186 Pesticide Disposal Fund
       3410 Agriculture Registration Fees                                                            400               400                    400
     Total Estimated Fund 0186 Receipts                                                              400               400                    400

0194 Flood Infrastructure Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program         3,323                2,598               1,593
     Total Estimated Fund 0194 Receipts                                                         3,323                2,598               1,593

0211 University of Texas Interest and Sinking Fund
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program                26                26                     26
     Total Estimated Fund 0211 Receipts                                                               26                26                     26

0214 Available National Research University Fund
       3777 Warrants Voided by Statute of Limitation – Default Fund                                    3                 3                      3
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program               282               282                    282
     Total Estimated Fund 0214 Receipts                                                              285               285                    285




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Fund                                                                                                         Fiscal Year
No.                                                                                          2021               2022              2023

SOURCE: OTHER FUNDS (continued)
0301 Rural Water Assistance Fund
       3857 Interest on State Deposits and Treasury Investments, Operating Revenue –
               Operating Grants and Contributions                                        $          54   $            54      $          54
       3875 Interest Income, Other Operating Revenue – Operating Grants and
               Contributions                                                                    2,646              2,646               2,570
     Total Estimated Fund 0301 Receipts                                                         2,700              2,700               2,624

0302 Water Infrastructure Fund
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program          1,740              1,444               1,158
       3854 Interest Other – General, Non-Program                                              10,567             10,567               9,603
     Total Estimated Fund 0302 Receipts                                                        12,307             12,011              10,761

0303 Assistant Prosecutor Supplement Fund
       3858 Bail Bond Surety Fees                                                               3,000              3,000               3,000
     Total Estimated Fund 0303 Receipts                                                         3,000              3,000               3,000

0304 Property Tax Relief Fund
       3004 Motor Vehicle Sales and Use Tax                                                     25,442            26,393             27,033
       3130 Franchise/Business Margins Tax                                                   1,258,600         1,305,100          1,393,800
       3275 Cigarette Tax                                                                      780,300           676,400            738,900
       3278 Cigar and Tobacco Products Tax                                                      18,877            19,062             19,388
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program           1,509             1,489              1,545
     Total Estimated Fund 0304 Receipts                                                      2,084,728         2,028,444          2,180,666

0305 Tax Reduction and Excellence in Education Fund
       3102 Limited Sales and Use Tax                                                         830,000           870,000              915,000
     Total Estimated Fund 0305 Receipts                                                       830,000           870,000              915,000

0325 Coronavirus Relief Fund
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program         17,664                  0                  0
     Total Estimated Fund 0325 Receipts                                                        17,664                  0                  0

0327 Texas-bred Incentive Fund
       3193 Breakage – Horse Racing                                                             1,549              1,400               1,266
       3197 Breakage – Greyhound Racing                                                           300                300                 300
     Total Estimated Fund 0327 Receipts                                                         1,849              1,700               1,566

0328 Jury Service Fund
       3704 Court Costs                                                                        11,158             12,731              12,169
     Total Estimated Fund 0328 Receipts                                                        11,158             12,731              12,169

0356 Economically Distressed Areas Clearance Fund
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program               5                 5                  5
     Total Estimated Fund 0356 Receipts                                                              5                 5                  5

0357 Economically Distressed Areas Clearance Interest and Sinking Fund
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program               4                 4                  4
     Total Estimated Fund 0357 Receipts                                                              4                 4                  4




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                           Fiscal Year
No.                                                                                           2021                2022                 2023

SOURCE: OTHER FUNDS (continued)
0358 Agricultural Water Conservation Fund
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program    $           20   $            20       $            20
       3857 Interest on State Deposits and Treasury Investments, Operating Revenue –
               Operating Grants and Contributions                                                    143               143                    143
       3875 Interest Income, Other Operating Revenue – Operating Grants and
               Contributions                                                                          31                31                     23
     Total Estimated Fund 0358 Receipts                                                              194               194                    186

0361 State Water Implementation Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              790               794                    797
     Total Estimated Fund 0361 Receipts                                                              790               794                    797

0364 Permanent Endowment Fund for the Rural Community Health Care Investment
     Program
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program               122               122                    122
     Total Estimated Fund 0364 Receipts                                                              122               122                    122

0365 Texas Mobility Fund
       3012 Motor Vehicle Certificates                                                        150,433             154,946              157,270
       3014 Motor Vehicle Registration Fees                                                         2                   2                    2
       3020 Motor Vehicle Inspection Fees                                                      97,752              95,603               96,559
       3025 Driver’s License Fees                                                             203,120             193,260              196,159
       3027 Driver Record Information Fees                                                     68,436              70,130               70,832
       3057 Motor Carrier Act Penalties                                                         3,150               3,290                3,500
       3777 Warrants Voided by Statute of Limitation – Default Fund                                12                   0                    0
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program            880                 817                  590
     Total Estimated Fund 0365 Receipts                                                       523,785             518,048              524,912

0368 Fund for Veterans’ Assistance
       3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
               Operating Grants and Contributions                                               2,753                2,753               2,753
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program            182                  182                 182
       3922 Transfers to GR Account – Foundation School 0193 from GR Account –
               Lottery 5025 (Education)                                                        18,644               17,756              17,756
       3963 Transfer to GR Account – State Owned Multicategorical Teaching Hospital
               5049 and Unappropriated GR 0001 from GR Account – Lottery 5025 (Other)           2,784                2,651               2,651
     Total Estimated Fund 0368 Receipts                                                        24,363               23,342              23,342

0369 Federal American Recovery and Reinvestment Fund
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program               138               138                    138
     Total Estimated Fund 0369 Receipts                                                              138               138                    138

0370 Texas Water Development Fund II Clearance Fund
       3857 Interest on State Deposits and Treasury Investments, Operating Revenue –
               Operating Grants and Contributions                                               2,000                2,000               2,000
     Total Estimated Fund 0370 Receipts                                                         2,000                2,000               2,000

0371 Texas Water Development Fund II
       3782 Repayments from Political Subdivisions/Other of Loans/Advances                     49,250               30,014              30,014
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program              1                    1                   1
       3854 Interest Other – General, Non-Program                                                 600                  600                 600




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Fund                                                                                                          Fiscal Year
No.                                                                                          2021                2022              2023

SOURCE: OTHER FUNDS (continued)
0371 Texas Water Development Fund II (concluded)
       3857 Interest on State Deposits and Treasury Investments, Operating Revenue –
               Operating Grants and Contributions                                        $          400   $           400      $          400
       3875 Interest Income, Other Operating Revenue – Operating Grants and
               Contributions                                                                  50,000               50,000              50,000
     Total Estimated Fund 0371 Receipts                                                      100,251               81,015              81,015

0372 Texas Water Development Fund II Interest and Sinking Fund
       3857 Interest on State Deposits and Treasury Investments, Operating Revenue –
               Operating Grants and Contributions                                                    50                50                  50
     Total Estimated Fund 0372 Receipts                                                              50                50                  50

0373 Freestanding Emergency Medical Care Facility Licensing Fund
        3557 Health Care Facilities Fees                                                       1,013                1,013               1,013
     Total Estimated Fund 0373 Receipts                                                        1,013                1,013               1,013

0374 Veterans Financial Assistance Program Fund
       3634 Medicare Reimbursements                                                            7,806                7,806               7,806
       3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
               Operating Grants and Contributions                                                    62                62                  62
       3777 Warrants Voided by Statute of Limitation – Default Fund                                  20                20                  20
       3802 Reimbursements – Third Party                                                             10                10                  10
       3840 Veteran Home/Cemetery Payments from Residents, VA Reimbursements and
               Non-Veterans                                                                   25,748               25,748              25,748
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program           115                  115                 115
     Total Estimated Fund 0374 Receipts                                                       33,761               33,761              33,761

0383 Veterans Housing Program, Tax-Exempt Issues
       3307 Repayment of Principal on Veterans Land/Housing Contracts                        180,973             180,973              180,973
       3308 Interest on Veterans Land/Housing Contracts                                       48,643              48,643               48,643
       3770 Administrative Penalties                                                               6                   6                    6
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program           305                 305                  305
       3861 Gain on Sale of Investments, Obligations, and Securities                               7                   7                    7
     Total Estimated Fund 0383 Receipts                                                      229,934             229,934              229,934

0384 Veterans Housing Program, Taxable Issues
       3307 Repayment of Principal on Veterans Land/Housing Contracts                         63,561               63,561              63,561
       3308 Interest on Veterans Land/Housing Contracts                                       16,223               16,223              16,223
       3770 Administrative Penalties                                                               2                    2                   2
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program            27                   27                  27
       3861 Gain on Sale of Investments, Obligations, and Securities                              13                   13                  13
     Total Estimated Fund 0384 Receipts                                                       79,826               79,826              79,826

0385 Veterans Land Program, Tax-Exempt Issues
       3307 Repayment of Principal on Veterans Land/Housing Contracts                               500               500                 500
       3308 Interest on Veterans Land/Housing Contracts                                             373               373                 373
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program               22                22                  22
     Total Estimated Fund 0385 Receipts                                                             895               895                 895

0388 Texas College Student Loan Bonds Interest and Sinking Fund
       3517 Repayment of College Student Loans                                               162,140             170,247              178,759
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program         1,570               1,570                1,570
     Total Estimated Fund 0388 Receipts                                                      163,710             171,817              180,329




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                          Fiscal Year
No.                                                                                          2021                2022                 2023

SOURCE: OTHER FUNDS (continued)
0480 Water Assistance Fund
       3767 Supplies/Equipment/Services – Federal/Other                                  $          240   $           240       $            240
     Total Estimated Fund 0480 Receipts                                                             240               240                    240

0482 Storage Acquisition Fund
        3854 Interest Other – General, Non-Program                                                  23                 23                     23
     Total Estimated Fund 0482 Receipts                                                             23                 23                     23

0493 Endowment Fund for the Blind
       3740 Gifts/Grants/Donations – Non-Operating Revenue/Program Revenue –
               Operating Grants and Contributions                                                     8                 8                      8
     Total Estimated Fund 0493 Receipts                                                               8                 8                      8

0522 Veterans Land Program Administration Fund
       3802 Reimbursements – Third Party                                                              1                 1                      1
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program               29                32                     34
     Total Estimated Fund 0522 Receipts                                                              30                33                     35

0529 Veterans Housing Assistance Series 1984A Fund
       3307 Repayment of Principal on Veterans Land/Housing Contracts                         14,302               14,302              14,302
       3308 Interest on Veterans Land/Housing Contracts                                        2,774                2,774               2,774
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program             9                    9                   9
       3861 Gain on Sale of Investments, Obligations, and Securities                           1,318                1,318               1,318
     Total Estimated Fund 0529 Receipts                                                       18,403               18,403              18,403

0571 Veterans Land Bond Series 1986 Refunding Fund
       3305 Veterans Land Board Service Fees                                                      502                 502                  502
       3307 Repayment of Principal on Veterans Land/Housing Contracts                         (20,260)            (20,260)             (20,260)
       3308 Interest on Veterans Land/Housing Contracts                                        23,500              23,500               23,500
       3770 Administrative Penalties                                                               20                  20                   20
       3777 Warrants Voided by Statute of Limitation – Default Fund                                50                  50                   50
       3802 Reimbursements – Third Party                                                           37                  37                   37
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program             34                  34                   34
       3861 Gain on Sale of Investments, Obligations, and Securities                              364                 364                  364
       3879 Credit Card and Electronic Services Related Fees                                        4                   4                    4
     Total Estimated Fund 0571 Receipts                                                         4,251               4,251                4,251

0573 Judicial Fund
       3014 Motor Vehicle Registration Fees                                                        9                    9                   9
       3195 Additional Legal Services Fee                                                      2,280                2,280               2,280
       3704 Court Costs                                                                       52,497               47,055              42,176
       3709 District Court Suit Filing Fee                                                    13,070               13,070              13,070
       3711 Judicial Fees                                                                      1,090                1,090               1,090
       3717 Civil Penalties                                                                    8,842                8,842               8,842
       3719 Fees for Copies or Filing of Records                                                   1                    1                   1
     Total Estimated Fund 0573 Receipts                                                       77,789               72,347              67,468

0577 Tax and Revenue Anticipation Note Fund
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program       295,182             471,470              471,470
     Total Estimated Fund 0577 Receipts                                                      295,182             471,470              471,470




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                            Fiscal Year
No.                                                                                            2021                2022              2023

SOURCE: OTHER FUNDS (continued)
0588 Small Business Incubator Fund
       3782 Repayments from Political Subdivisions/Other of Loans/Advances                 $          164   $           164      $          164
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program                 84                73                  83
       3875 Interest Income, Other Operating Revenue – Operating Grants and
               Contributions                                                                           86                89                  82
     Total Estimated Fund 0588 Receipts                                                               334               326                 329

0589 Texas Product Development Fund
       3782 Repayments from Political Subdivisions/Other of Loans/Advances                       1,148                1,148              1,148
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program              46                   49                 51
     Total Estimated Fund 0589 Receipts                                                          1,194                1,197              1,199

0590 Veterans Housing Assistance Bonds Series 1992 Fund
       3307 Repayment of Principal on Veterans Land/Housing Contracts                           19,982               19,982             19,982
       3308 Interest on Veterans Land/Housing Contracts                                          4,924                4,924              4,924
       3770 Administrative Penalties                                                                 1                    1                  1
       3777 Warrants Voided by Statute of Limitation – Default Fund                                  1                    1                  1
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program              21                   21                 21
       3861 Gain on Sale of Investments, Obligations, and Securities                                28                   28                 28
     Total Estimated Fund 0590 Receipts                                                         24,957               24,957             24,957

0599 Economic Stabilization Fund
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program          20,503               16,886             12,142
     Total Estimated Fund 0599 Receipts                                                         20,503               16,886             12,142

0626 Veterans Bonds Activity Series 1989 Fund
       3307 Repayment of Principal on Veterans Land/Housing Contracts                                 250               200                 180
       3308 Interest on Veterans Land/Housing Contracts                                                50                40                  30
     Total Estimated Fund 0626 Receipts                                                               300               240                 210
0683 Texas Agricultural Fund

         3042 Motor Vehicle Assessment – Young Farmer Program                                         595               595                 595
         3401 Repayment of Financial Assistance Loans/Agricultural Products                           140               140                 140
         3851 Interest on State Deposits and Treasury Investments – General, Non-Program               90                90                  90
         3855 Interest on Investments, Obligations and Securities – General, Non-Program               45                45                  45
       Total Estimated Fund 0683 Receipts                                                             870               870                 870

0733 T.P.F.A. Series B Master Lease Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program                23                23                  23
     Total Estimated Fund 0733 Receipts                                                                23                23                  23

0735 T.P.F.A. Series B Master Lease Project Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program                 6                 4                   4
     Total Estimated Fund 0735 Receipts                                                                 6                 4                   4

0827 Anthropogenic Carbon Dioxide Storage Trust Fund
       3366 Business Fees – Natural Resources                                                          20                 0                   0
       3851 Interest on State Deposits and Treasury Investments – General, Non-Program                  1                 1                   1
     Total Estimated Fund 0827 Receipts                                                                21                 1                   1

7048 T.P.F.A. G.O. Series 2010 Refunding Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program                 1                 1                   0
     Total Estimated Fund 7048 Receipts                                                                 1                 1                   0




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                         Fiscal Year
No.                                                                                           2021              2022                 2023

SOURCE: OTHER FUNDS (continued)
7049 T.P.F.A. G.O. Series 2011 Refunding Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program   $          2   $             2       $            2
     Total Estimated Fund 7049 Receipts                                                              2                 2                    2

7051 T.P.F.A. G.O. Taxable Series 2011 Refunding Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              1                 1                    1
     Total Estimated Fund 7051 Receipts                                                              1                 1                    1

7056 T.P.F.A. G.O. Series 2014A Refunding Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              1                 1                    1
     Total Estimated Fund 7056 Receipts                                                              1                 1                    1

7058 T.P.F.A. G.O. Taxable Series 2014B Refunding Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              1                 1                    1
     Total Estimated Fund 7058 Receipts                                                              1                 1                    1

7059 T.P.F.A. G.O. Series 2015A Refunding Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              1                 1                    1
     Total Estimated Fund 7059 Receipts                                                              1                 1                    1

7061 T.P.F.A. G.O. and Refunding Bonds (CPRIT), Series 2015C, Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              2                 2                    2
     Total Estimated Fund 7061 Receipts                                                              2                 2                    2

7063 T.P.F.A. G.O. Refunding Bonds, Series 2016, Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              1                 0                    0
     Total Estimated Fund 7063 Receipts                                                              1                 0                    0

7067 T.P.F.A. G.O. and Refunding Bonds (CPRIT),Series 2017, Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              2                 2                    2
     Total Estimated Fund 7067 Receipts                                                              2                 2                    2

7069 T.P.F.A. G.O. Refunding Bonds, Series 2017A, Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              1                 1                    1
     Total Estimated Fund 7069 Receipts                                                              1                 1                    1

7073 T.P.F.A. G.O. Refunding Bonds Taxable Series 2018 CPRIT Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              2                 2                    2
     Total Estimated Fund 7073 Receipts                                                              2                 2                    2

7075 T.P.F.A. G.O. Refunding Bonds, Series 2018A, Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              1                 2                    2
     Total Estimated Fund 7075 Receipts                                                              1                 2                    2

7077 T.P.F.A. G.O. and Refunding Bonds, Taxable Series 2020, Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              2                 2                    2
     Total Estimated Fund 7077 Receipts                                                              2                 2                    2

7209 T.P.F.A. G.O. Series 2008A Refunding DPS Project Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              2                 0                    0
     Total Estimated Fund 7209 Receipts                                                              2                 0                    0




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Schedule I (continued)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                           Fiscal Year
No.                                                                                           2021                2022              2023

SOURCE: OTHER FUNDS (continued)
7211 T.P.F.A. G.O. Series 2009B DPS Project Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program   $           5    $             0      $           0
     Total Estimated Fund 7211 Receipts                                                               5                  0                  0

7213 T.P.F.A. G.O. Series 2009B THC Project Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program               6                  0                  0
     Total Estimated Fund 7213 Receipts                                                               6                  0                  0

7217 T.P.F.A. G.O. Series 2011 Refunding TFC Project Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program               1                  0                  0
     Total Estimated Fund 7217 Receipts                                                               1                  0                  0

7352 T.P.F.A. Revenue Commercial Paper Series 2016 A&B TFC Interest and Sinking Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program               1                  1                  1
     Total Estimated Fund 7352 Receipts                                                               1                  1                  1

7356 T.P.F.A. Lease Revenue and Refunding (TFC Project) Tax-Exempt Interest and Sinking
     Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program               1                  1                  1
     Total Estimated Fund 7356 Receipts                                                               1                  1                  1

7516 T.P.F.A. Lease Revenue and Refunding (TFC Project) Tax-Exempt Project Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              720               374                 204
     Total Estimated Fund 7516 Receipts                                                              720               374                 204

7604 T.P.F.A. G.O. Commercial Paper Series 2002B Colonias Project Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program                3                 0                   0
     Total Estimated Fund 7604 Receipts                                                                3                 0                   0

7629 T.P.F.A. G.O. Commercial Paper Series 2008 DPS Project 1A Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program               45                32                   8
     Total Estimated Fund 7629 Receipts                                                               45                32                   8

7639 T.P.F.A. Cancer Prevention and Research Institute of Texas Project Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              727               869                 788
     Total Estimated Fund 7639 Receipts                                                              727               869                 788

7647 T.P.F.A. G.O. Commercial Paper Series 2008 TPWD Project 1B Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program                1                 0                   0
     Total Estimated Fund 7647 Receipts                                                                1                 0                   0

7650 T.P.F.A. G.O. Commercial Paper Series 2008 THC Project 1C Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program                1                 0                   0
     Total Estimated Fund 7650 Receipts                                                                1                 0                   0

7651 T.P.F.A. G.O. Commercial Paper Series 2008 DSHS Project 1C Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program                3                 0                   0
     Total Estimated Fund 7651 Receipts                                                                3                 0                   0

7652 T.P.F.A. G.O. Commercial Paper Series 2008 TFC Project 1C Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program                2                 0                   0
     Total Estimated Fund 7652 Receipts                                                                2                 0                   0




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Schedule I (concluded)
Estimate of Revenue by Source, Fund, Account and Object
(Thousands of Dollars)

Fund                                                                                                          Fiscal Year
No.                                                                                           2021               2022                 2023

SOURCE: OTHER FUNDS (concluded)
7654 T.P.F.A. G.O. Commercial Paper Series 2008 TPWD Project 1C Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program   $          11   $             2       $             0
     Total Estimated Fund 7654 Receipts                                                              11                 2                     0

7656 T.P.F.A. G.O. Commercial Paper Series 2008 DPS Project 1C Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              5                  0                     0
     Total Estimated Fund 7656 Receipts                                                              5                  0                     0

7657 T.P.F.A. G.O. Commercial Paper Series 2008 TFC Project 1D Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program               2                 0                     0
     Total Estimated Fund 7657 Receipts                                                               2                 0                     0

7658 T.P.F.A. G.O. Commercial Paper Series 2008 DADS Project 1C Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program               7                 4                     0
     Total Estimated Fund 7658 Receipts                                                               7                 4                     0

7659 T.P.F.A. G.O. Commercial Paper Series 2008 TPWD Project 1D Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              11                 3                     0
     Total Estimated Fund 7659 Receipts                                                              11                 3                     0

7660 T.P.F.A. G.O. Commercial Paper Series 2008 DSHS Project 1D Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program               4                 1                     0
     Total Estimated Fund 7660 Receipts                                                               4                 1                     0

7800 T.P.F.A. Revenue Commercial Paper Series 2016 A&B TFC Project Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              26                 0                     0
     Total Estimated Fund 7800 Receipts                                                              26                 0                     0

7802 T.P.F.A. Revenue Commercial Paper Series 2019A (HHSC Deferred Maintenance)
     Project Fund
        3851 Interest on State Deposits and Treasury Investments – General, Non-Program              38               111                    191
     Total Estimated Fund 7802 Receipts                                                              38               111                    191

       Total Estimated Other Funds                                                        $ 19,167,879    $ 20,301,276          $ 18,906,666

       Total Estimated All Funds                                                          $ 147,841,118   $ 137,295,579         $ 133,171,181




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Schedule II
Estimated Fund Balances for Fiscal Year 2021
(Thousands of Dollars)

                                                                        Beginning      Estimated      Estimated       Estimated       Ending
Fund Acct                     Fund or Account Name                       Balance        Revenue      Net Transfers   Expenditures     Balance

GROUP 01: GENERAL STATE OPERATING AND DISBURSING FUNDS
0001 0001 General Revenue Fund                                          $   (160,062) $ 96,941,713   $ (26,494,330) $ 75,114,003    $ (4,826,682)
0001 0009 GR Account – Game, Fish, and Water Safety                          127,199       209,242          (5,883)      191,328         139,230
0001 0019 GR Account – Vital Statistics                                       19,066        17,300            (565)       17,282          18,519
0001 0027 GR Account – Coastal Protection                                     10,636        18,475          (1,677)       12,886          14,548
0001 0028 GR Account – Appraiser Registry                                          1           166               0           166               1
0001 0036 GR Account – Texas Department of Insurance Operating               177,782        39,735         130,000       187,000         160,517
0001 0064 GR Account – State Parks                                            66,168        61,722          88,413       147,255          69,048
0001 0088 GR Account – Low-Level Radioactive Waste                            23,749           700            (348)        1,506          22,595
0001 0099 GR Account – Operators and Chauffeurs License                          403             0               0             0             403
0001 0107 GR Account – Comprehensive Rehabilitation                            1,642             0               0             0           1,642
0001 0108 GR Account – Private Beauty Culture School Tuition Protection          202             0               0             0             202
0001 0116 GR Account – Texas Commission on Law Enforcement                    10,094         7,185             (18)       11,290           5,971
0001 0129 GR Account – Hospital Licensing                                     26,410         2,542               0         2,715          26,237
0001 0151 GR Account – Clean Air                                             289,985        79,486          (8,907)       48,322         312,242
0001 0153 GR Account – Water Resource Management                              66,312       103,055          (2,052)       98,889          68,426
0001 0158 GR Account – Watermaster Administration                              2,230         2,656             (19)        2,163           2,704
0001 0165 GR Account – Unemployment Compensation Special
           Administration                                                    27,939         16,436         12,342         33,819         22,898
0001 0225 GR Account – University of Houston Current                        104,481         78,456         (2,015)        17,083        163,839
0001 0227 GR Account – Angelo State University Current                        2,891         11,188           (334)        10,865          2,880
0001 0228 GR Account – University of Texas at Tyler Current                   9,761         13,442           (400)        11,307         11,496
0001 0229 GR Account – University of Houston – Clear Lake Current            10,852         12,713           (426)        14,798          8,341
0001 0230 GR Account – Texas A&M University – Corpus Christi Current         11,943         16,603           (450)        16,691         11,405
0001 0231 GR Account – Texas A&M International University Current            13,333         11,286           (594)         9,348         14,677
0001 0232 GR Account – Texas A&M University – Texarkana Current               2,343          1,940           (138)         3,375            770
0001 0233 GR Account – University of Houston – Victoria Current                 841          5,248           (199)         5,666            224
0001 0236 GR Account – University of Texas System Cancer Center
           Current                                                            1,178            740           (475)           475            968
0001 0237 GR Account – Texas State Technical College System Current           8,784          5,515           (242)         4,410          9,647
0001 0238 GR Account – University of Texas at Dallas Current                 20,800         52,093         (1,620)        57,851         13,422
0001 0239 GR Account – Texas Tech University Health Sciences Center
           Current                                                           17,943         16,701           (512)        16,259         17,873
0001 0242 GR Account – Texas A&M University Current                           6,641        112,482         (2,985)       116,138              0
0001 0243 GR Account – Tarleton State University Current                      3,076         16,461           (613)        17,522          1,402
0001 0244 GR Account – University of Texas at Arlington Current              24,870         66,962         (1,875)        69,732         20,225
0001 0245 GR Account – Prairie View A&M University Current                   17,574         14,989           (773)        17,126         14,664
0001 0246 GR Account – University of Texas Medical Branch at Galveston
           Current                                                                0         10,549              0         10,549              0
0001 0247 GR Account – Texas Southern University Current                     17,029         24,625           (919)        24,601         16,134
0001 0248 GR Account – University of Texas at Austin Current                122,365        113,667         (1,300)       131,700        103,032
0001 0249 GR Account – University of Texas at San Antonio Current            12,970         43,919         (1,387)        45,587          9,915
0001 0250 GR Account – University of Texas at El Paso Current                 4,337         31,223           (845)        31,938          2,777
0001 0251 GR Account – University of Texas of the Permian Basin Current      13,500          8,223           (188)         7,258         14,277
0001 0252 GR Account – University of Texas Southwestern Medical
           Center Current                                                    24,764          6,631           (201)         4,785         26,409
0001 0253 GR Account – Texas Woman’s University Current                       4,949         20,988           (704)        21,339          3,894
0001 0254 GR Account – Texas A&M University – Kingsville Current              8,708         12,714           (508)        16,923          3,991
0001 0255 GR Account – Texas Tech University Current                         15,396         58,372         (1,800)        54,943         17,025
0001 0256 GR Account – Lamar University Current                               6,485         17,038           (810)        16,978          5,735
0001 0257 GR Account – Texas A&M University – Commerce Current                3,681         15,840           (340)        17,507          1,674
0001 0258 GR Account – University of North Texas Current                     10,406         47,802         (1,745)        50,000          6,463
0001 0259 GR Account – Sam Houston State University Current                  21,040         27,299           (718)        24,799         22,822
0001 0260 GR Account – Texas State University Current                        20,061         43,772         (1,623)        42,037         20,173
0001 0261 GR Account – Stephen F. Austin State University Current             2,068         15,744           (450)        16,925            437



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Schedule II (continued)
Estimated Fund Balances for Fiscal Year 2021
(Thousands of Dollars)

                                                                       Beginning         Estimated     Estimated       Estimated         Ending
Fund Acct                     Fund or Account Name                      Balance           Revenue     Net Transfers   Expenditures       Balance

GROUP 01: GENERAL STATE OPERATING AND DISBURSING FUNDS (continued)
0001 0262 GR Account – Sul Ross State University Current               $     1,845   $        1,679   $       (139) $       1,690    $      1,695
0001 0263 GR Account – West Texas A&M University Current                     1,614           12,743           (600)        13,393             364
0001 0264 GR Account – Midwestern State University Current                   3,326            5,339           (149)         6,734           1,782
0001 0268 GR Account – University of Houston Downtown Current                  999           17,426           (589)        17,835               1
0001 0271 GR Account – University of Texas Health Science Center at
           Houston Current                                                  42,402           23,991         (1,853)        22,416          42,124
0001 0275 GR Account – Texas A&M University at Galveston Current             1,231            3,070           (142)         3,377             782
0001 0279 GR Account – University of Texas Health Science Center at
           San Antonio Current                                               8,464           12,086           (460)        15,875           4,215
0001 0280 GR Account – University of North Texas Health Science Center
           at Fort Worth Current                                             5,126           10,117           (478)        10,170           4,595
0001 0282 GR Account – University of Texas Health Center at Tyler
           Current                                                               0              387           (120)           267               0
0001 0285 GR Account – Lamar State College Orange Current                    1,922            1,969            (64)           850           2,977
0001 0286 GR Account – Lamar State College Port Arthur Current               2,488            1,853            (98)         1,798           2,445
0001 0287 GR Account – Lamar Institute of Technology Current                 1,742            2,102           (149)         2,180           1,515
0001 0289 GR Account – Texas A&M University System Health Science
           Center Current                                                   15,453           16,856           (382)        14,480          17,447
0001 0290 GR Account – Texas A&M University – San Antonio Current            9,521            6,854           (438)         7,612           8,325
0001 0291 GR Account – Texas A&M University – Central Texas Current          1,618            2,412            (78)         2,374           1,578
0001 0292 GR Account – University of North Texas – Dallas Current            4,401            7,113           (490)         7,098           3,926
0001 0293 GR Account – University of Texas – Rio Grande Valley Current      29,210           34,991           (650)        38,741          24,810
0001 0294 GR Account – Texas Tech University Health Sciences Center
           El Paso Current                                                   6,376            3,019            (88)         5,418           3,889
0001 0334 GR Account – Commission on the Arts Operating                          0              152              0            152               0
0001 0341 GR Account – Food and Drug Retail Fee                             15,965            2,621           (469)         1,784          16,333
0001 0412 GR Account – Midwestern State University Special Mineral               0                2              0              2               0
0001 0450 GR Account – Coastal Public Lands Management Fee                     764              312             (9)           280             787
0001 0453 GR Account – Disaster Contingency                                    373                0              0              0             373
0001 0467 GR Account – Texas Recreation and Parks                           27,476            5,332         10,172         18,414          24,566
0001 0468 GR Account – Texas Commission on Environmental Quality
           Occupational Licensing                                           10,351            2,537            (93)         2,165          10,630
0001 0472 GR Account – Inaugural                                               100                0              0              0             100
0001 0492 GR Account – Business Enterprise Program                             258            1,476             (1)         1,666              67
0001 0501 GR Account – Motorcycle Education                                 17,222            1,412             (2)         1,035          17,597
0001 0506 GR Account – Non-Game and Endangered Species Conservation          1,602               36              0             57           1,581
0001 0507 GR Account – State Lease                                           8,362                0              0              0           8,362
0001 0512 GR Account – Bureau of Emergency Management                        5,300            2,639           (366)         2,486           5,087
0001 0524 GR Account – Public Health Services Fees                           5,726           24,667         (1,490)        23,086           5,817
0001 0543 GR Account – Texas Capital Trust                                   4,085            3,802         (1,940)         4,583           1,364
0001 0544 GR Account – Lifetime License Endowment                           27,878            1,513              0            286          29,105
0001 0549 GR Account – Waste Management                                     25,439           42,954         (1,595)        41,400          25,398
0001 0550 GR Account – Hazardous and Solid Waste Remediation Fees           34,193           29,921         (2,329)        32,961          28,824
0001 0570 GR Account – Federal Surplus Property Service Charge               6,539            2,153           (399)         1,666           6,627
0001 0581 GR Account – Bill Blackwood Law Enforcement Management
           Institute                                                         1,653            2,779            (74)         3,308           1,050
0001 0597 GR Account – Texas Racing Commission                               1,398            5,193           (188)         4,294           2,109
0001 0655 GR Account – Petroleum Storage Tank Remediation                  103,633           20,883         (1,828)        27,609          95,079
0001 0664 GR Account – Texas Preservation Trust                                756              249            500            249           1,256
0001 0679 GR Account – Artificial Reef                                      14,150              870             (1)           480          14,539
0001 5000 GR Account – Solid Waste Disposal Fees                           117,026           11,493            (40)         5,533         122,946
0001 5003 GR Account – Hotel Occupancy Tax for Economic Development         98,946                0              0              0          98,946
0001 5004 GR Account – Parks and Wildlife Conservation and Capital          59,124                0         46,086         46,086          59,124
0001 5005 GR Account – Oil Overcharge                                       81,507           11,684         (3,374)        13,796          76,021



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Schedule II (continued)
Estimated Fund Balances for Fiscal Year 2021
(Thousands of Dollars)

                                                                      Beginning         Estimated        Estimated         Estimated         Ending
Fund Acct                    Fund or Account Name                      Balance           Revenue        Net Transfers     Expenditures       Balance

GROUP 01: GENERAL STATE OPERATING AND DISBURSING FUNDS (continued)
0001 5006 GR Account – Attorney General Law Enforcement               $     3,693   $          866      $       1,189     $     2,355    $      3,393
0001 5007 GR Account – Commission on State Emergency
           Communications                                                  49,883           23,110              (3,525)        14,953          54,515
0001 5008 GR Account – Inaugural Endowment                                     84                0                   0              0              84
0001 5009 GR Account – Children with Special Healthcare Needs                 391                0                   0              0             391
0001 5010 GR Account – Sexual Assault Program                              36,361           13,948                (310)        21,215          28,784
0001 5012 GR Account – Crime Stoppers Assistance                              988              473                 (10)           456             995
0001 5013 GR Account – Breath Alcohol Testing                               9,806              738                  (1)         1,513           9,030
0001 5017 GR Account – Asbestos Removal Licensure                          28,001            3,769                 (95)         3,812          27,863
0001 5018 GR Account – Home Health Services                                17,241            8,091                 (16)         7,333          17,983
0001 5020 GR Account – Workplace Chemicals List                             1,260            1,218                 (45)         1,127           1,306
0001 5021 GR Account – Certification of Mammography Systems                 3,943            1,341                 (70)         1,504           3,710
0001 5022 GR Account – Oyster Sales                                           720              291                 (17)           108             886
0001 5024 GR Account – Food and Drug Registration                          39,831           10,254                (621)         9,090          40,374
0001 5025 GR Account – Lottery                                            141,921        2,464,026          (1,718,823)       796,145          90,979
0001 5029 GR Account – Center for Study and Prevention of Juvenile
           Crime and Delinquency                                            8,329            1,615                 (44)         1,957           7,943
0001 5031 GR Account – Excess Benefit Arrangement, Teacher Retirement
           System                                                             283                   0                0              0             283
0001 5039 GR Account – Excess Benefit Arrangement, Employees
           Retirement System                                                  246                0                  0               0              246
0001 5040 GR Account – Tobacco Settlement                                  70,381          456,900             (2,911)        407,705          116,665
0001 5049 GR Account – State Owned Multicategorical Teaching Hospital       5,367                0                439             439            5,367
0001 5050 GR Account – 9-1-1 Service Fees                                  86,234            6,025             26,211          73,000           45,470
0001 5051 GR Account – Go Texan Partner Program                                81                0                  0               0               81
0001 5059 GR Account – Peace Officer Flag                                       9                7                  0               0               16
0001 5060 GR Account – Private Sector Prison Industries                     1,000                0                  0               0            1,000
0001 5064 GR Account – Volunteer Fire Department Assistance                64,771           22,626               (570)         25,118           61,709
0001 5065 GR Account – Environmental Testing Laboratory Accreditation         991              831                  2             906              918
0001 5066 GR Account – Rural Volunteer Fire Department Insurance            4,866                0              2,115           1,899            5,082
0001 5071 GR Account – Emissions Reduction Plan                         1,952,168          101,490            136,602          97,972        2,092,288
0001 5073 GR Account – Fair Defense                                        38,860           37,019              6,211          50,051           32,039
0001 5080 GR Account – Quality Assurance                                    3,726           60,057             11,300          60,000           15,083
0001 5081 GR Account – Barber School Tuition Protection                        25                0                  0               0               25
0001 5083 GR Account – Correctional Management Institute and Criminal
           Justice Center                                                   1,757            1,612                (58)          1,482           1,829
0001 5085 GR Account – Child Abuse Neglect and Prevention Trust             4,160            3,500             (5,686)              0           1,974
0001 5093 GR Account – Dry Cleaning Facility Release                       22,583            3,164                (20)          3,891          21,836
0001 5094 GR Account – Operating Permit Fees                               16,572           39,425             (3,980)         40,433          11,584
0001 5096 GR Account – Perpetual Care                                       7,553              424                  0               0           7,977
0001 5101 GR Account – Subsequent Injury                                   84,518           11,398                  0           9,680          86,236
0001 5103 GR Account – Texas B-On-Time Student Loan                       137,959                0                  0               0         137,959
0001 5105 GR Account – Public Assurance                                     2,644            3,599                  0           4,033           2,210
0001 5106 GR Account – Economic Development Bank                           13,083            1,128             (3,578)            557          10,076
0001 5107 GR Account – Texas Enterprise                                   259,980            2,181            (18,600)              0         243,561
0001 5108 GR Account – EMS, Trauma Facilities, Trauma Care Systems         22,012            2,211                 (3)          2,398          21,822
0001 5111 GR Account – Designated Trauma Facility and EMS                  59,796          107,900            (46,307)         19,279         102,110
0001 5125 GR Account – Childhood Immunization                                 221               68                  0              46             243
0001 5128 GR Account – Employment and Training Investment Holding         374,872          112,988           (487,473)            386               1
0001 5136 GR Account – Cancer Prevention and Research                         848               40                  0              40             848
0001 5138 GR Account – Fire Prevention and Public Safety                       49                0                  0               0              49
0001 5139 GR Account – Historic Site                                        1,677              845             12,033          12,879           1,676
0001 5143 GR Account – Jobs and Education For Texans (JET)                  1,149                0                  0               0           1,149
0001 5144 GR Account – Physician Education Loan Repayment Program          82,631                0                  0          14,947          67,684



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Schedule II (continued)
Estimated Fund Balances for Fiscal Year 2021
(Thousands of Dollars)

                                                                      Beginning         Estimated        Estimated        Estimated           Ending
Fund Acct                     Fund or Account Name                     Balance           Revenue        Net Transfers    Expenditures         Balance

GROUP 01: GENERAL STATE OPERATING AND DISBURSING FUNDS (concluded)
0001 5150 GR Account – Large County and Municipal Recreation and
           Parks                                                      $    17,176   $               0   $           0    $           0    $     17,176
0001 5151 GR Account – Low-Level Radioactive Waste Disposal Compact
           Commission                                                         331                0                325              325             331
0001 5152 GR Account – Alamo Complex                                        5,084            1,574                (15)           4,068           2,575
0001 5153 GR Account – Emergency Radio Infrastructure                      25,682            6,942                (64)           4,493          28,067
0001 5155 GR Account – Oil and Gas Regulation and Cleanup                 139,225           73,614                865           88,571         125,133
0001 5157 GR Account – Statewide Electronic Filing System                  20,777           25,174                  0           20,774          25,177
0001 5158 GR Account – Environmental Radiation and Perpetual Care           6,816            1,545                  0            4,739           3,622
0001 5161 GR Account – Governor’s University Research Initiative           67,686            1,707            (16,925)              38          52,430
0001 5164 GR Account – Truancy Prevention and Diversion                    15,057            4,935                  0            3,097          16,895
0001 5166 GR Account – Deferred Maintenance                                66,131                0             (1,512)          64,619               0
0001 5168 GR Account – Cancer Prevention and Research Interest and
           Sinking                                                          1,479             350                   0             0             1,829
0001 5169 GR Account – Veterans Recovery                                        1               0                   0             0                 1
0001 5170 GR Account – Evidence Testing                                     1,728             800                 224         1,100             1,652
0001 5172 GR Account – Prisoner Safety                                        644               0                   0             0               644
0001 5173 GR Account – Texas Forensic Science Commission                      133             159                   4           153               143
0001 5174 GR Account – Drug Court                                           2,400               0                   0         2,000               400
0001 5177 GR Account – Identification Fee Exemption                           144           1,200                   0             0             1,344
0001 5178 GR Account – State Hemp Program                                     358             724                   0             0             1,082
0001 5184 GR Account – Specialty Court                                      1,017           1,806                   0             0             2,823
0001 5185 GR Account – DNA Testing                                             60             243                   0           299                 4
0001 5186 GR Account – Transportation Administrative Fee                    1,873           7,549                   0         7,549             1,873
0010 0000 Texas Department of Motor Vehicles Fund                         160,705         160,722             (34,243)      101,028           186,156
0053 0000 Charter District Bond Guarantee Reserve Fund                          0          20,560             (20,163)            0               397
0161 0000 TexasSure Fund                                                    6,707           5,074                 (24)        3,470             8,287
0175 0000 Texas Infrastructure Resiliency Fund                            647,134           2,912                 (50)        9,188           640,808
0179 0000 Permanent Fund Supporting Graduate Education                          0          11,000                   0        11,000                 0
0183 0000 Texas Economic Development Fund                                   5,933              50                   0         1,000             4,983
0184 0000 Transportation Infrastructure Fund                               10,321              51                   0             0            10,372
0186 0000 Pesticide Disposal Fund                                               0             400                 400           400               400
0210 0000 Permanent Fund Supporting Military and Veterans Exemptions        1,584               0                   0             0             1,584
0303 0000 Assistant Prosecutor Supplement Fund                                  0           3,000                   0         3,000                 0
0304 0000 Property Tax Relief Fund                                              0       2,084,728                   0     2,084,728                 0
0305 0000 Tax Reduction and Excellence in Education Fund                        0         830,000            (830,000)            0                 0
0326 0000 Charter School Liquidation Fund                                   2,085               0               1,999         2,000             2,084
0327 0000 Texas-bred Incentive Fund                                           237           1,849                   0         1,849               237
0328 0000 Jury Service Fund                                                     0          11,158                   0        11,158                 0
0329 0000 Healthy Texas Small Employer Premium Stabilization Fund          47,827               0                   0             0            47,827
0368 0000 Fund for Veterans’ Assistance                                    41,157           2,965              19,045        19,868            43,299
0373 0000 Freestanding Emergency Medical Care Facility Licensing Fund       9,445           1,013                   0             0            10,458
0827 0000 Anthropogenic Carbon Dioxide Storage Trust Fund                      63              21                   0             0                84
           Total Group 1                                              $ 7,014,914   $ 105,543,328       $ (29,251,435) $ 81,320,048       $ 1,986,759

GROUP 02: CONSTITUTIONAL FUNDS
0001 0469 GR Account – Compensation to Victims of Crime                    43,689           96,284             (1,864)          119,633          18,476
0001 0494 GR Account – Compensation to Victims of Crime Auxiliary           8,250              545             (1,495)              708           6,592
0001 5114 GR Account – Texas Military Value Revolving Loan                     69            2,139             (2,138)                0              70
0002 0000 Available School Fund                                            13,458              867          2,570,153         2,549,478          35,000
0003 0000 State Technology and Instructional Materials Fund               666,415            1,856                  0           376,382         291,889
0006 0000 State Highway Fund                                            7,345,368        7,930,048          5,141,506        12,884,000       7,532,922
0008 0000 State Highway Debt Service Fund                                 211,840           38,094            279,100           433,728          95,306
0011 0000 Available University Fund                                       864,798        1,173,292          1,163,124           793,487       2,407,727



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Schedule II (continued)
Estimated Fund Balances for Fiscal Year 2021
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                                                                      Beginning         Estimated        Estimated       Estimated          Ending
Fund Acct                    Fund or Account Name                      Balance           Revenue        Net Transfers   Expenditures        Balance

GROUP 02: CONSTITUTIONAL FUNDS (continued)
0047 0000 Texas A&M University Available Fund                          $ 557,981    $        2,819      $   278,160 $       261,351     $    577,609
0057 0000 County and Road District Highway Fund                                 0                0            7,300           7,300                0
0194 0000 Flood Infrastructure Fund                                       797,213            3,323                0         386,705          413,831
0211 0000 University of Texas Interest and Sinking Fund                         0               26          265,170         265,170               26
0214 0000 Available National Research University Fund                      50,210              285           24,758          28,325           46,928
0356 0000 Economically Distressed Areas Clearance Fund                        657                5              (20)             20              622
0357 0000 Economically Distressed Areas Clearance Interest and Sinking
           Fund                                                                 9                4           21,965           21,965               13
0358 0000 Agricultural Water Conservation Fund                              6,828              194              381            1,200            6,203
0361 0000 State Water Implementation Fund                                 175,604              790          (60,636)               0          115,758
0365 0000 Texas Mobility Fund                                             358,700          545,730          (92,552)         489,157          322,721
0370 0000 Texas Water Development Fund II Clearance Fund                   91,113            2,000           (2,000)           2,000           89,113
0371 0000 Texas Water Development Fund II                                  66,243          100,251          (50,000)          50,000           66,494
0372 0000 Texas Water Development Fund II Interest and Sinking Fund            27               50           50,000           50,000               77
0383 0000 Veterans Housing Program, Tax-Exempt Issues                     138,303          229,934          (32,828)         213,503          121,906
0384 0000 Veterans Housing Program, Taxable Issues                         10,058           79,826           (8,503)          63,030           18,351
0385 0000 Veterans Land Program, Tax-Exempt Issues                            355              895             (349)             901                0
0387 0000 Texas Opportunity Plan Fund                                      77,911                0           14,918               54           92,775
0388 0000 Texas College Student Loan Bonds Interest and Sinking Fund      116,894          163,710          (84,000)          36,000          160,604
0480 0000 Water Assistance Fund                                             5,100              240             (690)             338            4,312
0482 0000 Storage Acquisition Fund                                              0               23              (23)               0                0
0483 0000 Research and Planning Fund                                        2,574                0            5,090            4,727            2,937
0522 0000 Veterans Land Program Administration Fund                         6,532               30           22,925           22,443            7,044
0529 0000 Veterans Housing Assistance Series 1984A Fund                     2,985           18,403            6,280           24,056            3,612
0571 0000 Veterans Land Bond Series 1986 Refunding Fund                     5,262            4,251           (9,513)               0                0
0588 0000 Small Business Incubator Fund                                    21,110              334               (5)           2,690           18,749
0589 0000 Texas Product Development Fund                                    9,632            1,194             (195)             389           10,242
0590 0000 Veterans Housing Assistance Bonds Series 1992 Fund                8,715           24,957             (430)          10,000           23,242
0599 0000 Economic Stabilization Fund                                   5,895,954           20,503          833,688        2,263,014        4,487,131
0601 0000 Student Loan Auxiliary Fund                                     123,635                0           86,440          148,000           62,075
0626 0000 Veterans Bonds Activity Series 1989 Fund                            410              300                0                0              710
0683 0000 Texas Agricultural Fund                                          17,600              870                0           (1,063)          19,533
7013 0000 TPFA GO Series 2002A Interest and Sinking Fund                       17                0                0                0               17
7020 0000 TPFA GO Commercial Paper Series 2002B Colonias Rebate
           Fund                                                               158                   0              0               0             158
7030 0000 TPFA GO Series 2007 TDJC and TFC Interest and Sinking
           Fund                                                                 1                   0              0               0                  1
7033 0000 TPFA GO Commercial Paper Series 2008 Interest and Sinking
           Fund                                                                 0                   0          5,656           5,656                  0
7039 0000 TPFA GO Series 2008A Refunding Interest and Sinking Fund              1                   0              0               0                  1
7040 0000 TPFA GO Series 2009B Interest and Sinking Fund                        8                   0              0               0                  8
7042 0000 TPFA GO Commercial Paper Series A&B Cancer Project
           Interest and Sinking Fund                                        1,194                   0          1,500          1,500            1,194
7045 0000 TPFA GO Series 2009A Refunding Interest and Sinking Fund             13                   0              0              0               13
7048 0000 TPFA GO Series 2010 Refunding Interest and Sinking Fund               0                   1         10,780         10,780                1
7049 0000 TPFA GO Series 2011 Refunding Interest and Sinking Fund               1                   2         32,503         32,503                3
7051 0000 TPFA GO Taxable Series 2011 Refunding Interest and Sinking
           Fund                                                                 1                   1         16,132         16,132                   2
7053 0000 TPFA GO Series 2013 Refunding Interest and Sinking Fund               0                   0          4,662          4,662                   0
7056 0000 TPFA GO Series 2014A Refunding Interest and Sinking Fund              1                   1         22,746         22,746                   2
7058 0000 TPFA GO Taxable Series 2014B Refunding Interest and Sinking
           Fund                                                                 1                   1         18,058         18,058                   2
7059 0000 TPFA GO Series 2015A Refunding Interest and Sinking Fund              0                   1         19,339         19,339                   1




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                                                                         Beginning         Estimated        Estimated       Estimated         Ending
Fund Acct                      Fund or Account Name                       Balance           Revenue        Net Transfers   Expenditures       Balance

GROUP 02: CONSTITUTIONAL FUNDS (continued)
7061 0000 TPFA GO and Refunding Bonds (CPRIT), Series 2015C,
           Interest and Sinking Fund                                     $        1    $               2   $     27,640    $    27,640    $             3
7063 0000 TPFA GO Refunding Bonds, Series 2016, Interest and Sinking
           Fund                                                                   1                    1         22,525         22,525                  2
7065 0000 TPFA GO Refunding Bonds, (TMPC) Series 2016, Interest and
           Sinking Fund                                                           1                    0          2,138          2,138                  1
7067 0000 TPFA GO and Refunding Bonds (CPRIT), Series 2017, Interest
           and Sinking Fund                                                       1                    2         29,012         29,012                  3
7069 0000 TPFA GO Refunding Bonds, Series 2017A, Interest and Sinking
           Fund                                                                   1                    1         12,621         12,621                  2
7071 0000 TPFA GO Refunding Bonds, Series 2017B, Interest and Sinking
           Fund                                                                   0                    0          2,796          2,796                  0
7073 0000 TPFA GO Refunding Bonds Taxable Series 2018 CPRIT Interest
           and Sinking Fund                                                       1                    2         25,396         25,396                  3
7075 0000 TPFA GO Refunding Bonds, Series 2018A, Interest and Sinking
           Fund                                                                   1                    1         12,394         12,394                  2
7077 0000 TPFA GO and Refunding Bonds, Taxable Series 2020, Interest
           and Sinking Fund                                                       0                    2         30,186         30,186                  2
7078 0000 TPFA GO and Refunding Bonds, Taxable Series 2020, Cost of
           Issuance Fund                                                         49                    0              0              0              49
7201 0000 TPFA GO Commercial Paper Series 2002A TDH Project A
           Fund                                                                    6                   0              0              0               6
7207 0000 TPFA GO Series 2007 TFC Project Fund                                    67                   0              0              0              67
7209 0000 TPFA GO Series 2008A Refunding DPS Project Fund                        818                   2              2            752              70
7211 0000 TPFA GO Series 2009B DPS Project Fund                                1,937                   5              5          1,781             166
7213 0000 TPFA GO Series 2009B THC Project Fund                                2,057                   6              6          1,891             178
7216 0000 TPFA GO Series 2011 Refunding TSBVI Project Fund                         1                   0              0              0               1
7217 0000 TPFA GO Series 2011 Refunding TFC Project Fund                         264                   1              1            243              23
7604 0000 TPFA GO Commercial Paper Series 2002B Colonias Project
           Fund                                                                1,173                   3              3          1,078             101
7616 0000 TPFA GO Commercial Paper Series 2002A MHMR Project B
           Fund                                                                    2                0                 0              0               2
7618 0000 TPFA GO Commercial Paper Series 2002A DPS Project B Fund               775                0                 0              0             775
7628 0000 TPFA GO Commercial Paper Series 2002A TYC Project C Fund                45                0                 0              0              45
7629 0000 TPFA GO Commercial Paper Series 2008 DPS Project 1A Fund             5,053               45             9,395          4,996           9,497
7633 0000 TPFA GO Commercial Paper Series 2008 TFC Project 1A Fund                 3                0                 0              0               3
7636 0000 TPFA GO Commercial Paper Series 2008 THC Project 1A Fund                77                0                 0              0              77
7637 0000 TPFA GO Commercial Paper Series 2008 TYC Project 1A Fund                97                0                 0              0              97
7639 0000 TPFA Cancer Prevention and Research Institute of Texas Project
           Fund                                                              107,694              727          261,027         123,564         245,884
7640 0000 TPFA GO Commercial Paper Series 2002A TFC Project C Fund                20                0                0               0              20
7641 0000 TPFA GO Commercial Paper Series 2008 TFC Project 1B Fund                 1                0                0               0               1
7645 0000 TPFA GO Commercial Paper Series 2008 TYC Project 1B Fund                21                0                0               0              21
7647 0000 TPFA GO Commercial Paper Series 2008 TPWD Project 1B
           Fund                                                                 399                    1              1            367              34
7648 0000 TPFA GO Commercial Paper Series 2008 DPS Project 1B Fund              602                    0              0              0             602
7649 0000 TPFA GO Commercial Paper Series 2008 Adjutant General
           Project 1B Fund                                                       15                    0              0              0              15
7650 0000 TPFA GO Commercial Paper Series 2008 THC Project 1C Fund              254                    1              1            233              23
7651 0000 TPFA GO Commercial Paper Series 2008 DSHS Project 1C
           Fund                                                                 358                    3          1,003          1,247             117
7652 0000 TPFA GO Commercial Paper Series 2008 TFC Project 1C Fund              699                    2              2            643              60
7654 0000 TPFA GO Commercial Paper Series 2008 TPWD Project 1C
           Fund                                                                2,440               11             1,161          2,333           1,279



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                                                                       Beginning        Estimated        Estimated         Estimated           Ending
Fund Acct                     Fund or Account Name                      Balance          Revenue        Net Transfers     Expenditures         Balance

GROUP 02: CONSTITUTIONAL FUNDS (concluded)
7656 0000 TPFA GO Commercial Paper Series 2008 DPS Project 1C Fund $      1,401     $               5   $         605     $       1,839    $        172
7657 0000 TPFA GO Commercial Paper Series 2008 TFC Project 1D Fund          554                     2             533               997              92
7658 0000 TPFA GO Commercial Paper Series 2008 DADS Project 1C
           Fund                                                             647                     7            1,707              929           1,432
7659 0000 TPFA GO Commercial Paper Series 2008 TPWD Project 1D
           Fund                                                           1,209                 11               3,011            2,448           1,783
7660 0000 TPFA GO Commercial Paper Series 2008 DSHS Project 1D
           Fund                                                           1,101                4                   4               554              555
7662 0000 TPFA GO Commercial Paper Series 2008 THC Project 1D Fund          158                0                   0               134               24
           Total Group 2                                           $ 17,832,902     $ 10,444,926        $ 10,998,268      $ 21,950,804     $ 17,325,292

GROUP 03: FEDERAL FUNDS
0001 0037 GR Account – Federal Child Welfare Service                            0          509,161            (509,161)                0              0
0001 0092 GR Account – Federal Disaster                                     9,966          202,788             (30,139)          176,000          6,615
0001 0118 GR Account – Federal Public Library Service                         146           11,834                (460)           10,988            532
0001 0127 GR Account – Community Affairs Federal                           30,762          281,573                (104)          252,373         59,858
0001 0148 GR Account – Federal Health, Education and Welfare               11,515        3,364,884             (55,000)        3,309,884         11,515
0001 0171 GR Account – Federal School Lunch                                     0        2,246,334                (140)        2,246,194              0
0001 0221 GR Account – Federal Civil Defense and Disaster Relief              111              282                   0               146            247
0001 0222 GR Account – Department of Public Safety Federal                    323            1,915                   0             1,900            338
0001 0223 GR Account – Federal Land and Water Conservation                      9                0                   0                 0              9
0001 0224 GR Account – Governor’s Office Federal Projects                  26,315          108,529              (5,706)          104,926         24,212
0001 0273 GR Account – Federal Health and Health Lab Funding Excess
           Revenue                                                         32,058        301,277               (32,958)      254,747            45,630
0001 0421 GR Account – Criminal Justice Planning                           31,777        234,933                (8,485)      257,129             1,096
0001 0449 GR Account – Texas Military Federal                              11,199         66,834                (2,063)       59,251            16,719
0001 0454 GR Account – Federal Land Reclamation                               413              0                     0             0               413
0001 5026 GR Account – Workforce Commission Federal                        31,218      1,744,301               (22,329)    1,704,561            48,629
0001 5041 GR Account – Railroad Commission Federal                         10,289          3,040                   (11)        3,040            10,278
0001 5091 GR Account – Office of Rural Community Affairs Federal            6,255         68,166                   (30)       68,136             6,255
0001 5095 GR Account – Election Improvement                                33,272             90                (1,500)       15,327            16,535
0001 5109 GR Account – Medicaid Recovery 42 U.S.C §1396p                        0          2,300                     0         2,300                 0
0325 0000 Coronavirus Relief Fund                                       6,920,164     17,775,049               (48,502)   21,396,130         3,250,581
0369 0000 Federal American Recovery and Reinvestment Fund                  25,966          6,279                (6,141)        9,000            17,104
           Total Group 3                                              $ 7,181,758   $ 26,929,569        $     (722,729) $ 29,872,032       $ 3,516,566

GROUP 04: PLEDGED FUNDS
0001 0193 GR Account – Foundation School                                  738,398        2,814,010          17,809,220        21,361,628              0
0001 0540 GR Account – Judicial and Court Personnel Training                5,986           12,271                 (10)           11,004          7,243
0301 0000 Rural Water Assistance Fund                                       2,068            2,700                 (71)            2,651          2,046
0302 0000 Water Infrastructure Fund                                        75,851           12,307              47,617            64,851         70,924
0364 0000 Permanent Endowment Fund for the Rural Community Health
           Care Investment Program                                            296              122                   0              140             278
0374 0000 Veterans Financial Assistance Program Fund                       31,639          105,286              (1,960)         100,154          34,811
0493 0000 Endowment Fund for the Blind                                          2                8                   0                8               2
0573 0000 Judicial Fund                                                     9,863           77,789               2,058           80,181           9,529
0577 0000 Tax and Revenue Anticipation Note Fund                           71,989          295,182             (34,714)         282,990          49,467
0733 0000 TPFA Series B Master Lease Interest and Sinking Fund              5,132               23               8,878            8,878           5,155
0735 0000 TPFA Series B Master Lease Project Fund                             869                6                   6              802              79
7342 0000 TPFA Revenue Refunding Series 2015A TFC Interest and
           Sinking Fund                                                        0                    0            1,007             1,007                 0
7344 0000 TPFA Revenue Refunding Series 2015B TMD Interest and
           Sinking Fund                                                        0                    0            1,259             1,259                 0
7352 0000 TPFA Revenue Commercial Paper Series 2016 A&B TFC
           Interest and Sinking Fund                                           0                    1          15,985            15,985                  1


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Fund Acct                    Fund or Account Name                      Balance           Revenue        Net Transfers   Expenditures       Balance

GROUP 04: PLEDGED FUNDS (concluded)
7354 0000 TPFA Revenue Refunding Series 2017 THC Interest and Sinking
           Fund                                                       $         0   $               0   $       551     $       551    $             0
7356 0000 TPFA Lease Revenue and Refunding (TFC Project) Tax-Exempt
           Interest and Sinking Fund                                            0                   1         20,690          20,690                 1
7516 0000 TPFA Lease Revenue and Refunding (TFC Project)
           Tax-Exempt Project Fund                                        111,620              720          240,720          275,923         77,137
7800 0000 TPFA Revenue Commercial Paper Series 2016 A&B TFC
           Project Fund                                                     9,362               26                26           8,608            806
7802 0000 TPFA Revenue Commercial Paper Series 2019A (HHSC
           Deferred Maintenance) Project Fund                                   0               38            57,841          47,892          9,987
           Total Group 4                                              $ 1,063,075   $    3,320,490      $ 18,169,103    $ 22,285,202   $    267,466

GROUP 05: CONSTITUTIONAL NONEXPENDABLE FUNDS
0044 0000 Permanent School Fund                                        3,209,443         1,004,485        (2,475,572)         99,827     1,638,529
0045 0000 Permanent University Fund                                          528           594,918          (594,716)              0           730
           Total Group 5                                             $ 3,209,971    $    1,599,403      $ (3,070,288) $       99,827   $ 1,639,259

GROUP 12: RESTRICTED FUNDS
0001 5044 GR Account – Permanent Fund for Health And Tobacco
           Education and Enforcement                                        1,573              425              (629)           425             944
0001 5045 GR Account – Permanent Fund for Children and Public Health          302              213              (213)           213              89
0001 5046 GR Account – Permanent Fund for Emergency Medical Services
           and Trauma Care                                                  1,165              213              (213)           213             952
0001 5047 GR Account – Permanent Fund for Rural Health Facility
           Capital Improvement                                              2,447            1,701                 0           1,984          2,164
0001 5048 GR Account – Permanent Hospital Fund for Capital
           Improvements and the Texas Center for Infectious Disease            96              850              (451)            451             44
0001 5149 GR Account – BP Oil Spill Texas Response Grant                      109                0                 0               0            109
           Total Group 12                                            $      5,692   $        3,402      $     (1,506) $        3,286   $      4,302

TOTAL FOR ALL GROUPS                                                 $ 36,308,312   $ 147,841,118       $ (3,878,587) $ 155,531,199    $ 24,739,644




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     Schedule III
     Estimated Fund Balances of the General Revenue-Dedicated
     Accounts for Fiscal Year 2021
     (Thousands of Dollars)

                                                                                                Beginning    Ending
     Fund Acct                                   Fund or Account Name                            Balance     Balance

     3.1 - General Revenue-Dedicated Accounts Used for Certification
     GROUP 01: GENERAL STATE OPERATING AND DISBURSING FUNDS
     0001 0009 GR Account – Game, Fish, and Water Safety                                        $ 127,199   $ 139,230
     0001 0019 GR Account – Vital Statistics                                                       19,066      18,519
     0001 0027 GR Account – Coastal Protection                                                     10,636      14,548
     0001 0028 GR Account – Appraiser Registry                                                          1           1
     0001 0036 GR Account – Texas Department of Insurance Operating                               177,782     160,517
     0001 0064 GR Account – State Parks                                                            66,168      69,048
     0001 0088 GR Account – Low-Level Radioactive Waste                                            23,749      22,595
     0001 0099 GR Account – Operators and Chauffeurs License                                          403         403
     0001 0107 GR Account – Comprehensive Rehabilitation                                            1,642       1,642
     0001 0108 GR Account – Private Beauty Culture School Tuition Protection                          202         202
     0001 0116 GR Account – Texas Commission on Law Enforcement                                    10,094       5,971
     0001 0129 GR Account – Hospital Licensing                                                     26,410      26,237
     0001 0151 GR Account – Clean Air                                                             289,985     312,242
     0001 0153 GR Account – Water Resource Management                                              66,312      68,426
     0001 0158 GR Account – Watermaster Administration                                              2,230       2,704
     0001 0165 GR Account – Unemployment Compensation Special Administration                       27,939      22,898
     0001 0225 GR Account – University of Houston Current                                         104,481     163,839
     0001 0227 GR Account – Angelo State University Current                                         2,891       2,880
     0001 0228 GR Account – University of Texas at Tyler Current                                    9,761      11,496
     0001 0229 GR Account – University of Houston – Clear Lake Current                             10,852       8,341
     0001 0230 GR Account – Texas A&M University – Corpus Christi Current                          11,943      11,405
     0001 0231 GR Account – Texas A&M International University Current                             13,333      14,677
     0001 0232 GR Account – Texas A&M University – Texarkana Current                                2,343         770
     0001 0233 GR Account – University of Houston – Victoria Current                                  841         224
     0001 0236 GR Account – University of Texas System Cancer Center Current                        1,178         968
     0001 0237 GR Account – Texas State Technical College System Current                            8,784       9,647
     0001 0238 GR Account – University of Texas at Dallas Current                                  20,800      13,422
     0001 0239 GR Account – Texas Tech University Health Sciences Center Current                   17,943      17,873
     0001 0242 GR Account – Texas A&M University Current                                            6,641           0
     0001 0243 GR Account – Tarleton State University Current                                       3,076       1,402
     0001 0244 GR Account – University of Texas at Arlington Current                               24,870      20,225
     0001 0245 GR Account – Prairie View A&M University Current                                    17,574      14,664
     0001 0246 GR Account – University of Texas Medical Branch at Galveston Current                     0           0
     0001 0247 GR Account – Texas Southern University Current                                      17,029      16,134
     0001 0248 GR Account – University of Texas at Austin Current                                 122,365     103,032
     0001 0249 GR Account – University of Texas at San Antonio Current                             12,970       9,915
     0001 0250 GR Account – University of Texas at El Paso Current                                  4,337       2,777
     0001 0251 GR Account – University of Texas of the Permian Basin Current                       13,500      14,277
     0001 0252 GR Account – University of Texas Southwestern Medical Center Current                24,764      26,409
     0001 0253 GR Account – Texas Woman's University Current                                        4,949       3,894
     0001 0254 GR Account – Texas A&M University – Kingsville Current                               8,708       3,991
     0001 0255 GR Account – Texas Tech University Current                                          15,396      17,025
     0001 0256 GR Account – Lamar University Current                                                6,485       5,735
     0001 0257 GR Account – Texas A&M University – Commerce Current                                 3,681       1,674
     0001 0258 GR Account – University of North Texas Current                                      10,406       6,463
     0001 0259 GR Account – Sam Houston State University Current                                   21,040      22,822
     0001 0260 GR Account – Texas State University Current                                         20,061      20,173
     0001 0261 GR Account – Stephen F. Austin State University Current                              2,068         437
     0001 0262 GR Account – Sul Ross State University Current                                       1,845       1,695
     0001 0263 GR Account – West Texas A&M University Current                                       1,614         364



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Schedule III (continued)
Estimated Fund Balances of the General Revenue-Dedicated
Accounts for Fiscal Year 2021
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                                                                                                      Beginning         Ending
Fund Acct                                    Fund or Account Name                                      Balance          Balance

3.1 - General Revenue-Dedicated Accounts Used for Certification (continued)
GROUP 01: GENERAL STATE OPERATING AND DISBURSING FUNDS (continued)
0001 0264 GR Account – Midwestern State University Current                                           $     3,326    $      1,782
0001 0268 GR Account – University of Houston Downtown Current                                                999               1
0001 0271 GR Account – University of Texas Health Science Center at Houston Current                       42,402          42,124
0001 0275 GR Account – Texas A&M University at Galveston Current                                           1,231             782
0001 0279 GR Account – University of Texas Health Science Center at San Antonio Current                    8,464           4,215
0001 0280 GR Account – University of North Texas Health Science Center at Fort Worth Current               5,126           4,595
0001 0282 GR Account – University of Texas Health Center at Tyler Current                                      0               0
0001 0285 GR Account – Lamar State College Orange Current                                                  1,922           2,977
0001 0286 GR Account – Lamar State College Port Arthur Current                                             2,488           2,445
0001 0287 GR Account – Lamar Institute of Technology Current                                               1,742           1,515
0001 0289 GR Account – Texas A&M University System Health Science Center Current                          15,453          17,447
0001 0290 GR Account – Texas A&M University – San Antonio Current                                          9,521           8,325
0001 0291 GR Account – Texas A&M University – Central Texas Current                                        1,618           1,578
0001 0292 GR Account – University of North Texas – Dallas Current                                          4,401           3,926
0001 0293 GR Account – University of Texas – Rio Grande Valley Current                                    29,210          24,810
0001 0294 GR Account – Texas Tech University Health Sciences Center El Paso Current                        6,376           3,889
0001 0334 GR Account – Commission on the Arts Operating                                                        0               0
0001 0341 GR Account – Food and Drug Retail Fee                                                           15,965          16,333
0001 0412 GR Account – Midwestern State University Special Mineral                                             0               0
0001 0450 GR Account – Coastal Public Lands Management Fee                                                   764             787
0001 0453 GR Account – Disaster Contingency                                                                  373             373
0001 0467 GR Account – Texas Recreation and Parks                                                         27,476          24,566
0001 0468 GR Account – Texas Commission on Environmental Quality Occupational Licensing                   10,351          10,630
0001 0472 GR Account – Inaugural                                                                             100             100
0001 0492 GR Account – Business Enterprise Program                                                           258              67
0001 0501 GR Account – Motorcycle Education                                                               17,222          17,597
0001 0506 GR Account – Non-Game and Endangered Species Conservation                                        1,602           1,581
0001 0507 GR Account – State Lease                                                                         8,362           8,362
0001 0512 GR Account – Bureau of Emergency Management                                                      5,300           5,087
0001 0524 GR Account – Public Health Services Fees                                                         5,726           5,817
0001 0543 GR Account – Texas Capital Trust                                                                 4,085           1,364
0001 0544 GR Account – Lifetime License Endowment                                                         27,878          29,105
0001 0549 GR Account – Waste Management                                                                   25,439          25,398
0001 0550 GR Account – Hazardous and Solid Waste Remediation Fees                                         34,193          28,824
0001 0570 GR Account – Federal Surplus Property Service Charge                                             6,539           6,627
0001 0581 GR Account – Bill Blackwood Law Enforcement Management Institute                                 1,653           1,050
0001 0597 GR Account – Texas Racing Commission                                                             1,398           2,109
0001 0655 GR Account – Petroleum Storage Tank Remediation                                                103,633          95,079
0001 0664 GR Account – Texas Preservation Trust                                                              756           1,256
0001 0679 GR Account – Artificial Reef                                                                    14,150          14,539
0001 5000 GR Account – Solid Waste Disposal Fees                                                         117,026         122,946
0001 5003 GR Account – Hotel Occupancy Tax for Economic Development                                       98,946          98,946
0001 5004 GR Account – Parks and Wildlife Conservation and Capital                                        59,124          59,124
0001 5006 GR Account – Attorney General Law Enforcement                                                    3,693           3,393
0001 5007 GR Account – Commission on State Emergency Communications                                       49,883          54,515
0001 5008 GR Account – Inaugural Endowment                                                                    84              84
0001 5009 GR Account – Children with Special Healthcare Needs                                                391             391
0001 5010 GR Account – Sexual Assault Program                                                             36,361          28,784
0001 5012 GR Account – Crime Stoppers Assistance                                                             988             995
0001 5013 GR Account – Breath Alcohol Testing                                                              9,806           9,030



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     Schedule III (continued)
     Estimated Fund Balances of the General Revenue-Dedicated
     Accounts for Fiscal Year 2021
     (Thousands of Dollars)

                                                                                                      Beginning           Ending
     Fund Acct                                    Fund or Account Name                                 Balance            Balance

     3.1 - General Revenue-Dedicated Accounts Used for Certification (continued)
     GROUP 01: GENERAL STATE OPERATING AND DISBURSING FUNDS (continued)
     0001 5017 GR Account – Asbestos Removal Licensure                                                $      28,001   $      27,863
     0001 5018 GR Account – Home Health Services                                                             17,241          17,983
     0001 5020 GR Account – Workplace Chemicals List                                                          1,260           1,306
     0001 5021 GR Account – Certification of Mammography Systems                                              3,943           3,710
     0001 5022 GR Account – Oyster Sales                                                                        720             886
     0001 5024 GR Account – Food and Drug Registration                                                       39,831          40,374
     0001 5029 GR Account – Center for Study and Prevention of Juvenile Crime and Delinquency                 8,329           7,943
     0001 5031 GR Account – Excess Benefit Arrangement, Teacher Retirement System                               283             283
     0001 5039 GR Account – Excess Benefit Arrangement, Employees Retirement System                             246             246
     0001 5040 GR Account – Tobacco Settlement                                                               70,381         116,665
     0001 5049 GR Account – State Owned Multicategorical Teaching Hospital                                    5,367           5,367
     0001 5050 GR Account – 9-1-1 Service Fees                                                               86,234          45,470
     0001 5051 GR Account – Go Texan Partner Program                                                             81              81
     0001 5059 GR Account – Peace Officer Flag                                                                    9              16
     0001 5060 GR Account – Private Sector Prison Industries                                                  1,000           1,000
     0001 5064 GR Account – Volunteer Fire Department Assistance                                             64,771          61,709
     0001 5065 GR Account – Environmental Testing Laboratory Accreditation                                      991             918
     0001 5066 GR Account – Rural Volunteer Fire Department Insurance                                         4,866           5,082
     0001 5071 GR Account – Emissions Reduction Plan                                                      1,952,168       2,092,288
     0001 5073 GR Account – Fair Defense                                                                     38,860          32,039
     0001 5080 GR Account – Quality Assurance                                                                 3,726          15,083
     0001 5081 GR Account – Barber School Tuition Protection                                                     25              25
     0001 5083 GR Account – Correctional Management Institute and Criminal Justice Center                     1,757           1,829
     0001 5085 GR Account – Child Abuse Neglect and Prevention Trust                                          4,160           1,974
     0001 5093 GR Account – Dry Cleaning Facility Release                                                    22,583          21,836
     0001 5094 GR Account – Operating Permit Fees                                                            16,572          11,584
     0001 5096 GR Account – Perpetual Care                                                                    7,553           7,977
     0001 5101 GR Account – Subsequent Injury                                                                84,518          86,236
     0001 5103 GR Account – Texas B-On-Time Student Loan                                                    137,959         137,959
     0001 5105 GR Account – Public Assurance                                                                  2,644           2,210
     0001 5106 GR Account – Economic Development Bank                                                        13,083          10,076
     0001 5108 GR Account – EMS, Trauma Facilities, Trauma Care Systems                                      22,012          21,822
     0001 5111 GR Account – Designated Trauma Facility and EMS                                               59,796         102,110
     0001 5125 GR Account – Childhood Immunization                                                              221             243
     0001 5128 GR Account – Employment And Training Investment Holding                                      374,872               1
     0001 5136 GR Account – Cancer Prevention And Research                                                      848             848
     0001 5138 GR Account – Fire Prevention and Public Safety                                                    49              49
     0001 5139 GR Account – Historic Site                                                                     1,677           1,676
     0001 5143 GR Account – Jobs and Education For Texans (JET)                                               1,149           1,149
     0001 5144 GR Account – Physician Education Loan Repayment Program                                       82,631          67,684
     0001 5150 GR Account – Large County and Municipal Recreation and Parks                                  17,176          17,176
     0001 5151 GR Account – Low-Level Radioactive Waste Disposal Compact Commission                             331             331
     0001 5152 GR Account – Alamo Complex                                                                     5,084           2,575
     0001 5153 GR Account – Emergency Radio Infrastructure                                                   25,682          28,067
     0001 5155 GR Account – Oil and Gas Regulation and Cleanup                                              139,225         125,133
     0001 5158 GR Account – Environmental Radiation and Perpetual Care                                        6,816           3,622
     0001 5164 GR Account – Truancy Prevention and Diversion                                                 15,057          16,895
     0001 5166 GR Account – Deferred Maintenance                                                             66,131               0
     0001 5168 GR Account – Cancer Prevention and Research Interest and Sinking                               1,479           1,829
     0001 5169 GR Account – Veterans Recovery                                                                     1               1



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Schedule III (continued)
Estimated Fund Balances of the General Revenue-Dedicated
Accounts for Fiscal Year 2021
(Thousands of Dollars)

                                                                                                 Beginning         Ending
Fund Acct                                   Fund or Account Name                                  Balance          Balance

3.1 - General Revenue-Dedicated Accounts Used for Certification (concluded)
GROUP 01: GENERAL STATE OPERATING AND DISBURSING FUNDS (concluded)
0001 5170 GR Account – Evidence Testing                                                         $     1,728    $     1,652
0001 5172 GR Account – Prisoner Safety                                                                  644            644
0001 5173 GR Account – Texas Forensic Science Commission                                                133            143
0001 5174 GR Account – Drug Court                                                                     2,400            400
0001 5177 GR Account – Identification Fee Exemption                                                     144          1,344
0001 5178 GR Account – State Hemp Program                                                               358          1,082
0001 5184 GR Account – Specialty Court                                                                1,017          2,823
0001 5185 GR Account – DNA Testing                                                                       60              4
0001 5186 GR Account – Transportation Administrative Fee                                              1,873          1,873
           Total Group 1                                                                        $ 5,669,907    $ 5,368,297

GROUP 03: FEDERAL FUNDS
0001 0037 GR Account – Federal Child Welfare Service                                                    0              0
0001 0092 GR Account – Federal Disaster                                                             9,966          6,615
0001 0118 GR Account – Federal Public Library Service                                                 146            532
0001 0127 GR Account – Community Affairs Federal                                                   30,762         59,858
0001 0148 GR Account – Federal Health, Education and Welfare                                       11,515         11,515
0001 0171 GR Account – Federal School Lunch                                                             0              0
0001 0221 GR Account – Federal Civil Defense and Disaster Relief                                      111            247
0001 0222 GR Account – Department of Public Safety Federal                                            323            338
0001 0223 GR Account – Federal Land and Water Conservation                                              9              9
0001 0224 GR Account – Governor’s Office Federal Projects                                          26,315         24,212
0001 0273 GR Account – Federal Health and Health Lab Funding Excess Revenue                        32,058         45,630
0001 0421 GR Account – Criminal Justice Planning                                                   31,777          1,096
0001 0449 GR Account – Texas Military Federal                                                      11,199         16,719
0001 0454 GR Account – Federal Land Reclamation                                                       413            413
0001 5026 GR Account – Workforce Commission Federal                                                31,218         48,629
0001 5041 GR Account – Railroad Commission Federal                                                 10,289         10,278
0001 5091 GR Account – Office of Rural Community Affairs Federal                                    6,255          6,255
0001 5109 GR Account – Medicaid Recovery 42 U.S.C §1396p                                                0              0
           Total Group 3                                                                        $ 202,356      $ 232,346

GROUP 04: PLEDGED FUNDS
0001 0193 GR Account – Foundation School                                                          738,398                    0
           Total Group 4                                                                        $ 738,398      $             0

GROUP 12: RESTRICTED FUNDS
0001 5044 GR Account – Permanent Fund for Health And Tobacco Education and Enforcement               1,573              944
0001 5045 GR Account – Permanent Fund for Children and Public Health                                   302               89
0001 5046 GR Account – Permanent Fund for Emergency Medical Services and Trauma Care                 1,165              952
0001 5047 GR Account – Permanent Fund for Rural Health Facility Capital Improvement                  2,447            2,164
0001 5048 GR Account – Permanent Hospital Fund for Capital Improvements and the Texas Center
           for Infectious Disease                                                                       96               44
           Total Group 12                                                                       $    5,583     $      4,193

TOTAL FOR ALL GROUPS                                                                            $ 6,616,244    $ 5,604,836




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     Schedule III (concluded)
     Estimated Fund Balances of the General Revenue-Dedicated
     Accounts for Fiscal Year 2021
     (Thousands of Dollars)

                                                                                         Beginning        Ending
     Fund Acct                                   Fund or Account Name                     Balance         Balance

     3.2 - General Revenue-Dedicated Accounts Not Used for Certification
     GROUP 01: GENERAL STATE OPERATING AND DISBURSING FUNDS
     0001 5005 GR Account – Oil Overcharge                                               $  81,507    $  76,021
     0001 5025 GR Account – Lottery                                                        141,921       90,979
     0001 5107 GR Account – Texas Enterprise                                               259,980      243,561
     0001 5157 GR Account – Statewide Electronic Filing System                              20,777       25,177
     0001 5161 GR Account – Governor’s University Research Initiative                       67,686       52,430
                Total Group 1                                                            $ 571,871    $ 488,168

     GROUP 02: CONSTITUTIONAL FUNDS
     0001 0469 GR Account – Compensation to Victims of Crime                                 43,689         18,476
     0001 0494 GR Account – Compensation to Victims of Crime Auxiliary                        8,250          6,592
     0001 5114 GR Account – Texas Military Value Revolving Loan                                  69             70
                Total Group 2                                                            $   52,008   $     25,138

     GROUP 03: FEDERAL FUNDS
     0001 5095 GR Account – Election Improvement                                             33,272         16,535
                Total Group 3                                                            $   33,272   $     16,535

     GROUP 04: PLEDGED FUNDS
     0001 0540 GR Account – Judicial and Court Personnel Training                             5,986          7,243
                Total Group 4                                                            $    5,986   $      7,243

     GROUP 12: RESTRICTED FUNDS
     0001 5149 GR Account – BP Oil Spill Texas Response Grant                                  109            109
                Total Group 12                                                           $     109    $       109

     TOTAL FOR ALL GROUPS                                                                $ 663,246    $ 537,193




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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                             §
 STATE OF TEXAS, STATE OF MISSISSIPPI,       §
 STATE OF LOUISIANA,                         §
                                             §
       Plaintiffs,                           §
                                             §    Case No. 2:21-cv-00079-Z
 v.                                          §
                                             §
 JANET YELLEN, IN HER OFFICIAL CAPACITY      §
 AS SECRETARY OF THE TREASURY, ET AL.,       §
                                             §
       Defendants.                           §
                                             §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                           DECLARATION OF JEFFREY M. WHITE

U.S. Department of Treasury – Coronavirus State and Local Fiscal Recovery Funds – Allocation
                                         for States

                                    EXHIBIT A-4




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State                    Total Funding       Funding Based on Average Number of Unemployed      Funding from Even Distribution CRF Top-Up
Alabama                  $2,120,279,417.00                                  $1,620,279,417.00                 $500,000,000.00            $0.00
Alaska                   $1,011,788,220.00                                   $511,788,220.00                  $500,000,000.00            $0.00
Arizona                  $4,182,827,491.60                                  $3,682,827,491.60                 $500,000,000.00            $0.00
Arkansas                 $1,573,121,580.80                                  $1,073,121,580.80                 $500,000,000.00            $0.00
California              $27,017,016,860.10                                 $26,517,016,860.10                 $500,000,000.00            $0.00
Colorado                 $3,828,761,789.90                                  $3,328,761,789.90                 $500,000,000.00            $0.00
Connecticut              $2,812,288,081.60                                  $2,312,288,081.60                 $500,000,000.00            $0.00
Delaware                  $924,597,608.00                                    $424,597,608.00                  $500,000,000.00            $0.00
District of Columbia     $1,802,441,116.20                                   $547,579,179.80                  $500,000,000.00 $754,861,936.40
Florida                  $8,816,581,838.70                                  $8,316,581,838.70                 $500,000,000.00            $0.00
Georgia                  $4,853,535,459.70                                  $4,353,535,459.70                 $500,000,000.00            $0.00
Hawaii                   $1,641,602,609.60                                  $1,141,602,609.60                 $500,000,000.00            $0.00
Idaho                    $1,094,018,353.40                                    $594,018,353.40                 $500,000,000.00            $0.00
Illinois                 $8,127,679,948.70                                  $7,627,679,948.70                 $500,000,000.00            $0.00
Indiana                  $3,071,830,673.20                                  $2,571,830,673.20                 $500,000,000.00            $0.00
Iowa                     $1,480,862,558.00                                    $980,862,558.00                 $500,000,000.00            $0.00
Kansas                   $1,583,680,553.30                                  $1,083,680,553.30                 $500,000,000.00            $0.00
Kentucky                 $2,183,237,290.90                                  $1,683,237,290.90                 $500,000,000.00            $0.00
Louisiana                $3,011,136,886.60                                  $2,511,136,886.60                 $500,000,000.00            $0.00
Maine                      $997,495,130.10                                    $497,495,130.10                 $500,000,000.00            $0.00
Maryland                 $3,717,212,336.40                                  $3,217,212,336.40                 $500,000,000.00            $0.00
Massachusetts            $5,286,067,526.40                                  $4,786,067,526.40                 $500,000,000.00            $0.00
Michigan                 $6,540,417,626.70                                  $6,040,417,626.70                 $500,000,000.00            $0.00
Minnesota                $2,833,294,345.30                                  $2,333,294,345.30                 $500,000,000.00            $0.00
Mississippi              $1,806,373,345.90                                  $1,306,373,345.90                 $500,000,000.00            $0.00
Missouri                 $2,685,296,130.80                                  $2,185,296,130.80                 $500,000,000.00            $0.00
Montana                   $906,418,527.00                                    $406,418,527.00                  $500,000,000.00            $0.00
Nebraska                 $1,040,157,440.40                                   $540,157,440.40                  $500,000,000.00            $0.00
Nevada                   $2,738,837,228.70                                  $2,238,837,228.70                 $500,000,000.00            $0.00
New Hampshire             $994,555,877.60                                    $494,555,877.60                  $500,000,000.00            $0.00
New Jersey               $6,244,537,955.50                                  $5,744,537,955.50                 $500,000,000.00            $0.00
New Mexico               $1,751,542,835.00                                  $1,251,542,835.00                 $500,000,000.00            $0.00
New York                $12,744,981,589.00                                 $12,244,981,589.00                 $500,000,000.00            $0.00
North Carolina           $5,439,309,692.20                                  $4,939,309,692.20                 $500,000,000.00            $0.00
North Dakota             $1,007,502,515.00                                   $507,502,515.00                  $500,000,000.00            $0.00
Ohio                     $5,368,386,901.00                                  $4,868,386,901.00                 $500,000,000.00            $0.00
Oklahoma                 $1,870,417,575.70                                  $1,370,417,575.70                 $500,000,000.00            $0.00
Oregon                   $2,648,024,988.20                                  $2,148,024,988.20                 $500,000,000.00            $0.00
Pennsylvania             $7,291,328,098.40                                  $6,791,328,098.40                 $500,000,000.00            $0.00
Rhode Island             $1,131,061,056.70                                    $631,061,056.70                 $500,000,000.00            $0.00
South Carolina           $2,499,067,328.50                                  $1,999,067,328.50                 $500,000,000.00            $0.00
South Dakota               $974,478,793.00                                    $474,478,793.00                 $500,000,000.00            $0.00
Tennessee                $3,725,832,113.00                                  $3,225,832,113.00                 $500,000,000.00            $0.00
Texas                   $15,814,388,615.00                                 $15,314,388,615.00                 $500,000,000.00            $0.00
Utah                     $1,377,866,887.60                                    $877,866,887.60                 $500,000,000.00            $0.00
Vermont                  $1,049,287,303.00                                    $549,287,303.00                 $500,000,000.00            $0.00
Virginia                 $4,293,727,162.20                                  $3,793,727,162.20                 $500,000,000.00            $0.00
Washington               $4,427,709,355.90                                  $3,927,709,355.90                 $500,000,000.00            $0.00
West Virginia            $1,355,489,988.00                                    $855,489,988.00                 $500,000,000.00            $0.00
Wisconsin                $2,533,160,626.50                                  $2,033,160,626.50                 $500,000,000.00            $0.00
Wyoming                  $1,068,484,768.00                                    $568,484,768.00                 $500,000,000.00            $0.00
TOTAL                  $195,300,000,000.00                                $169,045,138,063.60               $25,500,000,000.00 $754,861,936.40




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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                             §
 STATE OF TEXAS, STATE OF MISSISSIPPI,       §
 STATE OF LOUISIANA,                         §
                                             §
       Plaintiffs,                           §
                                             §     Case No. 2:21-cv-00079-Z
 v.                                          §
                                             §
 JANET YELLEN, IN HER OFFICIAL CAPACITY      §
 AS SECRETARY OF THE TREASURY, ET AL.,       §
                                             §
       Defendants.                           §
                                             §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                           DECLARATION OF JEFFREY M. WHITE

       S.B. No. 1 – General Appropriations Act – Eighty-seventh Legislature (excerpts)

                                    EXHIBIT A-5




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        Chapter 1053




                           S.B. No. 1
                   General Appropriations Act

                    Eighty-seventh Legislature




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                              RECAPITULATION - ALL ARTICLES
                                    (General Revenue)

                                                                  For the Years Ending
                                                                August 31,         August 31,
                                                                  2022               2023

    ARTICLE   1 - General Government                        $    2,197,940,933   $    1,866,401,230
    ARTICLE   11 -Health and Human Services                     17,183,698,693       17,107,699,825
    ARTICLE   111 - Agencies of Education                       31,263,682,104       31,481,378,606
    ARTICLE   IV - The Judiciary                                   276,087,308          275,479,042
    ARTICLE   V - Public Safety and Criminal Justice             6,085,692,235        5,969,269,581
    ARTICLE   VI - Natural Resources                               513,723,554          488,361,551
    ARTICLE   VII - Business and Economic Development              244,986,142          245,065,474
    ARTICLE   VIII - Regulatory                                    152,652,736          149,065,948
    ARTICLE   IX - General Provisions                               57,884,790          398,927,544
    ARTICLE   X - The Legislature                                  198,955,736         2 It.224,746

  GRAND TOTAL, General Revenue                              L-iLLZilQi231 Lia.192*811541


                              RECAPITULATION - ALL ARTICLES
                                (General Revenue-Dedicated)

                                                                  For the Years Ending
                                                                August 31,         August 31,
                                                                  2022               2023

    ARTICLE   1 - General Government                        $      386,181,196   $      222,939,427
    ARTICLE   11 - Health and Human Services                       278,804,718         279,263,247
    ARTICLE   111 - Agencies of Education                        1,403,338,034        1,402,735,845
    ARTICLE   IV - The Judiciary                                  101,476,124            91,274,079
    ARTICLE   V - Public Safety and Criminal Justice               25,211,179            25,272,970
    ARTICLE   VI -Natural Resources                               609,408,904           556,402,326
    ARTICLE   VII - Business and Economic Development             306,001,554           293,528,761
    ARTICLE   Vill - Regulatory                                   166,364,413           163,654,548
    ARTICLE   IX - General Provisions                               2,171,886             1,190,386
    ARTICLE   X - The Legislature                                           0                     0

  GRAND TOTAL, General Revenue-Dedicated                    $    3,278,958,008   $    3,036,261,589


                              RECAPITULATION - ALL ARTICLES
                                     (Federal Funds)

                                                                  For the Years Ending
                                                                August 31,         August 31,
                                                                  2022               2023

    ARTICLE   1 - General Government                        $      648,188,994   $      595,555,677
    ARTICLE   11 - Health and Human Services                    25,460,012,233       25,202,198,711
    ARTICLE   111 - Agencies of Education                        5,888,218,883        5,826,152,805
    ARTICLE   IV - The Judiciary                                     2,255,162            2,255,162
    ARTICLE   V - Public Safety and Criminal Justice               334,780,114          290,145,020
    ARTICLE   VI - Natural Resources                             3,001,762,880        1,858,184,051
    ARTICLE   VII - Business and Economic Development            6,970,100,090        7,029,236,134
    ARTICLE   VI11- Regulatory                                       4,732,499            4,771,327
    ARTICLE   IX - General Provisions                            1,572,406,500           76,145,652
    ARTICLE   X - The Legislature                                            0                    0

  GRAND TOTAL, Federal Funds                                $ 43,882.457,355     $ 40,884,644,539




  RECAP-Conf-ALL                                       iX                               May 23,2021


                                                                                           App.161
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                                RECAPITULATION - ALL ARTICLES
                                        (Other Funds)*

                                                                   For the Years Ending
                                                                 August 31,         August 31,
                                                                   2022               2023

     ARTICLE    I - General Government                       $      504,258,281   $      498,116,587
     ARTICLE    11 - Health and Human Services                      569,650,154          596,666,594
     ARTICLE    111 - Agencies of Education                       8,298,608,467        7,941,476,589
     ARTICLE    IV - The Judiciary                                   89,100,856           90,318,022
     ARTICLE    V - Public Safety and Criminal Justice               87,508,557           74,513,457
     ARTICLE    Vl - Natural Resources                              262,549,537          217,161,568
     ARTICLE    VII - Business and Economic Development          10,963,477,558       10,494,400,482
     ARTICLE    VIH - Regulatory                                     34,872,247           51,924,773
     ARTICLE    IX - General Provisions                             172,710,604          153,860,130
     ARTICLE    X - The Legislature                                     101.425              101.425

  GRAND TOTAL, Other Funds                                   $ 2[.222,I-25
                                                                01'K#/Illoo $ 20.118.539.627
  * Excludes interagency contracts


                                RECAPITULATION - ALL ARTICLES
                                         (All Funds)*

                                                                   For the Years Ending
                                                                 August 31,         August 31,
                                                                   2022               2023

     ARTICLE I - General Government                          $    3,736,569,404   $    3,183,012,921
     ARTICLE 11 -Health and Human Services                       43,492,165,798       43,185,828,377
     ARTICLE III - Agencies of Education                         46,853,847,488       46,651,743,845
     ARTICLE IV - The Judiciary                                     468,919,450          459,326,305
     ARTICLE V - Public Safety and Criminal Justice               6,533,192,085        6,359,201,028
     ARTICLE VI - Natural Resources                               4,387,444,875        3,120,109,496
     ARTICLE VII - Business and Economic Development             18,484,565,344       18,062,230,851
     ARTICLE VIII - Regulatory                                      358,621,895         369,416,596
     ARTICLE IX - General Provisions                              1,805,173,780         630,123,712
     ARTICLE X - The Legislature                                    199,057.161         211.326,171

  GRAND TOTAL, All Funds                                     $ 126,319,557,280    $ 122,232,319,302

  Number of Full-Time-Equivalents (FTE) -
    Appropriated Funds                                                216,071.2            215,848.1

  * Excludes interagency contracts




  RECAP-Conf-ALL                                         X                               May 23,2021

                                                                                             App.162
                                                                                                                                02£C

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                                                                                       r 164
                                                                                          Yof 272 1 PageID 386 1
                                                                                                     S.B.No.



                           03                           D rh                          /01 k. rn
                      pf'es 0ent 92'-th6 Senate                                  speakeT-er the House
                  1        /\/          certify        that     S.B. No.         1    passed       the     Senate      on

              April 6,      2021,        by      the      following              vote:     Yeas      31,      Nays 0;

         7.   April 26,         2021,   Senate refused to concur                     in House amendments and

              requested         appointment       of    Conference          Committee;           April 27,        2021,

              House granted request of the Senate; May 26,                               2021, Senate adopted

              Conference         Committee       Report        by     the    following           vote:       Yeas 31,

              Nays 0;       passed       subject        to      the     provisions            of     Article III,

              Section 49a, of the Constitution of Texas.



                                                                                               f-&113
                                                                                     A
                                                                            Secretar~ 0423/Senate

                       I   hereby       certify    that        S.B. No.      1       passed    the       House,    with

              amendments,         on April 22,         2021,    by the following vote:                      Yeas 149,

         73   Nays 0,      zero    present       not    voting;       April 27,          2021,     House      granted
  i ·t
              request      of    the    Senate    for     appointment            of    Conference          Committee;

              May 27,      2021,    House       adopted       Conference         Committee         Report     by    the

              following vote:           Yeas 142, Nays 6, zero present not voting; passed

              subject      to    the    provisions        of    Article III,             ,~tion 49a,          of    the

              Constitution of Texas.
 8

                                                                        . 18- 7
                                                                            Chief Clerk of the Hous

              Approved:

                                   19-1/
                                 Date
                                                A

                                 o ernor
                                         I.)1'-.      1, Glenn Hegar, Comptroller of
                                                   ,~ublic Accounts, do
                                                               07 hereby certify that the amounts
                                                                  appropriated in the herein
                                                                     S.B. No. 1, Regular Session,
:rt.                                                                 87th Legislature, are within the
                                                                     amount estimated to be available
   li                                                                in the affected fund.

                      FILED IN THE OFFICE OF THE
                                                                     Certified ~~~~re                ¢~- , 20      2c       .




                           u Frn
                         SECRETARY OF STATE


                            Jl~ 1 8~2021
                                     O'CLOCK

                                                                     Comptroller of Pu6liA Accounts

                            <3 L-
                           Secretary of State




                                                                                                             App.163
                                                               961
   Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                               Page 165 of 272 PageID 387




                                PROCLAMATION
                                                           BYTHE


                       Qi mremnr of f4~~faf~ of W:~xas
                                                    41-3844

TO ALL TO WHOM THESE PRESENTS SHALL COME:




      Senate Bill o. 1, the General Appropriations    Act, having been duly certified by the
      Comptroller of Public Accounts pursuant to Article III, Section 49a of the Texas
      Constitution, has been presented to me for action.

      I am proud to sign a budget that does not grow government in an amount greater than the
      increase in population and inflation while also making targeted investments in areas such
      as public education, foster care, law enforcement, border security, pension solvency, and
      broadband access.

      However, I hereby object to and veto the following items from Senate Bill No.1,                          and
      include a statement of my objections to each of those items.




      Article X - The Legislature



                                                                                 2022                      2023
      A.I.I. Strategy: ~SEB:I'~J:AA:+T£E'-----------i!r.$3¥41-;',4'h2:-i2~,6'H144--~$3~7f-7.,2~9:1-!1-IH
                                                                                                      ;-,=685

      3. Unexpended    Balances. Any unobligated    and unexpended    balances remaining as of August 31. 2021,
      from appropriations   made to the Senate are appropriated  to the Senate for the same purposes for the
      biennium beginning    Septenlber  I, ?O? I.

      Any unobligated and unexpended     balances remaining as of August 31,2022, from appropriations   made to
      the Senate are appropriated for the same purposes for the fiscal year beginning September 1,2022.

      House of Representatives
                                                                                 2022                      2023
      A.I.l. Strategy: HOUSE OF REPRESENTATIVES                              $43,098,410              $48,600,335

      3. Unexpended     Balances. Any unobligated and unexpended balances remaining as of August 31,2021.
      from appropriations   made to the House of Representatiyes are appropriated to the House of Representati          yes
      for the same purposes for the biennium beginning September     I, 20? I.

      An)' unobligated and unexpended    balances remaining as of August 31,2022, from appropriations          made to
      the House of Representatives  are appropriated for the same purposes for the fiscal year beginning
      September    I, 2022.

      Legislative Budget Board
                                                                                 2022                      2023
      A.I.I. Strategy: LEGISLATIVE             BUDGET BOARD                  $13, 178,999             $13, 178,998

      2. Unexpended     Balance. Any unobligated and une)(pended balances remaining as of August           31, ?021 ,
      from appropriations   made to the Legislati\'e Budget Board are appropriated   to the Legislati\'e   Budget
      Board for the same purposes for the biennium beginning September       1,2021.

      Any unobligated and unexpended       balances remaining as of August 31,2022. from appropriations   made to
      the Legislative Budget Board are appropriated    to the Legislative Budget Board for the same purposes for
      the fiscal year beginning Septenlber    1,2022.




                                                                                                                     App.164
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Governor Greg Abbott                                      S8 J Signature and item Disapproval Proclamation
June 18.2021                                                                                         Page 2




    Legislative Council
                                                                                 2022                   2023
    A.1.1. Strategy: LEGISLATIVE COUNCIL                                      $40,205,883            $43,556,374

    2. Unexpended     Balances. Any unobligated and unexpended balances remaining as of August 31,2021,
    from appropriations   made to the Legislati\'e Council are appropriated to the Legislative Council for the
    same purposes for the biennium beginning September       1,2021.

    Any unobligated and unexpended       balances remaining as of August      3 1,2022, from appropriations  made to
    the Legislati\'e Council are appropriated    10 the Legislative Council   for the same purposes for the fiscal year
    beginning September     1,2022.

    Commission         on Uniform State Laws
                                                                                 2022
    A.1.1. Strategy: COMMISSION ON UNIFORM
    STATE LAWS                                                                   $143,958            $143,958

    2. Unexpended     Balances. Any unobligated and unexpended balances remaining as of August 31,2021,
    from appropriations   made to the Commission  on Uniform State Laws are appropriated  to the Commission
    on Uniform State Laws for the same purposes for the biennium beginning September     1,2021.

    Any unobligated and unexpended     balances remaining as of August 31, 2022, from appropriations made to
    the Commission   on Uniform State Laws are appropriated   to the Commission  on Uniform State Laws for
    the same purposes for the fiscal year beginning September   1,2022.

    Sunset Advisory Commission
                                                                                 2022                   2023
    A.1.1. Strategy: SUNSET ADVISORY COMMISSION                                $2,268,722            $2,268,722

    1. Unexpended Balances. Any unobligated and unexpended        balances remaining as or August 31,2021,
    from appropriations   made to the Sunset Advisory Commission    are appropriated   to the Sunset Advisory
    Commission    for the same purposes for the biennium beginning September      1,2021.

    Any unobligated and unexpended       balances remaining as of August 31,2022, from appropriations   made to
    the Sunset Advisory Commission      are appropriated   to the Suwjet Advisory Commission for the same
    purposes for the fiscal year beginning September     I, 2022.

    2. Appropriation     to Sunset Advisory Commission Account. The money that an entity is required by law
    to pay to the Sunset Advisory Commission       to cover the costs the commission  incurs in performing a review
    of the entity is appropriated  to the commission   for maintaining the operations of the commission.


    State Auditor's      Office
                                                                                 2022                    2023
    A.1.1. Strategy: STATE AUDITOR                                            $21,802,403            $21,802,402

    2. Appropriation      of Appropriated     Receipts. All funds reimbursed to the State Auditor's Gffice (SAG) by
    governmental    entities for the provision or services are appropriated  to the SAG during the fiscal year in
    '"'hich they are received and shall be used as provided by Government       Code, Chapter 321.


    3. Unexpended     Balances. Any unobligated and unexpended balances remaining as of August 31,2021,
    from appropriations   made to the State Auditor'[j Gffice (SAG) from the General Revenue Fund are
    appropriated  to the SAG for the same purposes for the biennium beginning September     1,2021.

    Any unobligated and unexpended    balance remaining as of August 31,2022, from appropriations  made to
    the SAG from the General Revenue Fund are appropriated    to the SAG for the same purposes for the fiscal
    year beginning September  1,2022.

    Legislative   Reference Library
                                                                                 2022
    A.1.1. Strategy: LEGISLATIVE REFERENCE
    LIBRARY                                                                    $1,735,750            $1,735,750

    2. Unexpended      Balances. Any unobligated and unexpended balances remaining as of August 31, 2021,
    from appropriations    made to the Legislative Reference Library from the General Revenue Fund are
    appropriated   for the same purposes for the biennium beginning September   I, ?021.




                                                                                                                 App.165
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Governor Greg Abbott                                SB I Signature and Item Disapproval Proclamation
June 18.2021                                                                                   Page 3




    ARY uRobligated aRd uRexpeRded balaRces remaiRiRg as of August 31, 202?, from appropriatioRs made to
    the Legislatiye RefereRce Library from the General ReveRue FURd are appropriated for the same purposes
    for the fiscal )'ear begiRRiRg ~eptember 1,2022.

    Texans don't run from a legislative fight, and they don't walk away from unfinished business.
    Funding should not be providedfor those who quit their job early, leaving their state with
    unfinished business and exposing taxpayers to higher costs for an additional legislative
    session. I therefore object to and disapprove of these appropriations.


    I have signed Senate Bill No.1 together with this proclamation, stating my objections               in
    accordance with Article IV, Section 14, of the Texas Constitution.

    Since the 87th Legislature, Regular Session, by its adjournment has prevented the return
    of this bill, I am filing this bill and these objections in the office of the Secretary of State
    and giving notice thereof by this public proclamation according to the aforementioned
    constitutional provision.



                                                          IN TESTLMO       Y WHEREOF,        I
                                                          have signed my name officially
                                                          and caused the Seal of the State to
                                                          be affixed hereto at Austin, this
                                                          18th day of June, 2021.


                                                   ~TT~~~~~~

                                                          Governor    of Texas




    ATTESTED       BY:




    Deputy Secretary     of State




                                                                              FILED IN THE OFFICE OF THE
                                                                                 SECBETARY OF STATE
                                                                                 11· 0 pxnO'CLOCK
                                                                                     JUN 1 8 2021
                                                                                   ~&-


                                                                                                       App.166
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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                          §
 STATE OF TEXAS, STATE OF MISSISSIPPI,    §
 STATE OF LOUISIANA,                      §
                                          §
       Plaintiffs,                        §
                                          §    Case No. 2:21-cv-00079-Z
 v.                                       §
                                          §
 JANET YELLEN, IN HER OFFICIAL CAPACITY   §
 AS SECRETARY OF THE TREASURY, ET AL.,    §
                                          §
       Defendants.                        §
                                          §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

                          FY 21-22 Total State Budget Summary

                                   EXHIBIT A-6




                                                                           App.167
           FY 21-22 Total State Budget   Summary
     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21
                                    Page 169 of 272 PageID 391
                                        As the Bills Left the House
                               Prepared by the House Fiscal Division – May 19, 2021

Available State General Fund Forecast
Official forecast adopted by REC on January 19, 2021 = $9,567,300,000
Reengrossed bill versions = $9,567,300,000 (REC increased the forecast by $320.2M on May 18, 2021)
    − $8.8 B - General Operating Appropriations                 − $161.5 M - Judicial Appropriations
    − $0 - Ancillary Operating Appropriations                   − $73.6 M - Legislative Appropriations
    − $525.4 M - Non-Appropriated Requirements                  − $0 - Capital Outlay (HB2 Re-Reengrossed)

Funding by Means of Finance: FY21 Existing vs. FY22 Reengrossed
                                     FY21                      FY22
 Means of Finance                                                                     Change from FY21 to FY22
                                Existing Budget            Reengrossed

 State General Fund                  $9,313,994,979            $9,567,300,000               $253,305,021      2.7%
 Interagency Transfers               $2,391,134,866            $1,826,347,164               ($564,787,702)   (23.6%)
 Fees & Self-gen Rev                 $4,845,767,080            $5,241,912,624               $396,145,544      8.2%
 Statutory Dedications               $5,879,091,259            $5,694,487,249               ($184,604,010)    (3.1%)
 Federal                            $18,055,592,188           $19,551,163,031              $1,495,570,843     8.3%
 Total                            $40,485,580,372           $41,881,210,068              $1,395,629,696       3.4%


Significant State General Fund Changes
• $79.5M to the Department of Education for the MFP for a pay increase for teachers and support staff
  ($800 per certificated teacher, $400 for support staff)
• $56.4M for Higher Education to increase formula funding and statewide services costs ($31.1M),
  provide for a Faculty pay increase ($19.8M), and support specialized institutions ($5.5M)
• $23.2M for LOSFA scholarship programs ($12.2 to fully fund TOPS, $11M for Go Grants)
• $35.6M to Department of Corrections for personnel services, supplies, and offender medical expenses,
  issues typically addressed each year in the supplemental bill
• $23.8M for local housing of state adult offenders
• $25.3M for net statewide adjustments (including but not limited to civil service market rate, group
  insurance, related benefits, risk management, legislative auditor fees, rent in state owned building,
  and Office of Technology Services (OTS) adjustments)
• $11.5M for annual maintenance and support for the Louisiana Wireless Information Network (LWIN)
• $6.3M for foster care board rates, adoption subsidies, and guardianship subsidies (plus $5.6M in
  additional federal funds)
                                                  Federal Funds
• $924.5M from the American Rescue Plan (ARP) Act: Federal-Coronavirus State Fiscal Recovery Fund $400M
 Unemployment (FED), $300M Water (SD), $55M Ports (SD), $50M Nonprofits (SD), $10M Loggers (SD), $4.5M Save
                                                                                        App.168
 Our Screens (SD); Federal-Coronavirus Capital Project Fund $90M Broadband (SD), $15M Cap. Tech. Enh. Fund (SD)
• $314M in savings due to additional enhanced FMAP matching rates to fund services
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Funding by Means of Finance: FY22 Original vs. FY22 Reengrossed
                                       FY22                       FY22                Change from FY22 Original to
 Means of Finance
                                     Original                 Reengrossed                  FY22 Reengrossed

 State General Fund                    $9,596,777,165             $9,567,300,000               ($29,477,165)    (0.3%)
 Interagency Transfers                 $1,813,596,501             $1,826,347,164                $12,750,663      0.7%
 Fees & Self-gen Rev                   $5,065,634,892             $5,241,912,624               $176,277,732      3.5%
 Statutory Dedications                 $5,124,847,758             $5,694,487,249               $569,639,491     11.1%
 Federal                              $18,641,323,775            $19,551,163,031               $909,839,256      4.9%
 Total                              $40,242,180,091            $41,881,210,068             $1,639,029,977       4.1%


Significant Amendments to HB 1 in the House
• $924.5M from the American Rescue Plan (ARP) Act: Federal-Coronavirus State Fiscal Recovery Fund
  $400M Unemployment (FED), $300M Water (SD), $55M Ports (SD), $50M Nonprofits (SD), $10M Loggers
  (SD), $4.5M Save Our Screens (SD); Federal-Coronavirus Capital Projects Fund $90M Broadband (SD),
  $15M Capitol Technology Enhancement Fund (SD)
• $274M (FED) additional federal relief funding from CRRSA and ARP Acts for COVID-19 testing, vaccine
  initiatives, and screening in schools in the Office of Public Health
• $52M (SD & FED) for rate increases to providers of individuals with developmental disabilities
• $21.2M (FED) for mental health and substance abuse prevention and treatment in the Office of
  Behavioral Health
• $15M (SD) from the State Emergency Response Fund for emergency response efforts in GOHSEP
• $11.9M (SGF & FED) for foster care board rates, adoption subsidies, and guardianship subsidies
• $5.8M (SGF & FED) for 500 additional Community Choice Waiver slots
• $3.6M (SGF) for the LSU Agricultural Center for operating expenses
• $3.4M (SD & FED) from CARES Act and LA State Parks Improvement and Repair Fund for permanent
  sewage connections at nine state parks
• $2.3M (SGF) to the Department of Education for the MFP to fully fund pay increase for teachers and
  support staff ($800 per certificated teacher, $400 for support staff)
• ($23.8M) reduces LDH funding for the Payments to Private Providers Program
• ($2.4M) (FSGR) removed all funding and authorized positions (20) in the Office of Charitable Gaming
• ($1.4M) (SGF) reduces savings realized by paying off financed equipment and vehicles in FY 21
• Language amendments: restricting changes for the personal services expenditure category (salaries,
  related benefits, and other compensation); requiring monthly reports from DOA to JLCB regarding
  COVID monies and expenditures; requiring JLCB approval prior to Secretary of State purchasing any
  voting equipment; and encouraging LDH to look at alternative hospital supplemental payment methods
• Spreads Higher Education’s State General Fund directly to the higher education institutions
• Creates separate sections to identify federal relief funds within an agency’s budget
                                                                                                App.169
           SGF = State General Fund      IAT = Interagency Transfers    FSGR = Fees & Self-generated Revenues
                        SD = Statutory Dedications          FED = Federal Funds
Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21            Page 171 of 272 PageID 393



                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                             §
 STATE OF TEXAS, STATE OF MISSISSIPPI,       §
 STATE OF LOUISIANA,                         §
                                             §
       Plaintiffs,                           §
                                             §     Case No. 2:21-cv-00079-Z
 v.                                          §
                                             §
 JANET YELLEN, IN HER OFFICIAL CAPACITY      §
 AS SECRETARY OF THE TREASURY, ET AL.,       §
                                             §
       Defendants.                           §
                                             §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                           DECLARATION OF JEFFREY M. WHITE

       March 16, 2021 Letter from State Attorneys General to Secretary Janet L. Yellen

                                    EXHIBIT A-7




                                                                                     App.170
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Office of the Attorney General           Office of the Attorney General         Office of the Attorney General
          State of Georgia                       State of Arizona                        State of West Virginia




                                                March 16, 2021


     VIA EMAIL & U.S. MAIL

     The Honorable Janet L. Yellen
     Secretary
     Department of the Treasury
     1500 Pennsylvania Avenue, N.W.
     Washington, D.C. 20220
     (202) 622-1100
     correspondence@treasury.gov

                Re:      Treasury Action to Prevent Unconstitutional Restriction on State’s
                         Fiscal Policy through American Rescue Plan Act of 2021

     Dear Secretary Yellen:

             The undersigned State Attorneys General request that the Department of the
     Treasury take immediate action to confirm that certain provisions of the American
     Rescue Plan Act (the “Act”) do not attempt to strip States of their core sovereign
     authority to enact and implement basic tax policy. Those provisions, found in section
     9901 of the Act,1 forbid States from using COVID-19 relief funds to “directly or
     indirectly offset a reduction in … net tax revenue” resulting from state laws or
     regulations that reduce tax burdens—whether by cutting rates or by giving rebates,
     deductions, credits, “or otherwise[.]”2 This language could be read to deny States the
     ability to cut taxes in any manner whatsoever—even if they would have provided such
     tax relief with or without the prospect of COVID-19 relief funds. Absent a more sensible
     interpretation from your department, this provision would amount to an unprecedented
     and unconstitutional intrusion on the separate sovereignty of the States through federal
     usurpation of essentially one half of the State’s fiscal ledgers (i.e., the revenue half).
     Indeed, such federal usurpation of state tax policy would represent the greatest attempted
     invasion of state sovereignty by Congress in the history of our Republic.

     1
         https://www.congress.gov/117/bills/hr1319/BILLS-117hr1319enr.pdf.
     2
         Id. at pp. 1319-223.



              2005 NORTH CENTRAL AVENUE, PHOENIX, AZ 85004-1592  PHONE 602.542.4266     WWW.AZAG.GOV App.171
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March 16, 2021
Page 2

        Section 9901 of the American Rescue Plan Act, which amends sections 602 and
603 of the Social Security Act, explains what States may and may not use COVID-19
recovery funds for. Most pertinent here, subsection 602(c)(2)(A) (the “Tax Cut
Prohibition”) prohibits the States from “us[ing] the funds provided under this section …
to either directly or indirectly offset a reduction in the net tax revenue of such State or
territory resulting from a change in law, regulation, or administrative interpretation
during the covered period that reduces any tax (by providing for a reduction in a rate, a
rebate, a deduction, a credit, or otherwise) or delays the imposition of any tax or tax
increase.”3 States must certify that they will use any COVID-19 relief funds provided
under the Act “in compliance with subsection (c) of this section[,]” and if a State fails to
comply, the Act requires the State to repay the funds in “an amount equal to the amount
of funds used in violation of such subsection[.]”4

        The import of the Act’s prohibition against “offsetting” reductions in state tax
revenue is unclear, but potentially breathtaking. This provision might have been intended
merely to prohibit States from expressly taking COVID-19 relief funds and rolling them
directly into a tax cut of a similar amount. But its prohibition on “indirectly” offsetting
reductions in tax revenue, combined with the list of prohibited kinds of tax reductions
(rate cuts, rebates, deductions, credits, or “otherwise”), could also be read to prohibit tax
cuts or relief of any stripe, even if wholly unrelated to and independent of the availability
of relief funds. After all, money is fungible, and States must balance their budgets. So,
in a sense, any tax relief enacted by a state legislature after the State has received relief
funds could be viewed as “using” those funds as an “offset” that allows the State to
provide that tax relief.

         Several real and hypothetical examples of state tax policy sharpen this troubling
point:

          Arizona voters at the 2020 election voted for a large tax increase related to
           education that has nothing to do with COVID-19 and the Arizona Legislature
           may seek to provide an alternative tax structure for small businesses—again
           having nothing to do with COVID-19 or the federal funds.

          Arizona is phasing out law-enforcement fees on vehicle registration renewals.

3
  “Covered period” is defined in Section 602(g)(1) as the period that begins on March 3, 2021, and “ends
on the last day of the fiscal year of such State … in which all funds received by the State … from a
payment made under this section or a transfer made under section 603(c)(4) have been expended or
returned to, or recovered by, the Secretary.”
4
  It further provides that “in the case of a violation of subsection (c)(2)(A), the amount the State … shall
be required to repay shall be the lesser of—(1) the amount of the applicable reduction to net tax revenue
attributable to such violation; and (2) the amount of funds received by such State … pursuant to a
payment made under this section or a transfer made under section 603(c)(4).”



                                                                                                   App.172
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        During the current legislative session and prior to the passage of the Act,
         Georgia’s House of Representatives passed a bill, now under consideration by
         its Senate, that would extend a tax credit for families who adopt a child out of
         foster care.

        Also during the current legislative session and prior to the passage of the Act,
         Georgia’s House of Representatives passed a bill that raises the standard
         deduction, which would provide Georgians with an estimated $140 million in
         state income tax relief that largely benefits those of lower to middle incomes.

        The West Virginia Legislature is considering a bill to extend the Neighborhood
         Investment Tax Credit (a charitable program) and increase the annual tax credit
         cap from $3 million to $5 million. These changes are projected to reduce West
         Virginia tax revenue by roughly $2 million per year in future years.

        Another bill in West Virginia would expand a limited aircraft repair and
         maintenance sales tax exemption to all such activities. This change will result
         in a small reduction in sales tax collections.

        Alabama legislators are currently considering legislation that would allow tax
         exemptions for organizations that provide care for the sick and terminally
         ill, offer services for children who are victims of sexual or physical abuse,
         furnish new homes for victims of natural disasters, and respond to
         emergencies and provide life-saving, rescue, and first-aid services; tax
         deductions that would benefit people with special needs and enable citizens to
         purchase storm shelters to protect their families from tornadoes; and tax credits
         for hospitals and universities engaged in research and development beneficial
         to society.

        The Indiana General Assembly is considering a tax credit for donations to
         public school foundations as well as a tax credit for donations to qualified
         foster care organizations. It is also considering various sales tax exemptions
         for purchases such as public safety equipment.

        Kansas is considering decoupling part of its income tax code from the federal
         tax code, to end a state-level income tax increase caused by pass-through
         changes from prior federal tax law revisions.

        Kansas is considering giving property or income tax deferrals or credits to
         small businesses impacted by closure orders during the COVID-19 pandemic.




                                                                                 App.173
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March 16, 2021
Page 4

        Under bipartisan legislation proposed in Kentucky, homeowners in a proposed
         tax increment financing district meant to revitalize a predominantly minority
         area of Louisville hurt by decades of disinvestment would pay property taxes
         for the next three decades based on their property’s assessed value this year.
         And a housing developer would be able to defer 80% of its annual property
         taxes, up to $7.64 million, to offset construction costs.

        Montana’s Legislature is considering a very slight income tax cut for most
         income earners.

        Montana’s Legislature is also considering increasing its current education tax
         credit for families.

        In Oklahoma, a bill has passed the House that would, among other things,
         restore the refundability of the state’s Earned Income Tax Credit.

        Suppose a property decreases in value resulting in a decrease of legally
         assessed value, and the state keeps the assessed tax rate consistent—which
         results in a decrease in assessed tax amount.

        Similarly, suppose a property increases in value, but the State decreases the
         assessed rate such that the amount of tax assessed remains unchanged.

        Assume that projected state revenue is set to increase 10%, and a state
         legislature adopts measures such that the state’s revenue collection “only”
         increases 8%.

       Not one of these common changes to state tax policy has any real or direct
connection to the State’s potential receipt of COVID-19 relief funds, yet each of them
could be deemed a tax “rebate,” “deduction,” “credit,” or “otherwise” that could result in
a “reduction in the net tax revenue” of the State. Thus, each of these otherwise lawful
enactments could be construed as violations of the Act’s prohibition on “offsetting” tax
cuts.

       Put aside the gross federal overreach inherent in trying to take state tax policy
hostage in this way. If this expansive view of this provision were adopted, it would
represent an unprecedented and unconstitutional infringement on the separate sovereignty
of the States. When Congress attaches conditions to a States’ receipt and use of federal
funds, those conditions must (1) be placed “‘unambiguously[,]’” (2) relate to “‘the federal
interest’” for which the spending program was established, (3) not violate other
constitutional provisions, and (4) not contain a financial inducement “so coercive as to
pass the point at which ‘pressure turns into compulsion.’” See generally South Dakota v.



                                                                                  App.174
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Dole, 483 U.S. 203, 207-208, 211 (1987); National Federation of Independent Business
v. Sebelius, 567 U.S. 519 (2012). Spending conditions imposed on States that do not
meet these requirements are not “necessary and proper” for exercising Congress’
spending power and also infringe on powers “reserved to” the States. U.S. Const. Art. I,
Section 8, Clause 18; U.S. Const. Amd. X. The Act’s Tax Cut Prohibition violates these
requirements.

       First, if the Tax Cut Prohibition were interpreted to place any limits on how States
could enact tax relief not directly connected to the relief funds provided by the Act, it
would impose a hopelessly ambiguous condition on federal funding. The examples listed
above make the point: how is a State to know, when accepting the relief funds, whether
any of these kinds of commonplace and sensible tax relief measures are “indirectly”
offset by COVID-19 relief funds? Is it enough that the funds help balance a state budget
that also contains tax relief measures? What if the presence of relief funds in 2021’s
budget effectively frees up funds to offer tax relief in 2022? Absent a clear and narrowing
construction by Treasury regulation, States cannot possibly know the bargain they are
striking in accepting the relief funds. Yet the “legitimacy of Congress’ power to legislate
under the spending power … rests on whether the State voluntarily and knowingly
accepts the terms of the ‘contract.’” Pennhurst State School and Hospital v. Halderman,
451 U.S. 1, 17 (1981).

       Second, for similar reasons, a maximalist construction of the Tax Cut Prohibition
would result in federal conditions that do not relate to the federal interest for which the
spending program was established: relief from the economic harms caused by COVID-
19. It is one thing to require that coronavirus-stimulus-related money be spent on
coronavirus-related stimulus. It is quite another, and beyond Congress’s Spending
Power, to forbid States from providing tax relief of any kind, for any reason, merely to
ensure that federal funds are spent for their intended purpose.

        Third, a broad construction of the Tax Cut Prohibition would violate separation of
powers and fundamental democratic principles, and would effectively commandeer half
of the State’s fiscal ledgers, compelling States to adopt the one-way revenue ratchet of
the current Congress for the next three years. For example, if citizens wish to lower their
overall tax burden in the next two election cycles, they cannot elect a candidate for state
office that could actually carry out such a policy. Similarly, elected officials who wish to
spend more public funds would now have a ready excuse for why state surpluses cannot
be used to cut taxes: Congress forbids that, so we “have” to spend it instead. Such a
system would eliminate the democratic accountability that federalism serves to protect.
See, e.g., New York v. United States, 505 U.S. 144, 169 (1992) (“Accountability is thus
diminished when, due to federal coercion, elected state officials cannot regulate in
accordance with the views of the local electorate[.]”). The upshot is that, for purposes of
setting tax policy, there would now be a single sovereign in the United States: Congress.



                                                                                   App.175
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But fundamental to our Constitution is separate federal and state sovereigns, who can
each set their own taxing policies based on their own independent legislatures.

      In addition, a governor could—by mere stroke of a pen—accept the stimulus funds
and thereby bind both (1) the legislature of that state and (2) his or her successor as
governor from cutting any tax or tax assessment. Congress has no such power to intrude
upon the democratic structures of the States, whose republican forms of government are
guaranteed by Article IV. Notably, the 117th Congress cannot even bind the 118th
Congress from enacting legislation contrary to its legislation. Yet a broad construction of
the Tax Cut Prohibition would let the governors of the States in 2021 prohibit future state
governors and legislatures from enacting revenue-reducing measures in 2024.

       Fourth, the expansive view of the Tax Cut Prohibition is unconstitutionally
coercive. No one could dispute that Congress cannot force States to pursue certain tax
policies at the state level. Cf. Sebelius, 567 U.S. at 577 (plurality) (“‘[T]he Constitution
has never been understood to confer upon Congress the ability to require the States to
govern according to Congress’ instructions.’ Otherwise the two-government system
established by the Framers would give way to a system that vests power in one central
government, and individual liberty would suffer.” (quoting New York, 505 U.S. at162)).
Congress may not micromanage a State’s fiscal policies in violation of anti-
commandeering principles nor coerce a State into forfeiting one of its core constitutional
functions in exchange for a large check from the federal government. Such “economic
dragooning” of the States cannot withstand constitutional scrutiny. Id. at 582.

       Yet the Act arguably compels that result. The COVID-19 pandemic has wreaked
economic havoc across much of the Nation, leaving many citizens in need of short-term
financial support, and Congress determined that some of that support would flow through
the States. Although some States have weathered the crisis better than others, it is
difficult to envision many, if any, turning down this support for their citizens. For
example, Arizona has an annual budget of around $12.4 billion from its general fund, and
the moneys from the State Recovery Fund are anticipated to be $4.8 billion—40 percent
of one year’s general fund budget. As another example, West Virginia’s share represents
over 25% of one year’s budget. Many States put to the Hobson’s choice of taking this
financial support or maintaining their sovereign independence to set their own tax policy
will be hard pressed to decline the federal funds.

        Given the foregoing, we ask that you confirm that the American Rescue Plan Act
does not prohibit States from generally providing tax relief through the kinds of measures
listed and discussed above and other, similar measures, but at most precludes express use
of the funds provided under the Act for direct tax cuts rather than for the purposes
specified by the Act. In the absence of such an assurance by March 23, we will take
appropriate additional action to ensure that our States have the clarity and assurance



                                                                                   App.176
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Letter to Secretary Janet L. Yellen
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necessary to provide for our citizens’ welfare through enacting and implementing
sensible tax policies, including tax relief. We look forward to hearing from you
promptly. Please direct your response to joe.kanefield@azag.gov, and we will forward.5

                                             Sincerely,

Mark Brnovich               Christopher M. Carr         Patrick Morrisey
Attorney General of Arizona Attorney General of Georgia Attorney General of West
                                                        Virginia

Steve Marshall                       Leslie Rutledge                       Ashley Moody
Attorney General of                  Attorney General of                   Attorney General of Florida
Alabama                              Arkansas


Lawrence G. Wasden                   Theodore E. Rokita          Derek Schmidt
Attorney General of Idaho            Attorney General of Indiana Attorney General of Kansas


Daniel Cameron                       Jeff Landry                           Lynn Fitch
Attorney General of                  Attorney General of                   Attorney General of
Kentucky                             Louisiana                             Mississippi


Eric S. Schmitt                      Austin Knudsen                        Douglas J. Peterson
Attorney General of                  Attorney General of                   Attorney General of
Missouri                             Montana                               Nebraska


Mike Hunter                          Alan Wilson                           Jason R. Ravnsborg
Attorney General of                  Attorney General of South             Attorney General of South
Oklahoma                             Carolina                              Dakota


Ken Paxton                           Sean D. Reyes                         Bridget Hill
Attorney General of Texas            Attorney General of Utah              Attorney General of
                                                                           Wyoming



5
 Please note this letter is not intended to be and is not in any way a waiver of any legal rights, claims,
defenses, or immunities possessed by the States regarding this matter.



                                                                                                    App.177
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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                            §
 STATE OF TEXAS, STATE OF MISSISSIPPI,      §
 STATE OF LOUISIANA,                        §
                                            §
       Plaintiffs,                          §
                                            §     Case No. 2:21-cv-00079-Z
 v.                                         §
                                            §
 JANET YELLEN, IN HER OFFICIAL CAPACITY     §
 AS SECRETARY OF THE TREASURY, ET AL.,      §
                                            §
       Defendants.                          §
                                            §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

           March 23, 2021 Letter from Secretary Janet L. Yellen to Mark Brnovich

                                   EXHIBIT A-8




                                                                                   App.178
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                                                                      App.179
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                                                                      App.180
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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                             §
 STATE OF TEXAS, STATE OF MISSISSIPPI,       §
 STATE OF LOUISIANA,                         §
                                             §
       Plaintiffs,                           §
                                             §      Case No. 2:21-cv-00079-Z
 v.                                          §
                                             §
 JANET YELLEN, IN HER OFFICIAL CAPACITY      §
 AS SECRETARY OF THE TREASURY, ET AL.,       §
                                             §
       Defendants.                           §
                                             §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

                                          HB 1195

                                   EXHIBIT A-9




                                                                               App.181
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Chapter 4




                                                                         H.B,. No. 1195



1                                         AN ACT
2    relating to the franchise tax treatment of certain loans and grants
3    made   under   the   federal     Coronavirus    Aid,     Relief,     and   Economic
4    Security Act.

5            BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF TEXAS:

6            SECTION 1.     Subchapter C, Chapter 171, Tax Code, is amended

7    by adding Section 171.10131 to read as follows:
8            Sec. 171.10131.        PROVISIONS     RELATED      TO      CERTAIN     MONEY
9    RECEIVED FOR COVID-19 RELIEF.          (a)     In this section, "qualifying
10   loan or grant proceeds" means the amount of money received by a

11   taxable entity that:

12                  (1)   1S:


13                        (A)   a loan or grant under the Coronavirus                Aid,
14   Relief, and Economic Security Act (15 U.S.C. Section 9001 et seq.) ,
15   as amended by the Paycheck Protection            Program Flexibility          Act of
16   2020 (Pub. L. No. 116-142), the Consolidated                Appropriations      Act,

17   2021 (Pub. L. No. 116-260), the American Rescue Plan Act of 2021
18    (Pub. L. No. 117-2), and the PPP Extension               Act of 2021        (Pub. L.
19   No. 117-6);

20                        (B)   a    shuttered     venue     operator     grant     under
21   Section 324 of the Consolidated Appropriations               Act, 2021 (Pub. L.
22   No. 116-260), as amended by Section 5005 of the American                      Rescue

23   Plan Act of 2021 (Pub. L. No. 117-2);

24                        (C)   microloan program recovery assistance under



                                             1


                                                                                App.182
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                                                                                    H.B.   No. 1195

1    Section 329 of the Consolidated Appropriations                          Act, 2021 (Pub. L.

2    No. 116-260); or

3                           (D)     a grant from the restaurant                  revitalization
4    fund established under Section 5003 of the American Rescue Plan Act
5    of 2021 (Pub.    L.   No. 117-2); and
6                    (2)    lS    not    included       in the       taxable    entity's       gross

7    income for purposes of federal income taxation under:
8                           (A)     Section       276    or    278      of    the    Consolidated

9    Appropriations Act, 2021 (Pub. L. No. 116-260); or
10                          (B)     Section 9672 or 9673 of the American Rescue
11   Plan Act of 2021 (Pub. L. No. 117-2).

12             (b)   Notwithstanding any other law, a taxable entity:
13                   (1)    shall       exclude    from       its    total     revenue,      to      the
14    extent    included    under       Section    171.1011(c)(1)(A),               (c)(2)(A),        or

15    (c)(3), qualifying loan or grant proceeds;
16                   (2)    may include as a cost of goods sold under Section

17    171.1012 any expense paid using qualifying loan or grant proceeds
18    to the extent the expense is otherwise includable as a cost of goods

19    sold under that section; and
20                   (3)    may include as compensation under Section 171.1013
21    any expense paid using qualifying                  loan or grant proceeds               to the
22    extent the expense is otherwise includable as compensation                               under

23    that section.
24             SECTION 2.        This Act applies only to a report originally due

25    on or after January 1, 2021.
26             SECTION 3.        This Act takes effect immediately if it receives

27    a vote of two-thirds of all the members elected to each house, as



                                                    2

                                                                                           App.183
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                                                                        H.B.   No.   1195

1   provided   by Section    39, Article    III, Texas      Constitution.       If this

2   Act does not receive      the vote necessary        for immediate    effect,     this

3   Act takes effect    September    1, 2021.




                                            3


                                                                               App.184
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                              Senate                       Speaker     of the House


          I certify    that H.B. No. 1195 was passed             by the House       on April

1, 2021,     by the following          vote:   Yeas       148, Nays    0, 1 present,       not

voting;     and that    the House       concurred     in Senate       amendments    to H.B.

No. 1195 on April        23, 2021, by the following             vote:      Yeas    143, Nays

1, 1 pr esent, not vot ing.




          I certify    that    H.B. No.    1195 was passed           by the Senate,       with

amendments,      on April       19,    2021,   by   the    following     vote:     Yeas      31,

Nays   o.




APPROVED:
                  5"-- 7-- 2/




                                                                FILED IN THE OFFICE OF THE
                                                                   SECRETARY OF STATE
                                                                     ~:frV)    O'CLOCK




                                               4
                                                                      /I(l::
                                                                                   App.185
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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                           §
 STATE OF TEXAS, STATE OF MISSISSIPPI,     §
 STATE OF LOUISIANA,                       §
                                           §
       Plaintiffs,                         §
                                           §     Case No. 2:21-cv-00079-Z
 v.                                        §
                                           §
 JANET YELLEN, IN HER OFFICIAL CAPACITY    §
 AS SECRETARY OF THE TREASURY, ET AL.,     §
                                           §
       Defendants.                         §
                                           §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

                                H.B. No. 1195 Fiscal Note

                                   EXHIBIT A-10




                                                                              App.186
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                                     LEGISLATIVE BUDGET BOARD
                                            Austin, Texas

                        FISCAL NOTE, 87TH LEGISLATIVE REGULAR SESSION


                                                April 21, 2021

    TO: Honorable Dade Phelan, Speaker of the House, House of Representatives

FROM: Jerry McGinty, Director, Legislative Budget Board

 IN RE: HB1195 by Geren (relating to the franchise tax treatment of certain loans and grants made under the
        federal Coronavirus Aid, Relief, and Economic Security Act.), As Passed 2nd House



 Estimated Two­year Net Impact to General Revenue Related Funds for HB1195, As Passed 2nd House :
 an impact of $0 through the biennium ending August 31, 2023.

 Additionally, the bill will have a direct impact of a revenue loss to the Property Tax Relief Fund of
 ($220,900,000) through the 2022­23 biennium. Any loss to the Property Tax Relief Fund must be made up
 with an equal amount of General Revenue to fund the Foundation School Program.


All Funds, Six­Year Impact:

                                               Probable Revenue (Loss) from
                                     Fiscal
                                                 Property Tax Relief Fund
                                      Year
                                                           304
                                      2021                   ($4,400,000)
                                      2022                 ($138,500,000)
                                      2023                  ($78,000,000)
                                      2024                            $0
                                      2025                            $0
                                      2026                            $0




The first table assumes the bill takes immediate effect. The second table assumes the bill takes effect on
September 1, 2021.

                                               Probable Revenue (Loss) from
                                     Fiscal
                                                 Property Tax Relief Fund
                                      Year
                                                           304
                                      2022                 ($142,900,000)
                                      2023                  ($78,000,000)
                                      2024                            $0
                                      2025                            $0
                                      2026                            $0



Fiscal Analysis

The bill would amend Chapter 171, Tax Code to provide for exclusion from total revenue of the amounts of
certain loan or grant proceeds for purposes of the franchise tax.

Added Section 171.10131 would provide that total revenue does not include an amount of money that:

(1) is received in loans or grants under the federal Coronavirus Aid, Relief, and Economic Security Act, as
amended by the Paycheck Protection Program Flexibility Act of 2020, the Consolidated Appropriations Act,
2021, the American Rescue Plan Act of 2021, or Page      1 ofExtension
                                                    the PPP   2        Act of 2021, or is a shuttered venue
operator grant, microloan program recovery assistance, or a restaurant revitalization grant under the
Consolidated Appropriations Act, 2021 or the American Rescue Plan Act of 2021 as applicable, and
                                                                                              App.187
(2) is excluded from gross income for purposes of federal income taxation by Sections 276 and 278 of the
Consolidated Appropriations Act, 2021 or Sections 9672 or 9673 of the American Rescue Plan Act of 2021.
The bill would amend Chapter 171, Tax Code to provide for exclusion from total revenue of the amounts of
certainCase
        loan 2:21-cv-00079-Z
             or grant proceeds forDocument
                                   purposes of29-1    Filed 09/27/21
                                               the franchise tax.    Page 189 of 272 PageID 411

Added Section 171.10131 would provide that total revenue does not include an amount of money that:

(1) is received in loans or grants under the federal Coronavirus Aid, Relief, and Economic Security Act, as
amended by the Paycheck Protection Program Flexibility Act of 2020, the Consolidated Appropriations Act,
2021, the American Rescue Plan Act of 2021, or the PPP Extension Act of 2021, or is a shuttered venue
operator grant, microloan program recovery assistance, or a restaurant revitalization grant under the
Consolidated Appropriations Act, 2021 or the American Rescue Plan Act of 2021 as applicable, and

(2) is excluded from gross income for purposes of federal income taxation by Sections 276 and 278 of the
Consolidated Appropriations Act, 2021 or Sections 9672 or 9673 of the American Rescue Plan Act of 2021.

Expenses paid with such qualifying loan or grant proceeds would be allowed in the determination of cost of
goods sold or of compensation for subtraction from total revenue in the determination of taxable margin, if
otherwise includable as cost of goods sold or compensation. The bill would only apply to reports originally due
on or after January 1, 2021.

The bill would take effect immediately upon enactment, assuming it received the requisite two­thirds majority
votes in both houses of the Legislature. Otherwise, it would take effect September 1, 2021.

Methodology

The federal Consolidated Appropriations Act, 2021 and the American Rescue Plan Act of 2021 provide for
exclusion of certain loans and other financial assistance from gross income for purposes of federal income
taxation, including forgiven Paycheck Protection Program (PPP) loans, emergency Economic Injury Disaster
Loans (EIDL) and targeted EIDL advances, small business loan payments made on behalf of borrowers pursuant
to Section 1112(c), CARES Act, grants for shuttered venue operators, microloan recovery assistance, and
restaurant revitalization grants. Those exclusions do not apply for purposes of the Texas franchise tax, because
the state tax is tied to the Internal Revenue Code as it existed in 2007.

Data from the U.S. Small Business Administration (SBA) on amounts by recipient of PPP loans approved in
2020 was combined with comptroller franchise tax report data to estimate amounts of loan forgiveness that
would be deemed revenue of taxable entities in the calculation of margin subject to apportionment to the state,
and multiplied by a weighted average franchise tax rate. Amounts associated with the small business loan
assumptions by SBA, the EIDL grants and advances, shuttered venue operator grants, microloan recovery
assistance, and the restaurant revitalization grants were estimated proportionally, based on the amounts
appropriated for those purposes relative to appropriations for PPP loans. It is assumed that PPP loans granted in
2020 would be forgiven in 2021, affecting franchise tax liabilities for reports originally due in 2022. The
exclusion from revenue of the value of loan payments made by the SBA in 2020 pursuant to Section 1112,
CARES Act are assumed to affect franchise tax reports in fiscal year 2021 if the bill receives immediate effect,
otherwise the effects would occur with respect to amended reports filed in fiscal year 2022.


Local Government Impact

No fiscal implication to units of local government is anticipated.


Source Agencies: 304 Comptroller of Public Accounts
LBB Staff: JMc, KK, SD




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                                                                                                 App.188
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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                              §
 STATE OF TEXAS, STATE OF MISSISSIPPI,        §
 STATE OF LOUISIANA,                          §
                                              §
       Plaintiffs,                            §
                                              §    Case No. 2:21-cv-00079-Z
 v.                                           §
                                              §
 JANET YELLEN, IN HER OFFICIAL CAPACITY       §
 AS SECRETARY OF THE TREASURY, ET AL.,        §
                                              §
       Defendants.                            §
                                              §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

                                         S.B. No. 313

                                   EXHIBIT A-11




                                                                              App.189
0




         Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                  Page 191 of 272 PageID 413




            Chapter 554


                                                                                            S.B. No.      313




     1                                                AN ACT

     2   relating to           a sales      and use     tax       exemption for           firearm safety
     3   equipment.
     4            BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF TEXAS:

     5            SECTION 1.          Subchapter H, Chapter 151, Tax Code,                       is amended

     6   by adding Section 151.3131 to read as follows:

     7            Sec.       151.3131.      FIREARM    SAFETY          EQUIPMENT.          (a)     In    this

     8   section,       11
                             firearm safety equipment" means a gun lock box, a gun
     9   safe,    a barrel lock,            a trigger lock,            a firearm safety training
    10   manual    or        electronic     publication,          or    another         item designed to
    11   ensure the safe handling or storage of a firearm.
    12            (b)        The sale, storage, use, or other consumption of firearm

    13   safety     equipment         is    exempted    from          the    taxes      imposed    by    this
    14   chapter.
    15            SECTION 2.          The   change     in       law   made    by   this    Act    does   not

    16   affect tax liability accruing before the effective date of this
    17   Act.    That liability continues in effect as if this Act had not been

    18   enacted,        and    the    former   law     is       continued         in    effect    for   the
    19   collection of taxes due and for civil and criminal enforcement of
    20   the liability for those taxes.
    21            SECTION 3.          This Act takes effect September 1, 2021.




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                                                                                                9
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                      n1
                                                                          S.B. No.     313




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 h
       ,Ff~~8lerybof tO'lenate                        ~Mpeak27 of the House
        1/ herlby    certify    that    S.B. No.       313   passed    the   Senate        on

April 19,    2021, by the following vote:               Yeas 30, Nays 1; and that

the Senate concurred in House amendment on May 27,                        2021,   by the

following vote:      Yeas 31, Nays 0.




                                                       decretary~f rhe lenate
        I hereby certify that          S.B. No.       313 passed the House,          with

amendment,    on    May 18,    2021,   by       the   following   vote:       Yeas 142,

Nays 2, one present not voting.




                                                       Chief Clerk 02 the Ho




        i- 11-11
Approved:



               Date



  1.
    A R
    0 JRa~       ,46}--
      £~,/Governor




                                                              FILED IN THE OFFICE OF THE
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                                                                               App.191
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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                            §
 STATE OF TEXAS, STATE OF MISSISSIPPI,      §
 STATE OF LOUISIANA,                        §
                                            §
       Plaintiffs,                          §
                                            §    Case No. 2:21-cv-00079-Z
 v.                                         §
                                            §
 JANET YELLEN, IN HER OFFICIAL CAPACITY     §
 AS SECRETARY OF THE TREASURY, ET AL.,      §
                                            §
       Defendants.                          §
                                            §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

                                 S.B. No. 313 Fiscal Note

                                   EXHIBIT A-12




                                                                              App.192
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                                            LEGISLATIVE BUDGET BOARD
                                                   Austin, Texas

                          FISCAL NOTE, 87TH LEGISLATIVE REGULAR SESSION


                                                           May 19, 2021

    TO: Honorable Dan Patrick, Lieutenant Governor, Senate

FROM: Jerry McGinty, Director, Legislative Budget Board

 IN RE: SB313 by Huffman (Relating to a sales and use tax exemption for firearm safety equipment.), As
        Passed 2nd House



 Estimated Two­year Net Impact to General Revenue Related Funds for SB313, As Passed 2nd House : a
 negative impact of ($1,650,000) through the biennium ending August 31, 2023.


General Revenue­Related Funds, Five­ Year Impact:

                                                     Probable Net Positive/(Negative) Impact
                                            Fiscal
                                                                        to
                                             Year
                                                        General Revenue Related Funds
                                             2022                         ($770,000)
                                             2023                         ($880,000)
                                             2024                         ($930,000)
                                             2025                         ($980,000)
                                             2026                        ($1,040,000)


All Funds, Five­Year Impact:

                                               Probable Revenue (Loss)
                  Probable Revenue (Loss)
                                                        from                  Probable Revenue (Loss)   Probable Revenue (Loss)
                           from
    Fiscal Year                               Tax Reduc. & Excell. Edu.                from                      from
                  General Revenue Fund
                                                        Fund                           Cities             Transit Authorities
                             1
                                                         305
       2022               ($770,000)                       ($30,000)                    ($150,000)               ($50,000)
       2023               ($880,000)                       ($30,000)                    ($170,000)               ($60,000)
       2024               ($930,000)                       ($30,000)                    ($180,000)               ($60,000)
       2025               ($980,000)                       ($40,000)                    ($190,000)               ($60,000)
       2026             ($1,040,000)                       ($40,000)                    ($200,000)               ($70,000)


                                            Fiscal       Probable Revenue (Loss) from
                                             Year         Counties & Special Districts
                                             2022                          ($30,000)
                                             2023                          ($40,000)
                                             2024                          ($40,000)
                                             2025                          ($40,000)
                                             2026                          ($40,000)



Fiscal Analysis

The bill would amend Chapter 151 of the Tax Code by adding Section 151.3131 to provide an exemption of
firearm safety equipment from sales and use taxes.

The new section would define "firearm safety equipment" to include a gun lock box, a gun safe, a barrel lock, a
trigger lock, firearm safety training manual or electronic publication,
                                                   Page 1 of 2          and other items designed to ensure the
safe handling or storage of a firearm.

The bill would take effect September 1, 2021.
                                                                                                                  App.193
Methodology
Fiscal Analysis
     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                   Page 195 of 272 PageID 417
The bill would amend Chapter 151 of the Tax Code by adding Section 151.3131 to provide an exemption of
firearm safety equipment from sales and use taxes.

The new section would define "firearm safety equipment" to include a gun lock box, a gun safe, a barrel lock, a
trigger lock, firearm safety training manual or electronic publication, and other items designed to ensure the
safe handling or storage of a firearm.

The bill would take effect September 1, 2021.

Methodology

The Comptroller estimated tax revenue loss resulting from the bill based on information from a sample of
firearms dealers. A ratio of sales of firearms safety devices to total sales of firearms dealers was applied to
estimated sales of firearms, ammunition, and related accessories in the state, multiplied by the state sales tax
rate, and extrapolated through 2026.


Local Government Impact

There would be a proportional loss of sales and use tax revenue from units of local government.


Source Agencies: 304 Comptroller of Public Accounts
LBB Staff: JMc, LBO, KK, SD




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                                                                                                   App.194
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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                              §
 STATE OF TEXAS, STATE OF MISSISSIPPI,        §
 STATE OF LOUISIANA,                          §
                                              §
       Plaintiffs,                            §
                                              §    Case No. 2:21-cv-00079-Z
 v.                                           §
                                              §
 JANET YELLEN, IN HER OFFICIAL CAPACITY       §
 AS SECRETARY OF THE TREASURY, ET AL.,        §
                                              §
       Defendants.                            §
                                              §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

                                         S.B. No. 609

                                   EXHIBIT A-13




                                                                              App.195
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     Chapter 84



                                                                                                                           S.B.      No.    609




 1                                                                    AN ACT

 2    relating            to      the         creation          of     the           Texas       music        incubator               rebate

 3    pr ogr am to              provide           for      rebates              of     a     port     ion     of         certain       taxes

 4    collected           from        certain           music     venues             and promoters              of        certain      music

 5    festivals.

 6                 BE IT ENACTEDBY THE LEGISLATURE OF THE STATE OF TEXAS:

 7                 SECTION 1.                 Chapter           485,        Government                Code,          is      amended         by

 8    adding       Subchapter             C to read             as follows:

 9                   SUBCHAPTERC.                   TEXAS MUSIC INCUBATORREBATE PROGRAM

10                 Sec.        485.041.            DEFINITIONS.                        (a)          Except          as      provided         by

11    Subsection               (b),     the     definitions                in Section            1.04,       Alcoholic              Beverage

12    Code,      apply         to this         subchapter.

13                 (b)         In this         subchapter:

14                             (1)       "Mixed          beverage           gross          receipts          tax"         means      the    tax

15    imposed        by Subchapter                 B, Chapter              183,        Tax Code.

16                              (2)      "Permit          holder"           means          a person          who holds              a permit

17     issued      under         Section          151. 201,          Tax Code.

18                              (3)      "Permittee"                 has     the       meaning           assigned             by     Section

19     183.001(b),              Tax Code.

20                              (4)      "Program"              means        the       Texas        music      incubator              rebate

21    program.

22                              (5)      "Sales          tax"     means          the       tax      imposed         by Chapter             151,

23    Tax Code.

24                 Sec.        485.042.            TEXAS MUSIC INCUBATOR REBATE PROGRAM.                                                    (a)



                                                                            1




                                                                                                                                    App.196
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                                                                            S.B. No. 609

 1   The   office     shall   administer     the    Texas   music     incubator      rebate
2    program under which        the office     shall provide        to eligible       music
3    venues     and     eligible     music    festival      promoter s        from    money

4    appropr iated from the Texas music              incubator      account    a full       or
5    partial rebate of the mixed beverage gross receipts taxes and sales
6    tax receipts attributable to the sale of beer and wine and remitted
7    to the comptroller        annually by those venues            and promoters.       The
8    Texas music       incubator account shall be funded by mixed beverage
9    gross receipts taxes and sales tax receipts                   attributable      to the
10   sale of beer and wine remitted annually by venues and promoters and
11   deposited into that account as required by Sections 151.801(f) and
12   183.023(c), Tax Code.           The rebates are to assist eligible music
13   venues and eligible music festival promoters                  in their efforts to
14   support and continue to bring to local communities                  in this state
15   live musical       performances,    including       the recruitment       of musical
16   performance artists.

17            (b)    The office may not provide a rebate under the program to
18   a music venue or music festival promoter in an amount that exceeds
19   the lesser of:
20                    (1)   the amount of mixed beverage gross receipts taxes
21   and sales taxes attributable to the sale of beer and wine remitted
22   in the preceding fiscal year to the comptroller by the music venue
23   or music festival promoter as a permittee or permit holder; or
24                    (2)   $100,000.
25            Sec. 485.043.     ELIGIBILITY        FOR   REBATE.      (a)      Except       as
26   provided       by Subsect ion   (b), to qualify        for a rebate        under   the
27   program, a music venue or music festival promoter, for at least the




                                                                                  App.197
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                                                                            S.B. No. 609

 1   two years preceding the date on which the music venue or promoter,
2    as applicable, submits an application under Section 485.044, must
 3   have:
4                  (1)     been   a permittee     subject    to the mixed       beverage
5    gross receipts tax or a permit holder subject to the sales tax on
6    the sale of beer or wine;
 7                 (2)     if the applicant is a music venue, been a retail
8    establishment with a dedicated audience capacity of not more than
 9   3,000 persons;
10                 (3)     if the applicant       is a music        festival   promoter,
11   held a music festival in a county with a population                    of less than
12   100,000;
13                  (4)    entered      into a written    contract     with    a musical
14   performance    artist to conduct a live performance               at the venue or
15   festival,     as     applicable,     under   which   the      artist   received      as
16   compensation       a specified percentage       of ticket sales for or other
17   sales during the performance, or a guaranteed amount in advance of
18   the performance; and
19                  (5)    met at least five of the following criteria, one of
20   which must be described by Paragraph (A) or            (B):

21                          (A)   the    marketing   of   live     music    performances
22   thr ough list ings in pr inted or electronic publicat ions;
23                          (B)   the provision of live music performances five
24   or more nights per week;

25                          (C)   employment or contracting of the services of
26   one or more people who are tasked with two or more of the following
27   positions or services:




                                                                                App.198
     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                                         Page 200 of 272 PageID 422




                                                                                                                       S.B.        No.      609

 1                                                 (i)          sound engineer;

 2                                                 (ii)          booker;

 3                                                 (iii)             promoter;

4                                                  (iv)          stage          manager;        or

 5                                                 (v)          security           personnel;

 6                                       (D)      having             live       performance           and audience                 space;

 7                                       (E)       the provision                  of technical               sound and lighting

 8   support,         either         in-house             or through              a contract          with        a vendor;

 9                                       (F)      having              a     space       for      the         storage           of     audio

10   eguipment         or musical               instruments;

11                                       (G)       the      application                 of    cover          charges          to     one     or

12   more live         music performances                            through        ticketing          or the         imposition             of

13   a front     door entrance                   fee;      or

14                                       (H)       the      maintenance                 of    hours          of     operation            that

15   coincide         with     live        music performance                       show times.

16              (b)      The office                may,          at       the     office's         discretion,                provide           a

17   rebate      under             the     program              to     a music          venue         or      a music          festival

18   promoter         that     fails           to meet the                eligibility          reguirements               prescr         ibed

19   by   Subsect       ion         (a)        solely           because           the      venue        is        located,          or      the

20   festival         is usually               held,       as applicable,                    in a county            located          wholly

21   or partly         in an area               that       at    any time           during       the        preceding          two-year

22   period      was declared                  to be a disaster                     area      by the         governor          or by the

23   president         of the United                   States.

24              Sec.     485.044.                REBATEAPPLICATION.                            (a)     The off ice            shall:

25                           (1)         subject            to            Subsection                 (b),          prescribe                the

26   application             form for           obtaining              a rebate         under        the program;              and

27                           (2)         establish              an online           portal       on the            office's          public




                                                                                                                                   App.199
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                                                                          S.B. No. 609
1    Internet     website    that     allows   a music    venue    or music        festival
2    promoter to submit the application to the office for consideration.
3           (b)    The application must:
4                   (1)     state the amount of mixed beverage gross receipts
5    tax and sales tax receipts attributable to the sale of beer and wine
6    that was remitted to the comptroller by the music venue or music
7    festival promoter in the preceding fiscal year;
8                   (2)     include    suff icient     evidence   for   the    off ice       to
9    determine that the music venue or promoter qualifies for a rebate;
10   and
11                  (3)     include     any    other      information        the     office
12   determines necessary to administer the program.
13          (c)    The office shall accept rebate applications                 beginning
14   September 1 of each year and may provide rebates until all the money
15   in the Texas music incubator account is exhausted.
16          (d)    The office may expedite the review of an application
17   submitted by a music venue or music festival promoter, if the venue
18   is located, or the festival is usually held, as applicable,                       in a
19   county located wholly or partly in an area that at any time during
20   the preceding two-year period was declared to be a disaster area by
21   the governor or by the president of the United States.
22         Sec. 485.045.         REVIEW OF APPLICATIONS;          REBATES.    (a)     After
23   reviewing applications for a rebate under the program, the office
24   shall grant rebates to eligible music venues                  and music       festival
25   promoters that the office determines provide or have committed to
26   provide the most economic benefit to the communities                 in which the
27   music venues are located or the festivals are held, as applicable,




                                                                                   App.200
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                                                                                                                        S.B.     No.     609

 1   and to the            Texas music          industry,              including            live     music            performers.

 2                 (b)      As directed          by the          office,         the      comptroller                  shall     issue        a

 3   warrant         for     a rebate         granted          by the        office         under         this        section         drawn

 4   on the        Texas music          incubator              account.

 5                 Sec.     485.046.           TEXASMUSIC INCUBATORACCOUNT. (a)                                                The Texas

 6   music         incubator           account            is     a    dedicated             account              in     the      general

 7   revenue         fund.         The account            is     composed        of:

 8                           (1)     money deposited                    to the       credit          of the            account        under

 9   Sections            151.801(f)       and 183.023(c),                     Tax Code;

10                           (2)     gifts,           grants,           and      other        money          received             by     the

11   office        for     the program;             and

12                           (3)      other         amounts            deposited              to      the         credit         of      the

13   account.

14                 (b)      Money in          the        account         may be           appropriated                   only     to     the

15   office        for     the     purpose      of paying              rebates         to music           venues         and certain

16   music     festival            promoters          under          the program.

17                 (c)      Interest          and        other        earnings          from       money          in     the     account

18   shall     be credited             to the         account.

19                 (d)      On the       last            day     of     each        state          fiscal             biennium,          the

20   comptroller             shall     transfer            any money deposited                       to the            account        under

21   Subsection             (a) (1)     that        is     unobligated              and unexpended                      on that        date

22   to      the         general       revenue             fund         to     be       used         in      accordance                with

23   legislative             appropriation.

24                 Sec.     485.047.           RULES.                  The       office              shall             adopt          rules

25   necessary            to implement           and administer                  this       subchapter.

26                 SECTION 2.           Section                151.801,             Tax       Code,              is      amended          by

27   amending             Subsection            (a)       and        adding         Subsection               (f)         to     read      as




                                                                                                                                App.201
     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                   Page 203 of 272 PageID 425




                                                                                              S.B.     No.     609

 1   follows:

2              (a)     Except     for the amounts            allocated    under       Subsections             (b),

 3   (c), (c-2),        [aM]      (c-3), and         (f), all proceeds           from the collection

4    of the     taxes        imposed    by    this     chapter        shall    be     deposited         to     the

 5   cr edit of the gener al revenue                 fund.

 6             (f)     The comptroller          shall deposit          each fiscal          year      $100,000

 7   of the     revenue       received        under    this     chapter        to the       credit      of the

 8   Texas    music      incubator       account       under     Section        485.046,          Government

 9   Code.

10            SECTION        3.   Section         183.023,       Tax      Code,        is        amended        by

11   amending         Subsection        (b)    and     adding     Subsection           (c )      to    read     as

12   follows:

13             (b)     Except     for the amounts            allocated        under    Subsection             (c),

14   the [~]          comptroller       shall deposit         the revenue        received         under       this

15   sect ion in the gener al revenue                 fund.

16             (c)     The     comptroller         shall      deposit         each    fiscal          year     $10

17   million     of the revenue          received      under     this section          to the credit            of

18   the Texas music          incubator       account    under Section           485.046,         Government

19   Code.

20             SECTION       4.      (a) Not later than September                   1, 2022, the Music,

21   Film,     Television,           and Multimedia          Office    within        the    office      of the

22   governor        shall    establish       the Texas       music     incubator          rebate      program

23   as required         under       Subchapter       C, Chapter        485,    Government            Code,     as

24   added by this Act.

25             (b )    Notwithstanding          Sect ion 485.044 (c) , Government                      Code, as

26   added     by     this    Act,     the    Music,     Film,    Television,              and    Multimedia

27   Office     shall        begin     accepting       rebate     applications              as    authorized




                                                                                                      App.202
     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21         Page 204 of 272 PageID 426




                                                                               S.B. No. 609
1    under that section beginning September 1, 2022.
2             SECTION 5.      The    Music,    Film,      Television,     and   Multimedia
3    Office    and the comptroller            of public     accounts     are required        to
4    implement     a   provision       of   this    Act     only    if   the    legislature

5    appropriates       money       specifically    for     that    purpose.        If    the
6    legislature       does   not     appropriate      money    specifically      for    that
7    purpose, the office and comptroller may, but are not required to,
8    implement a provision of this Act using other appropriations                        that
9    are available for that purpose.
10            SECTION 6.      This Act takes effect September 1, 2021.




                                                                                   App.203
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Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21          Page 205 of 272 PageID 427




                                                                            S.B.      No. 609




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        I   hereby   certify    that     S. B. No. 609       passed      the     Senate       on

April   26, 2021, by the following         vote:      Yeas 22, Nays 9.                        _




                                                     ~~

        I   hereby   certify     that     S. B. No. 609       passed      the      House      on

May 8,2021,     by the following        vote:      Yeas 102, Nays 40, one present

not voting.------------~~~~~--lP~~--------------




Approved:



                 Date




                                                             FILED IN THE OFFICE OF THE
                                                                SECRETARY OF STATE
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                                                                  Secretary of State




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Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21           Page 206 of 272 PageID 428



                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                            §
 STATE OF TEXAS, STATE OF MISSISSIPPI,      §
 STATE OF LOUISIANA,                        §
                                            §
       Plaintiffs,                          §
                                            §    Case No. 2:21-cv-00079-Z
 v.                                         §
                                            §
 JANET YELLEN, IN HER OFFICIAL CAPACITY     §
 AS SECRETARY OF THE TREASURY, ET AL.,      §
                                            §
       Defendants.                          §
                                            §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

                                 S.B. No. 609 Fiscal Note

                                   EXHIBIT A-14




                                                                              App.205
     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                            Page 207 of 272 PageID 429



                                      LEGISLATIVE BUDGET BOARD
                                             Austin, Texas

                       FISCAL NOTE, 87TH LEGISLATIVE REGULAR SESSION


                                                     April 14, 2021

    TO: Honorable Jane Nelson, Chair, Senate Committee on Finance

FROM: Jerry McGinty, Director, Legislative Budget Board

 IN RE: SB609 by Alvarado (relating to the creation of the Texas music incubator rebate program to provide
        for rebates of a portion of certain taxes collected from certain music venues and promoters of certain
        music festivals.), Committee Report 1st House, Substituted



 Estimated Two­year Net Impact to General Revenue Related Funds for SB609, Committee Report 1st
 House, Substituted : a negative impact of ($20,200,000) through the biennium ending August 31, 2023.

 The bill would make no appropriation but could provide the legal basis for an appropriation of funds to
 implement the provisions of the bill.


General Revenue­Related Funds, Five­ Year Impact:

                                              Probable Net Positive/(Negative) Impact
                                     Fiscal
                                                                 to
                                      Year
                                                 General Revenue Related Funds
                                      2022                       ($10,100,000)
                                      2023                       ($10,100,000)
                                      2024                       ($10,100,000)
                                      2025                       ($10,100,000)
                                      2026                       ($10,100,000)


All Funds, Five­Year Impact:

                                  Probable Revenue (Loss) from
                         Fiscal                                     Probable Revenue Gain from
                                     General Revenue Fund
                          Year                                    Texas Music Incubator Account
                                               1
                          2022                ($10,100,000)                      $10,100,000
                          2023                ($10,100,000)                      $10,100,000
                          2024                ($10,100,000)                      $10,100,000
                          2025                ($10,100,000)                      $10,100,000
                          2026                ($10,100,000)                      $10,100,000



Fiscal Analysis

The bill would amend Chapter 485 of the Government Code, regarding Music, Film, Television, and Multimedia
Industries, by adding subsection C to create the Texas Music Incubator Rebate Program.

The bill would establish the Texas Music Incubator Program to be administered by the Office of the Governor.
The program would allow eligible music venues and eligible music festival promoters to apply for a rebate of
the Mixed Beverage Gross Receipts Tax and sales taxes paid on the sale of alcoholic beverages in the preceding
fiscal year, up to a maximum of $100,000. The Comptroller would be required to issue a warrant for all granted
rebates at the direction of the Governor's Office. All warrants would be drawn on the newly created Texas
Music Incubator Account in the General Revenue Fund. The program may provide rebates until all the money in
the Texas Music Incubator Account is exhausted. The Governor's Office would be required to establish the
                                                    Page 1 ofapplications
program by September 1, 2022 and would begin accepting        2           September 1, 2022.

The bill would amend Section 183 of the Tax Code to direct the Comptroller to deposit $10,000,000 of Mixed
Beverage Gross Receipts Tax collections and $100,000 of sales tax collections in to the newly created Texas
Music Incubator Account.                                                                        App.206
The bill would establish the Texas Music Incubator Program to be administered by the Office of the Governor.
      Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21 Page 208 of 272 PageID 430
The program would allow eligible music venues and eligible music festival promoters to apply for a rebate of
the Mixed Beverage Gross Receipts Tax and sales taxes paid on the sale of alcoholic beverages in the preceding
fiscal year, up to a maximum of $100,000. The Comptroller would be required to issue a warrant for all granted
rebates at the direction of the Governor's Office. All warrants would be drawn on the newly created Texas
Music Incubator Account in the General Revenue Fund. The program may provide rebates until all the money in
the Texas Music Incubator Account is exhausted. The Governor's Office would be required to establish the
program by September 1, 2022 and would begin accepting applications September 1, 2022.

The bill would amend Section 183 of the Tax Code to direct the Comptroller to deposit $10,000,000 of Mixed
Beverage Gross Receipts Tax collections and $100,000 of sales tax collections in to the newly created Texas
Music Incubator Account.

The bill would take effect September 1, 2021.

Methodology

The bill requires the Comptroller to direct $10,000,000 of Mixed Beverage Gross Receipts Tax collections
and $100,000 of sales tax collections that would have otherwise gone to undedicated General Revenue to the
newly created Texas Music Incubator Account.

This estimate assumes that the entire amount directed to the Texas Music Incubator Account will be exhausted
each year.

The Governor's Office estimates that there would be administrative costs associated with implementing the
provisions of the bill, however this analysis assumes those costs could be absorbed within existing resources.

This legislation would do one or more of the following: create or recreate a dedicated account in the General
Revenue Fund, create or recreate a special or trust fund either within or outside of the Treasury, or create a
dedicated revenue source. The fund, account, or revenue dedication included in this bill would be subject to
funds consolidation review by the current Legislature.


Local Government Impact

No fiscal implication to units of local government is anticipated.


Source Agencies: 300 Trusteed Programs ­ Gov, 304 Comptroller of Public Accounts
LBB Staff: JMc, KK, BRI, LCO, HGR, AJL




                                                  Page 2 of 2



                                                                                                 App.207
Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21           Page 209 of 272 PageID 431



                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                              §
 STATE OF TEXAS, STATE OF MISSISSIPPI,        §
 STATE OF LOUISIANA,                          §
                                              §
       Plaintiffs,                            §
                                              §    Case No. 2:21-cv-00079-Z
 v.                                           §
                                              §
 JANET YELLEN, IN HER OFFICIAL CAPACITY       §
 AS SECRETARY OF THE TREASURY, ET AL.,        §
                                              §
       Defendants.                            §
                                              §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

                                         S.B. No. 938

                                   EXHIBIT A-15




                                                                              App.208
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         Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                 Page 210 of 272 PageID 432




               Chapter 859


                                                                                              S.B. No.   938




     1                                                 AN ACT

     2   relating to an exemption from the franchise tax and certain filing
     3   fees for certain businesses owned by veterans during an initial
     4   period of operation in the state.
     5          BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF TEXAS:

     6          SECTION 1.           Subchapter A, Chapter 12, Business Organizations

     7   Code, is amended by adding Section 12.005 to read as follows:

     8          Sec.   12.005.         FEE    WAIVER      FOR       NEW    VETERAN-OWNED        BUSINESS.

     9   The   secretary       of     state      shall       waive        all    fees     imposed    under

    10   Subchapter D, Chapter 4, for an entity that is a new veteran-owned

    11   business   as     defined      by      Section       171.0005,         Tax   Code,     until    the
    12   earlier of:

    13                   (1)   the fifth anniversary of the date on which the
    14   entity was formed; or
    15                   (2)   the date the entity ceases to qualify as a new
    16   veteran-owned business as defined by Section 171.0005, Tax Code.

    17          SECTION 2.          Section      171.0001(4),             Tax   Code,    is    amended      to

    18   read as follows:
    19                   (4)   11
                                    Beginning date           means:
    20                          (A)     except as provided by Paragraph (B) :

    21                                  (i)      for     a     taxable          entity    chartered         or
    22   organized in this state, the date on which the taxable entity's
    23   charter or organization takes effect; and
    24                                  ( ii)    [44]         for    any    other       taxable   entity,



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                                                                                                  App.209
     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21             Page 211 of 272 PageID 433




                                                                                    S.B. No.     938

 1   the date on which the taxable entity begins doing business in this
 2   state; or
 3                           (B)      for a taxable entity that qualifies as a new

 4   veteran-owned business as defined by Section 171.0005, the earlier

 5   of:
 6                                    (i)     the fifth anniversary of the date on
 7   which the taxable entity begins doing business in this state; or
 8                                    (ii)     the date the taxable entity ceases to
 9   qualify   as   a     new veteran-owned             business    as    defined    by   Section

10   171.0005.
11          SECTION 3.           Effective January 1, 2026, Section 171.0001 (4),

12   Tax Code, is amended to read as follows:

13                  (4)     11
                                 Beginning date 1,      means:
14                           (A)     for a taxable entity chartered or organized

15   in this state, the date on which the taxable entity's charter or
16   organization takes effect; and
17                           (B)     for     any   other     taxable     entity,    the   date      on

18   which the taxable entity begins doing business in this state.
19          SECTION 4.           Subchapter A, Chapter 171, Tax Code, is amended

20   by adding Section 171.0005 to read as follows:

21          Sec.    171.0005.         DEFINITION        OF   NEW VETERAN-OWNED        BUSINESS.

22   (a)   A taxable entity is a new veteran-owned business only if the

23   taxable entity is a new business in which each owner is a natural
24   person who:
25                  (1)    served       in    and was honorably discharged                 from a
26   branch of the United States armed forces; and

27                  (2)    provides verification to the comptroller of the



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                                                                                          App.210
                                                                                                  64 1

     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21      Page 212 of 272 PageID 434




                                                                             S.B. No.    938

 1   person's service and discharge required by Subdivision (1) .

 2           (b)    The Texas Veterans Commission shall provide to a person

 3   who    meets     the     requirements       of   Subsection          (a)(1)   written

 4   verification of that status in a form required by the comptroller.
 5   The comptroller shall adopt rules prescribing the form and content

 6   of the verification and the manner in which the verification may be
 7   provided to the comptroller.
 8           (c)    For   purposes   of   Subsection     (a),      a new business       is    a

 9   taxable entity that:
10                  (1)     is chartered or organized or otherwise formed in
11   this state; and
12                  (2)     first begins doing business in this state on or
13   after January 1, 2022.
14          SECTION 5.        Section 171.001, Tax Code, is amended by adding

15   Subsection (d) to read as follows:

16           (d)    Notwithstanding Subsection         (a),     the tax imposed under

17   this chapter is not imposed on a taxable entity that qualifies as a
18   new veteran-owned business as defined by Section 171.0005 until the

19   earlier of:
20                  (1)     the fifth anniversary of the date on which the
21   taxable entity begins doing business in this state; or
22                  (2)     the date the taxable entity ceases to qualify as a
23   new veteran-owned business as defined by Section 171.0005.

24          SECTION 6.       Section 171.063(g), Tax Code, is amended to read

25   as follows:

26           (g)    If a corporation's federal tax exemption is withdrawn by

27   the   Internal   Revenue    Service    for   failure     of    the   corporation        to




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     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                 Page 213 of 272 PageID 435




                                                                                          S.B. No.   938

 1   qualify        or    maintain     its    qualification            for     the     exemption,    the
 2   corporation s exemption under this section ends on the effective
 3   date    of     that    withdrawal       by   the       Internal      Revenue       Service.     The

 4   effective date of the withdrawal is considered the corporation's
 5   beginning           date   for   purposes      of       determining         the     corporation's
 6   privilege periods and for all other purposes of this chapterl
 7   except that if the corporation would have been subject to Section

 8   171.001(d)          in the absence of the federal tax exemption, and the
 9   effective date of the withdrawal is a date earlier than the date the
10   corporation would have become                      subiect      to    the franchise tax            as
11   provided by Section 171.001(d) , the date the corporation would have

12   become       subject       to    the    franchise         tax     under      that     section      is
13   considered the corporation's beginning date for those purposes.
14            SECTION 7.         Effective January 1,                2026,     Section 171.063(g),

15   Tax Code, is amended to read as follows:

16            (g)        If a corporation's federal tax exemption is withdrawn by

17   the    Internal        Revenue    Service     for       failure      of    the    corporation      to

18   qualify        or    maintain     its   qualification            for      the     exemption,    the
19   corporation's exemption under this section ends on the effective
20   date    of     that    withdrawal       by   the       Internal      Revenue      Service.      The

21   effective date of the withdrawal is considered the corporation's
22   beginning           date   for   purposes      of       determining         the     corporation     S

23   privilege periods and for all other purposes of this chapter.
24            SECTION 8.         Section 171.204, Tax Code,                    is amended by adding

25   Subsection (d) to read as follows:

26            (d)        The comptroller may require a taxable entity on which

27   the tax imposed under this chapter is not imposed solely because of



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                                                                                              App.212
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     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                Page 214 of 272 PageID 436




                                                                                      S.B.       No.   938

 1   the application of Section 171.001(d) to file an information report

 2   stating the taxable entity's beginning date as determined under
 3   Section 171.0001(4)(B)              and any other information the comptroller

 4   determines necessary.           The comptroller may not require the taxable

 5   entity to report or compute its margin.
 6          SECTION 9.        Effective           January        1,     2026,       the     following

 7   provisions are repealed:
 8                   (1)    Section 12.005, Business Organizations Code;

 9                   (2)    Section 171.0005, Tax Code;

10                   (3)    Section 171.001(d), Tax Code; and

11                   (4)    Section 171.204(d), Tax Code.

12          SECTION 10.        The changes         in law made by this Act that take

13   effect January 1,         2026,      do not apply to a business that first
14   qualifies before that date as a new veteran-owned business as
15   defined    by   Section      171.0005,        Tax    Code,       as    that   section        exists

16   immediately     before       that    date.         A business          that   first    qualifies

17   before January 1, 2026, as a new veteran-owned business is governed
18   by the law in effect immediately before that date, and that law is
19   continued in effect for that purpose.
20          SECTION 11.        The   agency       is     required to          implement     this Act

21   only if the legislature appropriates money specifically for that
22   purpose.        If     the     legislature           does        not     appropriate          money

23   specifically for        that purpose,              the commission may,               but    is not
24   required    to,       implement       this     Act     using          other    appropriations

25   available for the purpose.
26         SECTION 12.         Except as otherwise provided by this Act, this

27   Act takes effect January 1, 2022.




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                                                                                                App.213
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    Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21    Page 215 of 272 PageID 437




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                                                                           S.B. No.       938


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          Ekes:i/den~ of tlre Senate                     Speaker of the House

        Lj 3/hereby       certify   that   S.B. No.   938     passed    the    Senate      on

    April 13,    2021, by the following vote:         Yeas 31, Nays 0.

                                                              A
                                                 (159049*41)
                                                      Seciethr~*fthj Senate

           I    hereby    certify   that   S.B. No.     938   passed     the    House      on

    May 25,    2021,     by   the   following   vote:     Yeas 104,        Nays 1,        one

    present not voting.



                                                      Chief Clerk of-the Hout~


    Approved:


              Co - ) W - -2- C
                       Date



          2460    Gg#4 rnor
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                                                                  FILED IN THE OFFICE OF THE
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                                                                                 App.214
Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21           Page 216 of 272 PageID 438



                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                            §
 STATE OF TEXAS, STATE OF MISSISSIPPI,      §
 STATE OF LOUISIANA,                        §
                                            §
       Plaintiffs,                          §
                                            §    Case No. 2:21-cv-00079-Z
 v.                                         §
                                            §
 JANET YELLEN, IN HER OFFICIAL CAPACITY     §
 AS SECRETARY OF THE TREASURY, ET AL.,      §
                                            §
       Defendants.                          §
                                            §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

                                 S.B. No. 938 Fiscal Note

                                   EXHIBIT A-16




                                                                              App.215
     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                             Page 217 of 272 PageID 439



                                       LEGISLATIVE BUDGET BOARD
                                              Austin, Texas

                        FISCAL NOTE, 87TH LEGISLATIVE REGULAR SESSION


                                                      May 6, 2021

    TO: Honorable Morgan Meyer, Chair, House Committee on Ways & Means

FROM: Jerry McGinty, Director, Legislative Budget Board

 IN RE: SB938 by Campbell (Relating to an exemption from the franchise tax and certain filing fees for
        certain businesses owned by veterans during an initial period of operation in the state.), As Engrossed



 Estimated Two­year Net Impact to General Revenue Related Funds for SB938, As Engrossed : a
 negative impact of ($363,000) through the biennium ending August 31, 2023.

 Additionally, the bill will have a direct impact of a revenue loss to the Property Tax Relief Fund of
 ($300,000) for the 2022­23 biennium. Any loss to the Property Tax Relief Fund must be made up with an
 equal amount of General Revenue to fund the Foundation School Program.



General Revenue­Related Funds, Five­ Year Impact:

                                               Probable Net Positive/(Negative) Impact
                                      Fiscal
                                                                  to
                                       Year
                                                  General Revenue Related Funds
                                       2022                                 $0
                                       2023                         ($363,000)
                                       2024                        ($1,058,000)
                                       2025                        ($2,019,000)
                                       2026                        ($2,760,000)


All Funds, Five­Year Impact:

                                   Probable Revenue (Loss) from      Probable Revenue (Loss) from
                          Fiscal
                                      General Revenue Fund             Property Tax Relief Fund
                           Year
                                                1                                304
                           2022                         $0                                 $0
                           2023                 ($363,000)                         ($300,000)
                           2024                ($1,058,000)                        ($900,000)
                           2025                ($2,019,000)                       ($1,500,000)
                           2026                ($2,760,000)                       ($2,100,000)



Fiscal Analysis

The bill would amend the Business Organizations Code and the Tax Code to provide for waiver of filing fees and
for franchise tax exemption for new veteran­owned businesses.

The bill would provide that the secretary of state shall waive all filing fees imposed under Subchapter D,
Chapter 4, Business Organizations Code for a new veteran­owned business.

The bill would amend Chapter 171, Tax Code to provide for franchise tax exemption for a new veteran­owned
business formed in the state during the four­year period between January 1, 2022 and December 31, 2025. The
exemption would persist until the earlier of the fifth anniversary after the taxable entity begins doing business
                                                      Page 1 as
in the state or the date the taxable entity ceases to qualify of a2 new veteran­owned business. A “new veteran­
owned business” would be defined as a taxable entity each owner of which is a natural person who served in and
was honorably discharged from a branch of the United States armed forces as verified by the Texas Veterans
Commission.
                                                                                                     App.216
The bill would take effect January 1, 2022.
for franchise tax exemption for new veteran­owned businesses.
     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21 Page 218 of 272 PageID 440
The bill would provide that the secretary of state shall waive all filing fees imposed under Subchapter D,
Chapter 4, Business Organizations Code for a new veteran­owned business.

The bill would amend Chapter 171, Tax Code to provide for franchise tax exemption for a new veteran­owned
business formed in the state during the four­year period between January 1, 2022 and December 31, 2025. The
exemption would persist until the earlier of the fifth anniversary after the taxable entity begins doing business
in the state or the date the taxable entity ceases to qualify as a new veteran­owned business. A “new veteran­
owned business” would be defined as a taxable entity each owner of which is a natural person who served in and
was honorably discharged from a branch of the United States armed forces as verified by the Texas Veterans
Commission.

The bill would take effect January 1, 2022.

Methodology

The Comptroller indicates the bill would result in a franchise tax revenue loss from the Property Tax Relief
Fund. This estimate is based on U.S. Census Bureau data for veteran­owned businesses and Comptroller tax file
information for new franchise tax filers.

The Secretary of State estimated the General Revenue Fund revenue loss from waiving filing fees for new
veteran­owned businesses based on historical filing data.


Local Government Impact

No fiscal implication to units of local government is anticipated.


Source Agencies: 304 Comptroller of Public Accounts, 307 Secretary of State
LBB Staff: JMc, KK, SD




                                                  Page 2 of 2



                                                                                                  App.217
Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21           Page 219 of 272 PageID 441



                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                              §
 STATE OF TEXAS, STATE OF MISSISSIPPI,        §
 STATE OF LOUISIANA,                          §
                                              §
       Plaintiffs,                            §
                                              §    Case No. 2:21-cv-00079-Z
 v.                                           §
                                              §
 JANET YELLEN, IN HER OFFICIAL CAPACITY       §
 AS SECRETARY OF THE TREASURY, ET AL.,        §
                                              §
       Defendants.                            §
                                              §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

                                         S.B. No. 1524

                                   EXHIBIT A-17




                                                                              App.218
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                                                                                                            e.
         Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21               Page 220 of 272 PageID 442




              Chapter 401


                                                                                        S.B. No.    1524




     1                                                AN ACT

     2   relating to a sales and use tax refund pilot program for certain
     3   persons who employ apprentices.
     4           BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF TEXAS:

     5           SECTION 1.        Subchapter I, Chapter 151, Tax Code,                    is amended

     6   by adding Section 151.4292 to read as follows:

     7           Sec.   151.4292.      TAX REFUND PILOT PROGRAM FOR CERTAIN PERSONS

     8   WHO EMPLOY APPRENTICES.           (a)   In this section:

     9                   (1)     "Executive director" means the executive director

    10   of the Texas Workforce Commission.

    11                   (2)     "Qualified             apprenticeship"                 means          an
    12   apprenticeship program that is:
    13                           (A)   certified            as         an     industry-recognized
    14   apprenticeship         program    by    an    entity      determined      to    meet   United

    15   States Department of Labor criteria; or

    16                           (B)   registered with the United States Department

    17   of   Labor    and     qualified   to    receive       funding      provided     through     the

    18   Texas Workforce Commission under Chapter 133, Education Code.

    19           (b)    A person is eligible for a refund in the amount and under

    20   the conditions provided by this section of the taxes paid under this
    21   chapter during a calendar year if the person is certified by the
    22   executive director under Subsection                     (f)    and employs at least one

    23   apprentice in a qualified apprenticeship position for at                                  least
    24   seven months during the calendar year.                        A person is not considered




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                                                                                             App.219
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     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                 Page 221 of 272 PageID 443




                                                                                         S.B. No.       1524

 1   to be employed in a qualified apprenticeship position for purposes
 2   of this section:
 3                   (1)     after the earlier of:
 4                            (A)    the fourth anniversary of employment in the

 5   position; or
 6                            (B)    the     conclusion               of     the       term      of     the

 7   apprenticeship position; or
 8                   (2)     if the person was employed in another position by
 9   the   employer         immediately       before       beginning              employment      in    the
10   apprenticeship position.
11             (c)   Subject to Subsections                (d)    and      (e),    the amount of the

12   refund for      a calendar        year    in connection with each apprentice
13   described by Subsection (b) is $2,500.

14          (d)      The total amount of the refund for a calendar year                                    is

15   equal to the lesser of:
16                   (1)     the    amount    allowed under                Subsection      (c)    for   the

17   calendar year for each apprentice described by Subsection (b), not

18   to exceed the maximum number of apprentices provided by Subsection

19   (e); or
20                   (2)     the amount of sales and use taxes paid by the
21   person during the calendar year.
22          (e)      The maximum number             of    apprentices             in   connection with

23   whom a person may receive a refund in a calendar year is:
24                   ( 1)    one; or
25                   (2)     not    more     than        six     if     at    least      half     of    the
26   apprentices employed are:
27                           (A)    foster children who have transitioned or are




                                                     2



                                                                                                 App.220
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     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21            Page 222 of 272 PageID 444




                                                                                  S.B. No. 1524
 1   transitioning        to     independent       living,       as     described    in    Section

 2   264.121, Family Code;

 3                             (B)    military     veterans,          as   defined   by    Section

 4   55.001, Occupations Code;

 5                             (C)    military      spouses,      as       defined   by    Section

 6   55.001, Occupations Code; or

 7                             (D)    women.

 8           (f)    A person may not apply for a refund under this section

 9   unless the executive director certifies that the person is able to
10   employ apprentices              in qualified       apprenticeships.          A person must

11   apply   to    the    executive       director       to    obtain      certification.        The

12   executive     director          shall     create     an    application       form    for    the
13   certification.
14           (g)    The    executive          director   may certify not more             than   100

15   persons under Subsection (f) at any time.                    If the number of eligible

16   applicants     exceeds the           limit    provided by this            subsection,       the
17   executive     director           shall    select     applicants        for   certification
18   according to rules adopted under Subsection (h) .

19           (h)    The executive director shall adopt rules that establish

20   merit-based criteria for selecting persons to certify from among
21   those who apply.          The rules must require that the executive director

22   give preference to applicants who:
23                  (1)    offer qualified apprenticeships in areas of this
24   state that are not designated as metropolitan statistical areas by
25   the United States Office of Management and Budget; and

26                  (2)    provide            training    and     skills       development          in
27   emerging or developing occupational fields.



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                                                                                          App.221
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     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                 Page 223 of 272 PageID 445




                                                                                       S.B. No. 1524
 1            (i)        The executive director shall issue a certificate to each

 2   person     certified        under    Subsection            (f).      The    certificate          must

 3   confirm that the person is eligible to apply for a refund under this
 4   section.
 5            (j)        A person must       apply       to    the   comptroller       for     a    refund

 6   under this section.              The person must include with the application

 7   the certificate issued to the person under Subsection                               (i)       and any

 8   other information the comptroller requires.
 9            (k)        Not later than September 1, 2024, the executive director

10   shall prepare and deliver to the governor, the lieutenant governor,
11   the speaker of the house of representatives,                               and the presiding
12   officer        of    each   legislative         standing          committee       with        primary
13   jurisdiction over taxation a report that evaluates the effect of
14   the    pilot        program on the       employment             outcomes    and    earnings         of
15   apprentices with respect to whom refunds are granted under the
16   pilot    program        under    this   section.            The    report    must       include      a

17   recommendation          regarding       whether          the    pilot   program         should      be
18   continued, expanded, or terminated.
19            (1)        A person who    applies         for    a refund under         this        section

20   shall provide to the executive director information the executive
21   director       requests to prepare the               report       described by Subsection

22   (k).
23            (m)        This section expires December 31, 2026.

24           SECTION 2.          A person may apply for                a refund under              Section

25   151.4292, Tax Code,             as added by this Act,             only in connection with

26   apprentices first employed on or after the effective date of this
27   Act.




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                                                                                               6.

    Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21        Page 224 of 272 PageID 446




                                                                             S.B. No. 1524
1          SECTION 3.         The    Texas      Workforce       Commission       and     the

2   comptroller of public accounts are required to implement this Act

3   only if the legislature appropriates money specifically for that
4   purpose.       If     the       legislature       does   not   appropriate         money

5   specifically for that purpose, the commission and the comptroller
6   may,   but   are    not   required    to,       implement   this   Act    using    other

7   appropriations available for the purpose.
8          SECTION 4.         This Act takes effect January 1, 2022.




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Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21             Page 225 of 272 PageID 447                Au--




                                                                             S.B. No.        1524




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       POsidint dighAe Senate                                Speaker of the House

   ~    1 ~ )@A re 'by
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                         d& r tify   that   S . B . No .   1524 passed      the    Senate          on




                                                       04ru
Ap~i.Ff~, 2021, by the following vote:                     Yeas 27, Nays 4.




                                                           Secretary~f~the/Senate

        I    hereby      certify     that   S.B.    No.    1524   passed     the     House         on

May    24,   2021,       by   the    following     vote:      Yeas 103,       Nays 38,        one

present not voting.



                                                           Chief Clerk of the HousA


Approved:


        6 - 9- 2/  Date



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                                                                     SECRETARY OF STATE
                                                                    81©0 Un_     O'CLOCK

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Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21            Page 226 of 272 PageID 448



                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                            §
 STATE OF TEXAS, STATE OF MISSISSIPPI,      §
 STATE OF LOUISIANA,                        §
                                            §
       Plaintiffs,                          §
                                            §     Case No. 2:21-cv-00079-Z
 v.                                         §
                                            §
 JANET YELLEN, IN HER OFFICIAL CAPACITY     §
 AS SECRETARY OF THE TREASURY, ET AL.,      §
                                            §
       Defendants.                          §
                                            §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

                                 S.B. No. 1524 Fiscal Note

                                   EXHIBIT A-18




                                                                               App.225
     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                              Page 227 of 272 PageID 449



                                         LEGISLATIVE BUDGET BOARD
                                                Austin, Texas

                         FISCAL NOTE, 87TH LEGISLATIVE REGULAR SESSION


                                                        May 6, 2021

    TO: Honorable Morgan Meyer, Chair, House Committee on Ways & Means

FROM: Jerry McGinty, Director, Legislative Budget Board

 IN RE: SB1524 by Hughes (Relating to a sales and use tax refund pilot program for certain persons who
        employ apprentices.), As Engrossed



 Estimated Two­year Net Impact to General Revenue Related Funds for SB1524, As Engrossed : a
 negative impact of ($1,756,000) through the biennium ending August 31, 2023.

 The bill would make no appropriation but could provide the legal basis for an appropriation of funds to
 implement the provisions of the bill.


General Revenue­Related Funds, Five­ Year Impact:

                                                 Probable Net Positive/(Negative) Impact
                                        Fiscal
                                                                    to
                                         Year
                                                    General Revenue Related Funds
                                         2022                         ($128,000)
                                         2023                        ($1,628,000)
                                         2024                        ($1,628,000)
                                         2025                        ($1,628,000)
                                         2026                        ($1,628,000)


All Funds, Five­Year Impact:

                         Probable Revenue (Loss) from      Probable (Cost) from
                Fiscal
                            General Revenue Fund          General Revenue Fund         Change in Number of State
                 Year
                                      1                             1                   Employees from FY 2021
                  2022                     $0                      ($128,000)                          2.0
                  2023            ($1,500,000)                     ($128,000)                          2.0
                  2024            ($1,500,000)                     ($128,000)                          2.0
                  2025            ($1,500,000)                     ($128,000)                          2.0
                  2026            ($1,500,000)                     ($128,000)                          2.0



Fiscal Analysis

The bill would amend Chapter 151 of the Tax Code regarding sales and use tax refunds for businesses that
employ apprentices. The bill would define apprentices that qualify for a refund as those that participate in a
program that is either registered with the U.S. Department of Labor (DoL) and qualified to receive funding
provided through the Texas Workforce Commission under Chapter 133 of the Education Code, or certified as
an industry­recognized apprenticeship program by an entity determined to meet DoL criteria.

The bill would add Section 151.4292 to allow an entity that is certified by the Texas Workforce Commission
(TWC) to claim a sales tax refund of $2,500 per qualified apprenticeship position per calendar year. The
apprentice would have to be employed by the entity for at least seven months during the calendar year in order
for the entity to be eligible for the refund.

                                                  Page 1 at
TWC would not be able to certify more than 100 entities  of a2time. The maximum number of apprentices any
entity would be able to claim for purposes of the refund would be one or up to six if half of the apprentices
meet certain criteria described in the bill.

The total refund amount allowed per calendar year would be limited to the lesser of the total salesApp.226
                                                                                                    and use taxes
paid by the person during the calendar year or the maximum refund amount allowed in connection with each
provided through the Texas Workforce Commission under Chapter 133 of the Education Code, or certified as
an industry­recognized apprenticeship program by an entity determined to meet DoL criteria.
      Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21 Page 228 of 272 PageID 450
The bill would add Section 151.4292 to allow an entity that is certified by the Texas Workforce Commission
(TWC) to claim a sales tax refund of $2,500 per qualified apprenticeship position per calendar year. The
apprentice would have to be employed by the entity for at least seven months during the calendar year in order
for the entity to be eligible for the refund.

TWC would not be able to certify more than 100 entities at a time. The maximum number of apprentices any
entity would be able to claim for purposes of the refund would be one or up to six if half of the apprentices
meet certain criteria described in the bill.

The total refund amount allowed per calendar year would be limited to the lesser of the total sales and use taxes
paid by the person during the calendar year or the maximum refund amount allowed in connection with each
apprentice for not more than six apprentices. The bill would require a person to apply to the Comptroller to
receive the refund.

The bill would require TWC to write a report evaluating the effectiveness of the apprenticeship program by
September 1, 2024.

Section 151.4292 would expire December 31, 2026.

The bill would take effect January 1, 2022.

Methodology

The Comptroller assumes TWC would certify 100 entities, that those entities that apply for certification would
be those with enough annual sales tax remittances to receive the maximum allowable refunds, and that each
certified entity would employ six apprentices, the maximum number of apprentices allowed for purposes of the
sales tax refund. Refunds would be paid in each year following the calendar year of apprenticeship.

The administrative cost includes the funds necessary for the Comptroller to hire two Accounts Examiner III
FTEs to implement the provisions of the bill. These FTEs are necessary to verify and pay the additional sales tax
refund claims.

TWC indicates they could absorb their responsibilities from the bill within existing resources.


Local Government Impact

No fiscal implication to units of local government is anticipated.


Source Agencies: 304 Comptroller of Public Accounts, 320 Texas Workforce Commission
LBB Staff: JMc, KK, SD




                                                  Page 2 of 2



                                                                                                  App.227
Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21            Page 229 of 272 PageID 451



                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                             §
 STATE OF TEXAS, STATE OF MISSISSIPPI,       §
 STATE OF LOUISIANA,                         §
                                             §
       Plaintiffs,                           §
                                             §     Case No. 2:21-cv-00079-Z
 v.                                          §
                                             §
 JANET YELLEN, IN HER OFFICIAL CAPACITY      §
 AS SECRETARY OF THE TREASURY, ET AL.,       §
                                             §
       Defendants.                           §
                                             §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                           DECLARATION OF JEFFREY M. WHITE

               July 7, 2021 Proclamation by the Governor of the State of Texas

                                   EXHIBIT A-19




                                                                                 App.228
  Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                         Page 230 of 272 PageID 452




                                      GOVERNOR GREG ABBOTT



July 7, 2021
                                                               FILED IN THE OFFICE OF THE
                                                                  SECRETARY OF STATE
                                                                        ~~ O'CLOCK

                                                                ~L~_20_21_ _
Mr. Joe A. Esparza                                                        etary o State
Deputy Secretary of State
State Capitol Room 1E.8
Austin, Texas 7870 l

Dear Mr. Deputy Secretary:

Pursuant to his powers as Governor of the State of Texas, Greg Abbott has issued the following:

   A proclamation calling an extraordinary session of the 87th Legislature, to convene in the
   City of Austin, commencing at IO a.m. on Thursday, July 8, 2021.

The original proclamation is attached to this letter of transmittal.

Respectfully submitted,




                     son
               lerk to the Governor



Attachment




             Posr OFFICE Box 12428 AUSTIN, TEXAS 78711 512-463-2000 (VOICE) DIAL 7·1·1 FOR RELAy SERVICES




                                                                                                        App.229
Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                 Page 231 of 272 PageID 453




                          PROCLAMATION
                                                BY THE




   TO ALL TO WHOM THESE PRESENTS SHALL COME:




   I, GREG ABBOTT, GOVERNOR OF THE STATE OF TEXAS, by the authority vested in
   me by Article III, Sections 5 and 40, and Article IV, Section 8 of the Texas Constitution, do
   hereby call an extraordinary session of the 87th Legislature, to convene in the City of Austin,
   commencing at 10:00 a.m. on Thursday, July 8, 2021, for the following purposes:

      To consider and act upon the following:

          Legislation reforming the bail system in Texas to protect the public from
          accused criminals who may be released on bail.

          Legislation strengthening the integrity of elections in Texas.

          Legislation providing funding to support law-enforcement agencies, counties,
          and other strategies as part of Texas' comprehensive border security plan.

          Legislation safeguarding the freedom of speech by protecting social-media
          users from being censored by social-media companies based on the user's
          expressed viewpoints, including by providing a legal remedy for those
          wrongfully excluded from a platform.

          Legislation providing appropriations to the Legislature and legislative
          agencies in Article X of the General Appropriations Act.

          Legislation similar to Senate Bill 1109 from the 87th Legislature, Regular
          Session, requiring schools to provide appropriate education to middle- and
          high-school students about dating violence, domestic violence, and child
          abuse, but that recognizes the right of parents to opt their children out of the
          instruction.

          Legislation identical to Senate Bill 29 as passed by the Texas Senate in the
          87th Legislature, Regular Session, disallowing a student from competing in
          University Interscholastic League athletic competitions designated for the sex
          opposite to the student's sex at birth.

          Legislation similar to Senate Bill 394 from the 87th Legislature, Regular
          Session, which prohibits people from providing abortion-inducing drugs by
          mail or delivery service, strengthens the laws applicable to the reporting of
          abortions and abortion complications, and ensures that no abortion-inducing
          drugs are provided unless there is voluntary and informed consent.

          Legislation similar to House Bill 3507 from the 87th Legislature, Regular
          Session, relating to a "thirteenth check" or one-time supplemental payment of
          benefits under the Teacher Retirement System of Texas.

          Legislation similar to House Bill 3979 concerning critical race theory as
          originally passed by the Texas Senate in the 87th Legislature, Regular
          Session.

                                                                            FILED IN THE OFFICE OF THE
                                                                               SECRETARY OF STATE
                                                                                  4'AM O'CLOCK
                                                                                 JUL 0 7 2021
                                                                                             App.230
Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21               Page 232 of 272 PageID 454



Governor Greg Abbott                                                            Proclamation
July 7, 2021                                                                          Page 2




          Legislation providing appropriations from additional available general
          revenue for the following purposes:

             •   property-tax reliet
             •   enhanced protection for the safety of children in Texas' foster-care
                 system by attracting and retaining private providers for the system; and
             •   to better safeguard the state from potential cybersecurity threats.
      To consider and act upon such other subjects as may be submitted by the
      Governor from time to time after the session convenes.

   The Secretary of State will take notice of this action and will notify the members of the
   legislature of my action.


                                                IN TESTIMONY WHEREOF, I
                                                have hereto signed my name and
                                                have officially caused the Seal of
                                                State to be affixed at my Office in
                                                the City of Austin, Texas, this the
                                                7th day of July, 2021 .




                                               GREG ABBOTT
                                               Governor of Texas




  Attested by:




  Deputy Secretary of State




                                                                               FILED IN THE OFFICE OF THE
                                                                                  SECRETARY OF STATE
                                                                                       'A-':'\   O'CLOCK

                                                                                       JUL 0 7 2021
                                                                                           App.231
Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21            Page 233 of 272 PageID 455



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION


                                             §
 STATE OF TEXAS, STATE OF MISSISSIPPI,       §
 STATE OF LOUISIANA,                         §
                                             §
       Plaintiffs,                           §
                                             §     Case No. 2:21-cv-00079-Z
 v.                                          §
                                             §
 JANET YELLEN, IN HER OFFICIAL CAPACITY      §
 AS SECRETARY OF THE TREASURY, ET AL.,       §
                                             §
       Defendants.                           §
                                             §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                           DECLARATION OF JEFFREY M. WHITE

              August 5, 2021 Proclamation by the Governor of the State of Texas

                                   EXHIBIT A-20




                                                                                  App.232
   Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                        Page 234 of 272 PageID 456




                                   GOVERNOR              GREG       ABBOTT



August 5,2021
                                                              FILED IN THE OFFCE OF THE
                                                                 SECRETARY OF STATE
                                                                 fl2.S±1D’CLOCK

                                                             O2O

Mr. Joe A. Esparza
Deputy Secretary of State
State Capitol Room IE.8
Austin, Texas 78701

Dear Mr. Deputy Secretary:

Pursuant to his powers as Governor of the State of Texas, Greg Abbott has issued the following:

   A proclamation calling an extraordinary session of the 87th Legislature, to convene in the
   City of Austin. commencing at 12 p.m. noon on Saturday. August 7, 2021.

The original proclamation is attached to this letter of transmittal.

Respectfully submitted,




                         Governor




Attachment




             POST OFFICE Box 12428 AUSTIN, TEXAS 78711 512-463-2000 (VOICE) DIAL 7-1-1 Foa RELAY SERVICES
                                                                                                        App.233
Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                 Page 235 of 272 PageID 457




                        PROCLAMATION
                                             BY THE

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   TO ALL TO WHOM THESE PRESENTS SHALL COME:




   I, GREG ABBOTT, GOVERNOR OF THE STATE OF TEXAS, by the authority vested
   in me by Article III, Sections 5 and 40, and Article IV, Section 8 of the Texas
   Constitution, do hereby call an extraordinary session of the 87th Legislature, to convene
   in the City of Austin, commencing at 12:00 p.m. on Saturday, August 7, 2021, for thc
   following purposes:

      To consider and act upon the following:

          Legislation reforming the bail system in Texas to protect the public from
          accused criminals who may be released on bail.

          Legislation strengthening the integrity of elections in Texas.

          Legislation providing appropriations from unappropriated available revenues
          for COVID-19-related healthcare expenses, such as those listed below, taking
          into consideration the approximately $10.5 billion in funds received by local
          governments intended to be used on COVID-19 from the American Rescue
          Plan Act of 2021 (ARPA), Pub. L. No. 117-2:

             •   healthcare staffing needs, including physicians, nurses, and other
                 medical professionals;

             •   establishing, staffing, and operating alternative care sites;

             •   supporting the operations of nursing homes, state supported living
                 centers, assisted living facilities, and long-term care facilities;

             •   vaccine administration;

             •   testing sites;

             •   supplies and equipment, such as personal protective equipment (PPE)
                 and ventilators; and

             •   standing up and operating infusion centers.

         Legislation providing strategies for public-school education in
         prekindergarten through twelfth grade during the COVID-19 pandemic, which
         ensures:

              • students receive a high-quality education and progress in their
                 learning;

              • in-person learning is available for any student whose parent wants it;

              • the wearing of face coverings is not mandatory; and
                                                                            FILED IN THE OFFICE OF ThE
              • COVID-19 vaccinations are always voluntary.

                                                                                 AUG 052021
                                                                                          App.234
Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                Page 236 of 272 PageID 458



Governor Greg Abbott                                                             Proclamation
August 5, 2021                                                                         Page 2




         Legislation enhancing criminal laws or providing funding from
         unappropriated available revenues to support law-enforcement agencies,
         counties, and other strategies as part of Texas’ comprehensive border security
         plan.

         Legislation safeguarding the freedom of speech by protecting social-media
         and email users from being censored based on the user’s expressed
         viewpoints, including by providing a legal remedy for those wrongfully
         excluded from a platform.

         Legislation providing appropriations from unappropriated available revenues
         to the Legislature and legislative agencies in Article X of the General
         Appropriations Act.

         Legislation similar to Senate Bill 1109 from the 87th Legislature, Regular
         Session, requiring schools to provide appropriate education to middle- and
         high-school students about dating violence, domestic violence, and child
         abuse, but that recognizes the right of parents to opt their children out of the
         instruction.

         Legislation identical to Senate Bill 29 as passed by the Texas Senate in the
         87th Legislature, Regular Session, disallowing a student from competing in
         University Interscholastic League athletic competitions designated for the sex
         opposite to the student’s sex at birth.

         Legislation similar to Senate Bill 394 from the 87th Legislature, Regular
         Session, which prohibits people from providing abortion-inducing drugs by
         mail or delivery service, strengthens the laws applicable to the reporting of
         abortions and abortion complications, and ensures that no abortion-inducing
         drugs are provided unless there is voluntary and informed consent.

         Legislation similar to House Bill 3507 from the 87th Legislature, Regular
         Session, relating to a “thirteenth check” or one-time supplemental payment of
         benefits under the Teacher Retirement System of Texas.

         Legislation similar to House Bill 3979 concerning critical race theory as
         originally passed by the Texas Senate in the 87th Legislature, Regular
         Session.

         Legislation providing appropriations from unappropriated available revenues
         for the following purposes:

            •   property-tax relief;

            •   enhanced protection for the safety of children in Texas’ foster-care
                system by attracting and retaining private providers for the system; and

            •   to better safeguard the state from potential cybersecurity threats.

         Legislation modifying the filing periods and related election dates, including
         any runoffs, for primary elections held in Texas in 2022.
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                                                                              SECREThRY OF STATE
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Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                Page 237 of 272 PageID 459



Governor Greg Abbott                                                            Proclamation
August 5,2021                                                                         Page 3




          Legislation reforming the laws governing radioactive waste to protect the
          safety of Texans, including by further limiting the ability to store and
          transport high-level radioactive materials in this state.

          Legislation shielding private employers and employees from political
          subdivision rules, regulations, ordinances, and other actions that require any
          terms of employment that exceed or conflict with federal or state law relating
          to any form of employment leave, hiring practices, employment benefits, or
          scheduling practices.

          Legislation relating to legislative quorum requirements.

      To consider and act upon such other subjects as may be submitted by the Governor
      from time to time after the session convenes.

   The Secretary of State will take notice of this action and will notify the members of the
   legislature of my action.


                                                IN TESTIMONY WHEREOF, I
                                                have hereto signed my name and
                                                have officially caused the Seal of
                                                State to be affixed at my Office
                                                in the City of Austin, Texas, this
                                                the 5th day of August, 2021.




                                                Governor of Texas




  Attested by:




  Deputy Secretary of State




                                                                              FILED IN THE 0FFCE OF TH
                                                                                 SECRETARY OF STATE
                                                                                   12 p.’i. O’CLOCK
                                                                                     AUG 052021

                                                                                           App.236
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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                             §
 STATE OF TEXAS, STATE OF MISSISSIPPI,       §
 STATE OF LOUISIANA,                         §
                                             §
       Plaintiffs,                           §
                                             §     Case No. 2:21-cv-00079-Z
 v.                                          §
                                             §
 JANET YELLEN, IN HER OFFICIAL CAPACITY      §
 AS SECRETARY OF THE TREASURY, ET AL.,       §
                                             §
       Defendants.                           §
                                             §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

                                         S.B. No. 12

                                   EXHIBIT A-21




                                                                              App.237
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                                                                               S.B.ANo.A12




1                                          AN ACT

2    relating to the reduction of the amount of a limitation on the total

3    amount of ad valorem taxes that may be imposed by a school district

4    on    the   residence   homestead    of   an    individual     who   is   elderly      or

5    disabled to reflect any reduction from the preceding tax year in the

6    district ’s maximum compressed rate and to the protection of school

7    districts against the resulting loss in local revenue.

8            BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF TEXAS:

9            SECTIONA1.AASection 11.26, Tax Code, is amended by adding

10   Subsections (a-4), (a-5), (a-6), (a-7), (a-8), (a-9), and (a-10) to

11   read as follows:

12           (a-4)AAIn this section, "maximum compressed rate" means the

13   maximum compressed rate of a school district as calculated under

14   Section 48.2551, Education Code.

15           (a-5)AANotwithstanding the other provisions of this section,

16   if in the 2023 tax year an individual qualifies for a limitation on

17   tax    increases   provided     by   this       section   on    the   individual ’s

18   residence homestead and the first tax year the individual or the

19   individual ’s    spouse    qualified      for    an   exemption      under    Section

20   11.13(c) for the same homestead was a tax year before the 2019 tax

21   year, the amount of the limitation provided by this section on the

22   homestead in the 2023 tax year is equal to the amount computed by:

23                  (1)AAmultiplying the taxable value of the homestead in

24   the 2018 tax year by a tax rate equal to the difference between the




                                               1



                                                                                  App.238
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                                                                              S.B.ANo.A12

1    school district ’s tier one maintenance and operations rate for the

2    2018 tax year and the district ’s maximum compressed rate for the

3    2019 tax year;

4                  (2)AAsubtracting     the       greater   of    zero   or   the   amount

5    computed under Subdivision (1) from the amount of tax the district

6    imposed on the homestead in the 2018 tax year;

7                  (3)AAadding    any   tax       imposed    in   the    2019   tax   year

8    attributable to improvements made in the 2018 tax year as provided

9    by Subsection (b) to the amount computed under Subdivision (2);

10                 (4)AAmultiplying the taxable value of the homestead in

11   the 2019 tax year by a tax rate equal to the difference between the

12   district ’s maximum compressed rate for the 2019 tax year and the

13   district ’s maximum compressed rate for the 2020 tax year;

14                 (5)AAsubtracting the amount computed under Subdivision

15   (4) from the amount computed under Subdivision (3);

16                 (6)AAadding    any   tax       imposed    in   the    2020   tax   year

17   attributable to improvements made in the 2019 tax year as provided

18   by Subsection (b) to the amount computed under Subdivision (5);

19                 (7)AAmultiplying the taxable value of the homestead in

20   the 2020 tax year by a tax rate equal to the difference between the

21   district ’s maximum compressed rate for the 2020 tax year and the

22   district ’s maximum compressed rate for the 2021 tax year;

23                 (8)AAsubtracting the amount computed under Subdivision

24   (7) from the amount computed under Subdivision (6);

25                 (9)AAadding    any   tax       imposed    in   the    2021   tax   year

26   attributable to improvements made in the 2020 tax year as provided

27   by Subsection (b) to the amount computed under Subdivision (8);




                                              2



                                                                                 App.239
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                                                                          S.B.ANo.A12

1                  (10)AAmultiplying the taxable value of the homestead in

2    the 2021 tax year by a tax rate equal to the difference between the

3    district ’s maximum compressed rate for the 2021 tax year and the

4    district ’s maximum compressed rate for the 2022 tax year;

5                  (11)AAsubtracting        the      amount        computed          under

6    Subdivision (10) from the amount computed under Subdivision (9);

7                  (12)AAadding     any   tax    imposed    in   the   2022    tax   year

8    attributable to improvements made in the 2021 tax year as provided

9    by Subsection (b) to the amount computed under Subdivision (11);

10                 (13)AAmultiplying the taxable value of the homestead in

11   the 2022 tax year by a tax rate equal to the difference between the

12   district ’s maximum compressed rate for the 2022 tax year and the

13   district ’s maximum compressed rate for the 2023 tax year;

14                 (14)AAsubtracting        the      amount        computed          under

15   Subdivision (13) from the amount computed under Subdivision (12);

16   and

17                 (15)AAadding     any   tax    imposed    in   the   2023    tax   year

18   attributable to improvements made in the 2022 tax year as provided

19   by Subsection (b) to the amount computed under Subdivision (14).

20          (a-6)AANotwithstanding the other provisions of this section,

21   if in the 2023 tax year an individual qualifies for a limitation on

22   tax   increases    provided     by   this    section     on   the   individual ’s

23   residence homestead and the first tax year the individual or the

24   individual ’s    spouse   qualified    for    an    exemption     under    Section

25   11.13(c) for the same homestead was the 2019 tax year, the amount of

26   the limitation provided by this section on the homestead in the 2023

27   tax year is equal to the amount computed by:




                                            3



                                                                               App.240
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                                                                           S.B.ANo.A12

1                  (1)AAmultiplying the taxable value of the homestead in

2    the 2019 tax year by a tax rate equal to the difference between the

3    school district ’s maximum compressed rate for the 2019 tax year and

4    the district ’s maximum compressed rate for the 2020 tax year;

5                  (2)AAsubtracting the amount computed under Subdivision

6    (1) from the amount of tax the district imposed on the homestead in

7    the 2019 tax year;

8                  (3)AAadding    any   tax       imposed    in   the   2020   tax   year

9    attributable to improvements made in the 2019 tax year as provided

10   by Subsection (b) to the amount computed under Subdivision (2);

11                 (4)AAmultiplying the taxable value of the homestead in

12   the 2020 tax year by a tax rate equal to the difference between the

13   district ’s maximum compressed rate for the 2020 tax year and the

14   district ’s maximum compressed rate for the 2021 tax year;

15                 (5)AAsubtracting the amount computed under Subdivision

16   (4) from the amount computed under Subdivision (3);

17                 (6)AAadding    any   tax       imposed    in   the   2021   tax   year

18   attributable to improvements made in the 2020 tax year as provided

19   by Subsection (b) to the amount computed under Subdivision (5);

20                 (7)AAmultiplying the taxable value of the homestead in

21   the 2021 tax year by a tax rate equal to the difference between the

22   district ’s maximum compressed rate for the 2021 tax year and the

23   district ’s maximum compressed rate for the 2022 tax year;

24                 (8)AAsubtracting the amount computed under Subdivision

25   (7) from the amount computed under Subdivision (6);

26                 (9)AAadding    any   tax       imposed    in   the   2022   tax   year

27   attributable to improvements made in the 2021 tax year as provided




                                              4



                                                                               App.241
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                                                                               S.B.ANo.A12

1    by Subsection (b) to the amount computed under Subdivision (8);

2                  (10)AAmultiplying the taxable value of the homestead in

3    the 2022 tax year by a tax rate equal to the difference between the

4    district ’s maximum compressed rate for the 2022 tax year and the

5    district ’s maximum compressed rate for the 2023 tax year;

6                  (11)AAsubtracting            the      amount          computed         under

7    Subdivision (10) from the amount computed under Subdivision (9);

8    and

9                  (12)AAadding     any   tax       imposed     in   the   2023     tax   year

10   attributable to improvements made in the 2022 tax year as provided

11   by Subsection (b) to the amount computed under Subdivision (11).

12          (a-7)AANotwithstanding the other provisions of this section,

13   if in the 2023 tax year an individual qualifies for a limitation on

14   tax   increases    provided     by   this        section       on   the   individual ’s

15   residence homestead and the first tax year the individual or the

16   individual ’s    spouse   qualified        for    an   exemption      under     Section

17   11.13(c) for the same homestead was the 2020 tax year, the amount of

18   the limitation provided by this section on the homestead in the 2023

19   tax year is equal to the amount computed by:

20                 (1)AAmultiplying the taxable value of the homestead in

21   the 2020 tax year by a tax rate equal to the difference between the

22   school district ’s maximum compressed rate for the 2020 tax year and

23   the district ’s maximum compressed rate for the 2021 tax year;

24                 (2)AAsubtracting the amount computed under Subdivision

25   (1) from the amount of tax the district imposed on the homestead in

26   the 2020 tax year;

27                 (3)AAadding     any    tax       imposed    in    the   2021    tax    year




                                                5



                                                                                    App.242
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                                                                               S.B.ANo.A12

1    attributable to improvements made in the 2020 tax year as provided

2    by Subsection (b) to the amount computed under Subdivision (2);

3                  (4)AAmultiplying the taxable value of the homestead in

4    the 2021 tax year by a tax rate equal to the difference between the

5    district ’s maximum compressed rate for the 2021 tax year and the

6    district ’s maximum compressed rate for the 2022 tax year;

7                  (5)AAsubtracting the amount computed under Subdivision

8    (4) from the amount computed under Subdivision (3);

9                  (6)AAadding     any    tax       imposed    in    the   2022    tax   year

10   attributable to improvements made in the 2021 tax year as provided

11   by Subsection (b) to the amount computed under Subdivision (5);

12                 (7)AAmultiplying the taxable value of the homestead in

13   the 2022 tax year by a tax rate equal to the difference between the

14   district ’s maximum compressed rate for the 2022 tax year and the

15   district ’s maximum compressed rate for the 2023 tax year;

16                 (8)AAsubtracting the amount computed under Subdivision

17   (7) from the amount computed under Subdivision (6); and

18                 (9)AAadding     any    tax       imposed    in    the   2023    tax   year

19   attributable to improvements made in the 2022 tax year as provided

20   by Subsection (b) to the amount computed under Subdivision (8).

21          (a-8)AANotwithstanding the other provisions of this section,

22   if in the 2023 tax year an individual qualifies for a limitation on

23   tax   increases    provided     by   this        section       on   the   individual ’s

24   residence homestead and the first tax year the individual or the

25   individual ’s    spouse   qualified        for    an   exemption      under    Section

26   11.13(c) for the same homestead was the 2021 tax year, the amount of

27   the limitation provided by this section on the homestead in the 2023




                                                6



                                                                                   App.243
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                                                                               S.B.ANo.A12

1    tax year is equal to the amount computed by:

2                  (1)AAmultiplying the taxable value of the homestead in

3    the 2021 tax year by a tax rate equal to the difference between the

4    school district ’s maximum compressed rate for the 2021 tax year and

5    the district ’s maximum compressed rate for the 2022 tax year;

6                  (2)AAsubtracting the amount computed under Subdivision

7    (1) from the amount of tax the district imposed on the homestead in

8    the 2021 tax year;

9                  (3)AAadding     any    tax       imposed    in    the   2022    tax   year

10   attributable to improvements made in the 2021 tax year as provided

11   by Subsection (b) to the amount computed under Subdivision (2);

12                 (4)AAmultiplying the taxable value of the homestead in

13   the 2022 tax year by a tax rate equal to the difference between the

14   school district ’s maximum compressed rate for the 2022 tax year and

15   the district ’s maximum compressed rate for the 2023 tax year;

16                 (5)AAsubtracting the amount computed under Subdivision

17   (4) from the amount computed under Subdivision (3); and

18                 (6)AAadding     any    tax       imposed    in    the   2023    tax   year

19   attributable to improvements made in the 2022 tax year as provided

20   by Subsection (b) to the amount computed under Subdivision (5).

21          (a-9)AANotwithstanding the other provisions of this section,

22   if in the 2023 tax year an individual qualifies for a limitation on

23   tax   increases    provided     by   this        section       on   the   individual ’s

24   residence homestead and the first tax year the individual or the

25   individual ’s    spouse   qualified        for    an   exemption      under    Section

26   11.13(c) for the same homestead was the 2022 tax year, the amount of

27   the limitation provided by this section on the homestead in the 2023




                                                7



                                                                                   App.244
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                                                                             S.B.ANo.A12

1    tax year is equal to the amount computed by:

2                  (1)AAmultiplying the taxable value of the homestead in

3    the 2022 tax year by a tax rate equal to the difference between the

4    school district ’s maximum compressed rate for the 2022 tax year and

5    the district ’s maximum compressed rate for the 2023 tax year;

6                  (2)AAsubtracting the amount computed under Subdivision

7    (1) from the amount of tax the district imposed on the homestead in

8    the 2022 tax year; and

9                  (3)AAadding    any    tax       imposed    in    the   2023   tax   year

10   attributable to improvements made in the 2022 tax year as provided

11   by Subsection (b) to the amount computed under Subdivision (2).

12           (a-10)AANotwithstanding          the     other        provisions    of    this

13   section, if in the 2024 or a subsequent tax year an individual

14   qualifies    for   a   limitation   on    tax    increases       provided    by   this

15   section on the individual ’s residence homestead, the amount of the

16   limitation provided by this section on the homestead is equal to the

17   amount computed by:

18                 (1)AAmultiplying the taxable value of the homestead in

19   the preceding tax year by a tax rate equal to the difference between

20   the school district ’s maximum compressed rate for the preceding tax

21   year and the district ’s maximum compressed rate for the current tax

22   year;

23                 (2)AAsubtracting the amount computed under Subdivision

24   (1) from the amount of tax the district imposed on the homestead in

25   the preceding tax year; and

26                 (3)AAadding any tax imposed in the current tax year

27   attributable to improvements made in the preceding tax year as




                                               8



                                                                                 App.245
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                                                                                 S.B.ANo.A12

1    provided by Subsection (b) to the amount computed under Subdivision

2    (2).

3           SECTIONA2.AASubchapter         F,        Chapter    48,   Education        Code,     is

4    amended by adding Section 48.2542 to read as follows:

5           Sec.A48.2542.AAADDITIONAL                STATE     AID    FOR   ADJUSTMENT           OF

6    LIMITATION ON TAX INCREASES ON HOMESTEAD OF ELDERLY OR DISABLED.

7    Notwithstanding any other provision of this chapter, if a school

8    district    is   not   fully   compensated          through       state     aid    or     the

9    calculation of excess local revenue under this chapter based on the

10   determination of the district ’s taxable value of property under

11   Subchapter    M,   Chapter     403,    Government          Code,    the     district        is

12   entitled to additional state aid in the amount necessary to fully

13   compensate the district for the amount of ad valorem tax revenue

14   lost due to a reduction of the amount of the limitation on tax

15   increases provided by Sections 11.26(a-4), (a-5), (a-6), (a-7),

16   (a-8), (a-9), and (a-10), Tax Code, as applicable.

17          SECTIONA3.AASection 48.2551(d), Education Code, is amended

18   to read as follows:

19          (d)AAThe agency shall:

20                 (1)AAcalculate     and    make       available       school    districts ’

21   maximum compressed rates, as determined under this section; and

22                 (2)AApost the information described by Section 48.2556

23   on the agency ’s Internet website as required by that section.

24          SECTIONA4.AASubchapter         F,        Chapter    48,   Education        Code,     is

25   amended by adding Section 48.2556 to read as follows:

26          Sec.A48.2556.AAPOSTING          ON       AGENCY    WEBSITE      OF   INFORMATION

27   RELATED TO REDUCTION OF LIMITATION OF TAX ON HOMESTEADS OF ELDERLY




                                                 9



                                                                                       App.246
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                                                                                 S.B.ANo.A12

1    OR DISABLED.      (a)AAThe agency shall post the following information

2    on the agency ’s Internet website for purposes of allowing the chief

3    appraiser of each appraisal district and the assessor for each

4    school    district     to    make   the    calculations        required     by   Sections

5    11.26(a-5), (a-6), (a-7), (a-8), (a-9), and (a-10), Tax Code:

6                    (1)AAeach school district ’s maximum compressed rate, as

7    determined under Section 48.2551, for each tax year beginning with

8    the 2019 tax year; and

9                    (2)AAeach school district ’s tier one maintenance and

10   operations tax rate, as provided by Section 45.0032(a), for the

11   2018 tax year.

12            (b)AAThe agency shall post each school district ’s maximum

13   compressed      rate   for   the    current      tax   year,    as   determined      under

14   Section 48.2551, promptly after calculating the rate.                       If, for the

15   2023 or a subsequent tax year, the agency calculates a preliminary

16   rate before calculating a final rate, the agency shall post the

17   preliminary      rate,      and   the   chief     appraiser      of    each      appraisal

18   district and the assessor for each school district shall use the

19   preliminary rate to make the calculations described by Subsection

20   (a).

21            (c)AAThe agency shall notify the chief appraiser of each

22   appraisal district and the assessor for each school district when

23   the    agency   has    complied     with   Subsection     (b).        The   notice    must

24   include the location on the agency ’s Internet website at which the

25   information required by this section to be posted may be found.

26            SECTIONA5.AASection 403.302, Government Code, is amended by

27   adding Subsection (j-1) to read as follows:




                                                 10



                                                                                       App.247
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                                                                         S.B.ANo.A12

1             (j-1)AAIn   the   final    certification      of   the    study    under

2    Subsection (j), the comptroller shall separately identify the final

3    taxable value for each school district as adjusted to account for

4    the reduction of the amount of the limitation on tax increases

5    provided by Sections 11.26(a-4), (a-5), (a-6), (a-7), (a-8), (a-9),

6    and (a-10), Tax Code, as applicable.

7             SECTIONA6.AAThis Act applies only to ad valorem taxes imposed

8    for a tax year beginning on or after the effective date of this Act.

9             SECTIONA7.AAThis Act takes effect January 1, 2023, but only

10   if the constitutional amendment proposed by the 87th Legislature,

11   2nd Called Session, 2021, authorizing the legislature to provide

12   for the reduction of the amount of a limitation on the total amount

13   of ad valorem taxes that may be imposed for general elementary and

14   secondary public school purposes on the residence homestead of a

15   person    who   is   elderly   or   disabled   to    reflect      any   statutory

16   reduction from the preceding tax year in the maximum compressed

17   rate of the maintenance and operations taxes imposed for those

18   purposes on the homestead is approved by the voters.                     If that

19   amendment is not approved by the voters, this Act has no effect.




                                            11



                                                                              App.248
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                                                                      S.B.ANo.A12




______________________________AAAA______________________________
     President of the SenateAAAAAAAAAAAAASpeaker of the House

       I   hereby   certify    that   S.B.ANo.A12      passed   the    Senate      on

AugustA9,A2021, by the following vote:              YeasA29, NaysA0; and that

the Senate concurred in House amendment on AugustA29,A2021, by the

following vote: YeasA31, NaysA0.



                                            ______________________________
                                            AAAASecretary of the Senate

       I hereby certify that S.B.ANo.A12 passed the House, with

amendment, on AugustA27,A2021, by the following vote:                  YeasA121,

NaysA0, one present not voting.



                                            ______________________________
                                            AAAAChief Clerk of the House


Approved:


______________________________
AAAAAAAAAAAAADate



______________________________
AAAAAAAAAAAGovernor




                                       12



                                                                         App.249
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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                            §
 STATE OF TEXAS, STATE OF MISSISSIPPI,      §
 STATE OF LOUISIANA,                        §
                                            §
       Plaintiffs,                          §
                                            §     Case No. 2:21-cv-00079-Z
 v.                                         §
                                            §
 JANET YELLEN, IN HER OFFICIAL CAPACITY     §
 AS SECRETARY OF THE TREASURY, ET AL.,      §
                                            §
       Defendants.                          §
                                            §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

                                  S.B. No. 12 Fiscal Note

                                   EXHIBIT A-22




                                                                              App.250
     Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                                 Page 252 of 272 PageID 474



                                        LEGISLATIVE BUDGET BOARD
                                               Austin, Texas

                    FISCAL NOTE, 87TH LEGISLATURE 2nd CALLED SESSION 2021


                                                      August 27, 2021

    TO: Honorable Dan Patrick, Lieutenant Governor, Senate

FROM: Jerry McGinty, Director, Legislative Budget Board

 IN RE: SB12 by Bettencourt (relating to the reduction of the amount of a limitation on the total amount of ad
        valorem taxes that may be imposed by a school district on the residence homestead of an individual
        who is elderly or disabled to reflect any reduction from the preceding tax year in the district ’s
        maximum compressed rate and to the protection of school districts against the resulting loss in local
        revenue.), As Passed 2nd House



 Estimated Two­year Net Impact to General Revenue Related Funds for SB12, As Passed 2nd House : an
 impact of $0 through the biennium ending August 31, 2023. However, a negative impact of ($467.5 million)
 is expected in the biennium ending August 31, 2025.


General Revenue­Related Funds, Five­ Year Impact:

                                                 Probable Net Positive/(Negative) Impact
                                       Fiscal
                                                                    to
                                        Year
                                                    General Revenue Related Funds
                                        2022                                  $0
                                        2023                                  $0
                                        2024                       ($219,348,876)
                                        2025                       ($248,120,464)
                                        2026                       ($276,892,052)


All Funds, Five­Year Impact:

                                    Probable Savings/(Cost) from      Probable Revenue Gain/(Loss)
                           Fiscal
                                     Foundation School Fund                      from
                            Year
                                                193                         School Districts
                           2022                           $0                                   $0
                           2023                           $0                                   $0
                           2024                ($219,348,876)                       ($219,348,876)
                           2025                ($248,120,464)                       ($248,120,464)
                           2026                ($276,892,052)                       ($276,892,052)



Fiscal Analysis

The bill would amend Section 11.26 of the Tax Code, regarding the limitation of school tax on homesteads of
elderly or disabled. The bill would recalculate school district tax limitations (tax ceiling) on residence
homesteads for individuals who are 65 or over or disabled to reflect reductions in school district maximum
compressed tax rates for 2019 and subsequent tax years.

The bill specifies certain calculations for the 2023 tax year to adjust the tax limitation for certain individuals
(tax ceiling) based on the year they were first eligible to receive the limitation to account for tax rate
reductions and ongoing tax rate compression passed by the 86th Legislature. For the 2023 tax year and
subsequent tax years, the tax ceiling is computed by the prior year tax amount minus the rate reduction from
compression (prior year maximum compressed rate minus current year maximum compressed rate) and
                                                    Page 1 of 2
adjusting for any tax attributable to new improvements.

The bill would amend Chapter 48 of the Education Code, regarding the Foundation School Program, to require
that the state hold school districts harmless for tax revenue losses resulting from tax ceiling reductions. School
districts would be entitled to additional state aid to the extent state aid under the current formulasApp.251
                                                                                                       does not fully
reimburse them for the tax revenue losses. The bill would require the Texas Education Agency post certain
homesteads for individuals who are 65 or over or disabled to reflect reductions in school district maximum
compressed tax rates for 2019 and subsequent tax years.
    Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21 Page 253 of 272 PageID 475
The bill specifies certain calculations for the 2023 tax year to adjust the tax limitation for certain individuals
(tax ceiling) based on the year they were first eligible to receive the limitation to account for tax rate
reductions and ongoing tax rate compression passed by the 86th Legislature. For the 2023 tax year and
subsequent tax years, the tax ceiling is computed by the prior year tax amount minus the rate reduction from
compression (prior year maximum compressed rate minus current year maximum compressed rate) and
adjusting for any tax attributable to new improvements.

The bill would amend Chapter 48 of the Education Code, regarding the Foundation School Program, to require
that the state hold school districts harmless for tax revenue losses resulting from tax ceiling reductions. School
districts would be entitled to additional state aid to the extent state aid under the current formulas does not fully
reimburse them for the tax revenue losses. The bill would require the Texas Education Agency post certain
information on the agency's website.

The bill would amend Chapter 403 of the Government Code, regarding the Comptroller's Property Value Study,
to require the Comptroller separately identify the final taxable value for each school district to account for the
reduction in tax ceilings.

The bill would be effective January 1, 2023, contingent on voter approval of a constitutional amendment (SJR
2).

Methodology

This estimate is based on information from the United States Census Bureau and from appraisal districts. The
average taxable value of a 65­and­over homestead was estimated for each year from 2000 through 2020. The
statewide school district weighted average tax rate was applied in each year to estimate the typical tax limitation
in each year. The costs were stratified in five­year groups and an average cost was estimated for each group. The
rate reductions as specified in the bill were calculated for each group and summed to estimate the initial
statewide total cost to school districts in tax year 2023. For subsequent tax years, projected rate reductions
were applied to estimated growth in the average taxable value of 65­and­over homesteads to estimate future tax
ceiling reductions.

If school district property tax rates decreased from the preceding year, homestead owners subject to the
limitation would have their limitation reduced. A continuous tax ceiling adjustment would effectively exempt
future taxable property value growth after the ceiling is imposed and continue decreasing all tax ceilings as long
as there is a reduction in a school district's maximum compressed rate (MCR). This analysis assumes a
continuing 1 cent reduction in MCR each year after 2022. Larger reductions of the MCR would impose
additional cost. The impact will vary depending on property value growth and the level of tax rate reduction.

Because the bill would hold school districts harmless for all property tax revenue losses from tax ceiling
reductions, the cost would be transferred to the state. Therefore, there would be no losses to local taxing units.

There would be no administrative costs to the Comptroller's office.


Local Government Impact

The fiscal implication for school districts is shown in the table above.


Source Agencies: 304 Comptroller of Public Accounts
LBB Staff: JMc, KK, SD, AF, BRI




                                                   Page 2 of 2



                                                                                                     App.252
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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                             §
 STATE OF TEXAS, STATE OF MISSISSIPPI,       §
 STATE OF LOUISIANA,                         §
                                             §
       Plaintiffs,                           §
                                             §    Case No. 2:21-cv-00079-Z
 v.                                          §
                                             §
 JANET YELLEN, IN HER OFFICIAL CAPACITY      §
 AS SECRETARY OF THE TREASURY, ET AL.,       §
                                             §
       Defendants.                           §
                                             §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                          DECLARATION OF JEFFREY M. WHITE

                                         Act No. 134

                                   EXHIBIT A-23




                                                                             App.253
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       2021 Regular Session                                                             ENROLLED
                                           ACT No. 134
       SENATE BILL NO. 159

       BY SENATORS ALLAIN AND JOHNS AND REPRESENTATIVE BISHOP




 1                                       A JOINT RESOLUTION

 2     Proposing to amend Article VII, Section 4(A) of the Constitution of Louisiana, relative to

 3             income tax; to provide a maximum rate of individual income tax; to provide with

 4             respect to the deductibility of federal income tax for purposes of computing state

 5             income tax; to eliminate the mandatory deduction for federal income taxes; and to

 6             specify an election for submission of the proposition to electors and provide a ballot

 7             proposition.

 8             Section 1. Be it resolved by the Legislature of Louisiana, two-thirds of the members

 9     elected to each house concurring, that there shall be submitted to the electors of the state, for

10     their approval or rejection in the manner provided by law, a proposal to amend Article VII,

11     Section 4(A) of the Constitution of Louisiana, to read as follows:

12             §4. Income Tax; Severance Tax; Political Subdivisions

13                     Section 4.(A) Income Tax. Equal and uniform taxes may be levied on net

14             incomes, and these taxes may be graduated according to the amount of net income.

15             However, the maximum state individual and joint income tax schedule of rates and

16             brackets shall never exceed the rates and brackets set forth in Title 47 of the

17             Louisiana Revised Statutes on January 1, 2003 rate shall not exceed four and

18             three-quarters percent for tax years beginning after December 31, 2021. Federal

19             income taxes paid shall may be allowed as a deductible item in computing state

20             income taxes for the same period as provided by law.

21             Section 2. Be it further resolved that this proposed amendment shall be submitted

22     to the electors of the state of Louisiana at the statewide election to be held on

23     October 9, 2021.

                                            Page 1 of 2
               Coding: Words which are struck through are deletions from existing law;
               words in boldface type and underscored are additions.
                                                                                     App.254
Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                 Page 256 of 272 PageID 478



                                                                                      ENROLLED

1            Section 3. Be it further resolved that on the official ballot to be used at said election

2     there shall be printed a proposition, upon which the electors of the state shall be permitted

3     to vote YES or NO, to amend the Constitution of Louisiana, which proposition shall read as

4     follows:

5                    Do you support an amendment to lower the maximum allowable rate of

6                    individual income tax and to authorize the legislature to provide by law for

7                    a deduction for federal income taxes paid?

8                    (Amends Article VII, Section 4(A))




                                         PRESIDENT OF THE SENATE



                                         SPEAKER OF THE HOUSE OF REPRESENTATIVES




                                          Page 2 of 2
             Coding: Words which are struck through are deletions from existing law;
             words in boldface type and underscored are additions.
                                                                                   App.255
Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21              Page 257 of 272 PageID 479



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


                                               §
 STATE OF TEXAS, STATE OF MISSISSIPPI,         §
 STATE OF LOUISIANA,                           §
                                               §
        Plaintiffs,                            §
                                               §    Case No. 2:21-cv-00079-Z
 v.                                            §
                                               §
 JANET YELLEN, IN HER OFFICIAL CAPACITY        §
 AS SECRETARY OF THE TREASURY, ET AL.,         §
                                               §
        Defendants.                            §
                                               §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                            DECLARATION OF JEFFREY M. WHITE

 The Official Journal of the Senate of the State of Louisiana – Thirty-Fourth Day’s Proceedings
                                            (excerpts)

                                     EXHIBIT A-24




                                                                                       App.256
    Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                                             Page 258 of 272 PageID 480


                THE OFFICIAL JOURNAL                                         Post Office Box 94183
                              OF THE                                         Baton Rouge, Louisiana 70804-9183
                                                                             Dear President Cortez:
                         SENATE
                              OF THE                                              In accordance with Louisiana Revised Statute 24:511(E), I have
                                                                             appointed Mr. Ernest F. Summerville, Jr. as First Assistant
           STATE OF LOUISIANA                                                Legislative Auditor, effective May 3, 2021. Mr. Summerville is
                 _______                                                     replacing Thomas H. Cole, who will be retiring from our agency.
    THIRTY-FOURTH_______
                   DAY'S PROCEEDINGS
                                                                                  In that regard, I hereby acknowledge the following appointment
        Forty-Seventh Regular Session of the Legislature                     and submit to you the name for consideration of Senate confirmation
                  Under the Adoption of the                                  as required by law.
                     Constitution of 1974
                             _______                                              FIRST ASSISTANT LEGISLATIVE AUDITOR
                                                                                  (Effective May 3, 2021)
                         Senate Chamber                                           Mr. Ernest F. Summerville Jr., CPA
                           State Capitol                                          1600 North Third Street
                      Baton Rouge, Louisiana
                                                                                  Baton Rouge, LA 70802
                                         Thursday, June 10, 2021                  (225) 339-3931
     The Senate was called to order at 9:35 o'clock A.M. by Hon.                  Thank you in advance for your attention to this important
Patrick Page Cortez, President of the Senate.                                matter, and please contact me should you have any questions or need
                                                                             additional information.
                         Morning Hour
                                                                                                                                        Sincerely,
                CONVENING ROLL CALL                                                                               MICHAEL J. WAGUESPACK, CPA
                                                                                                                               Legislative Auditor
    The roll being called, the following members answered to their
names:                                                                                         Messages from the Governor
                             PRESENT                                              The following messages from the Governor were received and
                                                                             read as follows:
Mr. President          Henry                   Morris
Abraham                Hensgens                Peacock                                          OFFICE OF THE GOVERNOR
Allain                 Hewitt                  Peterson                                           STATE OF LOUISIANA
Barrow                 Jackson                 Pope
Bernard                Johns                   Price                                                         June 9, 2021
Boudreaux              Lambert                 Reese
Bouie                  Luneau                  Smith                         Honorable Clay J. Schexnayder            Honorable Patrick Page Cortex
Cathey                 McMath                  Talbot                        Speaker of the House                     President
Fesi                   Milligan                Ward                          Louisiana House of Representatives       Louisiana State Senate
Fields                 Mills, F.               Womack                        Post Office Box 94062                    Post Office Box 94183
Foil                   Mills, R.                                             Baton Rouge, Louisiana 70804             Baton Rouge, Louisiana 70804
Harris                 Mizell
  Total - 34                                                                 Re: Line Item Vetoes in House Bill 1 of the 2021 Regular Session
                              ABSENT
                                                                             Dear Speaker Schexnayder and President Cortez:
Cloud                  Tarver
Connick                White                                                       Please allow this letter to inform you that I have signed House
 Total - 4                                                                   Bill 1 of the 2021 Regular Session. However, I have exercised my
                                                                             line item veto authority granted to me to veto 8 items.
     The President of the Senate announced there were 34 Senators
present and a quorum.                                                             I have exercised my line item veto authority as follows:

                                Prayer                                            Veto No. 1:       Delete Lines 16-19 on Page 4 of 230,
                                                                                                    beginning with the last sentence ("Any
     The prayer was offered by Senator Beth Mizell, following which                                 subsequent change . . ."): This language is
the Senate joined in the Pledge of Allegiance to the flag of the United                             unnecessary, as this oversight of the Personal
States of America.                                                                                  Services expenditure categories is already
                                                                                                    performed by the Executive Branch. Further, this
                                                                                                    provision violates Article II, Section 2 of the
                    Reading of the Journal                                                          Louisiana Constitution.
     On motion of Senator Lambert, the reading of the Journal was                 Veto No. 2:       Delete Lines 21-25 on Page 12 of 230: This
dispensed with and the Journal of June 9, 2021, was adopted.                                        language is unnecessary, as this information is
                                                                                                    already provided throughout the bill.
                  Petitions, Memorials and                                                          Additionally, this oversight is afforded to the
                      Communications                                                                Joint Legislative Committee on the Budget
                                                                                                    through the budget adjustment process.
     The following petitions, memorials and communications were
received and read:                                                                Veto No. 3:       Delete Lines 26-30 on Page 12 of 230: This
                                                                                                    language is unnecessary, as this oversight of
             LOUISIANA LEGISLATIVE AUDITOR                                                          agency expenditures is already performed by the
                                                                                                    Executive Branch.
                           April 27, 2021
                                                                                  Veto No. 4:       Delete Lines 46-48 of Page 18 of 230: This
The Honorable Patrick "Page" Cortez, President                                                      amendment would reduce necessary funding for
Louisiana State Senate                                                                              operating services and contractual obligations.

                                                                      1183                                                          App.257
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Page 2 SENATE                                                                                      34th DAY'S PROCEEDINGS
June 10, 2021
     Veto No. 5:       Deleted Lines 1-3 on Page 20 of 230: This                                   Message from the House
                       language is unnecessary oversight of the
                       Homeowners Assistance Fund program. Further,                                CONCURRING IN
                       this provision violates Article II, Section 2 of the                SENATE CONCURRENT RESOLUTIONS
                       Louisiana Constitution.
                                                                                                             June 9, 2021
     Veto No. 6        Delete Lines 23-35 on Page 88 of 230: The
                       entities that are transferring the funds are in the            To the Honorable President and Members of the Senate:
                       best position to identify or verify the source of
                       their funds set for transfer, not the Department.             I am directed to inform your honorable body that the House of
                       Thus, the transferring entity is the entity which         Representatives has finally concurred in the following Senate
                       should certify as to the fact that the funds              Concurrent Resolutions:
                       transferred are "public funds" pursuant to federal
                       regulation. Further, this provision violates              SENATE CONCURRENT RESOLUTION NO. 59—
                       Article II, Section 2 of the Louisiana                         BY SENATOR BERNARD
                       Constitution.                                                            A CONCURRENT RESOLUTION
                                                                                 To urge and request the office of public health of the Louisiana
     Veto No. 7        Delete lines 12-13 on Page 197 of 230: This                   Department of Health to study and submit a report relative to
                       item contains an unnecessary appropriation.                   health care infrastructure needs in Louisiana.
     Veto No. 8        Delete Lines 38-40 on Page 199 of 230: This                    Reported without amendments.
                       item contains an unnecessary appropriation.
                                                                                                                             Respectfully submitted,
      Enclosed is a copy of the signed version of House Bill 1. I have                                                  MICHELLE D. FONTENOT
sent the original to the Secretary of State.                                                                   Clerk of the House of Representatives
                                                          Sincerely,                               Message from the House
                                                JOHN BEL EDWARDS
                                                           Governor                           DISAGREEMENT TO HOUSE BILL
                   OFFICE OF THE GOVERNOR                                                                    June 9, 2021
                     STATE OF LOUISIANA
                                                                                      To the Honorable President and Members of the Senate:
                                June 9, 2021
                                                                                      I am directed to inform your honorable body that the House of
Honorable Clay J. Schexnayder          Honorable Patrick Page Cortex             Representatives has refused to concur in the proposed Senate
Speaker of the House                   President                                 Amendment(s) to House Bill No. 137 by Representative Duplessis,
Louisiana House of Representatives     Louisiana State Senate                    and ask the President to appoint on the part of the Senate a committee
Post Office Box 94062                  Post Office Box 94183                     to confer with a like committee from the House on the disagreement;
Baton Rouge, Louisiana 70804           Baton Rouge, Louisiana 70804              and to inform your honorable body that the Speaker of the House of
                                                                                 Representatives has appointed the following members as conferees
Re: Line Item Vetoes in House Bill 516 of the 2021 Regular Session               on the part of the House:
Dear Speaker Schexnayder and President Cortez:                                        Representatives Duplessis, James and Magee.
      Please allow this letter to inform you that I have signed House                                                        Respectfully submitted,
Bill 516 of the 2021 Regular Session. However, I have exercised my                                                      MICHELLE D. FONTENOT
line item veto authority granted to me to veto 4 items.                                                        Clerk of the House of Representatives
     I have exercised my line item veto authority as follows:                                      Message from the House
     Veto No. 1:       Delete Lines 40-41 on Page 27 of 36: This item                         DISAGREEMENT TO HOUSE BILL
                       contains an unnecessary appropriation.
     Veto No. 2:       Delete Lines 12-14 on Page 29 of 36: This item                                        June 9, 2021
                       contains an unnecessary appropriation.                         To the Honorable President and Members of the Senate:
     Veto No. 3:       Delete Lines 23-24 on Page 30 of 36: This item                 I am directed to inform your honorable body that the House of
                       contains an unnecessary appropriation.                    Representatives has refused to concur in the proposed Senate
     Veto No. 4:       Delete Lines 33-35 on Page 30 of 36: This item            Amendment(s) to House Bill No. 183 by Representative Brown, and
                       contains an unnecessary appropriation.                    ask the President to appoint on the part of the Senate a committee to
                                                                                 confer with a like committee from the House on the disagreement;
    Enclosed is a copy of the signed version of House Bill 516. I                and to inform your honorable body that the Speaker of the House of
have sent the original to the Secretary of State.                                Representatives has appointed the following members as conferees
                                                                                 on the part of the House:
                                                          Sincerely,                  Representatives Brown, Carpenter and Stefanski.
                                                JOHN BEL EDWARDS
                                                           Governor                                                          Respectfully submitted,
                                                                                                                        MICHELLE D. FONTENOT
                                                                                                               Clerk of the House of Representatives




                                                                          1184                                                       App.258
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34th DAY'S PROCEEDINGS                                                                                    Page 3 SENATE
                                                                                                                        June 10, 2021
                  Message from the House                                                                              Respectfully submitted,
                                                                                                                 MICHELLE D. FONTENOT
             DISAGREEMENT TO HOUSE BILL                                                                 Clerk of the House of Representatives

                            June 9, 2021                                                     Message from the House
     To the Honorable President and Members of the Senate:                                    ADOPTION OF
                                                                                      CONFERENCE COMMITTEE REPORT
     I am directed to inform your honorable body that the House of
Representatives has refused to concur in the proposed Senate                                          June 9, 2021
Amendment(s) to House Bill No. 678 by Representative Duplessis,
and ask the President to appoint on the part of the Senate a committee          To the Honorable President and Members of the Senate:
to confer with a like committee from the House on the disagreement;
and to inform your honorable body that the Speaker of the House of               I am directed to inform your honorable body that the House of
Representatives has appointed the following members as conferees            Representatives has adopted the Report of the Conference Committee
on the part of the House:                                                   on the disagreement to House Bill No. 188.
     Representatives Duplessis, Bishop and Ivey.                                                                      Respectfully submitted,
                                                                                                                 MICHELLE D. FONTENOT
                                            Respectfully submitted,                                     Clerk of the House of Representatives
                                       MICHELLE D. FONTENOT
                              Clerk of the House of Representatives                          Message from the House
                  Message from the House                                                      ADOPTION OF
                                                                                      CONFERENCE COMMITTEE REPORT
                   ADOPTION OF
           CONFERENCE COMMITTEE REPORT                                                                June 9, 2021
                            June 9, 2021                                        To the Honorable President and Members of the Senate:
     To the Honorable President and Members of the Senate:                       I am directed to inform your honorable body that the House of
                                                                            Representatives has adopted the Report of the Conference Committee
     I am directed to inform your honorable body that the House of          on the disagreement to House Bill No. 278.
Representatives has adopted the Report of the Conference Committee
on the disagreement to Senate Bill No. 10.                                                                            Respectfully submitted,
                                                                                                                 MICHELLE D. FONTENOT
                                            Respectfully submitted,                                     Clerk of the House of Representatives
                                       MICHELLE D. FONTENOT
                              Clerk of the House of Representatives                          Message from the House
                  Message from the House                                                      ADOPTION OF
                                                                                      CONFERENCE COMMITTEE REPORT
                   ADOPTION OF
           CONFERENCE COMMITTEE REPORT                                                                June 9, 2021
                            June 9, 2021                                        To the Honorable President and Members of the Senate:
     To the Honorable President and Members of the Senate:                       I am directed to inform your honorable body that the House of
                                                                            Representatives has adopted the Report of the Conference Committee
     I am directed to inform your honorable body that the House of          on the disagreement to House Bill No. 292.
Representatives has adopted the Report of the Conference Committee
on the disagreement to Senate Bill No. 154.                                                                           Respectfully submitted,
                                                                                                                 MICHELLE D. FONTENOT
                                            Respectfully submitted,                                     Clerk of the House of Representatives
                                       MICHELLE D. FONTENOT
                              Clerk of the House of Representatives                          Message from the House
                  Message from the House                                                      ADOPTION OF
                                                                                      CONFERENCE COMMITTEE REPORT
                   ADOPTION OF
           CONFERENCE COMMITTEE REPORT                                                                June 9, 2021
                            June 9, 2021                                        To the Honorable President and Members of the Senate:
     To the Honorable President and Members of the Senate:                       I am directed to inform your honorable body that the House of
                                                                            Representatives has adopted the Report of the Conference Committee
     I am directed to inform your honorable body that the House of          on the disagreement to House Bill No. 423.
Representatives has adopted the Report of the Conference Committee
on the disagreement to House Bill No. 38.                                                                             Respectfully submitted,
                                                                                                                 MICHELLE D. FONTENOT
                                                                                                        Clerk of the House of Representatives




                                                                     1185                                                    App.259
    Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                                    Page 261 of 272 PageID 483


Page 4 SENATE                                                                            34th DAY'S PROCEEDINGS
June 10, 2021
                 Message from the House                                 Barrow                Jackson                Pope
                                                                        Bernard               Johns                  Price
                  ADOPTION OF                                           Boudreaux             Luneau                 Reese
          CONFERENCE COMMITTEE REPORT                                   Cathey                McMath                 Smith
                                                                        Fesi                  Milligan               Ward
                          June 9, 2021                                  Fields                Mills, F.              Womack
                                                                        Foil                  Mills, R.
    To the Honorable President and Members of the Senate:               Harris                Mizell
                                                                          Total - 31
     I am directed to inform your honorable body that the House of                                    NAYS
Representatives has adopted the Report of the Conference Committee
on the disagreement to House Bill No. 647.                               Total - 0
                                                                                                    ABSENT
                                           Respectfully submitted,
                                      MICHELLE D. FONTENOT              Bouie                 Lambert                White
                             Clerk of the House of Representatives      Cloud                 Talbot
                                                                        Connick               Tarver
        Appointment of Conference Committee                              Total - 7
               on House Bill No. 137                                        The Chair declared the Senate adopted the Senate Resolution.
    The President of the Senate appointed to the Conference                                   Rules Suspended
Committee on House Bill No. 137 the following members of the
Senate:                                                                      Senator Ward asked for and obtained a suspension of the rules
                         Senators Cortez,                               to take up at this time:
                              Smith
                           and Bouie.                                             Senate Bills and Joint Resolutions
                                                                             Returned from the House of Representatives
        Appointment of Conference Committee                                              with Amendments
               on House Bill No. 183
                                                                        SENATE BILL NO. 142—
                                                                            BY SENATORS WARD, CORTEZ AND JOHNS
    The President of the Senate appointed to the Conference                                         AN ACT
Committee on House Bill No. 183 the following members of the            To enact R.S. 4:199, R.S. 27:625(G) and R.S. 28:843, relative to
Senate:                                                                     sports wagering; to provide relative to revenue generated from
                        Senators Luneau,                                    sports wagering; to provide for appropriation; to create the
                             Reese                                          Behavioral Health and Wellness Fund; to create the Sports
                         and Womack.                                        Wagering Purse Supplemental Fund; and to provide for related
                                                                            matters.
        Appointment of Conference Committee                                 The bill was read by title. Returned from the House of
               on House Bill No. 678                                    Representatives with amendments:
    The President of the Senate appointed to the Conference                          HOUSE COMMITTEE AMENDMENTS
Committee on House Bill No. 678 the following members of the
Senate:                                                                 Amendments proposed by House Committee on Appropriations to
                                                                        Reengrossed Senate Bill No. 142 by Senator Ward
                         Senators Allain,
                              Ward                                      AMENDMENT NO. 1
                           and Bouie.                                   On page 1, line 5, change "Supplemental" to "Supplement"

           Introduction of Senate Resolutions                           AMENDMENT NO. 2
                                                                        On page 1, delete line 13, and insert
     Senator Boudreaux asked for and obtained a suspension of the            "(1) Two percent of the monies collected pursuant to this
rules to read Senate Resolutions a first and second time.               Section, or five hundred thousand dollars, whichever is greater,
                                                                        shall be"
SENATE RESOLUTION NO. 220—
    BY SENATOR BOUDREAUX                                                AMENDMENT NO. 3
                      A RESOLUTION                                      On page 1, line 16, after "(2)" and before "percent" change
To commend Gregg Gothreaux, President and CEO of the Lafayette          "Twenty" to "Twenty-five"
    Economic Development Authority for his accomplishments and
    service with LEDA for twenty-one years.                             AMENDMENT NO. 4
                                                                        On page 2, line 2, after "(3)" and before "percent" change "Ten" to
    Senator Boudreaux moved adoption of the Senate Resolution.          "Twelve"

                        ROLL CALL                                       AMENDMENT NO. 5
                                                                        On page 2, delete line 5 and insert the following:
    The roll was called with the following result:                           "(4) One percent of the monies collected pursuant to this
                                                                        Section shall be credited to the Sports Wagering Purse
                              YEAS                                      Supplement Fund"

Mr. President         Henry                  Morris                     AMENDMENT NO. 6
Abraham               Hensgens               Peacock                    On page 2, line 6, after "Sports" and before "Purse" change
Allain                Hewitt                 Peterson                   "Gaming" to "Wagering"

                                                                 1186                                                     App.260
    Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21                                          Page 262 of 272 PageID 484


34th DAY'S PROCEEDINGS                                                                                       Page 5 SENATE
                                                                                                                            June 10, 2021
AMENDMENT NO. 7                                                              shall be credited to the Disability Affairs Trust Fund established
On page 2, line 10, after "funds" delete the remainder of the line and       by R.S. 46:2583.
insert "collected pursuant to this Section shall be credited to the               (6) Any remaining funds shall be available as state general
state general fund."                                                         funds."
AMENDMENT NO. 8                                                                  Senator Ward moved to reject the amendments proposed by the
On page 2, line 12, change "Supplemental" to "Supplement"                    House.
AMENDMENT NO. 9                                                                                       ROLL CALL
On page 2, line 14, after "Wagering" and before "Fund" delete
"Supplemental" and insert "Purse Supplement"                                      The roll was called with the following result:
AMENDMENT NO. 10                                                                                             YEAS
On page 2, line 15, after "as" and before ""fund"" insert "the"
                                                                             Mr. President          Hensgens                Peacock
AMENDMENT NO. 11                                                             Abraham                Hewitt                  Peterson
On page 3, line 22, after "as" and before ""fund"" insert "the"              Allain                 Jackson                 Pope
                                                                             Barrow                 Johns                   Price
               HOUSE FLOOR AMENDMENTS                                        Bernard                Lambert                 Reese
                                                                             Boudreaux              Luneau                  Smith
Amendments proposed by Representative Stefanski to Reengrossed               Bouie                  McMath                  Talbot
Senate Bill No. 142 by Senator Ward                                          Cathey                 Milligan                Ward
                                                                             Fields                 Mills, F.               White
AMENDMENT NO. 1                                                              Foil                   Mills, R.               Womack
On page 1, after "R.S. 27:625(G)" and before "and" insert "and 628"          Harris                 Mizell
                                                                             Henry                  Morris
AMENDMENT NO. 2                                                                Total - 34
On page 1, line 5, after "Fund;" and before "and" insert "to create the                                      NAYS
Sports Wagering Local Allocation Fund;"
                                                                               Total - 0
AMENDMENT NO. 3                                                                                            ABSENT
On page 1, line 7, after "R.S. 27:625(G)" and before "hereby" delete
"is" and insert "and 628 are"                                                Cloud                  Fesi
                                                                             Connick                Tarver
AMENDMENT NO. 4                                                               Total - 4
On page 2, delete lines 3 and 4 in their entirety and insert "credited
to the Sports Wagering Local Allocation Fund established by R.S.                 The Chair declared the Senate rejected the amendments
27:628."                                                                     proposed by the House.
AMENDMENT NO. 5                                                                                     Rules Suspended
On page 2, between lines 10 and 11, insert the following:
                         "*      *      *                                         Senator Womack asked for and obtained a suspension of the
§628. Sports Wagering Local Allocation Fund                                  rules to take up at this time:
    A. There is hereby created in the state treasury a special
fund to be known as the Sports Wagering Local Allocation Fund,
hereafter referred to as the "fund".                                                   Senate Bills and Joint Resolutions
    B. Monies in the fund shall be remitted monthly, by                           Returned from the House of Representatives
proportionate distribution, to each parish governing authority in                     with Amendments, Subject to Call
which the taxable conduct pursuant to R.S. 27:625 occurred."
AMENDMENT NO. 6
                                                                                              Called from the Calendar
On page 3, line 25, after "Chapter" and before "shall" insert a                   Senator Womack asked that Senate Bill No. 188 be called from
comma ","and insert "except for monies deposited into the                    the Calendar.
Compulsive and Problem Gaming Fund pursuant to the
provisions of this Chapter, shall be credited to the fund. Monies            SENATE BILL NO. 188—
in the fund"                                                                      BY SENATOR WOMACK
                                                                                                          AN ACT
               HOUSE FLOOR AMENDMENTS                                        To amend and reenact R.S. 40:600.89(A)(1) and the introductory
                                                                                 paragraph of (2), (c), and (e), relative to the Louisiana Housing
Amendments proposed by Representative Lyons to Reengrossed                       Corporation; to provide relative to the board of directors; and to
Senate Bill No. 142 by Senator Ward                                              provide for related matters.
AMENDMENT NO. 1                                                                  The bill was read by title. Returned from the House of
Delete House Committee Amendment No. 7 by the House Committee                Representatives with amendments:
on Appropriations (#3873)
                                                                                             HOUSE FLOOR AMENDMENTS
AMENDMENT NO. 2
Delete House Committee Amendment No. 4 by the House Committee                Amendments proposed by Representatives Riser and Gary Carter to
on Appropriations (#3873)                                                    Reengrossed Senate Bill No. 188 by Senator Womack
AMENDMENT NO. 3                                                              AMENDMENT NO. 1
On page 2, delete line 10 in its entirety and insert the following:          On page 1, line 2, after "reenact" delete "R.S. 40:600.89(A)(1)" and
     "(5) Two percent of the monies collected pursuant to this               insert in lieu thereof "R.S. 40:531(B)(2)(b) and 600.89(A)(1)"
Section, or five hundred thousand dollars, whichever is greater,


                                                                      1187                                                         App.261
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Page 6 SENATE                                                                                    34th DAY'S PROCEEDINGS
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AMENDMENT NO. 2                                                                             Conference Committee Reports
On page 1, line 3, after "Corporation" and before "; to provide" insert
"and local housing authorities"                                                    The following report was received and read:
AMENDMENT NO. 3                                                               HOUSE BILL NO. 278—
On page 1, line 4, after "directors;" and before "and to provide" insert           BY REPRESENTATIVE BISHOP AND SENATOR ALLAIN
"to provide for the appointment of landlord commissioners;"                                                AN ACT
                                                                              To amend and reenact R.S. 47:32(A), 241, 293(3) and (10), 295(B),
AMENDMENT NO. 4                                                                   296.1(B)(3)(c) and (d), 300.1, 300.6(A), and 300.7(A), to enact
On page 1, line 6, delete "R.S. 40:600.89(A)(1)" and insert in lieu               R.S. 47:32.1, and to repeal R.S. 47:293(4) and (9)(a)(ii),
thereof "R.S. 40:531(B)(2)(b) and 600.89(A)(1)"                                   296.1(B)(3)(e), and 298, relative to the individual and fiduciary
                                                                                  income tax; to reduce the rates for purposes of calculating
AMENDMENT NO. 5                                                                   individual and fiduciary income tax liability; to repeal the
On page 1, between lines 7 and 8, insert the following:                           deductibility of federal income taxes paid for purposes of
"§531. Appointment of commissioners to local housing authority                    calculating individual and fiduciary income tax; to provide with
                           *       *      *                                       respect to the deduction for excess federal itemized personal
      B.                                                                          deductions; to provide for certain requirements and limitations;
                           *       *      *                                       to authorize the reduction of certain rates under certain
      (2)                                                                         circumstances; to provide for applicability; to provide for an
                           *       *      *                                       effective date; and to provide for related matters.
      (b) The one landlord commissioner shall be appointed by the
mayor from a list of three nominees submitted by the Landlords                           CONFERENCE COMMITTEE REPORT
Advisory Committee. No person who has or who is seeking a
business or financial relationship with the housing authority or who                                       June 9, 2021
otherwise has a conflict pursuant to the Code of Governmental Ethics
regarding service on the housing authority shall be eligible to be            To the Honorable Speaker and Members of the House of
appointed as a landlord commissioner. The committee shall meet                Representatives and the Honorable President and Members of the
within sixty days after any mayoral election is concluded or any              Senate.
vacancy in the landlord commissioner position and shall nominate the
list of landlord commissioners as provided in this Subsection upon a          Ladies and Gentlemen:
majority vote of the members of the committee present and voting.
The committee shall give notice of the purpose, time, and place of                We, the conferees appointed to confer over the disagreement
such a meeting through the landlord portal on the official website of         between the two houses concerning House Bill No. 278 by
the housing authority or by publication in the official journal of the        Representative Bishop recommend the following concerning the
city of New Orleans at least seven days prior to the date set for the         Reengrossed bill:
hearing.
                          *       *       *"                                  1.   That Senate Committee Amendment Nos. 2, 3, and 4 by the
                                                                                   Committee on Revenue and Fiscal Affairs (#2962) be rejected.
     Senator Womack moved to concur in the amendments proposed
by the House.                                                                 2.   That Senate Committee Amendment Nos. 1 and 5 through 8 by
                                                                                   the Committee on Revenue and Fiscal Affairs (#2962) be
                          ROLL CALL                                                adopted.

     The roll was called with the following result:                           3.   That Senate Floor Amendment No. 1 by Senator Allain (#3170)
                                                                                   be rejected.
                                YEAS
                                                                              4.   That Senate Floor Amendment No. 2 by Senator Allain (#3170)
Mr. President           Henry                   Peacock                            be adopted.
Abraham                 Hensgens                Pope
Allain                  Hewitt                  Price                         5.   That the following amendments to the Reengrossed bill be
Barrow                  Jackson                 Reese                              adopted:
Bernard                 Johns                   Smith
Boudreaux               Lambert                 Talbot                        AMENDMENT NO. 1
Bouie                   McMath                  Tarver                        On page 1, line 2, after "295(B)," delete the remainder of the line in
Cloud                   Milligan                Ward                          its entirety
Fesi                    Mills, F.               White
Fields                  Mills, R.               Womack                        AMENDMENT NO. 2
Foil                    Mizell                                                On page 1, line 4, after "(9)(a)(ii)," and before "and 298," delete
Harris                  Morris                                                "296.1(B)(3)(e)," and insert "296.1(B)(3)(c),"
  Total - 34
                                NAYS                                          AMENDMENT NO. 3
                                                                              On page 1, line 13, after "295(B)," delete the remainder of the line in
 Total - 0                                                                    its entirety
                              ABSENT
                                                                              AMENDMENT NO. 4
Cathey                  Luneau                                                On page 2, delete lines 9 through 29 in their entirety and on page 3,
Connick                 Peterson                                              delete lines 1 through 7 in their entirety and insert the following:
 Total - 4                                                                         "A.(1) Beginning April 1, 2024, and each April first through
                                                                              2034, if the prior fiscal year's actual individual income tax collections
    The Chair declared the Senate concurred in the amendments                 as reported in the state's accounting system exceed the actual
proposed by the House.                                                        individual income tax collections for the fiscal year ending June 30,
                                                                              2019, as reported in the state's accounting system, adjusted annually
                                                                              by the growth factor provided for in Article VII, Section 10(C) of the
                                                                              Constitution, the individual income tax rate in R.S. 47:32 for the tax


                                                                       1188                                                         App.262
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                                                                                                                              June 10, 2021
year beginning the following January first shall be reduced as                                                NAYS
provided in Paragraph (2) of this Subsection.
     (2) The reduced rates shall be calculated by multiplying each             Lambert
current rate by the difference between one and the percentage change            Total - 1
in individual income tax collections in excess of the individual                                            ABSENT
income tax collections for Fiscal Year 2018-2019 adjusted annually
by the growth factor as provided in Paragraph (1) of this Subsection.          Connick
Rate reductions shall be made only if both of the following conditions          Total - 1
are met:
     (a) The prior fiscal year's actual total tax, licenses, and fees              The Chair declared the Conference Committee Report was
exceed the actual total tax, licenses, and fees for Fiscal Year                adopted.
2018-2019, adjusted annually by the growth factor in Article VII,
Section 10(C) of the Constitution of Louisiana.                                     Senator Allain moved to reconsider the vote by which the
     (b) The Budget Stabilization Fund balance as determined by the            Conference Committee Report to House Bill No. 278 was adopted
treasurer is at least two and one-half percent of the total state revenue      and laid the motion on the table.
receipts from the prior fiscal year.
     B. When the provisions of this Section require a reduction in the                       Conference Committee Report
individual income tax rates, the secretary of the Department of
Revenue shall publish the reduced rates, and shall include the reduced              The following report was received and read:
rates when publishing the tax tables pursuant to R.S. 47:295 and the
withholding tables pursuant to R.S. 47:112.                                    HOUSE BILL NO. 292—
     C. The actual individual income tax collections and actual total               BY REPRESENTATIVE RISER
tax, licenses, and fees used in the calculations required by this                                          AN ACT
Section shall be certified by the Office of Statewide Reporting and            To amend and reenact R.S. 47:241 and 287.69 and to repeal R.S.
Accounting Policy.                                                                 47:287.79, 287.83, 287.85, and 287.442(B)(1), relative to
     D.(1) "Growth factor provided for in Article VII, Section 10(C)               corporation income tax; to provide relative to the deductibility
of the Constitution" means the positive growth factor that is the most             of federal income taxes; to repeal deductibility of federal
recent average annual percentage rate of change of personal income                 income taxes paid for purposes of calculating corporate income
for Louisiana as defined and reported by the United States                         taxes; to provide for applicability; to provide for an effective
Department of Commerce for the three calendar years prior to the                   date; and to provide for related matters.
fiscal year in which this calculation is made.
     (2) "Actual total tax, licenses, and fees" means actual total tax,                     CONFERENCE COMMITTEE REPORT
licenses, and fees as reported to the Revenue Estimating Conference."
                                                                                                           June 9, 2021
AMENDMENT NO. 5
On page 5, delete lines 24 through 28 in their entirety and on page 6,         To the Honorable Speaker and Members of the House of
delete lines 1 through 7 in their entirety                                     Representatives and the Honorable President and Members of the
                                                                               Senate.
AMENDMENT NO. 6
On page 7, line 6, after "(9)(a)(ii)," and before "and 298," delete            Ladies and Gentlemen:
"296.1(B)(3)(e)," and insert "296.1(B)(3)(c),"
                                                                                   We, the conferees appointed to confer over the disagreement
Respectfully submitted,                                                        between the two houses concerning House Bill No. 292 by
                                                                               Representative Riser recommend the following concerning the
Representatives:                                              Senators:        Engrossed bill:
Stuart J. Bishop                                   Patrick Page Cortez
Neil Riser                                          R. L. Bret Allain II       1.   That Senate Committee Amendment Nos. 1, 2, and 4 by the
Clay Schexnayder                                        W. Jay Luneau               Committee on Revenue and Fiscal Affairs (#2951) be rejected.
    Senator Allain moved to adopt the Conference Committee                     2.   That Senate Committee Amendment Nos. 3 and 5 through 10 by
Report.                                                                             the Committee on Revenue and Fiscal Affairs (#2951) be
                                                                                    adopted.
                          ROLL CALL
                                                                               3.   That the set of Senate Floor Amendments by Senator Allain
     The roll was called with the following result:                                 (#3182) be rejected.

                                YEAS                                           4.   That the following amendments be adopted:

Mr. President           Harris                   Morris                        AMENDMENT NO. 1
Abraham                 Henry                    Peacock
Allain                  Hensgens                 Peterson                      In Amendment No. 5 by the Senate Committee on Revenue and
Barrow                  Hewitt                   Pope                          Fiscal Affairs (#2951), on page 1, delete lines 17 through 39 in their
Bernard                 Jackson                  Price                         entirety and insert the following:
Boudreaux               Johns                    Reese                              "C. On corporations. The tax to be assessed, levied, collected,
Bouie                   Luneau                   Smith                         and paid upon the net taxable income of every corporation shall be
Cathey                  McMath                   Talbot                        computed at the rate of: rates provided for in R.S. 47:287.12.
Cloud                   Milligan                 Tarver                             (1) Four percentum upon the first twenty-five thousand dollars
Fesi                    Mills, F.                Ward                          of net income.
Fields                  Mills, R.                White
Foil                    Mizell                   Womack                             (2) Five percentum upon the amount of net income above
  Total - 36                                                                   twenty-five thousand dollars but not in excess of fifty thousand
                                                                               dollars.
                                                                                    (3) Six percentum on the amount of net income above fifty
                                                                               thousand dollars but not in excess of one hundred thousand dollars.


                                                                        1189                                                       App.263
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     (4) Seven percentum on the amount of net income above one              loss, as the case may be. That portion, if any, of the federal refund or
hundred thousand dollars but not in excess of two hundred thousand          credit of an overpayment which has not previously been charged
dollars.                                                                    against or deducted from Louisiana net income shall be excluded
     (5) Eight percentum on all net income in excess of two hundred         from such adjustment.
thousand dollars."                                                                (d)(3) Adjustments made to the Louisiana return. Adjustments
                                                                            to a return filed pursuant to this Part, whether initiated by the
AMENDMENT NO. 2                                                             secretary or the taxpayer, shall be taken into account in the taxable
In Amendment No. 5 by the Senate Committee on Revenue and                   year for which the return was filed in accordance with rules,
Fiscal Affairs (#2951), on page 2, delete lines 20 through 35 in their      regulations, or forms prescribed by the secretary.
entirety and insert the following:                                                (2)(4) If a deduction is claimed and allowed in any period, the
"§287.12. Rates of tax                                                      same deduction cannot again be claimed in a subsequent period in
      The tax to be assessed, levied, collected, and paid upon the          which it otherwise would be properly deductible, unless the taxpayer,
Louisiana taxable income of every corporation shall be computed at          prior to the running of prescription with respect to the first period,
the rate of:                                                                shall have amended his return for that period so as to eliminate the
      (1) Four Three and one-half percent upon the first twenty-five        deduction and shall have paid any additional tax which may be due
fifty thousand dollars of Louisiana taxable income.                         as a result thereof, together with any interest and penalties that may
      (2) Five percent upon the amount of Louisiana taxable income          be applicable thereto.
above twenty-five thousand dollars but not in excess of fifty thousand
dollars.                                                                                              *        *      *"
      (3) Six Five and one-half percent on the amount of Louisiana
taxable income above fifty thousand dollars but not in excess of one        AMENDMENT NO. 4
hundred fifty thousand dollars.                                             On page 1, line 2, after "reenact" delete the remainder of the line in
      (4)(3) Seven and one-half percent on the amount of Louisiana          its entirety and at the beginning of line 3, delete "and 287.442(B)(1),"
taxable income above one hundred fifty thousand dollars but not in          and insert the following: "R.S. 47:32(C), 241, 287.12, 287.69,
excess of two hundred thousand dollars.                                     287.442(B), and 287.732.2(B) and to repeal R.S. 47:55(5), 287.79,
      (5) Eight percent on all Louisiana taxable income in excess of        287.83, 287.85, and 287.732.2(C),"
two hundred thousand dollars."
                                                                            AMENDMENT NO. 5
AMENDMENT NO. 3                                                             On page 1, line 8, after "Section 1." and before "are" delete "R.S.
In Amendment No. 6 by the Senate Committee on Revenue and                   47:241 and 287.69" and insert "R.S. 47:32(C), 241, 287.12, 287.69,
Fiscal Affairs (#2951), on page 2, between lines 38 and 39, insert the      287.442(B), and 287.732.2(B)"
following:
"§287.442. Exceptions to taxable year of inclusion; taxable year            AMENDMENT NO. 6
            deductions taken                                                On page 2, line 24, after "Section 2." delete the remainder of the line
                            *      *       *                                in its entirety and insert the following: "R.S. 47:55(5), 287.79,
      B. Period for which deductions and credits shall be taken.            287.83, 287.85, and 287.732.2(C) are hereby repealed"
      (1) The taxable year in which to claim the federal income tax
deduction allowed by R.S. 47:287.85 shall be determined as follows,         Respectfully submitted,
regardless of the method of accounting regularly employed by the
taxpayer:                                                                   Representatives:                                             Senators:
      (a) The federal income tax deduction may be claimed for the           Neil Riser                                        Patrick Page Cortez
same taxable year in which the federal income tax sought to be              Stuart J. Bishop                                   R. L. Bret Allain II
deducted is incurred, provided the taxpayer files a federal income tax      Gerald "Beau" Alphonse Beaullieu IV                       Mike Reese
return for such taxable year or is included with affiliates in a
consolidated federal income tax return for such taxable year.                   Senator Allain moved to adopt the Conference Committee
      (b)(i)(a) Taxable year for adjustments to taxpayer's federal          Report.
income tax return. Except as otherwise provided in this Subparagraph
Paragraph, adjustments affecting federal taxable income which are                                     ROLL CALL
made to the taxpayer's income tax return subsequent to filing,
whether made because of a deficiency proposed by the government,                 The roll was called with the following result:
a court order, an amended return, or other appropriate instrument or
act, showing an overpayment or a deficiency shall be taken into                                              YEAS
account for purposes of this Part in the period for which the return
was filed, unless the prescriptive period for the collection of tax or      Mr. President          Harris                   Mizell
the refund or credit of overpayments, as the case may be, has expired.      Abraham                Henry                    Morris
If the applicable prescriptive period has expired, the additional tax       Allain                 Hensgens                 Peacock
paid by the taxpayer in the case of an underpayment or the refund or        Barrow                 Hewitt                   Peterson
credit received by the taxpayer in the case of an overpayment shall be      Bernard                Jackson                  Pope
for the taxable year such tax was paid, such refund was received, or        Boudreaux              Johns                    Price
such credit was allowed, as the case may be.                                Bouie                  Lambert                  Reese
      (ii)(b) When a federal refund results from transactions or            Cathey                 Luneau                   Smith
conditions which arise after the close of the taxable year for which        Cloud                  McMath                   Talbot
the refund is made, such federal refund shall be taken into account,        Fesi                   Milligan                 Ward
for purposes of this Part, for the taxable year in which arose the          Fields                 Mills, F.                White
transactions or conditions causing the refund.                              Foil                   Mills, R.                Womack
      (c)(2) Taking federal adjustments into account. A payment of            Total - 36
additional federal tax upon income which has borne Louisiana tax                                             NAYS
shall be taken into account by decreasing taxable income. That
portion, if any, of such additional federal tax payment which would           Total - 0
be disallowed as a deduction under either R.S. 47:287.81 or R.S.                                          ABSENT
47:287.83 shall be excluded from such adjustment. Refunds or credits
of federal overpayments, including refunds or credits created by the        Connick                 Tarver
carryback of a federal net operating loss, shall be taken into account       Total - 2
by increasing Louisiana net income or decreasing the Louisiana net


                                                                     1190                                                         App.264
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34th DAY'S PROCEEDINGS                                                                                    Page 9 SENATE
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    The Chair declared the Conference Committee Report was                                                NAYS
adopted.
                                                                          Lambert                Morris                  Peterson
     Senator Allain moved to reconsider the vote by which the              Total - 3
Conference Committee Report to House Bill No. 292 was adopted                                           ABSENT
and laid the motion on the table.
                                                                          Connick
                Conference Committee Report                                Total - 1

     The following report was received and read:                              The Chair declared the Conference Committee Report was
                                                                          adopted.
SENATE BILL NO. 159—
     BY SENATOR ALLAIN AND REPRESENTATIVE BISHOP AND                           Senator Allain moved to reconsider the vote by which the
     SENATOR JOHNS                                                        Conference Committee Report to Senate Bill No. 159 was adopted
                     A JOINT RESOLUTION                                   and laid the motion on the table.
Proposing to amend Article VII, Section 4(A) of the Constitution of
    Louisiana, relative to income tax; to provide a maximum rate of               Appointment of Conference Committee
    individual income tax; to provide with respect to the
    deductibility of federal income tax for purposes of computing                        on Senate Bill No. 142
    state income tax; to eliminate the mandatory deduction for
    federal income taxes; and to specify an election for submission            The President of the Senate appointed the following members
    of the proposition to electors and provide a ballot proposition.      to confer with a like committee from the House to consider the
                                                                          disagreement on Senate Bill No. 142:
           CONFERENCE COMMITTEE REPORT
                                                                                                     Senators Ward,
                           June 2, 2021                                                                  Cortez
                                                                                                       and Smith.
To the Honorable President and Members of the Senate and to the
Honorable Speaker and Members of the House of Representatives.                          Conference Committee Report
Ladies and Gentlemen:                                                          The following report was received and read:
     We, the conferees appointed to confer over the disagreement          HOUSE BILL NO. 457—
between the two houses concerning Senate Bill No. 159 by Senator               BY REPRESENTATIVE FIRMENT
Allain recommend the following concerning the Engrossed bill:                                          AN ACT
                                                                          To amend and reenact R.S. 22:1662(3), to enact R.S. 22:1674.1, and
1.   That House Committee Amendment No. 1 proposed by the                     to repeal R.S. 22:1674, relative to insurance claims adjusters; to
     House Committee on Ways and Means and adopted by the                     provide for the standards of conduct for claims adjusters; to
     House of Representatives on May 12, 2021, be adopted.                    require newly licensed claims adjusters and claims adjusters
                                                                              renewing their license to read and acknowledge the claims
2.   That House Committee Amendment No. 1 proposed by the                     adjuster standards of conduct; to provide for penalties for
     House Committee on Civil Law and Procedure and adopted by                violation of the standards of conduct; to provide an exemption
     the House of Representatives on May 19, 2021, be rejected.               from licensure for certain persons; and to provide for related
                                                                              matters.
Respectfully submitted,
                                                                                       CONFERENCE COMMITTEE REPORT
Senators:                                       Representatives:
Patrick Page Cortez                              Stuart J. Bishop                                     June 7, 2021
R. L. Bret Allain II                                   Neil Riser
W. Jay Luneau                Gerald "Beau" Alphonse Beaullieu IV          To the Honorable Speaker and Members of the House of
                                                                          Representatives and the Honorable President and Members of the
    Senator Allain moved to adopt the Conference Committee                Senate.
Report.
                                                                          Ladies and Gentlemen:
                          ROLL CALL                                           We, the conferees appointed to confer over the disagreement
     The roll was called with the following result:                       between the two houses concerning House Bill No. 457 by
                                                                          Representative Firment recommend the following concerning the
                               YEAS                                       Reengrossed bill:

Mr. President          Harris                 Peacock                     1.   That Senate Committee Amendment No. 2 proposed by the
Abraham                Henry                  Pope                             Senate Committee on Insurance (#2282) be adopted.
Allain                 Hensgens               Price                       2.   That Senate Committee Amendment Nos. 1 and 3 proposed by
Barrow                 Hewitt                 Reese                            the Senate Committee on Insurance (#2282) be rejected.
Bernard                Jackson                Smith
Boudreaux              Johns                  Talbot                      3.   That the following amendments to the Reengrossed bill be
Bouie                  Luneau                 Tarver                           adopted:
Cathey                 McMath                 Ward
Cloud                  Milligan               White                       AMENDMENT NO. 1
Fesi                   Mills, F.              Womack                      On page 1, delete line 2 in its entirety and insert in lieu thereof the
Fields                 Mills, R.                                          following: "To enact R.S. 22:1674.1 and to repeal R.S. 22:1674,"
Foil                   Mizell
  Total - 34



                                                                   1191                                                        App.265
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34th DAY'S PROCEEDINGS                                                                                   Page 117 SENATE
                                                                                                                              June 10, 2021
                            June 10, 2021                                     SENATE BILL NO. 188—
                                                                                   BY SENATOR WOMACK AND REPRESENTATIVE THOMPSON
     To the President and Members of the Senate:                                                          AN ACT
                                                                              To amend and reenact R.S. 40:531(B)(2)(b) and 600.89(A)(1) and the
     I am directed by your Committee on Senate and Governmental                   introductory paragraph of (2), (c), and (e), relative to the
Affairs to submit the following report:                                           Louisiana Housing Corporation and local housing authorities; to
                                                                                  provide relative to the board of directors; to provide for the
     The following Senate Bills have been properly enrolled:                      appointment of landlord commissioners; and to provide for
                                                                                  related matters.
SENATE BILL NO. 10—
     BY SENATORS FIELDS, BARROW, BERNARD, BOUDREAUX, BOUIE,                   SENATE BILL NO. 87—
     CATHEY, CONNICK, HARRIS, HEWITT, JACKSON, LUNEAU, MCMATH,                     BY SENATOR CONNICK
     MILLIGAN, FRED MILLS, ROBERT MILLS, MIZELL, PEACOCK,                                          A JOINT RESOLUTION
     PETERSON, PRICE, SMITH, TALBOT AND TARVER AND
     REPRESENTATIVES ADAMS, BRYANT, GARY CARTER, ROBBY                        Proposing to amend Article VI, Section 39 of the Constitution of
     CARTER, WILFORD CARTER, COX, DUPLESSIS, FREEMAN, FREIBERG,                   Louisiana, relative to taxing authority of levee districts; to
     GLOVER, GREEN, HILFERTY, JAMES, JEFFERSON, JENKINS, JORDAN,                  provide for the millage limits on certain levee districts; and to
     LANDRY, LARVADAIN, LYONS, MARINO, DUSTIN MILLER, MOORE,
     NEWELL, PHELPS, PIERRE, PRESSLY, SELDERS, STAGNI, THOMPSON                   specify an election for submission of the proposition to electors
     AND WILLARD                                                                  and provide a ballot proposition.
                             AN ACT
To amend and reenact R.S. 17:151.3, 221(A)(1), and 222, and to                SENATE BILL NO. 154—
    enact R.S. 17:221(E), relative to compulsory school attendance;                BY SENATOR SMITH AND REPRESENTATIVES BOURRIAQUE,
                                                                                   FARNUM, HUGHES, MCMAHEN, MINCEY, ORGERON AND WRIGHT
    to provide for mandatory attendance in kindergarten; to provide                                A JOINT RESOLUTION
    for exceptions; to provide for effectiveness; and to provide for          Proposing to amend Article VII, Section 23(C) of the Constitution of
    related matters.                                                              Louisiana, relative to ad valorem property tax millage rate
                                                                                  adjustments; to provide for maximum authorized millage rates;
SENATE BILL NO. 96—                                                               and to specify an election for submission of the proposition to
     BY SENATOR LAMBERT
                               AN ACT                                             electors and to provide a ballot proposition.
To amend and reenact R.S. 30:2418(H)(1) and to enact R.S.
    30:2418.1 and 2418.2, relative to the waste tire program in the           SENATE BILL NO. 148—
                                                                                   BY SENATORS CORTEZ, ABRAHAM, ALLAIN, BARROW, BERNARD,
    Department of Environmental Quality; to authorize the                          BOUDREAUX, CATHEY, CLOUD, FIELDS, FOIL, HARRIS, HENRY,
    establishment of standards, requirements, and permitting                       HENSGENS, HEWITT, JACKSON, JOHNS, LAMBERT, LUNEAU,
    procedures; to provide for waste tire generators; to authorize the             MCMATH, MILLIGAN, FRED MILLS, ROBERT MILLS, MIZELL,
                                                                                   PEACOCK, POPE, PRICE, REESE, TALBOT, TARVER, WHITE AND
    promulgation of rules, regulations, and guidelines; to require                 WOMACK AND REPRESENTATIVES ADAMS, AMEDEE, BACALA,
    certain generators of waste tires to obtain generator                          BAGLEY, BEAULLIEU, BISHOP, BOURRIAQUE, BRASS, BROWN,
    identification numbers; to require certain transporters to obtain              BRYANT, BUTLER, CARRIER, GARY CARTER, ROBBY CARTER,
                                                                                   WILFORD CARTER, CORMIER, COUSSAN, COX, CREWS, DAVIS,
    a certificate; to provide for criminal penalties; and to provide for           DEVILLIER, DUBUISSON, DUPLESSIS, ECHOLS, EDMONDS,
    related matters.                                                               EMERSON, FARNUM, FIRMENT, FONTENOT, FREEMAN, FREIBERG,
                                                                                   FRIEMAN, GADBERRY, GAINES, GAROFALO, GLOVER, GOUDEAU,
                                                                                   GREEN, HARRIS, HILFERTY, HODGES, HOLLIS, HORTON, HUGHES,
SENATE BILL NO. 128—                                                               HUVAL, ILLG, JEFFERSON, JENKINS, TRAVIS JOHNSON, JONES,
     BY SENATORS JACKSON, BARROW, BOUDREAUX, FIELDS AND                            JORDAN, KERNER, LACOMBE, LANDRY, LARVADAIN, MACK,
     TARVER AND REPRESENTATIVES GARY CARTER, WILFORD                               MAGEE, MARINO, MCCORMICK, MCKNIGHT, MCMAHEN, MIGUEZ,
     CARTER, COX, HUGHES, JEFFERSON, JENKINS, TRAVIS JOHNSON,                      GREGORY MILLER, MINCEY, MOORE, MUSCARELLO, NELSON,
     JONES, LARVADAIN, LYONS, MOORE, NEWELL, ORGERON, PIERRE,                      NEWELL, ORGERON, CHARLES OWEN, ROBERT OWEN, PHELPS,
     SELDERS, STAGNI AND WILLARD                                                   PIERRE, PRESSLY, ROMERO, SCHAMERHORN, SCHEXNAYDER,
                             AN ACT                                                SCHLEGEL, SEABAUGH, SELDERS, ST. BLANC, STAGNI, STEFANSKI,
To amend and reenact R.S. 17:434(A) and to enact R.S. 17:426,                      TARVER, THOMAS, THOMPSON, TURNER, VILLIO, WHEAT, WHITE,
                                                                                   WRIGHT AND ZERINGUE
    relative to teachers and other school employees; to provide
    relative to planning time and lunch periods for teachers; to                                           AN ACT
    provide for an uninterrupted planning period for teachers; to             To enact Chapter 20-G of Title 17 of the Louisiana Revised Statutes
    delete requirements for a duty-free lunch period for teachers; to             of 1950, to be comprised of R.S. 17:3047 through 3047.7,
    provide for an exemption from tolls on the Louisiana Highway                  relative to the M.J. Foster Promise Program; to establish the
    1 Bridge for teachers, school bus drivers, and other school                   program; to provide for program awards including establishing
    employees; and to provide for related matters.                                eligibility requirements and award amount limitations; to
                                                                                  provide for funding and administration of the program; and to
SENATE BILL NO. 159—                                                              provide for related matters.
     BY SENATORS ALLAIN AND JOHNS AND REPRESENTATIVE BISHOP
                     A JOINT RESOLUTION                                       SENATE BILL NO. 161—
                                                                                   BY SENATOR ALLAIN
Proposing to amend Article VII, Section 4(A) of the Constitution of
    Louisiana, relative to income tax; to provide a maximum rate of                                         AN ACT
    individual income tax; to provide with respect to the                     To amend and reenact R.S. 47:601(A)(introductory paragraph) and
    deductibility of federal income tax for purposes of computing                 601.1(A)(1) and to enact R.S. 47:601(D) and 601.2, relative to
    state income tax; to eliminate the mandatory deduction for                    the corporation franchise tax and the suspension of the
    federal income taxes; and to specify an election for submission               corporation franchise tax on the first three hundred thousand
    of the proposition to electors and provide a ballot proposition.              dollars of taxable capital for small business corporations; to
                                                                                  provide for the applicable tax periods of the suspension; to
                                                                                  provide for the rates of tax; to provide an automatic rate
                                                                                  reduction trigger; to provide for effectiveness; and to provide for
                                                                                  related matters.



                                                                       1299                                                        App.266
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34th DAY'S PROCEEDINGS                                                                                Page 123 SENATE
                                                                                                                           June 10, 2021
     the Department of Economic Development to promulgate rules;           SENATE BILL NO. 31—
     to provide for definitions; to provide for effectiveness; and to           BY SENATOR CATHEY
     provide for related matters.                                                                         AN ACT
                                                                           To enact R.S. 47:293(9)(a)(xx) and 297.16, relative to individual
     and they are hereby presented for executive approval.                     income tax exemptions; to provide for an individual income tax
                                                                               exemption for digital nomads; to provide for definitions; to
                                            Respectfully submitted,            provide for eligibility requirements; to authorize the Department
                                            YOLANDA J. DIXON                   of Revenue to promulgate rules; to provide for record keeping
                                            Secretary of the Senate            requirements; to provide for recovery of the tax exemption by
                                                                               the Department of Revenue; to provide for effectiveness; and to
                                                                               provide for related matters.
            Message to the Secretary of State                              SENATE BILL NO. 142—
                                                                                BY SENATORS WARD, CORTEZ AND JOHNS
                          SIGNED                                                                       AN ACT
                       SENATE BILLS                                        To enact R.S. 4:199, R.S. 27:625(G), and 628 and R.S. 28:843,
                                                                               relative to sports wagering; to provide relative to revenue
                           June 11, 2021                                       generated from sports wagering; to provide for appropriation; to
                                                                               create the Behavioral Health and Wellness Fund; to create the
     To the Honorable Secretary of State:                                      Sports Wagering Purse Supplement Fund; to create the Sports
                                                                               Wagering Local Allocation Fund; and to provide for related
    The President of the Senate and the Speaker of the House of                matters.
Representatives have signed the following Senate Bills:
                                                                           SENATE BILL NO. 197—
                                                                                BY SENATOR CATHEY
SENATE BILL NO. 87—                                                                                      AN ACT
     BY SENATOR CONNICK
                     A JOINT RESOLUTION                                    To enact R.S. 47:1925.13, relative to assessors; to provide relative to
Proposing to amend Article VI, Section 39 of the Constitution of                an automobile expense allowance; to provide relative to
    Louisiana, relative to taxing authority of levee districts; to              requirements and funding of such allowance; to require an
    provide for the millage limits on certain levee districts; and to           affidavit verifying nonuse; and to provide for related matters.
    specify an election for submission of the proposition to electors
    and provide a ballot proposition.                                      SENATE BILL NO. 221—
                                                                                BY SENATORS HEWITT, CATHEY, CLOUD, CORTEZ, HENRY,
                                                                                MCMATH, MILLIGAN, ROBERT MILLS, MORRIS, PEACOCK, TALBOT
SENATE BILL NO. 154—                                                            AND WOMACK
     BY SENATOR SMITH AND REPRESENTATIVES BOURRIAQUE,                                                    AN ACT
     FARNUM, HUGHES, MCMAHEN, MINCEY, ORGERON AND WRIGHT                   To amend and reenact R.S. 18:18(A)(7), 1351, 1352, 1353(B), the
                     A JOINT RESOLUTION                                        introductory paragraph of (C) and (C)(2), and (D), 1361,
Proposing to amend Article VII, Section 23(C) of the Constitution of           1362(A), 1364(A), and 1400.21(C), to enact R.S. 18:1362.1,
    Louisiana, relative to ad valorem property tax millage rate                1362.2, and 1366 and R.S. 36:744(O) and (P), and to repeal R.S.
    adjustments; to provide for maximum authorized millage rates;              18:553.1, 1351(5), and 1365, relative to oversight of voting
    and to specify an election for submission of the proposition to            systems; to provide for definitions; to provide for promulgation
    electors and to provide a ballot proposition.                              of rules and standards; to provide for appointments; to provide
                                                                               for legislative oversight; to provide for an evaluation authority;
SENATE BILL NO. 159—                                                           to provide for membership; to provide for reporting
     BY SENATORS ALLAIN AND JOHNS AND REPRESENTATIVE BISHOP
                     A JOINT RESOLUTION                                        requirements; to provide for evaluation criteria; to provide
Proposing to amend Article VII, Section 4(A) of the Constitution of            certain requirements relative to funds used to acquire voting
    Louisiana, relative to income tax; to provide a maximum rate of            systems; and to provide for related matters.
    individual income tax; to provide with respect to the
    deductibility of federal income tax for purposes of computing          SENATE BILL NO. 247— (Substitute of Senate Bill No. 202 by
    state income tax; to eliminate the mandatory deduction for                                  Senator Cortez)
                                                                                BY SENATORS CORTEZ, JOHNS AND WARD AND REPRESENTATIVE
    federal income taxes; and to specify an election for submission             STEFANSKI
    of the proposition to electors and provide a ballot proposition.                                      AN ACT
                                                                           To amend and reenact R.S. 13:4721, R.S. 14:90.5(A), (B), and (C),
                                            Respectfully submitted,            R.S. 27:15(B)(1), 15.1, 24(A)(5) and (6), the introductory
                                            YOLANDA J. DIXON                   paragraph of 27.1(C), 44(9), (11), and (13), 58(5), 65(B)(11),
                                            Secretary of the Senate            205(11) and (12), 239.1, 353(2) and (5), 361(F), 364(A)(1)(c)(ii)
                                                                               and (5), 371(C), 372(B) and (C), and 375(D),
                  Message to the Governor                                      417(A)(2)(introductory paragraph), and R.S. 46:1816(B)(8), to
                                                                               enact R.S. 14:90(E) and 90.3(K) and R.S. 27:15(B)(8)(c),
                                                                               205(35), 249.1, Chapter 10 of Title 27 of the Louisiana Revised
                 SIGNED SENATE BILLS                                           Statutes of 1950, to be comprised of R.S. 27:601 through 611,
                                                                               and 627, and to repeal R.S. 27:24(A)(5)(f), relative to sports
                           June 11, 2021                                       wagering; to provide for definitions; to require a license to
                                                                               conduct sports wagering; to provide relative to duties and
     To the Honorable Governor of the State of Louisiana:                      powers of the Louisiana Gaming Control Board and the gaming
                                                                               division in the office of state police; to provide for requirements
    The President of the Senate and the Speaker of the House of                and limitations on licensees and permittees; to authorize cash
Representatives have signed the following Senate Bills:                        wagers; to authorize racehorse wagering at certain licensees; to

                                                                    1305                                                        App.267
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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


                                             §
 STATE OF TEXAS, STATE OF MISSISSIPPI,       §
 STATE OF LOUISIANA,                         §
                                             §
       Plaintiffs,                           §
                                             §    Case No. 2:21-cv-00079-Z
 v.                                          §
                                             §
 JANET YELLEN, IN HER OFFICIAL CAPACITY      §
 AS SECRETARY OF THE TREASURY, ET AL.,       §
                                             §
       Defendants.                           §
                                             §

     APPENDIX IN SUPPORT OF PLAINTIFFS’ COMBINED RESPONSE TO
  DEFENDANTS’ MOTION TO DISMISS AND MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

                           DECLARATION OF JEFFREY M. WHITE

              Webster’s New World College Dictionary (5th ed. 2016) (excerpts)

                                   EXHIBIT A-25




                                                                                 App.268
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                            WEBSTER’S
                            NEW WØRLDR

                            COLLEGE
                           DICTIONARY
                                      FIFTH EDITION




                                                                      App.269
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                                                     ISBN: 978-0-544-59822-5 (hardcover)
                                              ISBN: 978-0-544-16553-3 (hardcover with CD-ROM)

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                                                   Libriny of Congress Cataloging-in-Publication Data
                                     Webster’s New world college dictionary / Editors of Webster’s New World
                                                         College Dictionaries. Fifth Edition.
                                                                             —




                                                                       pages cm
                            I5BN   978-0-544-16606-6 (hardback) IsBN 978-0-544-16553-3 (hardcover with cd-rom)
                                                                  —




                                      1. English language—Dictionaries. I. Title: New world college dictionary.
                                                          II. Title: World college dictionary.
                                                                  PE1628.W5629 2014
                                                                      423—dc23
                                                                      2014004003


                                                  Manufactured in the United States of America
                                                  123456789—DOC—2221 2019181716
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                                                                                                                   App.270
                                                                                                                                                        See page xxii, far prsnAncfatias key
                 ADSL. adverb
Case 2:21-cv-00079-Z Document 29-1 Filed 09/27/21 20             The                                                                    symbal ,nd,cates terms or senses oi American orig in
                                                                                                                                    S
                                                   Page 272 of 272   PageID 494
                ADSL abbrev. asymmetric digital subscriber line                                        SYN.—advance is used to describe assistance in hastening the course of
                adsorb (ad sôrb, -zôrb) Vt. 11< AD- * L sorbere: see ABsoRBI to collect (a             anything or in moving toward an objective; to promote is to help in the
                 gas, liquid, or dissolved substance) in condensed form on a surface —ad               establishment, development, or success of something (to prsmste good
                 sorb’able ad].                                                                        will]; forward emphasizes the idea of action as an impetus (concessions
                adsorb-ate (ad sôr’bit, -zOr’-; -bat’) n. a gas, liquid, etc. taken up by ad           were made tofsris’ard the pact]; further emphasizes assistance in bringing
                 sorption                                                                              a desired goal closer (tofbrther a cause] —ANT. retard, check
                adsorbent (ad sôrbant, -zôr!-) adj. that is capable of adsorbing —n. a
                 thing or substance that adsorbs                                                      advanced aS vanst’, act-) adj. 1 moved forward; in front tan advanced
                adsorption (ad sorp’shan, .zôrp) fi. < ADsORB, by analogy with                         military post] 2 far on in time or in a course of action or events (despite
                 ABaoRpTIoNJ an adsorbing or being adsorbed; adhesion of the molecules of              his advanced age, at an advanced stage in the trial] 3 a) ahead or beyond
                 a gas, liquid, or dissolved substance to a surface —adaorp’tive ad].                  others in progress, complexity, etc. (advanced studies] b) ahead of the
                adsu’kI bean (ad sctD’ke, -ziTDl-) AOZUKI BEAN                                         times (her advanced views on education] —SYN. LIBERAL
                adu4ar’ia (a’jiTô lery a, -ja-) n. lt < Fr adslaire, after Adsla, a group of        oadvanced credit (sr standing) credit toward a degree allowed to a student
                 mountains in Switzerland * -aire, -ARVI a transparent or translucent vari             by a college for courses taken elsewhere or for high scores on preliminary
                 ety of orthoclase                                                                     examinations
                adulate (a’jcto 1St’, -ja-) Vt. -lat’ed, —lat’ing )< L adulatus, pp. ofadslari,       advance guard a detachment of troops sent ahead to reconnoiter and pro
                 to fawn upon, orig., to wag the tail < ad-, to + ‘tilss, tail < IE ‘file < base       tect the line of march
                  ‘it’d-  WALK: cf. wHEEDLE) 1 to praise too highly or flatter servilely 2 to       “advance man a person hired to travel in advance of a theatrical company,
                 admire intensely or excessively ad’u-lat ion n. —ad’u-la’tor n. -ad’u                 political candidate, etc. to arrange for publicity, schedule appearances, etc.
                 la-to’ry (-Ia tôr’y) adj.                                                            advancement (ad vansmant, ad-) a. 1 an advancing or beisg ad
                adult (a          adult’) ad]. L adsltss, pp. of adelescere: see ADoLEscENT) 1         vanced 2 promotion, as to a higher rank 3 progress or improvement; fur
                 mature in age, size, strength, etc.; grosvn-up 2 of or for adult persons (an          therance 4 Law money or property given as an advance share in the estate
                 adult novel] 3 containing or providing sexually explicit or, esp., porno              of a person who later dies without making a will: it is deducted frsm the
                 graphic material (adult movies] —n. 1 a man or woman who is fully ma                  total share of the recipient in the intestate’s estate
                 ture; grown-up 2 an animal or plant that is fully developed 3 a person               advantage (ad vantij, ad-) a. ME avantage, avauntage OFr avantage
                 who has reached the age of majority, now generally iS years —SYN. RIPE                -n avaatt, before < L ab- + ante: see ADVANCE) 1 a more favorable position;
                 a-dult’hood’ a. a.dultneaa a.                                                         superiority: often with efor aver 2 a favorable or beneficial circumstance,
                adult education CONTINUING EDUCATION                                                   event, etc. 3 gain or benefit 4 Tennis the first point scored after deuce
                a’dul’ter’ant (a            ant) a. a substance that adulterates —adj. adulter         —Vt. -taged, -tag-ing to give an advantage to; be a benefit or aid to —have
                 ating; making inferior or impure                                                      the advantage of to have an advantage over —take advantage of ito make
                adulterate (a dulftar at’;fsradj., -tar it) Vt. —at’ed, -at’ing 1< L adsltera          use of for one’s osvn benefit 2 to impose upon in a selfish way —to advan
                 tin, pp. of adulterare, to falsify < adslter, an adulterer, counterfeiter <ad-,       tage so an to result in a good effect
                 to + alter, other, another) to make inferior, impure, not genuine, etc. by           advantaged (-ijd) ad]. characterized by certain, esp. socioeconomic, ad
                 adding a harmful, less valuable, or prohibited substance —ad]. 1 guilty of            vantages (advantaged students within a school district]
                 adultery; adulterous 2 adulterated; not genuine —a-dul’tera’tor a.                   advantageous (ad’van tajas, -van-) ad]. resulting in advantage; favor
                adulterated (-St’id) ad]. 1 made inferior, impure, etc. by adulterating 2              able; profitable _ad’van.tageously adv.
                 that does not conform to legal standards of purity, processing, labeling, etc.       advec’tion (ad vekshn) a. (AD- + lcoN)vecT:oNl the transference sfheat
                adulteration (a dul’tar iishan) a. 1 an adulterating or being adulter                  by horizontal currents of air —ad-vec’tive (-tiv) adj.
                 ated 2 an adulterated substance, commodity, etc.                                     Advent (ad’vent’) a. ?vtE & OFr avent < ML advcstss v pp. of L advenire.
                adulterer (a dultar ar) a. altered, after L adulterare, from ME avow                   to come < ad-, to + venue, COME) 1 the period including the four Sundays
                 terer, avsuter < OFr avsstre < avsstrer, to commit adultery < L adsltersre:           just before Christmas 2 Tlzeol. a) the birth of Christ b) SECOND COMING 3
                 see A0uLTERATEI a person (esp. a man) guilty of adultery                               [a-] a coming or arrival
                adulteress (a dul’tar is, a dultris) a. a woman guilty of adultery                  ,:Ad.vent.ism (ad’van tiz’am) a. the belief that the Second Coming of
                adulter’ine (a dul’tar in, -tar in’) ad]. (L adulterinss e adslter: see                Christ will occur soon
                 ADULTERATE) 1 of adultery 2 due to adulteration                                    sAd’vent.jst (advan tist, ad vent’ist) a, a member of a Christian sect based
                adulterous (a dul’tar as, -dul’tras) adj. relating to, characterized by, or            on Adventism —adj. of Adventism or Adventists
                 guilty of, adultery —a-dul’terous-ly adv.                                            adven’ti’ti-a (ad’ven tish’a, -tish’e a; -van-) a. ModL < L, for adventicia,
                adultery (a               s, -dul’trt) a., p1. —ter-iea IL adsltertssn < adslter:      neut. p1. of adventiciiis: see fol.) the outer covering of an organ, as of an
                 see ADULTERATE) voluntary sexual intercourse between a married man and                artery: it is made up chiefly of connective tissue
                 a woman not his wife, or between a married woman and a man not her                   adventitious (ad’ven tish’as, -van-) adj. L adventiciss, coming from
                 husband: see also FORNICATION                                                         abroad: SCC ADVENT) 1 added from outside; not isherent; accidental 2
                adumbral (ad um’bral) ad]. see fol. I in shadosv; shady                                occurring in unusual or abnormal places (adventitisus roots growisg on a
                ad’umbrate (ad umbrãt’, adam brat’) Vt. -brat’ed, -brat’ing (< I. ad                   stem] —SYN. ACCIDENTAL ._ad’ven.titious.ly adv.
                 unzbratus, pp. of adsinbrari, to shade <ad-, to + umbra, SHADE) ito outline          a.
                 in a shadowy way; sketch 2 to suggest beforehand; foreshadow in a vague             adventive (ad ven’tiv) adj. iL adventus (see       ADVENT) + .ivtj not native
                 way 3 to obscure; overshadosv ad’umbra’tion (-brshan) a. —adum’                      to the environment; rarely or imperfectly naturalized —a. an adventive
                 bra-tive (-bra tiv) adj.                                                             plant or aninsal
                aduncate (ad uij’kat’, -kit; a dug) ad]. IL adsnciis ad-, to + uncus,                Advent Sunday the first Sunday in Advent
                 hooked, a hook < IE base ‘asg-, ‘ask-: see ANGLE9 curved or hooked, as a            adventure (ad                ad-) a. ME aveiiturc < OFr <VL ‘sdventsra, lit.,
                 parrot’s beak                                                                        a happening L advenire: see ADVENT) 1 the encountering of danger 2 a
                a’dust (a dust’) ad/. ty adsstus, pp. of adurere, to burn up <ad-, to + srere,        daring, hazardous undertaking 3an unusual, stirring experience, often of
                 to burn: see EMBER’) [Archaic] 1 scorched; burned 2 parched 3 sun                    a romantic nature 4a venture or speculation in business or finance 5 a lik
                 burned 4 sallow and melancholy                                                       ing for danger, excitement, etc. (a man full of advestsre] —VL -tured, -tur
                A’duwa (ida Wa, ad’-) vat: OfADWA                                                     ing [Archaic] 1 to put in danger; risk; venture 2 to be bold about; dare
                adv al,brev. 1 ad valorem 2 advance 3 adverb 4 advertisement 5 advi                   —vi. ito engage in daring undertakings 2 to takes risk
                 sory 6 L adversssJ against                                                          adventurer (ad venchar or, ad-) a. 1 a person who has or likes to have
                ad va’lorem (ad’ Va lôr’am) LI in proportion to the value: a phrase ap                adventures 2 SOLDIER OF FORTUNE (sense 1) 3 a financial speculator 4 a
                 plied to certain duties and taxes levied on goods, property, etc. as a per           person who seeks to become rich, powerful, etc. by dubious schemes
                 centage of their value: abbrev. ad val.                                             adventuresome (ad vcnchar sam, ad-) adj. svilling to take risks; ad
                advance (ad vans, ad-) Vt. -vanced’, -vanc’ing ME avascen < OFr                       venturous
                 avancer, to forward V VL ‘abantiare < L ab-, from + ante, before: sp. ad-           adventuress (ad venchor is, ad-) a. a woman adventurer, specif. one
                 by assoc. with L ad, to, forward) 1 to bring forward; move forward (to               who seeks to become rich and socially accepted by exploiting her charms,
                 advance a chessman] 2 to raise in rank, importance, etc.; promote 3                  b scheming, etc.
                 to help or hasten the success or conspletion of; further (to advance a              a •venturiam (ad ven’char iz’am, ad-) a. actions or tactics, cap. in poli
                 project] 4 to put forward; propose 5 to bring closer to the present;                 tics or international relations, that are regarded as recklessly daring and
                 specif., a) to cause (a future event) to happen earlier b) to assign a               involving the risk of serious consequences _ed.ventur.igt a., adj. —ad
                 later date to (a past event) 6 to raise the rate of; increase (to advance            ven’tur-is’tic ad].
                 prices] 7 to pay (money) before due 8 to lend —vi. 1 to go forward;                 adventurous (ad ven’char as, ad-) adj. (ME aventtiross < OFr avcntsrss
                 move ahead 2 to make progress; improve; develop 3 to rise in rank,                      aventure, ADVENTURE 1 fond of adventure; ivilling to take chances; dar
                 importance. etc. 4 to rise in price or cost; increase —a. 1 a moving for             ing 2 full of danger; risky _ad.ven’turous.ly adv. _ad.ventur.oua.ness
                 ward 2 an improvement; progress (new advances in science] 3 a rise in                a.
                 value or cost 4 (p1.] approaches to get favor, become acquainted, etc.;             adverb (ad’vurb’) a. (ME adverbe < L adverbists < ad-, to + verbutn, a
                 overtures (to someone) 5 a payment made before due, as of wages 6                    wordJ any ofa class of words used generally to modify a verb, an adjective,
                 a loan —adj. 1 in front (advance guard] 2 beforehand; ahead of time                  another adverb, a phrase, or a clause, by expressing time, place, manner,
                 (advance information] —in advance 1 in front 2 before dtie; ahead of                 degree, cause, etc.: English adverbs often end in -ly (Ex.: fast, carefiully,
                 time advanc’er a,                                                                    then)




                                                                                                                                                  App.271
